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                                                                    SMILEY WANG-EKVALL, LLP
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                                                                  6 LLC

                                                                  7

                                                                  8                                UNITED STATES BANKRUPTCY COURT
                                                                  9                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                 10                                         LOS ANGELES DIVISION
                                                                 11 In re                                                   Case No. 2:20-bk-13530-BR
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12 JADELLE JEWELRY AND DIAMONDS,
                               Costa Mesa, California 92626




                                                                                                                            Chapter 7
                                                                    LLC,
                                                                 13                                                         PUTATIVE DEBTOR'S INDEX OF
                                                                                    Putative Debtor.                        EXHIBITS IN SUPPORT OF PUTATIVE
                                                                 14                                                         DEBTOR'S EMERGENCY MOTION FOR
                                                                                                                            (1) RECONSIDERATION OF THE
                                                                 15                                                         COURT'S ORDER, OR (2)
                                                                                                                            ALTERNATIVELY, A STAY OF THE
                                                                 16                                                         BANKRUPTCY CASE
                                                                 17                                                         DATE:       To Be Determined
                                                                                                                            TIME:       To Be Determined
                                                                 18                                                         CTRM:       1668
                                                                                                                                        255 E. Temple Street
                                                                 19                                                                     Los Angeles, CA 90012
                                                                 20

                                                                 21
                                                                      TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:
                                                                 22
                                                                                  Jadelle Jewelry and Diamonds, LLC, the putative debtor ("Jadelle"), hereby submits the
                                                                 23
                                                                      following index of exhibits in support of the concurrently filed Putative Debtor's Emergency
                                                                 24
                                                                      Motion for (1) Reconsideration of the Court's Order, or (2) Alternatively, A Stay of the Bankruptcy
                                                                 25
                                                                      Case.
                                                                 26

                                                                 27

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                                                                      2822846.1                                                                         INDEX OF EXHIBITS
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                                                                  1               Exhibit No.                        Title or Description of Document
                                                                  2                   1           Transcript of June 9, 2020: Status Conference re Involuntary Petition;
                                                                                                  Hearing Re: Motion of Putative Debtor's Motion to Dismiss Involuntary
                                                                  3                               Petition and Request for Attorney's Fees, Costs, and Damages; and
                                                                                                  Hearing Re: Creditors' Motion for Appointment of Interim Chapter 7
                                                                  4                               Trustee
                                                                  5
                                                                                      2           Order: (1) Directing Rachel Rechnitz and Jona Rechnitz to File Joint
                                                                  6                               Declaration Under Penalty of Perjury; (2) Setting Date by Which
                                                                                                  Petitioning Creditors May Contact Creditors Identified In Joint
                                                                  7                               Declaration and Conduct Certain Discovery; (3) Setting Date for Hearing
                                                                                                  on Status Conference; and (4) Setting Date for Filing of Joint Status
                                                                  8                               Report Prior to Status Conference [Docket No. 39]
                                                                  9
                                                                                      3           Supplemental Declaration of Baruch C. Cohen Regarding Third Party
                                                                 10                               Defendants' Motion for Stay of Proceedings, USDC Case No. 2:20-cv-
                                                                                                  02580-ODW-AS, Docket No. 61;
                                                                 11
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                                                                 12
                               Costa Mesa, California 92626




                                                                                      4           June 11, 2020 Email from Ronald Richards to Robert Marticello with
                                                                                                  attached discovery;
                                                                 13

                                                                 14                   5           Verified Complaint filed by Victor Franco Noval in Noval v. Rechnitz, et
                                                                                                  al.;
                                                                 15

                                                                 16                   6           The amended third party complaint filed by Peter Marco on April 24,
                                                                                                  2020, in the action entitled David Rovinsky v. Peter Voutsas, USDC Case
                                                                 17                               No. 2:20-cv-02580-ODW-AS;
                                                                 18
                                                                                      7           Declaration of Oved Anter In Support of Petitioning Creditors' Motion
                                                                 19
                                                                                                  for Appointment of Interim Chapter 7 Trustee [Docket No. 15];
                                                                 20

                                                                 21                   8           March 10, 2020 Minute Order entered in Noval v. Rechnitz, et al.;
                                                                 22
                                                                                      9           Docket in Noval v. Rechnitz, et al. as of May 26, 2020;
                                                                 23

                                                                 24                   10          Docket as of June 15, 2020 in David Rovinsky v. Peter Voutsas, USDC
                                                                 25                               Case No. 2:20-cv-02580-ODW-AS; and

                                                                 26                   11          Relevant excerpt from Petitioning Creditors' Opposition to Putative
                                                                 27                               Debtor's Motion to Dismiss Involuntary Petition and Request for
                                                                                                  Attorney's Fees, Costs, and Damages [Docket No. 19].
                                                                 28

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                                                                                                       Respectfully submitted,
                                                                  3
                                                                      DATED: June 15, 2020             SMILEY WANG-EKVALL, LLP
                                                                  4

                                                                  5
                                                                                                       By:          /s/ Robert S. Marticello
                                                                  6                                          ROBERT S. MARTICELLO
                                                                                                             MICHAEL L. SIMON
                                                                  7
                                                                                                             Attorneys for Jadelle Jewelry and Diamonds,
                                                                  8                                          LLC.

                                                                  9

                                                                 10

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     1                     UNITED STATES BANKRUPTCY COURT

     2            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES

     3                                --oOo--

     4   In Re:                        )     Case No. 2:20-bk-13530-BR
                                       )
     5   JADELLE JEWELRY AND DIAMONDS )      Chapter 7
         LLC, a Delaware Limited       )
     6   Liability Company,            )
                                       )
     7   Debtor,                       )     Los Angeles, California
                                       )     June 9, 2020
     8   ------------------------------)     Tuesday, 10:00 A.M.

     9                                       STATUS CONFERENCE RE
                                             INVOLUNTARY PETITION
    10
                                             HEARING RE: MOTION OF
    11                                       PUTATIVE DEBTOR’S MOTION
                                             TO DISMISS INVOLUNTARY
    12                                       PETITION AND REQUEST FOR
                                             ATTORNEY’S FEES, COSTS,
    13                                       AND DAMAGES

    14                                       HEARING RE: CREDITORS’
                                             MOTION FOR APPOINTMENT OF
    15                                       INTERIM CHAPTER 7 TRUSTEE

    16
                        TRANSCRIPT OF TELEPHONIC PROCEEDINGS
    17                   BEFORE THE HONORABLE BARRY RUSSELL
                           UNITED STATES BANKRUPTCY JUDGE
    18

    19   APPEARANCES:

    20   For the Debtor:            ROBERT S. MARTICELLO, ESQ.
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    23

    24
         Proceedings produced by electronic sound recording;
    25   transcript produced by transcription service.




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     1   For Victor Franco         RONALD N. RICHARDS, ESQ.
         Noval:                    Law Offices of Ronald Richards
     2                             PO Box 11480
                                   Beverly Hills, California 90213
     3
         For First International   DANIEL A. LEV, ESQ.
     4   Diamond:                  333 South Grand Avenue
                                   Suite #3400
     5                             Los Angeles, California    90071

     6   Court Recorder:           Nancy Vandensteen
                                   U.S. Bankruptcy Court
     7                             Central District of California
                                   Edward R. Roybal Federal Building
     8                               and Courthouse
                                   255 East Temple Street, Room #940
     9                             Los Angeles, California 90012
                                   (855) 460-9641
    10
         Court Transcriptionist:   Ruth Ann Hager, C.E.T.**D-641
    11                             Ben Hyatt Certified Deposition
                                     Reporters
    12                             17835 Ventura Boulevard
                                   Suite #310
    13                             Encino, California 91316

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     1          LOS ANGELES, CALIFORNIA, TUESDAY, JUNE 9, 2020

     2                                11:14 A.M.
     3                                 --oOo--
     4               THE CLERK:    #10.00 through #12.00, Jadelle
     5   Jewelry.
     6               THE COURT:    Hold on just a second, as far as
     7   appearances.   Okay.     We have the Jadelle Jewelry matter.
     8   We have a couple people listening, apparently, the New York
     9   Daily News is interesting.        I’m not exactly sure why, but
    10   the public is always welcome.       Not to say anything, but
    11   just listening mode.     These are public hearings.    Had we
    12   not had this virus, we would have -- there would have
    13   been -- somebody would be welcome to be in court, but so
    14   they’re on the line but won’t be saying anything.
    15               Then my list here shows that we have Mr. Lev for
    16   the -- for all three of the creditors.       Is that right,
    17   Mr. Lev?
    18               MR. LEV:   I am here, Your Honor, yes.
    19               THE COURT:    Okay.   And then we have -- well, I’m
    20   not sure.   We have Mr. Cohen on the line.      You didn't file
    21   anything, did you, Mr. Cohen?
    22               MR. COHEN:    Your Honor, Baruch Cohen online.      No,
    23   I did not file anything.
    24               THE COURT:    Okay.   Well, you're welcome to
    25   listen, but even though you may be interested, I’m not




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     1   going to let you say anything.

     2                Then we have -- of course, the other side of this

     3   is Rob -- is the counsel for the -- well, let me see, we

     4   have counsel for the debtor.      We have a number of them.

     5   Robert Marticello -- I can never pronounce your last

     6   name -- I know who you are.

     7                MR. MARTICELLO:   That was per --

     8                THE COURT:   What was your last name again?

     9                MR. MARTICELLO:   That was perfect, Your Honor.

    10   Good morning.    It’s Marticello, Your Honor.

    11                THE COURT:   Okay.   All right, now --

    12                MR. MARTICELLO:   And also --

    13                THE COURT:   -- who --

    14                MR. MARTICELLO:   Michael Simon (indiscernible).

    15                THE COURT:   -- now, you represent the debtor.

    16   You have --

    17                MR. MARTICELLO:   Correct.

    18                THE COURT:   -- then Mr. Richards, you represent

    19   the -- Mr. Noval, but I all -- looking here, I see Mr. Lev.

    20   Who is re -- Mr. Lev, you represent all three of the

    21   creditors?

    22                MR. LEV:   Your Honor, the way -- yeah.   All of us

    23   are on the pleading, Your Honor.      We --

    24                THE COURT:   Well, who’s --

    25                MR. LEV:   -- represent the individ --




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     1                THE COURT:   I’m not going to let all three of you

     2   speak.   One -- who’s going to be --

     3                MR. LEV:   No, no, no, Your Honor.   Yes, Your

     4   Honor, we’ve decided to let Mr. Richards make the argument

     5   on behalf of the petitioning creditors.      To the extent the

     6   Court has questions regarding specific issues on specific

     7   claims, Mr. Cohen represents two of the petitioning

     8   creditors.     Mr. Richards represents one of the petitioning

     9   creditors.     So to the extent you are asking questions

    10   regarding Mr. Cohen’s clients, Mr. Cohen would respond, but

    11   I don’t know if we’re going to get to that type of detail,

    12   so --

    13                THE COURT:   Well, okay.   Well --

    14                MR. LEV:   -- but Mr. Richards will be making the

    15   initial presentation.

    16                THE COURT:   Well, there’s not going to be much of

    17   an initial presentation because I’ve read all the papers.

    18   I --

    19                MR. LEV:   I understand, Your Honor.

    20                THE COURT:   -- really dislike -- I’ve probably

    21   said it a million times -- things on the phone, but we --

    22   that's where we’re at.

    23                But -- so anyway, then we have Mr. Simon, but

    24   also for the debtor, right?

    25                MR. MARTICELLO:   Your Honor, this is Robert




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     1   Marticello.    Michael Simon is from my firm.    He’s just

     2   listening in.

     3             THE COURT:     Oh, okay.

     4             MR. MARTICELLO:     I will be handling the --

     5             THE COURT:     So, okay.    So then -- okay.    So I’m

     6   going to go to some --

     7             MR. RICHARDS:     Your Honor, do you want me to make

     8   my appearance?    Ronald Richards, just for the record.

     9             THE COURT:     Oh, yes, please, please, and whenever

    10   you speak, you’ve got to -- for -- the only way we keep

    11   track -- that is, we, being the court recorder -- is who’s

    12   talking, you've got to -- and if you're physically in

    13   court, we can see you, but whenever you say anything just

    14   give your name.

    15             I’m going to go through a number of these.

    16   There’s not going to be any argument on this, but I’m going

    17   to go through these evidentiary objections.

    18             The first one is the evidentiary objections to

    19   the declaration of Oved Anter.       These are all evidentiary

    20   objections made by the debtor, so I am going to make these

    21   rulings and there’s not going to be any argument on it, so

    22   we’re going to be here forever.      So I’m going to -- I’m

    23   going to make these -- these -- so if you -- everybody have

    24   those in front of them?     This has to do with the

    25   declaration of Oved Anter, okay?      And you all know who --




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     1   that’s the representative -- I can never tell with that --

     2   is that a man?    Is Oved -- I don’t know if it's -- it looks

     3   like an Israeli name, so I don’t know --

     4                MR. COHEN:   Yes, Your Honor.     Baruch Cohen on

     5   CourtCall.     Oved Anter is a man.

     6                THE COURT:   Okay.   I wasn't 100 percent sure, but

     7   I thought that was the case.      And that’s the president --

     8   the owner and president of International Diamond.

     9                MR. COHEN:   Correct.

    10                THE COURT:   So I’m going to -- okay, so I’m going

    11   to go through the -- excuse me just one second.

    12                Let me -- I will sustain, but, by the way, this

    13   is going to be important.       Let me ask the debtor in this

    14   case before I get to these evidentiary -- one of the two of

    15   you.   It is pretty clear from all of the papers that -- is

    16   it Rechnitz?    I’m pronoun -- Jona is the -- and his wife

    17   are the own -- are the control -- owners and controlling of

    18   the debtor, are they not?

    19                MR. RICHARDS:   Hello?   Hello?

    20                THE COURT:   Yes, that's for the debtor.

    21                MR. RICHARDS:   Hello, hello?

    22                THE COURT:   That is the case, is it not?

    23                MR. RICHARDS:   We didn't hear you, Your Honor.

    24   Can you --

    25                THE COURT:   Oh.




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     1             MR. RICHARDS:    -- repeat?    On the line right

     2   now --

     3             THE COURT:    That Jona and his wife are the

     4   principals of the debtor, are they not?     They’re the people

     5   that run the debtor?

     6             MR. RICHARDS:    I’m still not hearing you.

     7             THE COURT:    You can’t hear me now?

     8             UNIDENTIFIED VOICE:      It’s cutting out right at

     9   the most important part, Your Honor.

    10             MR. SIMON:    Your Honor, you are breaking up.

    11             MR. RICHARDS:    This is Ronald Richards.    You cut

    12   out.

    13             THE COURT:    Well, that’s a real problem.    Can you

    14   hear me now?

    15             MR. RICHARDS:    I’m still not hearing the Court.

    16             THE CLERK:    Is the CourtCall operator on the

    17   line?

    18             THE COURT:    Oh, great.

    19             COURTCALL OPERATOR:      Yes, I’m here.

    20             THE COURT:    Well, they apparently can’t hear me.

    21             MR. RICHARDS:    Yeah.   Now I can hear you again,

    22   Your Honor.    Ronald Richards for the creditor.

    23             THE COURT:    Okay, you can?

    24             MR. RICHARDS:    If you could just --

    25             THE COURT:    Okay.   My question is, from the --




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     1   excuse me just one second.       Just to settle something, from

     2   the -- Mister -- let’s see, excuse me.       From the debtor,

     3   Marticello, the two principals are Jona and his wife,

     4   right?

     5               MR. MARTICELLO:     Well, Ms. Ra -- sorry, this is

     6   Robert Marticello, Smiley Wang-Ekvall, for Jadelle.         Rachel

     7   Rechnitz is the managing member of Jadelle.      Mr. Rec --

     8   sorry, Your Honor, can you hear me, because it sounds like

     9   it’s gone dead.

    10               THE COURT:   I can’t hear you.

    11               MR. MARTICELLO:     Yeah, the line keeps -- Your

    12   Honor, the line keeps going in and out, I think for all of

    13   us, so we hear things and then --

    14               THE COURT:   Okay.    Tell me who are the principals

    15   of the debtor?

    16               MR. MARTICELLO:     So Rachel Rechnitz is the

    17   managing member of Jadelle.

    18               THE COURT:   Yes.

    19               MR. MARTICELLO:     Jona Rechnitz is involved in the

    20   operation of the business, but he does not have an official

    21   title with the LLC.

    22               THE COURT:   Well, who are the two principals?

    23               (No audible response.)

    24               There are only two principals, are there not, in

    25   this LLC?




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     1                MR. RICHARDS:   Well, Your Honor, this is Ronald

     2   Richards.    The debtors married -- the two principals are

     3   husband and wife, so Mr. Rechnitz, obviously, has his

     4   community property interest, and we’re under the belief

     5   that he owns the company with his wife and there’s no other

     6   members.

     7                THE COURT:   Okay, because -- anyway, I -- oh,

     8   okay.   Well, I will -- okay, I’m going to go through the

     9   evidentiary objections.      It’s pretty clear to me -- I don’t

    10   know who does what day to day.       And by the way, this is

    11   not -- as far as the hearing.       Is the debtor still

    12   operating?     I’m asking the debtor’s counsel.

    13                MR. RICHARDS:   No.

    14                MR. MARTICELLO:   Your Honor, my understand --

    15   this is Robert Marti --

    16                THE COURT:   Are you talking, because I can’t hear

    17   you if you are.

    18                MR. MARTICELLO:   It went dead, Your -- this is

    19   Robert Marticello for Jadelle.       It’s (indiscernible).

    20                THE COURT:   Okay.    Is the debtor still operating?

    21                MR. MARTICELLO:   Your Honor, my understanding is

    22   that the debtor is paying its debts -- undisputed debts as

    23   they come due on the agreed to terms.

    24                THE COURT:   No, but is the debtor selling

    25   anything?    I guess that's what I meant.     Is the debtor




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     1   operating?

     2                MR. MARTICELLO:   I think there -- my

     3   understanding is that there’s been minimal operations

     4   post-bankruptcy.

     5                MR. RICHARDS:   Your Honor, this is Ronald

     6   Richards.    There’s no debtor at the location.      They moved

     7   out.   That’s -- we had trouble serving them.     That’s why we

     8   had to serve --

     9                THE COURT:   Well, yeah, I’ve never physically --

    10                MR. RICHARDS:   -- (indiscernible) at their house.

    11                THE COURT:   I don’t even recall.   Where is the --

    12   was this a regular storefront?     I know it’s pretty -- when

    13   you're dealing with diamonds at a million -- $1.2 million,

    14   I don’t think I’ve ever seen one, but I guess they exist.

    15                MR. RICHARDS:   Your Honor, they were operating

    16   out of an executive suite at 9454 Wilshire Boulevard, out

    17   of a suite at that location.     There’s a lot of little

    18   businesses in there, and they were -- that's where they

    19   were operating.    They have no operation whatsoever.      No,

    20   they’re not --

    21                THE COURT:   Is that -- let me --

    22                MR. RICHARDS:   -- no one’s --

    23                THE COURT:   -- again, this is just background,

    24   but I want to get -- I want to find out what’s really going

    25   on in this case.    Would that be from the debtor’s




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     1   standpoint?    I think counsel would know.      Are they still

     2   operating out of that location?

     3                MR. MARTICELLO:   My understanding is that they’re

     4   still operating, Your Honor.      I don’t -- it has been

     5   minimal operations, but I don’t know if that's inconsistent

     6   with the operations that occurred prebankruptcy.

     7                THE COURT:   Okay.   In any case, I don’t want to

     8   get any further in it.

     9                MR. RICHARDS:   He’s not answering your question.

    10                THE COURT:   It’s more curiosity --

    11                MR. RICHARDS:   They’re not operating out of

    12   (indiscernible) --

    13                THE COURT:   -- because everybody on the call --

    14                MR. MARTICELLO:   Your Honor --

    15                THE COURT:   -- knows a lot more about this case

    16   than I do.

    17                MR. MARTICELLO:   And I’m sorry, Your Honor, this

    18   is Robert Marticello.     When I’m speaking, it sounds like

    19   the line is going dead, so I don’t know if you're hearing

    20   what I’m saying --

    21                THE COURT:   Well, I did hear --

    22                MR. MARTICELLO:   -- so that's the reason for

    23   my --

    24                THE COURT:   -- I did year you.    Okay, let’s --

    25   this is going to be very unfortunate --




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     1             MR. MARTICELLO:    Okay, understood.

     2             THE COURT:   -- because there’s obviously a lot of

     3   money involved in this case and important to all sides.

     4             I am going to go make these evidentiary rulings.

     5   The -- can everybody hear me?    Of course, if you can’t,

     6   it’s hard for you to say you can’t hear me.

     7             MR. RICHARDS:    Now I can hear you, Your Honor.

     8             THE COURT:   Okay.    At least -- we need at least

     9   two people, one representing the creditors and --

    10             MR. RICHARDS:    Can anybody hear the Court?

    11             THE COURT:   -- and I have no idea whether the --

    12             UNIDENTIFIED VOICE:     I cannot.

    13             UNIDENTIFIED VOICE:     Okay, good.

    14             THE COURT:   Okay.

    15             MR. MARTICELLO:    Yeah, I hear you.   This is

    16   Robert Mart --

    17             MR. RICHARDS:    I’d rather have the Court just

    18   rule, if you guys don’t mind --

    19             THE COURT:   I am going to make the rulings.

    20             MR. RICHARDS:    -- at a later time, and he can

    21   (indiscernible) --

    22             THE COURT:   I want to make sure everybody hears

    23   it.

    24             MR. RICHARDS:    Since we’re --

    25             THE COURT:   This is why I really --




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     1                MR. RICHARDS:   -- having technical problems.

     2                THE COURT:   -- really, intensely dislike hearings

     3   on the phone because of just this, but in any case --

     4                (Indiscernible simultaneous speech)

     5                THE COURT:   -- I’m going to -- so we don’t spend

     6   the entire day on these rulings, I’m going to make my

     7   rulings.

     8                UNIDENTIFIED VOICE:     (Indiscernible) CourtCall?

     9   Yes.

    10                THE COURT:   Now, this is the objections to the

    11   declaration of Oved Anter.        I will sustain the first

    12   objection.

    13                MR. RICHARDS:   Should we recall in?

    14                THE COURT:   I don’t know of any foundation.

    15                MR. MARTICELLO:   No, no, no, you should not do

    16   that.

    17                THE COURT:   What’s that?

    18                MR. MARTICELLO:   The CourtCall operator will

    19   handle it.

    20                THE COURT:   Okay.    I will sustain the objection.

    21   It says that the controlling principal and insider, Jona

    22   Rechnitz --

    23                MR. MARTICELLO:   You’re all on the line.       That’s

    24   the more important thing.      The Judge, they can reconnect.

    25                THE COURT:   Can you hear me, by the way?




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     1             MR. MARTICELLO:    I don’t even know where the

     2   Judge is calling in from.

     3             THE COURT:   Hello, can you hear me?

     4             UNIDENTIFIED VOICE:    Right.

     5             THE COURT:   Apparently not.    Can anybody hear me?

     6             MR. MARTICELLO:    I know the Court does not like

     7   these calls, so I don’t want to make it frustrating.

     8             THE COURT:   I hear counsel talking, but --

     9             MR. MARTICELLO:    (Indiscernible) --

    10             THE COURT:   Is there an operator on?

    11             MR. MARTICELLO:    A new operator won’t even know

    12   what we’re talking about.    Better we just wait.

    13             THE CLERK:   Is the CourtCall operator on?

    14             THE COURT:   Hello?

    15             (No audible response.)

    16             Oh, Jesus.

    17             THE CLERK:   Is the CourtCall operator on?

    18             THE COURT:   Well, we’re going to finish this.

    19   Can you hear -- can anybody hear me?

    20             (No audible response.)

    21             Is the operator on?

    22             (No audible response.)

    23             This is so un -- can anybody hear me?

    24             COURTCALL OPERATOR:    I’m going to try to plug in

    25   my headset and see if I can get a response.    I’ll be right




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     1   back with you all.

     2              THE COURT:   Who is -- who’s talking now?

     3              THE CLERK:   That’s the CourtCall operator.

     4              THE COURT:   Well, can you --

     5              COURTCALL OPERATOR:     Your Honor?

     6              THE COURT:   -- let the parties know that we’re

     7   going to continue this hearing, but they can’t hear me.

     8              COURTCALL OPERATOR:     Can anyone from the Court

     9   hear me?

    10              THE COURT:   I can hear you.    This is the Judge.

    11   What about the other people, can they hear you?

    12              UNIDENTIFIED VOICE:     And it seemed to work fine

    13   for the hour we were waiting.

    14              THE COURT:   What I’m trying to figure out is --

    15              MR. LEV:   It’s just our luck, right?

    16              THE COURT:   -- this is just so unacceptable.

    17              UNIDENTIFIED VOICE:     (Indiscernible) the power

    18   went out at my house for the last hour and a half and I had

    19   to call in on a cell phone and I was so nervous that I’d

    20   have to disclose I’m on a cell phone, and have the Court

    21   get upset, but I was able to --

    22              THE COURT:   No, I --

    23              UNIDENTIFIED VOICE:     -- get through

    24   (indiscernible) --

    25              THE COURT:   Well, I’m not upset about the




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     1   telephone.

     2                UNIDENTIFIED VOICE:    -- the power went out right

     3   before our call, if you can believe it.

     4                THE CLERK:   (Indiscernible)

     5                THE COURT:   Oh, you mean a cell phone?     Oh, no,

     6   I -- if you know me at all, you know I don’t get upset

     7   easily, but if your power went out Murphy’s law apparently

     8   is in action.    That’s why I’m glad I’m in the court because

     9   at home my power went out the other day, but I only do

    10   hearings from here.

    11                Is -- why don’t -- let’s -- I’m going to take a

    12   roll call of the people we -- I have no idea whether the

    13   press is still on, but if they’re on listening mode.         The

    14   operator -- do you know whether or not the -- there was

    15   one --

    16                UNIDENTIFIED VOICE:    Well, you're back.

    17                THE COURT:   -- from the New York -- Steven Brown.

    18   Do you know if Mr. Brown is still on?

    19                MR. MARTICELLO:   Your Honor, we’re all back on.

    20                COURTCALL OPERATOR:    This is (indiscernible) --

    21                THE COURT:   I have no way of knowing if Mr. Brown

    22   is on from the New York Daily News, because he’s not on --

    23   it’s only on listening mode.       Does the operator know

    24   whether or not he’s still on the listening?

    25                COURTCALL OPERATOR:    Yes.   He




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     1   is(indiscernible) --

     2             THE COURT:   Good.   Okay, good --

     3             COURTCALL OPERATOR:    -- (indiscernible).

     4             THE COURT:   -- and I have no way of knowing.

     5   Well, the only -- what’s been the problem?      This is the

     6   second or third time we keep coming in and out.     Do you --

     7   okay, can any --

     8             MR. MARTICELLO:    We can all hear you, Your Honor.

     9             THE COURT:   -- if I hear silence on the other

    10   side, I’ll know you can’t hear me.    Can everybody hear me?

    11             MR. MARTICELLO:    Yes, Your Honor.

    12             MR. RICHARDS:    Yes, we can hear you.

    13             THE COURT:   But if I don’t -- the only reason I

    14   knew you couldn't hear me is I heard other people talking

    15   to each other and not responding to me.    Okay.   Well, we’re

    16   going to try to get through this.    We’ll do it today one

    17   way or another.

    18             First objection --

    19             MR. MARTICELLO:    We can hear you, Your Honor.

    20             THE COURT:   -- no word on the Oved answer.        First

    21   objection is sustained.    The second is sustained.    The

    22   third objection as to paragraph 5 is overruled.     The

    23   next -- the objection number 6, that is sustained, at least

    24   on the best evidence rule -- grounds.

    25             The -- by the way, you have a problem in these --




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     1   on these -- a lot -- most of these objections have to do

     2   with text calls.    Do you understand that?   That’s a

     3   violation of the best evidence rule.     You can take a

     4   picture of it or something, but just saying what’s in

     5   there, that's a clear violation of the best evidence rule,

     6   and that's a lot of this declaration.     If we have any

     7   further hearings on this, you might seriously consider

     8   taking pictures of it or something like that, but just

     9   telling me what’s in the text is a classic violation of the

    10   best evidence rule.     Can everybody hear me?

    11              ATTORNEYS:    Yes.

    12              THE COURT:    Okay, I just want to make sure

    13   that -- okay.    So that’s why I’m sustaining the objections,

    14   so objection number 7 on page 3, that’s sustained.       And

    15   then -- and that's going to be true of a lot of this stuff.

    16   It’s unfortunate, but that's just the way the rules work.

    17              I’m ruling -- I’m moving now to the pages here

    18   and I just sustained all of that.

    19              Okay.   The next objection is on page 15 of the

    20   objections.    That is the declaration -- we do have the

    21   exhibit, so it will be -- it will -- but we do have the

    22   exhibit, but that would be sustained, but we have the

    23   exhibit.

    24              The next one is a little bit trickier.     The next

    25   one on page 15 is in paragraph 9.     I’m going to sustain the




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     1   first part, which is basically argument, ending with

     2   “Jadelle absconded with all of First International’s

     3   consigned jewelry either pawning them off or retaining,”

     4   et cetera, et cetera, ending with -- up to the point where

     5   it says, “Simply stated.”      That first part will be

     6   sustained.     The part, “Simply stated, has not received a

     7   single dollar on the 2.8 million-plus,” that will be

     8   overruled, that second part of the declaration.

     9                The next one is obviously hearsay, that’ll be

    10   sustained, number -- objection number 10.      Objection

    11   number 11 would be sustained.      A lot of these are

    12   conclusions and opinion.

    13                The next one, 12, will be sustained.     Number 13,

    14   the first part of that up to the words, “Importantly, at no

    15   time,” the first part of that will be sustained, but the

    16   second part, “Importantly, at no time,” that will be

    17   overruled.     And then number 14, that objection will be

    18   sustained.

    19                Without going any further, has everybody heard

    20   that?   Am I still online?

    21                UNIDENTIFIED VOICE:   Yes.

    22                UNIDENTIFIED VOICE:   Yes, Your Honor.

    23                THE COURT:   Okay, good, we’ve got --

    24                MR. MARTICELLO:   Yeah, we heard you, Your Honor.

    25                THE COURT:   Okay, wow.   Never thought it would be




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     1   such an accomplishment to get through evidentiary

     2   objections, but we did it.     The first part.

     3                Next one, evidentiary objection, declaration of

     4   Peter Marco.    I’ll go through those.   Let’s see.    The first

     5   objection in paragraph 3, that will be sustained.       That

     6   basically is argument.

     7                The next one, again, dealing with the ownership

     8   and so forth, that’ll be sustained for lack of foundation,

     9   although I have a pretty well -- good idea of who at least

    10   owns the debtor.

    11                The next one, exhibit -- paragraph 5, the -- t

    12   here is an objection and it is to the -- it’s number 5,

    13   it’s sustained.    That is the best evidence rule.

    14                The next one to declaration, paragraph 6, that is

    15   overruled.     And then the paragraph -- also part of

    16   paragraph 6, it says, “In late December, after I learned

    17   that Jona was sentenced for crimes,” that's sustained.

    18   Then the next part, “Jona advised me,” that is overruled.

    19                And then the same on the -- also paragraph 6, the

    20   first part, “This represent -- represented by Jona was

    21   false, was made to me and Jona knew it was false,” that is

    22   sustained, but the rest of it after that, “Jona then

    23   persuaded me,” that will be overruled.     A lot of these are

    24   part of it because these are lengthy objections.

    25                The next one, the first -- the part of this




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     1   says -- will be sustained, the portion that reads, “In

     2   order to foster his image, his honesty, religious, family

     3   oriented, trust me, firstly don’t even introduce my brother

     4   to his own children,” et cetera, et cetera, ending with,

     5   “Everything goes -- is illegal.”       And then starting up, “To

     6   my surprise,” that will be overruled, and then the first

     7   part of that quote part up to the part that I just

     8   sustained will be overruled.        It’s just the stuff in the

     9   middle that I sustained.

    10                The next objection, paragraph 8, that will be

    11   sustained.     Paragraph 9, that will be overruled.

    12   Paragraph 10, that will be sustained.       Number 11, that will

    13   be sustained.    Number 12, that will be sustained.       And

    14   the -- again, these are -- by the way, those do not rela --

    15   I’m sustaining it, but not as far as the Exhibit E in that

    16   particular case, and in the -- one of the previous ones we

    17   do have that Exhibit C in number -- paragraph 10.         Those

    18   will be allowed.    And then we have 12 I just ruled on and

    19   13 is sustained.

    20                Now, again, I’m not going to have any further

    21   argument.    Did everybody hear everything I said?

    22                MR. RICHARDS:   Yes.

    23                MR. MARTICELLO:   Yes, Your Honor.

    24                UNIDENTIFIED VOICE:     Yes, Your Honor.

    25                THE COURT:   Okay.   All right, we made it through




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     1   another one.    Okay.     The declaration of Victor Franco --

     2                UNIDENTIFIED VOICE:    Your Honor, that was Victor

     3   Franco.

     4                THE COURT:    Oh, excuse me.   I’m sorry, that was,

     5   so we -- that was Victor Franco, so we’ve got -- so we’ve

     6   gotten through three of them so far.

     7                Now we’re dealing -- the -- we’ve gotten

     8   through --

     9                MR. COHEN:    You haven’t -- Your Honor, Baruch

    10   Cohen for Marco.    You haven’t addressed Peter Marco’s

    11   declaration yet.

    12                THE COURT:    Excuse me a second.   Okay, hang on a

    13   second.   Sorry about that.     I had it right in front of me

    14   and I -- and then I skipped over it.        Thank you, Mr. Cohen.

    15   Okay, Mister -- objections to Peter Marco.       The first will

    16   be sustained.    The second will be sustained.     That is the

    17   paragraph 4.    The next one, paragraph 6, that will be

    18   overruled.     Then paragraph 7, that’ll be overruled.

    19                The paragraph 8 will be overruled.     And by the

    20   way, whoever made these objections, I guess it’s Marcell --

    21   Mr. Marticello -- misleading is Ravinski’s (phonetic) items

    22   that were in possession of Ravinski, is hardly an

    23   evidentiary objection, just for future reference.       I don’t

    24   know why you put that in there, but that's not an

    25   evidentiary objection.




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     1                Number 9, that’s overruled.     Number 10, that is

     2   sustained.     Number 11, that is sustained.    And number 12,

     3   that’s a best evidence violation, that is sustained.         Next

     4   one is -- let’s see, that's number -- number 13 is

     5   sustained.     That’s a best evidence.    Same with number 14,

     6   sustained, best evidence.      Number 15, best evidence,

     7   sustained.

     8                Number 16, that is overruled.     Number 17, it’s

     9   overruled as to the portion that reads, “Repeated demands

    10   have been made to Jona and Jadelle to return Marco’s

    11   consigned jewelry, including Ravinski’s ring, necklace but

    12   to no avail,” that overruled.        The rest of that objected to

    13   material is sustained.

    14                The next one, 18, is sustained.     That’s a best

    15   evidence violation.       The -- number 19 is sustained.

    16   Number 20 is sustained.      Number 21 is sustained.     Number 22

    17   is sustained.    23 is sustained.     24 is sustained.

    18   Number 25 is overruled.      The -- and we also have this

    19   Exhibit C, in any case.      The -- number 26 is sustained.

    20   Number 27 is sustained.

    21                Again, make sure after -- everybody hear all

    22   those?

    23                MR. RICHARDS:    Yes.

    24                MR. MARTICELLO:    Yes, Your Honor.

    25                THE COURT:    Okay, so that’s -- thank you,




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     1   Mr. Cohen, that's Mr. Marcos.    So now we’re down -- we have

     2   those three.

     3               Now we have the evidentiary objections, request

     4   for judicial notice, which is the next item.     The -- excuse

     5   me.    These -- I will sustain those -- all those judicial

     6   notice requests have to do with things, in my opinion, are

     7   totally irrelevant.   If there were a jury here, I don’t

     8   know, but we don’t have juries in this matter, but it’s

     9   crim -- the criminal background and so forth and

    10   transcripts.   It’s very interesting and I did read it all,

    11   but I can tell you it’s totally irrelevant.    So one of the

    12   things I can do very easily, even though I read it, I can

    13   totally ignore it.    So I am not going to -- I will not take

    14   judicial notice of those proceedings, although interesting,

    15   not relevant to the issues before me today.    So that’s --

    16   excuse me, that is that one.

    17               Then we have the objections -- let’s see, the

    18   final one is the evidentiary objection to the declaration

    19   of Ronald Richards.   Let me find that.   I have that.    And

    20   all of those objections will be sustained.

    21               Anyway, that takes care of, I believe, of all the

    22   various objections, is that correct?    Or I do have --

    23   excuse me just one second.    I -- that’s by -- those

    24   objections -- I do have --

    25               MR. RICHARDS:   We made objections, Your Honor.




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     1   This is Ronald Richards --

     2                THE COURT:   Yeah, right --

     3                MR. RICHARDS:   -- (indiscernible).

     4                THE COURT:   -- that was half of them.    I have the

     5   other half here.      And then the other objections --

     6                Stacy?   You’re quite correct.   I had these, but

     7   where are -- is there a list of the others?

     8                Okay, well, let me just go through them here.

     9   You're right, I have a whole pile of things here.

    10                I have the -- there’s the objections -- well,

    11   I’ll go through them and if I miss any -- I’ve gone

    12   through -- this one is the evidentiary objections to the

    13   declaration of -- oh, here we go.     Thank you.   I knew I had

    14   another list.    That was of Levin Prado, right?      So that --

    15   we start with those.      I have the -- those.   I am going to

    16   go through them.      The -- I’m going -- the first objection

    17   is on page 4, I believe.     That will be sustained.     And then

    18   there’s objection number 3, which is -- that will be

    19   sustained.     Then the next one is number 4, that will be

    20   sustained.     Number 6, that will be overruled.   Number 7

    21   will be overruled.     Number 8 will be overruled.    So that’s

    22   the ones as to, excuse me, Mr. Prado.

    23                Then we have the next one is evidentiary

    24   objections to the declaration of Marc Williams.       Let me

    25   find that, excuse me.     Those -- excuse me just one -- yes,




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     1   those will be sustained, those objections.       They just --

     2   well, no, excuse me just one second.       No, I -- on that one,

     3   I am going to overrule it but I think, to say the least,

     4   they have little if no relevance, but there might be some

     5   relevance buried in there.        But as a practical matter, I’m

     6   going to overrule it, but I really don’t think they have

     7   any real bearing on this case, so I’ll leave it at that.

     8   Sort of a Pyrrhic victory for the objector.

     9                The petitioning -- let’s see, then there’s

    10   petitioning creditors, the reply.       Let’s see, I have -- is

    11   that -- have I missed any, as far as the object -- the

    12   evidentiary objections?

    13                MR. RICHARDS:   No, there was no -- I don’t think

    14   there was any more objections.

    15                THE COURT:   I --

    16                MR. RICHARDS:   There was no --

    17                THE COURT:   Who was talking?

    18                MR. RICHARDS:   Ronald Richards.    I don’t think

    19   there was any other --

    20                THE COURT:   Yeah.

    21                MR. RICHARDS:   I don’t think the reply had --

    22                THE COURT:   Yeah, as I say, this last one, the

    23   objection is overruled but I’d say very slight, if any,

    24   relevance.     So now we’re dealing with the case itself,

    25   right?   We’re done with all that?




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     1              Let me ask the -- as far as the -- well, I’m

     2   going to skip to the -- I’m not going to deal at the moment

     3   with the appointment of a trustee, but we do have the

     4   basic -- excuse me just one second -- the motion to

     5   dismiss.

     6              So who’s going to argue that for the debtor?

     7              MR. MARTICELLO:   That would be me, Your Honor,

     8   Robert Marticello, for Jadelle.

     9              THE COURT:   Okay.   Let me ask a couple things.

    10   It seems -- I can tell you, just so you get a heads-up from

    11   the other side, I think as far as the -- just so you

    12   understand, it’s true you didn't present any testimony,

    13   certainly not by the principals, but I -- but just so the

    14   other side be listening carefully, I think you're right.

    15   I -- when I -- I mean, I am somewhat of an expert on this.

    16   I can take judicial notice, as I have, of all these various

    17   pleadings, and not -- and the rule is again, not

    18   necessarily for the truth of the matter asserted in there,

    19   and that's pretty clear.

    20              However -- the big however is, as you point out,

    21   that when you're dealing with admissions the judicial

    22   notice doesn't get it in, but if in a previous pleading or

    23   a declaration one of the petitioning creditors or all three

    24   of them in this case have said things that are -- that show

    25   that there is a dispute as to either amount or as to just




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     1   liability itself, those are admissible and I assume that

     2   you would agree with that, the counsel who’s arguing this.

     3              MR. MARTICELLO:    Yes, Your Honor.   This is Robert

     4   Marticello.

     5              MR. RICHARDS:    Are you directing this to me, Your

     6   Honor, Ronald Richards, or to the counsel?

     7              THE COURT:   Well, no, Mr. Richards, you're

     8   arguing this, right?

     9              MR. RICHARDS:    No, they’re arg -- I didn't file a

    10   motion to dismiss.    The other side did.   So who did you

    11   want to discuss -- who were you addressing first?

    12              THE COURT:   No, no, no, I’ve got everybody messed

    13   up here.   No, whoev -- the attorneys -- this was filed --

    14   the motion to dismiss -- let me take a look at the papers

    15   here.   It was filed obviously by the debtor.

    16              MR. MARTICELLO:    Your Honor, this is Robert

    17   Marticello --

    18              THE COURT:   So you're --

    19              MR. MARTICELLO:    -- for Jadelle.

    20              THE COURT:   Right, that's who we started off.

    21   You're -- like I said, Mr. Marticello, you're going to be

    22   arguing the motion to dismiss, right?

    23              MR. MARTICELLO:    That’s correct, Your Honor.

    24              THE COURT:   Okay.   Again -- and I’m repeating my

    25   frustration.    Not with you guys at all.   It’s just the idea




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     1   of being on the phone.    If I could see people, it makes

     2   things a lot easier, but that's just where we’re at.      Okay.

     3              Now, the one thing -- let me just sum -- just for

     4   Mr. Marticello, it’s very interesting and would you agree

     5   with this -- it’s a rhetorical question -- that I read, of

     6   course, the reply of the creditors, but they never that I

     7   can see specifically address your specific points.     Would

     8   that be a fair statement?

     9              MR. MARTICELLO:   That’s correct, Your Honor.     The

    10   way I viewed the opposition was they don’t address the

    11   specific disputes that we’ve identified and other evidence

    12   by their own statements, but asked the Court for delay

    13   through a number of procedural mechanisms.

    14              THE COURT:    Okay.   Well, the fact is, I’ve read

    15   the Oved case and all, very interesting.     Involuntary is a

    16   very strange animal.    It doesn't fit exactly, but the rules

    17   are quite clear that you can, under 12(b)(6).     It’s not

    18   exactly a complaint, but, you know, and the -- but you can,

    19   in that case, you can -- and my opinion is pretty firm on

    20   that.   You look at the face of it -- of course, the face of

    21   it is not an awful lot, obviously, on our -- on the

    22   approved form.   Nevertheless, and you -- a court can and

    23   this Court will if things I can take judicial notice of,

    24   namely, the various pleadings and the -- and declarations

    25   and so forth in other courts, that, in my opinion, anyway,




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     1   give you a heads-up, but you made a good point, are

     2   clearly, at least as to liability and/or certainly as to

     3   amount, are inconsistent, which in my view are -- this

     4   is -- these are statements.      It’s not hearsay because these

     5   are statements of a -- admission, actually, by, you know,

     6   statements, you know, under the Federal Rules of Evidence,

     7   a statement by a party opponent, namely, the petitioning

     8   creditors, it’s not even hearsay, it’s a -- if it’s a

     9   statement by a party opponent.

    10              And all these statements that you've presented --

    11   and I’m going to take them one at a time, and that it seems

    12   to me on its face, as an example, the -- you have the one

    13   claim by Mr. Marco and International, it’s clear on their

    14   pleadings that they’re both making a claim on the same

    15   jewelry.   Is that correct, at least part of it?

    16              MR. MARTICELLO:    Yes, Your Honor.   This is Robert

    17   Marticello for Jadelle.

    18              THE COURT:    Yeah.   And as far as -- get my --

    19   excuse me a second.     The -- as far as Mr. Noval, he

    20   basically says that he has the state court action, I

    21   believe -- is it state or district court?     I know it’s

    22   another court, Mr. Noval.    It’s a state court, right?

    23              MR. MARTICELLO:    Right.

    24              MR. RICHARDS:    Mr. Noval is in state -- this is

    25   Ronald Richards.   Mr. Noval is in state court.    Mr. Marco




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     1   is in federal court.

     2              THE COURT:   Right, okay.   Now, as far as

     3   Mr. Noval, he made, did he not -- and, again, this is just

     4   for Mister -- so the debtor’s counsel.

     5              By the way, I know people, when they’re -- when

     6   the pleadings say “putative” or “alleged,” the statute

     7   doesn't say it, so I refer to the debtor as the debtor,

     8   even though I know this is an involuntary, so that -- just

     9   so you understand, that’s -- there’s nothing in the statute

    10   about being an alleged debtor or so forth, but I understand

    11   why debtors do it.

    12              There he’s saying -- he has different amounts.

    13   In the state court he’s asking for 7 million, in the

    14   bankruptcy, 5.8, and he basically says -- and I can

    15   certainly understand how the straightforwardness of that

    16   is, “Well, I only put the amount 5.8 because that's the one

    17   that he can’t really dispute,” Mr. Marticello, that's what

    18   he says, right?

    19              MR. MARTICELLO:   That’s correct, Your Honor.

    20              THE COURT:   Right.   Well, that, on its face, the

    21   Ninth Circuit has ruled that that is an admission, in my

    22   opinion, that he either owed more, and therefore it is in

    23   dispute.   I mean, that was a recent change to -- and I

    24   assume you agree with that statement, Mr. Marticello?

    25              MR. MARTICELLO:   Yes, Your Honor.




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     1             THE COURT:   Right.    Now, as far as Mr. Noval, is

     2   that's basically the two things.    One is he has different

     3   amounts in different lawsuits for the same stuff, but also

     4   he’s admitted that the -- that only the amount that’s --

     5   anything else you want to say about Mr. Noval?

     6             MR. MARTICELLO:    Your Honor, I have other

     7   arguments, but I’m happy to --

     8             THE COURT:   Well, no, I want to say anything --

     9             MR. MARTICELLO:    -- rest if it’s

    10   (indiscernible) --

    11             THE COURT:   -- to add because since it’s your

    12   motion, I’ll let --

    13             MR. MARTICELLO:    Well, I --

    14             THE COURT:   -- you respond.

    15             MR. MARTICELLO:    With respect to Noval, Your

    16   Honor, I would highlight that I agree, Your Honor, the

    17   starting point is that Mr. Noval has admitted that he has

    18   taken inconsistent positions with his claim and stated a

    19   much lower claim in the involuntary petition because he’s

    20   attempting to avoid the dispute that the Ninth Circuit has

    21   said renders him ineligible to commence his case.

    22             I would also say that based on his judicial

    23   admissions, he alleges that he’s a lender and that he

    24   loaned Jadelle 5.8 million dollars, and that the loan is

    25   governed by the terms of the debt -- the agreement that's




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     1   attached to his complaint, but he’s seeking an amount in

     2   excess of what he has allegedly loaned to Jadelle.        He’s

     3   seeking seven million dollars and he says that seven

     4   million dollars is the value of the collateral that secured

     5   his loan.

     6               THE COURT:    Yeah, and I saw that --

     7               MR. MARTICELLO:    And so very simply, he --

     8               THE COURT:    -- and I’m somewhat astonished by

     9   that argument that you can do -- that he has a claim for a

    10   certain amount and if the collateral doesn't cover it or if

    11   it goes over that, then the debtor gets it back, right?

    12               MR. MARTICELLO:    Well, correct, Your Honor, so --

    13   but my point is as a matter of law his claim in bona fide

    14   dispute because he’s seeking amounts that he can never

    15   recover, an amount in excess of what he actually loaned,

    16   less payments received and interest on the loan.

    17               THE COURT:    Yeah, no, it’s --

    18               MR. MARTICELLO:    So I think that clearly puts --

    19               THE COURT:    It seems to me pretty clear, of

    20   course, maybe not so clear from the other side, but it

    21   seemed clear to me.      I mean, I’m the only person on this

    22   call that doesn't -- that is totally neutral.

    23               The next one, Mr. Marco --

    24               MR. RICHARDS:    Your Honor, this is Ronald

    25   Richards.   Can I address that before we go to the next




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     1   piece of --

     2               THE COURT:    No, not at this point.    I’ll hear

     3   from you.   This is not -- that's why I don’t like it on the

     4   phone.   You’ll get to be able to respond, but I just want

     5   to lay out the plaintiff’s side -- that is, the debtor’s

     6   side, rather.

     7               MR. RICHARDS:     Right.

     8               THE COURT:    But you’ll get a chance, obviously.

     9               Mr. Marco, there he says that the 7,676,000,

    10   et cetera, is not correct, but it’s really only 6,950,000.

    11   Is that correct, counsel for the debtor?

    12               MR. MARTICELLO:     That’s correct, Your Honor.

    13               THE COURT:    And he also -- it’s clear from the

    14   various pleadings that they and First International are

    15   both going after the same claim, that is, that

    16   interesting -- I guess I’m living in a different world, but

    17   I guess there are diamonds worth over a million dollars,

    18   but they’re fighting over the same diamond, are they not?

    19               MR. MARTICELLO:     Your Honor --

    20               COURTCALL OPERATOR:     And, Your Honor, this is the

    21   CourtCall operator.      Were they able to hear you again?

    22               THE COURT:    This -- is everybody still on the

    23   line?    Oh-oh.

    24               THE CLERK:    (Indiscernible)

    25               THE COURT:    Mr. Marticello, you're not on the




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     1   line?   Okay, I guess if you don’t hear me, you're not on

     2   the line.

     3               THE CLERK:    CourtCall, can you get them connected

     4   again, please?

     5               THE COURT:    Oh, Jesus.

     6               COURTCALL OPERATOR:    Counsel, I just have to

     7   confirm you all are still connected.

     8               THE COURT:    Mr. Marticello, are you on the line?

     9               UNIDENTIFIED VOICE:    Yes, we are.

    10               COURTCALL OPERATOR:    (Indiscernible) is connected

    11   as well.

    12               THE COURT:    Is everybody -- for the operator, is

    13   everybody -- why don’t you just state your name really fast

    14   if you can hear me.      Why don’t --

    15               MR. RICHARDS:    Ronald Richards.

    16               MR. MARTICELLO:    We’re -- Robert Marticello.

    17   We’re back, Your Honor.

    18               THE COURT:    Okay.

    19               MR. COHEN:    Baruch Cohen.

    20               THE COURT:    Okay, okay.   Now, you heard -- you

    21   heard what my question was that Mr. Marco has admitted that

    22   the claim is wrong in the bankruptcy, the 7.6 million is

    23   not correct.   The right amount is in the -- is 6.9 million,

    24   is that correct, Mr. Marticello?

    25               MR. MARTICELLO:    That’s correct, Your Honor.




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     1                THE COURT:   Right, and also they’re fighting over

     2   the same million-dollar diamond, are they not, that is, the

     3   First International?

     4                MR. MARTICELLO:   That’s correct, Your Honor.

     5                THE COURT:   Well, and so -- okay, that's -- and

     6   let me -- excuse me just one second.     And so anything you

     7   want to add as far as the problem with Mr. Marco’s claim

     8   being not subject to reasonable dispute?

     9                MR. MARTICELLO:   I mean, the other inconsistency

    10   we have with Mr. Marco, Your Honor, is that he’s -- he’s

    11   alleged that he consigned jewelry to Mr. Rechnitz and not

    12   Jadelle specifically, which also creates a factual dispute.

    13   And I think that --

    14                THE COURT:   Well, wasn't it Mister --

    15                MR. MARTICELLO:   -- with respect to all three --

    16                THE COURT:   I’m trying to remember -- excuse me.

    17   Wasn't it Mr. Marco that -- the two suits he has going,

    18   one’s against the principals and one’s against the

    19   bankruptcy, is that correct?

    20                MR. MARTICELLO:   That’s correct, Your Honor.

    21                THE COURT:   And in the one against the

    22   individuals, he had the same complaint, but just changed

    23   the names.

    24                MR. MARTICELLO:   Correct, Your Honor.

    25                THE COURT:   That’s -- and is that in -- and, now,




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     1   is that one in New York or is that here?      I just don’t

     2   remember.

     3               MR. MARTICELLO:   It is a district court here,

     4   Your Honor.    It’s before Judge Rice, I believe.

     5               THE COURT:   That’s here in LA?

     6               MR. MARTICELLO:   That’s correct, Your Honor.

     7               THE COURT:   Okay.   I would say if that's not

     8   inconsistent, it’s hard to imagine anything more.     I can

     9   understand he might think, “Well, they’re really one in the

    10   same,” but if you -- but if there’s obviously a dispute, it

    11   seems to me, if you sue the involuntary -- of course the --

    12   that's what this case is, an involuntary, against the

    13   princ -- the debtor, which is Jadelle Jewelry.      But if you

    14   go and sue the principals and say that the property was

    15   consigned to them, at least as far as I can see, it -- I

    16   can understand why he might take inconsistent positions.

    17   But for our purposes there’s clearly a dispute by his own

    18   mouth.

    19               Would you agree with that, I assume,

    20   Mr. Marticello?

    21               MR. MARTICELLO:   I agree.

    22               THE COURT:   Anything else about Mr. Marco?

    23               MR. MARTICELLO:   No, Your Honor.

    24               THE COURT:   Okay.   And then the final thing about

    25   International, then, in their case it’s basically the




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     1   dispute is because they and Mr. Marco are seeking in

     2   their -- as their claim the same at least -- it may be more

     3   than that, but at least the same diamond worth, you know,

     4   one-point-something million dollars.     Would that be a fair

     5   statement?

     6                MR. MARTICELLO:   That’s a fair statement, Your

     7   Honor.

     8                THE COURT:   Anything else about International, as

     9   far as the objection to their -- them being a petitioning

    10   creditor?

    11                MR. MARTICELLO:   I think the other inconsistency

    12   we have with First International is similar to what we have

    13   with Mr. Noval, in the sense that First International takes

    14   the position in the involuntary petition, under penalty of

    15   perjury, as the amount of his claim, but the declaration he

    16   filed, that his princ -- that the principal filed,

    17   Mr. Anter filed, in connection with the Trustee’s motion,

    18   says that the amount is higher.     And so I think you have

    19   this trend across the creditors where they’ve attempted to

    20   understate their claim in the petition to avoid the dispute

    21   that they know exists.

    22                THE COURT:   Well, which is -- which years ago

    23   that would have been fine.     I would have ruled that way.

    24   We wouldn’t probably be having, well, a lot of this

    25   discussion, except for the statute was changed, dealing




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     1   with the dispute as to the amount, as opposed to just the

     2   claim itself.    Anything you want to add till I hear -- I

     3   assume Mr. Richards will reply?     Anything that you want to

     4   say, Marticello, at this point?     You’ll get to respond to

     5   anything Mr. Richards says.

     6              MR. MARTICELLO:    Just two points, Your Honor.      I

     7   think, number one, I think when the Court talked about how

     8   clear this is, I agree with the Court that it’s clear

     9   because of the Ninth Circuit law that we have in the Blisik

    10   (phonetic) case, which makes clear that a dispute as to any

    11   portion of their claim strips the creditor of standing to

    12   file an involuntary petition.     And the Ninth Circuit case

    13   in Blisik also states why we have that rule in the Code.

    14   It’s because disputed claims are to be resolved elsewhere.

    15   Bankruptcy involuntary petitions is a measure of last

    16   resort.   It’s a disputed litigation claim that really needs

    17   to be resolved in another forum, like --

    18              THE COURT:   Well, let me --

    19              MR. MARTICELLO:    -- where these claims

    20   originated.

    21              THE COURT:   -- stop you.   You can -- I want to

    22   hear, just as far as the other side and then I’ll get back

    23   to you.

    24              Okay, now who --

    25              MR. MARTICELLO:    That’s fine, Your Honor,




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     1   understood.

     2             THE COURT:    Now -- because there were several

     3   people representing the various folks, but let me -- now, I

     4   know, Mr. Richards, you represent at least Mr. Noval, is

     5   that correct?

     6             MR. RICHARDS:     Noval.   That’s correct.

     7             THE COURT:    Now as far as the other two, are you

     8   going to deal with them or we have other counsel, Mr. Lev?

     9   Are you going to deal just with Mr. Noval --

    10             MR. RICHARDS:     No, Your Honor, I’m --

    11             THE COURT:    -- or are you going to deal with all

    12   three?

    13             MR. RICHARDS:     I’m going to deal with Mr. Noval

    14   in the global issue of using the other pleadings and

    15   Mr. Cohen will address the comments the Court just made

    16   about his specific claims, but it may be rendered moot by

    17   some of my general positions.

    18             THE COURT:    Well, I know your position.      I’ve

    19   already -- just so you understand, I’ve made my ruling, and

    20   I don’t think you quite got it.      I can take judicial

    21   notice, and generally speaking, not to the truth of the

    22   matters asserted, but that’s just by judicial notice.         But

    23   if you're dealing -- if you're saying that I can’t -- I

    24   totally disagree, the cases are all over the place,

    25   including my own, that -- so that's my ruling.       That’s




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     1   not -- that was not a suggestion, that I will consider and

     2   have considered, I’m going to consider admissions by the

     3   various people and all the things we’ve been discussing.

     4   So I’d like you to --

     5              MR. RICHARDS:    Yeah, I know --

     6              THE COURT:   -- given that --

     7              MR. RICHARDS:    Your Honor, I’m going to

     8   (indiscernible) your point.

     9              THE COURT:   -- I know you may not agree with

    10   that, but -- well, let me ask you.    You don’t agree with

    11   that proposition?

    12              MR. RICHARDS:    No, you can take judicial notice

    13   of admissions.   I don’t disagree with that, but what I do

    14   disagree with is the fact that in a state court pleading,

    15   the fact that you pled an amount that’s inconsistent in the

    16   petitioning creditor amount does not create a bona fide

    17   dispute.

    18              When you file claims in a bankruptcy court, you

    19   typically file the claim.    You don’t add in attorney’s fees

    20   or costs, where in state court, if there’s a default,

    21   you're required to put the highest number possible so

    22   there’s a due process issue if the person defaults.      The

    23   pleadings rules are totally different, so --

    24              THE COURT:   No, but wait a minute --

    25              MR. RICHARDS:    -- you never --




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     1               THE COURT:   -- you’re forgetting a little thing

     2   about Mr. Noval, who says in his pleading that he only put

     3   the principal amount absolutely not in dispute.     You read

     4   that, did you not?

     5               MR. RICHARDS:   Yeah, but the reason why that was

     6   put before you was because the principal amount is not in

     7   dispute.   The number is not a static number.    Interest is

     8   always accruing --

     9               THE COURT:   No, that --

    10               MR. RICHARDS:   -- there’s always fees accruing.

    11               THE COURT:   No, no, no, that's -- that isn't what

    12   he said.   Do you want me to quote it?   “Only the principal

    13   amount, absolutely no chance of being disputed.”     Principal

    14   amount.    That’s what he’s talking about.   That has no

    15   chance of being disputed.

    16               I hear what you're saying.   He has basically

    17   admitted that this -- in my opinion, you can disagree if

    18   you wish, but it’s clear to me that he is saying he left

    19   off claims, and it’s -- and that's all the testimony we

    20   have.

    21               The problem is -- Mr. Richards, with your side is

    22   you didn't bother in responding to all this.     So the record

    23   I have right before me is that there’s -- that as far as

    24   Mr. Noval, he has not listed the entire claim, period.      He

    25   hasn't explained what you are telling me.    That’s not in




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     1   his -- that’s no evidence before me, so I --

     2              MR. RICHARDS:   I know, but, Your Honor, it’s a

     3   12(b) motion, and you're not -- we didn't want to fall into

     4   the trap of converting it to a Rule 56 motion.

     5              THE COURT:   No, it’s not a --

     6              MR. RICHARDS:   If anything --

     7              THE COURT:   -- this is not a summary judgment.

     8   You don’t get it.   The cases are quite clear that normally

     9   in a 12(b)(6) you take it on its face, subject to things

    10   that I can appropriately take judicial notice.     This is not

    11   a summary judgment motion.    This is a 12(b)(6) motion.    And

    12   the law is quite clear that in that motion, not converting

    13   this to a summary judgment, that the question before me is

    14   whether or not there’s a reasonable dispute.     If he wanted

    15   to respond, that’s the only issue.    So I hear what you're

    16   saying.   This is not a summary judgment.    This is a

    17   12(b)(6) motion, and I can’t consider --

    18              MR. RICHARDS:   I know, but --

    19              THE COURT:   -- the admissions.

    20              MR. RICHARDS:   Right, but when the -- by

    21   responding to the admissions and getting -- and presenting

    22   testimony, we believed that that's -- that converts

    23   mister -- now you're weighing credibility.    We’re simply --

    24   we simply set forth a prima facie claim of the amount that

    25   we’re contending is owed that is not in dispute.     You can’t




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     1   create a dispute by saying, well, in another case, in a

     2   different pleading standard, he’s now requested all of his

     3   expenses and interest, et cetera.     We don’t have to take

     4   that risk when we filed the petition.      We filed the

     5   petition with a clean claim that is the principal amount,

     6   just like even on the claim form for this district --

     7                THE COURT:   Well, what --

     8                MR. RICHARDS:   -- because we tell you to add --

     9                THE COURT:   -- then what -- well, then what --

    10   where -- that statement was made in what pleading?        And I

    11   have it in front of me, just make sure you understand

    12   that -- only the principal.     That was in what -- what

    13   pleading was that made in?

    14                MR. RICHARDS:   In our opposition to the motion to

    15   dismiss.

    16                THE COURT:   No, no, no, for -- in the oppo --

    17   where did he make that statement?

    18                MR. RICHARDS:   About what?

    19                THE COURT:   That he only included --

    20                MR. RICHARDS:   What specifically, Your Honor?

    21                THE COURT:   Let me ask you that.   Mister -- let

    22   me ask the debtor’s counsel.     Where did you make that

    23   statement?

    24                MR. MARTICELLO:   Regarding the calculation of the

    25   claim?




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     1             THE COURT:    Yeah, that he only --

     2             MR. MARTICELLO:    Sorry, this is Robert Marticello

     3   for the debtor.

     4             THE COURT:    Yeah, Mr. Marticello.

     5             MR. MARTICELLO:    It’s in docket number 16.

     6   That’s Mr. Noval’s declaration, page 6 --

     7             THE COURT:    That’s his declaration.

     8             MR. MARTICELLO:    -- line --

     9             THE COURT:    That’s not in the state court

    10   litigation.    That’s his declaration.

    11             MR. MARTICELLO:    Oh, correct, Your Honor.    I’m

    12   sorry, I -- yeah, correct.    In the state court there’s --

    13   are you asking what -- if there was a statement regarding

    14   the principal amount owed?

    15             THE COURT:    Where he made that statement, that he

    16   only included the things that are not in dispute?

    17             MR. MARTICELLO:    The statement -- that statement

    18   is in his declaration filed with the Trustee motion.

    19             THE COURT:    Right, where he said --

    20             MR. RICHARDS:    It’s not in opposition to the --

    21   that’s where -- but that's not relevant to this motion.

    22   We -- the -- we -- in this motion we didn't -- we don’t

    23   need to -- we don’t -- we didn't want to fall into the trap

    24   of getting into --

    25             THE COURT:    No, no, wait, stop.




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     1               MR. RICHARDS:   -- providing witness testimony --

     2               THE COURT:   I’m asking you a very simple

     3   question.   That statement was not in the state court.       That

     4   was in his declaration before this Court, was it not?

     5               MR. RICHARDS:   In opposition to the motion to

     6   dismiss or the Trustee motion?

     7               THE COURT:   Well, it doesn't matter, does it?

     8   It’s a statement that he made.

     9               MR. RICHARDS:   Yes, it does.

    10               THE COURT:   It’s an admission --

    11               MR. RICHARDS:   It actually does.

    12               THE COURT:   -- is it not?     It was a statement in

    13   a declaration.   I have a whole pile of papers before me,

    14   but I know I’ve read it.      I can’t remember which one.

    15   Mr. Marticello, which -- the declaration was in regards to

    16   what pleading?

    17               MR. MARTICELLO:    It is document number 16.    It’s

    18   the trust -- it’s the declaration of Victor Franco

    19   submitted in support of the motion for a trustee.

    20               THE COURT:   Okay.   And --

    21               MR. MARTICELLO:    And it --

    22               THE COURT:   -- I don’t have that -- actually, I

    23   have it in front of me, but can you read -- do you have

    24   that in front of you?    Can you read the actual statement?

    25               MR. MARTICELLO:    I do, Your Honor.   He says, at




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     1   line 22:

     2                “In fact, in calculating my debt for inclusion in

     3           the involuntary petition, I took the most conservative

     4           approach by including the principal amount owed and an

     5           amount that had absolutely no chance of being

     6           disputed.”

     7                THE COURT:   Okay.   Now, Mr. Richards, that's in

     8   this court.    That was not in state court.    I’m going to

     9   leave it, but I’m telling you right now, I don’t buy your

    10   argument.

    11                MR. RICHARDS:   Well, Your Honor, there’s nothing

    12   on --

    13                THE COURT:   That’s in this particular court and

    14   part of these proceedings before me.      He is stating exactly

    15   what the Ninth Circuit says is subject to reasonable

    16   dispute.    I’ll give -- do you want to say one more -- a

    17   couple words on that, but I -- that is so obvious to me

    18   what he’s doing, what the Ninth Circuit says you can’t do.

    19   And he’s not talking about fees in the state court or

    20   anything.    He’s talking about the claim in this court.

    21                MR. RICHARDS:   I know, but --

    22                THE COURT:   So do you have any final statement

    23   about Mr. Noval?     And this is not --

    24                MR. RICHARDS:   Yes, Your Honor, and

    25   unfortunately --




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     1                THE COURT:   -- by the way, summary judgment.

     2   This is a 12(b)(6) motion.

     3                MR. RICHARDS:   I know, but, Your Honor,

     4   unfortunately, this state -- this testimony is being

     5   misunderstood.    He’s explaining in the declaration that the

     6   claim that he’s making in this case is not subject to

     7   dispute.   He’s not compelled to put on evidence of interest

     8   or other things that they could dispute.     He’s following

     9   the procedures.    When you make a claim in the Central

    10   District, you put the principal amount.     You don’t put all

    11   the other parts of the claim.     So he’s explaining to you

    12   why this --

    13                THE COURT:   Well, for instance --

    14                MR. RICHARDS:   -- there’s an inconsistency in the

    15   statement.

    16                THE COURT:   -- let’s say there are attorney’s

    17   fees involved in the claim.     Those -- and those might be

    18   disputed --

    19                MR. RICHARDS:   (Indiscernible) --

    20                THE COURT:   -- on not being reasonable.   Isn't

    21   that what the Ninth Circuit is talking about?

    22                MR. RICHARDS:   No, Your Honor, because attorney’s

    23   fees are only by a motion.     You wouldn't put stuff that

    24   hasn't been ruled on yet.     In the original claim you only

    25   put the principal.    You can’t put stuff that is not decided




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     1   yet in the future, so --

     2               THE COURT:    Oh, you're not saying --

     3               MR. RICHARDS:    -- when you petition, if

     4   someone’s --

     5               THE COURT:    I’ve seen claims --

     6               MR. RICHARDS:    -- you don’t --

     7               THE COURT:    -- all the time where they say, my

     8   claim is such-and-such plus attorney’s fees allowed by the

     9   contract.

    10               MR. RICHARDS:    Well, that's because --

    11               THE COURT:    Doesn't that happen all the time?

    12               MR. RICHARDS:    If there’s a contract -- if

    13   there’s a contract that calls for prevailing party

    14   attorney’s fees, you have to first win.        So, no, you

    15   wouldn't -- that would only be if there’s like an agreed-

    16   upon amount in a contract for attorney’s fees --

    17               THE COURT:    Well, in any case --

    18               MR. RICHARDS:    -- like a specific amount.

    19               THE COURT:    -- Mr. Richards, I’m going to end the

    20   discussion on this.      I hear you.   I just totally disagree

    21   and not further any -- and he is not -- because his -- he

    22   has stated it himself.      You can twist it and put any spin

    23   you want on it, but it’s absolutely clear, his statement

    24   that he’s -- what he said, and that he is stating that he

    25   is only listing the amount, absolutely it can’t be




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     1   disputed, and that tells me that there is more to it, he’s

     2   admitting it.    So I am not going to allow him as a

     3   petitioning creditor.

     4              Who is going to talk about Mr. Marco?

     5              MR. COHEN:    Your Honor, that would be me, Baruch

     6   Cohen.

     7              THE COURT:    All right.   Well, mister -- you've

     8   seen where, in the -- he and International going after the

     9   same diamond, are they not?

    10              MR. COHEN:    We do not agree that they’re going

    11   after the same diamond.     In fact, I didn't see any evidence

    12   presented by the putative debtor that’s it’s the exact same

    13   jewelry.   We liq --

    14              THE COURT:    It looked like to me, in the claim --

    15              MR. COHEN:    I did not see the exact same jewelry.

    16   Plus, you know, we have a total of approximately 6.9.       You

    17   know, there’s been transactions between the parties as to

    18   what the -- both of --

    19              THE COURT:    No, but wait a minute.

    20              MR. COHEN:    -- these balances, but we --

    21              THE COURT:    Didn't he say it in the state court

    22   action that -- isn't the claim 7.6?

    23              MR. COHEN:    The --

    24              THE COURT:    Take a look at --

    25              MR. COHEN:    That was in addition -- yeah --




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     1                THE COURT:   -- his statement in the petitioning

     2   creditors.     Isn't it 7.6 million, no 6.9?

     3                MR. COHEN:   Correct, I believe so.

     4                THE COURT:   Okay.   So right on the face of it --

     5                MR. COHEN:   But then, again -- but we --

     6                THE COURT:   -- he’s admitting in the other

     7   action --

     8                MR. COHEN:   -- but let me just finish, Your

     9   Honor.    The point --

    10                THE COURT:   -- that it should be less than the

    11   7.6.

    12                MR. COHEN:   Well, you know, when we get a letter

    13   from debtor’s counsel saying that they want to pay my

    14   client -- you know, this is the February 4th, 2020 letter.

    15   So regardless of what the number was from one pleading to

    16   the other, when Rechnitz’s or Jadelle’s lawyer writes us

    17   saying, “We want to pay you,” you know, that’s the debtor

    18   stating that, “We have no issue as to your amount, as to

    19   Marco.”   And the Court hasn't addressed that, but I don’t

    20   see how you could get around, when the debtor writes the

    21   letter and saying, “Hey, you know, we have a family member

    22   who wants to pay you,” not raising any dispute as to

    23   amount --

    24                THE COURT:   I totally disagree.

    25                MR. COHEN:   -- not raising any --




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     1                THE COURT:   I hear you, and you’re a fine lawyer,

     2   but that’s just -- and as a matter of fact from the other

     3   side, namely on your side, that there’s this family member

     4   out there.     I don’t think you jump and down and say, “Wow,

     5   they’re going to pay.”     Would that be a fair statement?

     6                MR. COHEN:   That’s not necessarily accurate.

     7   This is a family member who’s quite a philanthropist who

     8   has a good reputation, you know, of being philanthropic.

     9   He’s well known within the -- to our client.       He’s well

    10   known within the Orthodox Jewish community.       So without

    11   dropping any names, when they say that, you know, Bill

    12   Gates is paying your bill you take note.        And when we get a

    13   letter saying, “Hey, we’re paying your bill, you know,

    14   we’re just trying to fund it” and the debtor’s letter says

    15   absolutely nothing about there being a dispute then right

    16   now what that --

    17                THE COURT:   Well, no.   I --

    18                MR. COHEN:   By the way --

    19                THE COURT:   I hear you.   But let me ask you this.

    20                MR. COHEN:   And Marco is now --

    21                THE COURT:   This -- isn’t he suing -- but getting

    22   back to Mr. Marco, isn’t he suing the -- for the same

    23   jewelry, the individuals, in state court?

    24                MR. COHEN:   I do not be -- no.    We’re suing the

    25   Rechnitzes in state court.




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     1               THE COURT:   For the same jeweler.   They’re not

     2   the --

     3               MR. COHEN:   We are not suing Jadelle.

     4               THE COURT:   Doesn’t the state court action say

     5   the matter is --

     6               MR. COHEN:   I do not believe it’s --

     7               THE COURT:   I’ve seen the complaint.    It says --

     8               MR. COHEN:   I’m -- I do not believe it --

     9               THE COURT:   -- that the matter is consigned where

    10   it’s consigned to the -- he took the same language from

    11   here and said -- in this case he says, “These jeweler items

    12   were consigned through the debtor.”    And in the state court

    13   action he says the same language, they were consigned to

    14   the Rechnitzes.    Isn’t that the correct?

    15               MR. COHEN:   You are correct, but it’s

    16   interchangeable because the invoices are both to Jadelle

    17   and to Jona.

    18               THE COURT:   Well, you say that but he didn’t say

    19   that.    How is they didn’t -- he didn’t say -- what he’s

    20   saying in the one complaint is --

    21               MR. COHEN:   I think we’re --

    22               THE COURT:   He doesn’t mention Jadelle at all,

    23   does he, in the state court action?

    24               MR. COHEN:   Because the state court was stayed

    25   by -- it was a U.S. District Court matter, Your Honor,




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     1   before --

     2               THE COURT:   Okay.    District Court.   Okay.

     3               MR. COHEN:   But in that matter -- that matter

     4   because Jadelle already was -- there was an involuntary

     5   already placed against it, so there was -- you know, there

     6   was no real need to identify Jadelle as the responsible

     7   party when in essence the invoices say both.

     8               THE COURT:   No.   You’re talking -- you’re adding

     9   something to it.   You’re saying what the invoices say.        In

    10   one pleading it says it’s the individuals that -- consign

    11   to it and then the involuntary says there was -- it was the

    12   debtor Jadelle.    Those are -- you don’t think those are

    13   inconsistent positions --

    14               MR. COHEN:   I think -- I think Peter Marco --

    15               THE COURT:   -- that this lease -- not as a

    16   matter --

    17               MR. COHEN:   No, because when --

    18               THE COURT:   -- not to decide it ultimately

    19   because they might conceivably both be liable.       But I’m

    20   saying as far as whether or not there is a -- on the face

    21   of it a dispute as to who’s liable.      Why does that not show

    22   a dispute, just on its face?

    23               MR. COHEN:   We don’t believe it’s a dispute.

    24   They are one and the same.       It’s for another substance.

    25               THE COURT:   Well, you’re -- again, you say




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     1   they’re one and the same but isn’t that subject to dispute?

     2   They may say, “No, it’s not.”

     3               MR. COHEN:   We lost the judge again, CourtCall

     4   operator.

     5               THE COURT:   You can’t hear me?    Oh-oh.

     6               ATTORNEYS:   We hear you now, Your Honor.

     7               THE COURT:   I’m back.

     8               MR. RICHARDS:   Yeah.

     9               And, you know, are you sure, Mr. Cohen, that

    10   you’ve looked at the pleading because I have and it seems

    11   to me that there -- that International and Mr. Marco are

    12   going after at least one of the same items.      Have you

    13   looked at the documents?       Are you telling me that they

    14   don’t overlap?

    15               MR. COHEN:   They’re mis -- see, that’s where the

    16   confusion is.    There may be an overlap but that in terms of

    17   the trans --

    18               THE COURT:   Well, not a maybe.    They -- it seems

    19   to me there is.    Am I -- I’m asking you as an officer of

    20   the court, have you actually looked at the claims as to

    21   whether or not there really is, at least as to this 1.2

    22   million or whatever it’s worth, this diamond, are you

    23   telling me that that’s not the case?

    24               MR. COHEN:   No.    I’m saying there is overlap but

    25   I’m saying it’s a confusing web of transactions --




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     1              THE COURT:   No, no.    Wait a minute.

     2              MR. COHEN:   -- with Rechnitzes --

     3              THE COURT:   Back up.

     4              MR. COHEN:   -- Jadelle and my client.

     5              THE COURT:   That isn’t what you just told me

     6   about a couple minutes ago.     You said, no, there’s no

     7   overlap.   Be very careful, Mr. Cohen, that --

     8              MR. COHEN:   No, what I’m saying is I don’t see

     9   ev -- Your Honor, I’m very careful.     I said I don’t see

    10   evidence of any overlap.

    11              THE COURT:   Okay.

    12              MR. COHEN:   It’s hard to --

    13              THE COURT:   Let me -- let me go back to

    14   Mr. Marticello.   Why don’t you point out to it?      I’ve seen

    15   it but I want you to help Mr. Cohen out.

    16              MR. MARTICELLO:    Your Honor, the evidence is in

    17   Mr. Marco’s pleading.   It is page -- it’s Bates-stamped 100

    18   of Exhibit 7 where it lists First International and the --

    19   Diamond and the amount.

    20              THE COURT:   And that -- the Diamond -- I forget.

    21   I looked at it and my eyes kind of glazed over, but it does

    22   describe -- I don’t know what all those numbers mean, but

    23   why don’t you -- do you have in front of you what the -- I

    24   don’t know, is that 16 carat?      I don’t know.    I don’t know.

    25   I’m not a jeweler so I have no idea.




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     1              MR. MARTICELLO:     Yeah, Your Honor, it -- under

     2   the description -- and this is Robert Marticello for the

     3   debtor.

     4              THE COURT:   Yes.

     5              MR. MARTICELLO:     Under the description it says

     6   EID -- EID NT 13.62 d/bbs1, then the number sign, and then

     7   the number sign, and then the number is 11776564.

     8              THE COURT:   And again -- just for the record

     9   again --

    10              MR. MARTICELLO:     And the Court --

    11              THE COURT:   -- you’re reading from what?

    12              MR. MARTICELLO:     I’m reading from -- this is our

    13   request for judicial notice in support of our motion to

    14   dismiss.   It’s Exhibit 7, Bates-stamped 100.

    15              THE COURT:   No, no.    What is the document?   I

    16   think I have it but just for the record to be clear what

    17   are you reading from?

    18              MR. MARTICELLO:     The doc -- oh, the document,

    19   it’s Marco’s third -- amended third-party complaint.

    20              THE COURT:   All right.    And that’s filed in the

    21   district court?

    22              MR. MARTICELLO:     Correct.

    23              THE COURT:   Right.    And now shifting to

    24   International, they’re -- how -- they show that they’re

    25   looking for the same thing.      How do you connect the two?




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     1   What about things from them?

     2                MR. MARTICELLO:    Well, one, Your Honor, the place

     3   that I just read in Marco’s third amended complaint, it

     4   actually lists First International as the vendor for that

     5   particular item, but also coming from Mr. Anter in this

     6   Court he submitted the declaration in support of his motion

     7   for a trustee --

     8                THE COURT:   Right.

     9                MR. MARTICELLO:    -- which is document number

    10   15 -- and he states that he consigned certain items to

    11   Jadelle and in support of that item he attaches his memos

    12   and the memo lists the same item.

    13                THE COURT:   All right.   Well, that was my

    14   recollection.    I didn’t remember all the documents.

    15                But now, Mr. Cohen, are you -- do you -- are you

    16   listening?     Do you now see that they’re talking about the

    17   same item?

    18                MR. COHEN:   So, Your Honor, I’m not sure they’re

    19   the same item.    We -- first of all, First International did

    20   not file a lawsuit yet.

    21                THE COURT:   No.   They haven’t filed a lawsuit.

    22                MR. COHEN:   Number two, that this --

    23                THE COURT:   Anyway, let’s put it this way.

    24                MR. COHEN:   And the --

    25                THE COURT:   It is absolutely clear to me that




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     1   they -- and it’s not unusual -- but they’re making the same

     2   claim and they may not even know amongst themselves through

     3   all these consignments and so forth, but it’s absolutely

     4   clear to me that they’re going after the same diamond.       And

     5   again, I don’t write the law.     I don’t make the law.    But

     6   it's clear that in that case they’re not only talking about

     7   the amount of the claim but actually as to what’s included

     8   in the claim.

     9             So, Mr. Cohen, do you have anything to add to

    10   either Mr. Marco or -- you’re dealing with International as

    11   well, right?

    12             MR. COHEN:     You’re right, Your Honor.   I’m

    13   dealing with both and the problem is that the description

    14   doesn’t match in both.    And in an ideal world if they did

    15   match I would be more ready and eager to acknowledge and

    16   submit to the point, but they don’t match and therefore I’m

    17   not 100 percent sure that it’s the same.

    18             THE COURT:     Okay.

    19             MR. COHEN:     But --

    20             THE COURT:     Well, there is reference I am

    21   convinced --

    22             MR. COHEN:     Yeah.

    23             THE COURT:     Because there is reference in

    24   Mr. Marco’s papers that it dealt with International.

    25   Obviously, the money we’re talking about at this level a




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     1   lot of these, you know, outfits and people are dealing with

     2   each other it’s not unusual.     But I am convinced that --

     3              MR. COHEN:   Right.   But the additional point,

     4   Your Honor --

     5              THE COURT:   Yes.

     6              MR. COHEN:   The additional point, Your Honor, is

     7   that Jadelle issued 2.1 -- $2,122,760 worth of bogus

     8   checks.   There is absolutely no dispute that Jadelle issued

     9   that amount of bounced checks.

    10              THE COURT:   Well -- and, Mr. Cohen, stop.

    11              MR. COHEN:   Well, even --

    12              THE COURT:   You’re changing the subject.    I --

    13   you know, it is pretty clear to me -- and this is not a

    14   criminal court.    This is just a bankruptcy court dealing

    15   with an involuntary.    I have no doubt from reading all

    16   these pleadings, and the debtor doesn’t say they’re not

    17   correct, that there’s all kinds of stuff going on and

    18   jewelry that’s missing and so forth.     So I don’t doubt that

    19   for a second.

    20              But the only question for me is a very simple one

    21   really, is whether or not there is a -- under the -- under

    22   bankruptcy law whether there is a dispute as to the amount

    23   of the debt.    So I have no doubt from these pleadings that

    24   probably millions of dollars are probably at least owed by

    25   the debtor.    That I have no doubt about it.   The question




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     1   is how much?    And that’s what this is about.    So it seems

     2   to me --

     3               MR. RICHARDS:   Your Honor, excuse me.      Will we be

     4   allowed to --

     5               THE COURT:   -- that at least as far as people who

     6   obviously work together, Marco and International, there is

     7   an overlapping claim.

     8               MR. RICHARDS:   Your Honor, we should be allowed

     9   to -- this is Ronald Richards.     We should be allowed to

    10   amend our pleadings to -- if that’s an issue of any --

    11               THE COURT:   No.   Let me stop you.   No.    This is

    12   not a -- this -- no, this is a very simple matter.         This is

    13   not a Ping-Pong match.

    14               So as far as all three of these it is clear to me

    15   and for the re -- this is a discussion that there are

    16   disputes I’ve already indicated as to the amount, as to who

    17   they’re owed to, the dispute as to it and I’ve listed

    18   pretty much all of them.

    19               So, you know, there’s not -- this is not a

    20   pleading where you can amend.     This is dealing with the

    21   petition.   But what I am going to do as follows.        Again --

    22   and this is not the normal complaint, answer and so forth.

    23   So the Rule 12(b)(6) does apply but in kind of an unusual

    24   way.   What I’m going to do as follows.

    25               It -- for the reasons I’ve stated on the record I




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     1   agree with the debtor that these three have disputes, at

     2   least as to the amount and/or as to the claim itself.

     3   However, again, I’m not ruling -- of course, I’m

     4   reiterating myself ad nauseum that indeed that’s the final,

     5   the ult -- at the end of the day those claims can’t be

     6   proven.   I’m just talking about whether petitioning

     7   creditor -- I don’t doubt that they have claims.      It’s just

     8   a question of whether they’re subject to the dispute.

     9   That’s what’s before me.     A totally different question.

    10              But what I may do is this and that’s why I

    11   originally -- and, by the way, so I -- what I’m going to do

    12   is the following.    I am going to require the -- both -- we

    13   have two -- we -- there are two principals of this debtor,

    14   right, the Rechnitz -- however you pronounce their last

    15   name -- but that is correct, right, from the debtor -- from

    16   the debtor’s standpoint there are two?       They’re the -- the

    17   only two people in the LLC.     They’re the only members, is

    18   that correct?

    19              MR. MARTICELLO:    To my -- Your Honor, this is

    20   Robert Marticello for the debtor.     My understanding is that

    21   Rachel Rechnitz is the member.     I -- to my knowledge

    22   Mr. Rechnitz is not a member.

    23              THE COURT:    Well, what is he?    I thought he -- I

    24   thought you -- what --

    25              MR. RICHARDS:    Your Honor, he was --




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     1               THE COURT:   In an LLC you’re either a member or

     2   you’re not.

     3               MR. RICHARDS:   Your Honor, Ronald Richards.

     4               THE COURT:   I mean, I don’t understand.    Why is

     5   he not a member?

     6               MR. RICHARDS:   His wife is the member.    She’s the

     7   member.    He’s the -- he’s a member under community property

     8   law.

     9               THE COURT:   No, no.

    10               MR. RICHARDS:   And he’s the one that frank --

    11               THE COURT:   Is he an actual member on the papers?

    12               MR. COHEN:   He is not, Your Honor.   This is

    13   Baruch Cohen.    He is not a member.

    14               MR. RICHARDS:   They objected to all of our

    15   discovery requests, all of them that we sent, Your Honor,

    16   that were -- last night we received blanket objections.

    17               THE COURT:   As to what?   I don’t have that before

    18   me.    Because what I’m going to do --

    19               MR. RICHARDS:   We --

    20               THE COURT:   So you’re telling me that again the

    21   community -- obviously, because of the community property

    22   is one thing.    I am going to order the debtor -- so she’s

    23   basically the one who runs the business end, is that

    24   correct?

    25               MR. RICHARDS:   No.    Mister Rechnitz -- Jonah




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     1   Rechnitz runs the business.

     2               THE COURT:    Excuse me?

     3               MR. RICHARDS:    Jona Rech -- this is Ronald

     4   Richards -- Jona Rechnitz runs the business.       His wife has

     5   been listed as a member, but the person that’s committing

     6   these frauds and tendering the worthless checks is Jona

     7   Rechnitz in connection with his wife.       They were married.

     8   They have six children --

     9               THE COURT:    Okay.

    10               MR. RICHARDS:    -- together.

    11               THE COURT:    Well, what I’m going to tell you what

    12   I’m going to do because I hear --

    13               MR. RICHARDS:    It’s a community property

    14   business.

    15               THE COURT:    -- what’s going on.   In all the

    16   pleadings it seems like the -- they’re both involved.        I

    17   don’t know which one is more involved.       I have no idea.

    18               But I am going to do this.      I am going to require

    19   the debtor -- and that is both Mr. and Mrs. Rechnitz -- to

    20   file a declaration.      I’m going to give you -- I’m going to

    21   give them one week from today, that is they have to file a

    22   complete list of all creditors of the debtor.       Those are

    23   the only two people I know were involved and they’re going

    24   to have to -- I’m giving them one week.       They would know

    25   who the various creditors are.     They have one week from




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     1   today to file that, listing all creditors of the debtor

     2   with the nature of the debt.    Just a summary but just, you

     3   know, for its -- and jew -- consigned jewelry, what have

     4   you, because you had said originally -- I think one counsel

     5   for the debtor that they’re all paying their debts as they

     6   become due.    I forget who made that statement but one of

     7   you did.

     8              So obviously somebody and I’m not going to be --

     9   worry about which one -- I want a declaration from both of

    10   them signing it as to who the -- who are the creditors, how

    11   much is owed, the nature of the debt, contact information.

    12   namely the address, email, phone, anything possible in

    13   order to allow the creditors, as you indicated in your

    14   pleadings, to be able to get other people involved.

    15              I know at least two of the creditors here have

    16   filed suit.    International hasn’t.   So -- but nevertheless

    17   the law does require now with the Oved case with the big

    18   problem with the judge.    I don’t know reading that case was

    19   fascinating as to how the things moved so quickly.     I’m

    20   only trying to be fair to both sides.    But it seems to me

    21   within one week the debtor and the joint I’m ordering both,

    22   both of the principal -- the principals, that would be Mr.

    23   and Mrs. Rechnitz, to be able to order under penalty of

    24   perjury to file a statement of all the creditors.

    25              And then after that I’m going to -- I am going to




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     1   give the -- after receipt of that list I’m going to give --

     2   and I’ll give some dates -- I’m going to give the creditors

     3   30 days to contact them.     This is not a matter of just

     4   discovery, just to be able to -- with the really creditor

     5   to be able to see whether they would join in.      They may

     6   very well want to.

     7              And then what I’m going to do, I’ll give you the

     8   actual dates.    That should be plenty of time.    That is 30

     9   days after you get the receipt.     And if the debtor -- the

    10   principals play games and don’t give adequate information

    11   that will be a real problem.     Then I’m going to continue

    12   this for a status conference.     I’ll give you a specific

    13   date for that.

    14              And at this particular time, even though the --

    15   and I’m not going to dismiss the case.     I will be preparing

    16   the order in this case, by the way.     I’m not going to

    17   dismiss it and I’m not going to appoint a trustee.      I see

    18   no reason whatsoever at this point for appointing a

    19   trustee.   I think the allegations are the debtor did some

    20   really -- the principal -- I know the debtor did some

    21   really bad things, but I see no -- I think in this

    22   particular case if a trustee ultimately is appointed it’s

    23   going to be preferences, fraudulent transfers and searching

    24   out things.    But I doubt seriously, from what I’ve heard,

    25   that if in the premises they’re going to find at that




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     1   location an actual thing.

     2                So I see -- I don’t see at this point any need

     3   for a trustee, so I will prepare an order without

     4   prejudice.     I’m denying the motion for a trustee.   I’m

     5   going to -- so I’m going to -- I will set this for a

     6   further status conference to see whether or not the debtors

     7   have complied and this -- again, this is under penalty of

     8   perjury.   So I would strongly suggest that they tell the

     9   truth because, if not, they know the consequences.      I’m

    10   required by law to refer it to the Justice Department.        So

    11   I fully expect that in far -- and this is not a -- just a

    12   request.   This is an order.    If the debtors -- if both the

    13   debtors --     principals, do not comply with my order I will

    14   enter an order for relief.     So I want to make it very clear

    15   at this point I’ve expressed my view as to, you know, the -

    16   - why these particular creditors or these who are subject

    17   to dispute -- not that the claims are invalid, but just

    18   that they’re subject to dispute -- and I’m required by law

    19   to give them an opportunity and give them 30 days from

    20   receipt of these declaration from the joint declaration

    21   from the principals as to a listing of all of their

    22   creditors.

    23                Any -- and again, I’m not going to change what

    24   I’ve said and I’ll give you specific dates, but any -- let

    25   me ask from the debtor’s standpoint.     This is really from




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     1   the debtor, Mr. Cohen, or -- do you -- so if you have any

     2   question about what I’ve ordered the debtor -- the

     3   principals of the debtor to do?

     4                MR. MARTICELLO:   I -- Your Honor, this is Robert

     5   Marticello for the debtor.     I don’t have a question, but I

     6   would like to just make one point if I could, Your Honor,

     7   because the Court stated it’s so required to offer an

     8   opportunity to join and I actually do not think that is

     9   required under the Vortex Fishing cases in the Ninth

    10   Circuit --

    11                THE COURT:   I’m not saying it’s required.     I am

    12   requiring it.

    13                MR. MARTICELLO:   Okay.   I understand.

    14                THE COURT:   Do you follow?   This is -- I’m trying

    15   to -- I am -- I have the power to do it and I’m doing it.

    16   I don’t see anything unreasonable.      The -- again, the law

    17   is kind of a -- it’s pretty clear to me after reading the

    18   various opinions that I have to, and I will since I’ve

    19   disqualified, at least for being petitioning creditors --

    20   the three petitioning creditors and they have to have a

    21   reasonable time to be able to see if they can get other

    22   creditors to join in.     It’s that simple.   What’s -- so

    23   what’s so difficult about that to understand?

    24                And who was it that was just speaking?

    25                MR. MARTICELLO:   It’s not -- Your Honor, I




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     1   apologize.     This is Robert Marticello for the debtor.

     2                THE COURT:   Yeah.   Well -- and that’s -- you

     3   understand.    That’s not difficult to understand, is it,

     4   what I’m ordering?

     5                MR. MARTICELLO:   It -- I understand the Court’s

     6   order.

     7                MR. RICHARDS:   Your Honor, this is Robert

     8   Richards.    Just so the record’s clear because you keep

     9   referring to the debtor’s principal.      Do you mean Jona and

    10   Rachel Rechnitz are required to file a declaration?

    11                THE COURT:   Those are the two people.   That’s it.

    12   Those are the only people that I -- there was this other

    13   declaration person who was signing checks.      But, yes, those

    14   are the two people that -- as far as I can tell.       That’s

    15   why I asked you when we started this hearing, who’s really

    16   -- is -- are the people behind the debtor and obviously

    17   those are the two people.      And it’s -- and the -- and I

    18   assume they have -- if they’re not ans -- to an -- able to

    19   answer that question I’m going to enter an order for

    20   relief.   I want them to answer truthfully and I want to

    21   give the creditors -- the petitioning creditors an

    22   opportunity to see if they could convince the three other -

    23   - assuming there are more than 12 -- creditors to be able

    24   to do it.

    25                Any questions about what I’m ordering?




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     1                MR. MARTICELLO:     No, Your Honor.

     2                MR. RICHARDS:    And from -- this is Ronald

     3   Richards.

     4                THE COURT:    Okay.   Then I’m going to do this.     I

     5   am going to -- there’s -- seven days should be more than

     6   enough time.    This is not a difficult thing to do, is it,

     7   Mr. Marticello?       That should be a simple thing for them to

     8   do, right?

     9                MR. MARTICELLO:     I believe we can accomplish it

    10   in seven days, Your Honor.

    11                THE COURT:    Okay.   So I’m going to do this.   I’m

    12   going to give you some dates and I’ll look at my calendar

    13   here.   Just so you understand, I just want to get -- I want

    14   to give each side a fair opportunity to present the case

    15   but I think it’s important for both sides, quite frankly,

    16   to get this resolved one way or the other.         So I’m still

    17   looking for my -- I’m looking for my calendar.

    18                Stacy?    No, no.   An actual calendar.

    19                THE CLERK:    (Indiscernible.)

    20                THE COURT:    I have such a pile of papers here.        I

    21   can’t find my little -- there it is.       It was buried

    22   under -- okay.    So today, this is June 9th.      I will pre --

    23   I -- it may take me a day or two to prepare this order, but

    24   this is the order right now.       In fact, you may not get the

    25   written one.    That’s why I want to make it absolutely




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     1   clear --   everybody hears me -- this is June 6 -- excuse

     2   me, this June 9.   By the end of the day on June -- let’s

     3   say -- I’m going to change this.      Everybody knows it’s all

     4   done by email.   I want it filed with the Court by 3 o’clock

     5   on the 16th of June.    So we’ll get it and the other -- and

     6   the -- obviously, all the three petitioning creditors or

     7   counsel they will get the -- this list.

     8              Again, just so there’s no misunderstanding, it’s

     9   got to be signed by both under penalty of perjury that it

    10   is a complete list of all creditors of the debtor.     And

    11   with the amount of the debt -- of the name of -- of course,

    12   the name of the creditor, all indication in how to reach

    13   them, namely, phone, email, mailing address and the nature

    14   of the debt.

    15              MR. RICHARDS:   Your Honor, did you say email,

    16   too?

    17              THE COURT:   Everything.

    18              MR. RICHARDS:   Email address?

    19              THE COURT:   Any way of contacting them.

    20              MR. RICHARDS:   Okay.

    21              THE COURT:   That is a physical address, phone,

    22   fax, any way of communicating with them, then -- and of all

    23   of them.   Again, the amount, the name --

    24              MR. RICHARDS:   Any cell phones if they have it?

    25              THE COURT:   Excuse me?




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     1               MR. RICHARDS:    And cell phones if they have it?

     2               THE COURT:   Yeah.   Well, of course.    Only if they

     3   have it.    But I’m not going to be too impressed if they

     4   say, “Gee, we really can’t reach them.”     That would be

     5   pretty -- a pretty ridiculous response.     So in any case

     6   it’s the name, what the debt’s for, just a summary, you

     7   know, for a consigned whatever, whatever it is, or it could

     8   be non-jewelry.    It could be other debts.     I don’t know

     9   what the debtor might have, rent on the place, whatever.          I

    10   don’t -- I don’t know.      But whatever debts.    The name of

    11   the creditor, the amount, the nature of the debt and every

    12   contact information, an address, email, fax, phone, you

    13   know, whatever.    And that -- and it’s asked by 3:00 p.m.

    14   next Tuesday.    And that has to be delivered.

    15               And from there I’m going to give the petitioning

    16   creditors -- to the approximate -- let’s see, that’s one,

    17   two, three -- I’ll give actually a little more.        I’ll give

    18   to July -- Bastille Day, no particular importance to us

    19   here in the U.S. -- July 14th for the creditors to try to

    20   get any additional person to file -- to join in in the

    21   petition.

    22               Is that clear from the petitioning creditors?

    23   Mr. Richards, any of the others, is that clear?

    24               MR. RICHARDS:    Yes, Your Honor.     Just a quick

    25   question.   When you say “deliver this list,” I’m assuming




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     1   that they are going to file the two declarations on the

     2   docket, correct, by 3:00 p.m.?

     3              THE COURT:   Oh, they’ll be filed but also they’ll

     4   be served by email on the -- all the three petitioning

     5   cred -- counsel for the petitioning creditors.      Yes.

     6              MR. RICHARDS:   Okay.   Thank you.

     7              THE COURT:   And then you’ll get to the 6th -- to

     8   July 14th by -- again by 5:00 but we’ll make it again by 3

     9   o’clock.   Just to make it clear, by 3 o’clock on July 14th

    10   to have to get somebody else to join in and I’ll have no

    11   idea how many of those other people are.

    12              And, by the way, if there are -- of course, if

    13   there are less than 12 creditors there can be just one but

    14   so -- but I don’t know.    So if there -- so we all know

    15   that, that’s a bankruptcy if there’s more than 12 or 12 or

    16   more.

    17              So what I’m going to do and I will know and you

    18   will know by the 14th of July at 3 o’clock if you have at

    19   least the required number of creditors and then I’m going

    20   to set it for a status conference two weeks after that or

    21   approximately.

    22              Do we have a date?

    23              THE CLERK:   We have July 7th at 3:00.

    24              THE COURT:   Okay.   So that would be -- no, no, it

    25   can’t be July 7th.   Two weeks after the 14th.    So that




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     1   would be -- that would be the 28th.

     2             So I’m going to continue this for a status

     3   conference on July 28th at 10:00 a.m. and I’ll find out at

     4   that point whether I dismiss this because there is not a --

     5   there are no -- not sufficient creditors or if there are go

     6   from there.    If there are some filed there may be further

     7   objections to them.   I have no idea but I want -- I -- what

     8   I want is a status report one week before the 28th.      That

     9   is on the 21st I want a status or joint status from just

    10   to -- just telling me what’s happening.    That is, the

    11   counsel for the -- well, there’s one counsel for the debtor

    12   and I guess there are either two or three, depending on how

    13   you count, on the creditors to tell me what’s going on.

    14   There are a lot of possibilities.    It may be that there’s

    15   no further -- no further, you know, creditors and then I --

    16   and then, of course, there’s going to be a motion for

    17   attorney’s fees or -- by the debtor, but I don’t know that

    18   for sure but that would likely happen.    But if there are

    19   other creditors then I’d have to know on that status report

    20   whether or not there’s a dispute as to who -- you know,

    21   they’re being eligible.

    22             And so I’m going to -- I will ultimately prepare

    23   an order on this, but as far as getting that list out and

    24   as far as the response and all, I want everybody to know

    25   exactly what’s going to happen and we will again have




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     1   that -- let’s see, the hearing will be when again?

     2               THE CLERK:   You said July 28th at 10:00.

     3               THE COURT:   Yeah.    July -- it would be July 28th

     4   at 10:00.

     5               Any questions at all about what I’ve said?        I’m

     6   not asking the creditors to agree.      I just want to

     7   understand what I’ve done.       Any question at all?

     8               MR. COHEN:   Your Honor, this is Baruch Cohen.        I

     9   have a question for you.

    10               THE COURT:   Yes.

    11               MR. COHEN:   Baruch Cohen on CourtCall.      I have a

    12   question.   Okay.   So the principals of the debtor, Mr. and

    13   Mrs. Rechnitz, to submit a declaration as to the debts of

    14   Jadelle as of what date?    As of the petition date?       Because

    15   I suspect that the Rechnitzes are immediately upon

    16   conclusion of this hearing going to try and interfere with

    17   creditors --

    18               THE COURT:   Oh, no, no.    That’s --

    19               MR. COHEN:   -- and try to pay them off.

    20               THE COURT:   No, the law is -- no, it’s clear and

    21   it’s a good question and for lots of reasons.       It’s as of

    22   the petition date because what people have tried to do

    23   is -- in the past is try to pay off all the debts, you

    24   know.   And, of course, that’s not going to happen --

    25               MR. COHEN:   Right.




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     1              THE COURT:    -- in this case because you’ve got

     2   millions of dollars in this one.      I have had a couple cases

     3   where --

     4              MR. COHEN:    There -- over 30 million we can

     5   leave, Your Honor.

     6              THE COURT:    -- the debtor says --

     7              MR. COHEN:    But what the --

     8              THE COURT:    “Well, I’ll just pay off the debt so

     9   there’s no petitioning creditors.”     That’s -- no, law is as

    10   of the date of the petition.

    11              MR. RICHARDS:    Your Honor --

    12              MR. COHEN:    Thank you.

    13              MR. RICHARDS:    -- Ronald Richards.   It’s also

    14   important that you make it clear in your order of who a

    15   creditor is, that any claims that Mr. Rechnitz has in the

    16   Rabbinical Court, because we’ve been contacted by many

    17   debtors that felt they had religious obligations to exhaust

    18   that -- our creditors so there’s no funny business, that he

    19   excludes creditors.     It’s anybody that he’s -- owes money

    20   to.

    21              THE COURT:    Oh, yeah.

    22              MR. MARTICELLO:    Your Honor --

    23              THE COURT:    You know, I’m quite familiar, not --

    24              MR. MARTICELLO:    -- this is Bob Mar --

    25   Marticello.




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     1             THE COURT:    -- I mean, with the bet din, I guess

     2   it’s called as I recall.    No, no, no.   This is -- yeah,

     3   make it quite clear.   I know you’re all very -- I know most

     4   of you on the line very bright people.    No, this is the --

     5   I understand about their religious court.    No, no.     This is

     6   very simple, not complex at all.    We’re talking about

     7   outside in the -- in the regular world how much -- what

     8   creditors they have.

     9             I hear what you said, Mr. Cohen.     I don’t

    10   understand what the debtor would attempt to -- what monkey

    11   business the debtor would attempt to do here.

    12             MR. RICHARDS:    We’re concerned that -- this is

    13   Ronald Richards.   I’m just concerned that because we --

    14   they objected to all of our discovery and we can’t file a

    15   motion to compel before the -- well, I’d like permission to

    16   file a motion to compel that there be some check-and-

    17   balance that we could verify they’re not intentionally

    18   excluding creditors because we believe there’s over 30

    19   million dollars’ worth of theft in defaulted payments and

    20   bad checks.    And so by trusting Jona and Rachel to be

    21   honest and not commit perjury is a -- is one thing, but

    22   we’d have no way of imploring the adversarial process.       So

    23   I don’t know why we wouldn’t be able to take a deposition

    24   after they submit the declaration --

    25             THE COURT:    Okay.




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     1               MR. RICHARDS:   -- and make sure that --

     2               THE COURT:   You know what I’m going to do, I am

     3   going to change one thing because I hadn’t thought of that

     4   and certainly that possibility.     So I’m going to change a

     5   couple of things.

     6               I’m going to give you 60 days to get these other

     7   people because I was thinking that if there -- I can just

     8   see obviously the creditors don’t trust the debtor at all,

     9   the principals, so I’m going to -- I am going to change

    10   that.   I had -- it hadn’t dawned on me that you would no

    11   doubt want to do what you’ve just suggested so I’m going to

    12   change that.   So I’m going to change from the -- I’m going

    13   to -- that the debtor still by the 16th at 3:00. but I’m

    14   going to give you until 60 days.     So that would be to the -

    15   - approximately 60 days -- to August 14 at 3:00 to get the

    16   creditors to join and I’m changing that.     And I’m going to

    17   continue the hearing to the -- or may -- I may -- no, let

    18   me.    Let me -- I’m going to keep this on, you know, Aug --

    19   or may -- August 14.     And then I’m going to change the

    20   hearing.   And I’m asking my credit -- my staff here to give

    21   me the hearing after that.

    22               THE CLERK:   We have August 25th at 10:00.

    23               THE COURT:   Yeah.   I’m going to continue the

    24   hearing to August 25 at 10:00.     So I -- yeah, I’m going to

    25   take into account that just -- it may not be necessary but




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     1   you’re right.    Thirty days is just not a lot of time to

     2   give you the opportunity to do discovery, so I’m changing

     3   the hearing date to August 25 at 10:00.     The -- by

     4   August 14 at 3 o’clock you have the -- at that point is the

     5   time that you can get any additional creditors and you --

     6   and as far as the discovery you can go -- immediately get

     7   the discovery.    I assume you want to take the deposition as

     8   to just what we’re talking about.     I hope you don’t do any

     9   beyond that.    It will make it very unnecessarily

    10   complicated.

    11             MR. RICHARDS:     I will not do that, Your Honor.       I

    12   (indiscernible) --

    13             THE COURT:    The discovery should just be at this

    14   point literally --

    15             MR. RICHARDS:     I understand declarations.

    16             THE COURT:    -- if you take they’re either written

    17   discovery or do what you want as to tell -- to be able to

    18   cross-examine both of them as to -- you know, that’s what

    19   we’re talking about.    So, yeah.   I think that’s only fair

    20   and then the -- so the -- I still want that status report

    21   one week before the 25th of September and that would be --

    22   no, was it -- no, wait.

    23             It was the 15th of September, wasn’t it?

    24             THE CLERK:    August 25th was the status --

    25             MR. RICHARDS:     August, Your Honor.




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     1                THE COURT:   Oh, I’m sorry.   August.   I’m --

     2                THE CLERK:   Yeah.

     3                THE COURT:   You know, yeah, this has been a very

     4   long morning.    I apol -- I actually seem to be in the

     5   afternoon now.    My head is spinning.     August 25 at 10:00.

     6   So a week before that is August 18, I want that status

     7   report.   And by that time it seems to me you will have

     8   exhausted the -- getting the information from both the

     9   principals.    And I hope for their sake that don’t know --

    10   at least in this Court anyway if I have any suspicion that

    11   they’re not being truthful, that would be a problem.          And I

    12   don’t have any reason to suspect they won’t be and if they

    13   are, then it’s really up to the creditors and that time is

    14   more -- that’s more.      They’ve got 60 days to be able to

    15   convince other people to join in.     But at that point one or

    16   two things are going to happen:     either they -- you’ve not

    17   been able to convince other people, then I will dismiss it,

    18   or you have and then we’ll deal with them.

    19                So any questions about the -- any of that?       From

    20   the debtor’s standpoint --

    21                MR. MARTICELLO:   Your Honor --

    22                THE COURT:   -- you know basically what the debtor

    23   has to do.

    24                MR. COHEN:   Yes, Your Honor.   Baruch Cohen.

    25   Clarification question.     A clarification question --




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     1               MR. MARTICELLO:   Your Honor, this is Robert

     2   Marticello with --

     3               THE COURT:   I want to hear first from the debtor.

     4               Or, Mr. Marticello, what do you want?   What’s

     5   your question?

     6               MR. MARTICELLO:   Sure.   Your Honor, I would -- I

     7   have a couple points, Your Honor.     I would ask that the

     8   Court not prejudge any request for discovery at this point.

     9   We have three creditors that the Court --

    10               THE COURT:   Well, let me stop you.   I’m not

    11   prejudging anything.

    12               MR. MARTICELLO:   -- has determined are not

    13   eligible.

    14               THE COURT:   But I’m telling you right now -- I’m

    15   telling -- that’s why I was telling the creditors their

    16   discovery, as far as I’m concerned, should be limited to

    17   just what we’re talking about, who the creditors of the

    18   debtor are.    What are you worried about?

    19               MR. MARTICELLO:   I just -- I’m -- Your Honor, the

    20   document requests we were served it basically -- the

    21   petitioning creditors are trying to litigate their existing

    22   pending litigation disputes before this Court.

    23               THE COURT:   That’s -- that -- let me ask you

    24   this.

    25               MR. MARTICELLO:   I have three creditors that




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     1   aren’t even eligible in this case.

     2                THE COURT:   As far as the -- taking the

     3   depositions for the purpose of this hearing, the creditors

     4   you agree I -- for that purpose only because it can get --

     5   I don’t want to be here forever and objections to this side

     6   and the other thing.      Would you simply limit your

     7   discovery?     You have to amend it to just the -- what we’re

     8   talking about, just the creditors.       I’m not going to allow

     9   you at this point --

    10                MR. MARTICELLO:   Yes.    We will amend --

    11                THE COURT:   -- to be litigating the whole

    12   thing --

    13                MR. MARTICELLO:   We will amend our discovery.

    14                THE COURT:   -- because you might if there --

    15                MR. MARTICELLO:   Yeah.   We will serve --

    16                THE COURT:   If we have an order for relief then I

    17   have no problem with that.     So let me again --

    18                MR. MARTICELLO:   Your Honor --

    19                THE COURT:   I didn’t fully appreciate that,

    20   Mr. Marticello.

    21                So from the creditors’ standpoint I would like

    22   you -- for I will allow discovery, but why don’t you redo

    23   the -- why don’t you do discovery requests?

    24                MR. RICHARDS:   We will, Your Honor.   We will --

    25                THE COURT:   Limit it just to --




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     1              MR. RICHARDS:   We thought our current discovery

     2   is for other creditors and (indiscernible).    We will amend

     3   it.

     4              THE COURT:   Just to the -- what we’re talking

     5   about.   Just to who all the creditors are and contact

     6   information and briefly, very short, you know, as Mister --

     7   Mark Twain was supposed to have said, “If I had more time I

     8   would have written you a shorter letter.”    Keep it brief.

     9              MR. RICHARDS:   Right.   And, Your Honor, and in

    10   the depositions we will stick to those areas as well.

    11              THE COURT:   Just to that, that may --

    12              MR. RICHARDS:   We will not go into the other

    13   areas.

    14              THE COURT:   I know that plenty of you want to

    15   know where the stuff is.    You want to know all kinds of

    16   stuff or where the transfer -- whatever.    For these

    17   purposes I just -- I’m going to limit your discovery to

    18   just the very simple questions of what they’re going to

    19   have to do by the -- by a week from today, in any case.

    20   But you certainly can probe further if you wish and they

    21   may -- I assume they’ll give you the same answers.      But,

    22   yes, it’s just limited.    That discovery is just to the --

    23   so redo your discovery just to basically ask him.     And as I

    24   said, as a practical matter if they comply with my order

    25   they will have already answered you but you certainly have




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     1   a right to do your own investigations and then under oath,

     2   of course, to cross-examine them, you know, at the -- you

     3   know, or not cross-examine them.     Examine them at your

     4   deposition.

     5               So from the creditors’ standpoint you now

     6   understand --

     7               MR. RICHARDS:   Your Honor, we’ll --

     8               THE COURT:   -- you’re going to redo --

     9               MR. RICHARDS:   We’re going to send out the dep --

    10               THE COURT:   -- your discovery?

    11               MR. RICHARDS:   Yeah.   We’re going to send out

    12   deposition notices today with a document production related

    13   to who the creditors are and documents that will identify

    14   the creditors and then we’ll see how they respond.       I think

    15   you’re assuming that they’re going to participate in this

    16   case.    Let’s just see what happens.   We’ll follow --

    17               THE COURT:   Well, again, I told you, by the

    18   way --

    19               MR. RICHARDS:   -- the Court’s (indiscernible)

    20   order.

    21               THE COURT:   I know that there are criminal --

    22   there are other charges and so there’s a lot of stuff going

    23   on.    I have no opinion.   I know what happened in the state

    24   court, but I have no opinion as to the ultimate outcome.

    25   But I tell you this, if either -- or they both must comply




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     1   and I make it quite clear.     If they don’t comply with the

     2   request, whether it’s Fifth Amendment or whatever, then I

     3   will enter the order for relief.

     4              Is it the debt -- from the debtor’s standpoint,

     5   do you understand that?     Mr. Marticello, do you understand

     6   that?

     7              MR. MARTICELLO:    Your Honor, this is Robert

     8   Marticello for the debtor.     I understand the Court’s --

     9   what the Court just said and I will comply with the Court’s

    10   order.   My concern is, Your Honor, like you said there are

    11   other things going on and --

    12              THE COURT:    No, I understand that.    But, no, I’m

    13   telling you --

    14              MR. MARTICELLO:    -- if there is a -- if there’s

    15   a --

    16              THE COURT:    -- this is really simple and I

    17   can’t -- I’m not -- I -- people have a right to the -- you

    18   know, to take the Fifth and I -- again, whether they do or

    19   not I have no idea.     But I’m telling you right now the

    20   creditors have a right to this information.       If they

    21   refuse, either of them, I want both of them to sign it

    22   because it’s not clear to me exactly who’s really running

    23   the business.    My guess is that maybe the husband is but I

    24   don’t know that, just from the various pleadings.      I don’t

    25   really know.




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     1             So there -- therefore, I am requiring both to

     2   sign under penalty of perjury.    And if nei -- and if they

     3   don’t both sign it under penalty of perjury, then I will

     4   enter an order for relief.    I just want you -- you -- I

     5   want you in particular and your clients, the debtor, the

     6   principals, to understand that.    You do -- you understand

     7   what I’ve said.   I want them to understand it.     That would

     8   be the price for not complying with my order.     You --

     9             MR. MARTICELLO:    I understand, Your Honor.

    10             THE COURT:   Mr. Marticello, you understand what

    11   I’ve said obviously.   I’m not being facetious.     You

    12   understand.

    13             And so any --

    14             MR. MARTICELLO:    Correct, Your Honor.

    15             THE COURT:   Any other questions?   This is going

    16   to be a long -- this is important, but I think I’ve given

    17   the debtor a fair opportunity.    I’ve agreed as far as their

    18   argu -- your arguments as far as these particular

    19   creditors, at least not in being -- not that they’re claims

    20   are not allowed, but that they’re just obviously for

    21   various reasons that I’ve stated on the record are not

    22   eligible to be petitioning creditors.    And you also know

    23   the obligation a week from today at 3:00 that for your --

    24   both the principals to do what I’ve suggested, right?

    25             MR. COHEN:   Your Honor, this is Baruch Cohen.      I




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     1   have a clarification question.

     2               THE COURT:   All right.    Briefly.   What is it?

     3               MR. COHEN:   Briefly.    Number one, when we conduct

     4   discovery of the principals of the debtor we are allowed to

     5   ask them whether there’s a dispute as to the amount

     6   (indiscernible).

     7               THE COURT:   Okay.

     8               MR. COHEN:   Not just merely --

     9               THE COURT:   Okay.    You know that’s a good

    10   question.   I hadn’t thought of that and that’s why I enjoy

    11   these discussions.   Yes.     I think at that point that’s a --

    12   yeah, because that -- what I anticipate is if they list

    13   them -- somebody and then they’re li -- then you get them

    14   to file -- and remember I mentioned that briefly -- and

    15   then you get them to sign up being petitioning creditors

    16   and then they’ll object as -- yes.      I think that’s a --

    17   that is in -- a fair question to -- they list all of the

    18   creditors, period, and then -- that’s a very good point.

    19   And then to say as to this one are -- is there any dispute

    20   either amount or liability and, if so, what is that?        Yes.

    21   I’ll allow that.

    22               MR. MARTICELLO:    Your Honor, this is Robert

    23   Marticello for the debtor.       And you’re talking about the

    24   creditors -- other creditors on this list, not the

    25   petitioning creditors, correct?




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     1              THE COURT:    Oh, yes.   Oh, yeah.    Oh, yes,

     2   absolute -- no, we’re only talking about the additional

     3   one.   We’re not -- we’ve already gone -- there’s nothing

     4   new about these three.

     5              MR. MARTICELLO:   Understood, Your Honor.

     6              THE COURT:    But that’s a good point.    That will

     7   eliminate -- at least it will tee up any particular

     8   problems that maybe they’re in dispute or not.       I think

     9   that’s a very good point.

    10              Yeah.   No, we’re only talking -- not -- I’m not

    11   talking about these three petitioning creditors.       We’re

    12   talking about the additional ones that they -- that is a

    13   list as their other creditors.

    14              So, thank you, Mr. Cohen.    That’s a very good

    15   point.

    16              Anything else?

    17              MR. COHEN:    Actually, my counterpoint to that is

    18   it’s important that the debtors do describe under penalty

    19   of perjury why they dispute our client’s claim.

    20              THE COURT:    No, no, no, no.

    21              MR. COHEN:    Why should our three clients --

    22              THE COURT:    I’ve already ruled it.

    23              MR. COHEN:    -- be excluded?

    24              THE COURT:    I’ve ruled on it.   No.   Stop.

    25              MR. COHEN:    Okay.   Second point.   Your Honor,




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     1   quickly, second point.     To what extent can the Court

     2   instruct this debtor and the principals not to engage in

     3   funny business by interfering with creditors right now and

     4   communicating with them and trying to get them to sign off

     5   on claims?

     6                THE COURT:   Well, I don’t see that that’s -- you

     7   can talk to them.    They can talk to them.     I don’t see any

     8   problem with that.    Now, there are criminal laws.    They

     9   can’t threaten them.      They can’t -- I think that -- I don’t

    10   see any provision of the law.

    11                Now, the fact of the matter is if these other

    12   creditors -- as I told you before, the date of the petition

    13   is the time.    So even if they were to -- so, you know, they

    14   could offer to pay them but, no, I -- you can talk to them.

    15   I don’t see any reason why the debtor can’t talk to them

    16   unless there’s no threats.     So, no, I don’t see any reason

    17   at all.

    18                So, anyway, any other questions?

    19                MR. COHEN:   All right, Your Honor.   Thank you

    20   very much for your time today.

    21                THE COURT:   What’s that?

    22                MR. COHEN:   No questions.

    23                MR. MARTICELLO:   Your Honor, Robert Marticello

    24   for the debtor.    One question, just to make sure we’re

    25   clear.    Any joinder needs to be filed with the Court by




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     1   that 3:00 p.m. deadline on August 14th, is that correct?

     2               THE COURT:    That’s correct.

     3               MR. MARTICELLO:   Thank you, Your Honor.

     4               THE COURT:    And at that point, if there’s -- if

     5   we don’t -- and again, one will be sufficient if there are

     6   fewer than 12, but I have no idea.      I gather there are more

     7   than 12.   I don’t know because I don’t think that was ever

     8   mentioned in the pleadings.       But there’s -- if it’s li --

     9   if there are -- it could be one, if there are very few

    10   creditors but if there are 12 or more then obviously there

    11   would be three and that will be it.      At that point you

    12   either have them or they’re not.      So I have no idea.    I

    13   have no idea how many other creditors there are out there

    14   from the debtor.   These are obviously probably the

    15   biggest -- well, not probably, I don’t know that, but

    16   certainly three big creditors as far as amount.

    17               Anything else?    I hate to suggest it.   Anything

    18   else?

    19               (Laughter.)

    20               MR. MARTICELLO:   No, Your Honor.

    21               THE COURT:    Okay.   It’s a very bright group of

    22   people.    But, you know what, there’s some good points that

    23   have been made and I think this is fair.      Again, obviously

    24   the creditors don’t agree with it, but as I was saying,

    25   it’s absolutely clear to me on the documents as far as that




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     1   I can take judicial notice of that there is a dispute as to

     2   the amount and/or -- subject to dispute.

     3             But as far as this other, I think giving the

     4   creditors the 60 days to search out other people and the

     5   discovery, at the end of the day I think everybody will

     6   have their fair day in court and then I will find out with

     7   your status report filed -- what did I say, one week before

     8   the -- that’s by the 18th --

     9             MR. MARTICELLO:    Yes, your Honor.

    10             THE COURT:     -- of August that I’ll know what’s

    11   going on in this case.    So anyway, it’s been interesting.

    12             MR. RICHARDS:    Your Honor, Ronald Richards.

    13             THE COURT:     And that will conclude this hearing.

    14   I’ll see you all at the --

    15             MR. RICHARDS:    King Solomon couldn’t have done

    16   better himself today.

    17             THE COURT:     By the way, one thing I did not

    18   mention that after all of this because it was -- it was

    19   extended 30 days.   We had a judge’s meeting on Friday and

    20   as to when we’re going to open up.    That -- this hearing,

    21   by the way, on the 25th is going to be here in court unless

    22   some -- something happens that will prevent me from doing

    23   that due to who knows what, but we fully intend to be

    24   operational of -- subject to each judge.    But I don’t like

    25   these hearings at all.    I like seeing people and see -- you




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     1   seeing me, I seeing you.     So if -- for me anyway this

     2   hearing, by the way, is going to be in court unless you are

     3   notified a couple of wee -- about two weeks before that

     4   something has come up and it won’t be, so I want you to

     5   understand that.   This will be an in-court, real hearing.

     6             MR. COHEN:   Will it be an evidentiary hearing,

     7   Your Honor?

     8             THE COURT:   No.    No, no, no, no.   This is a

     9   status hearing, not an -- no, the only --

    10             MR. COHEN:   Well, the status conference.

    11             THE COURT:   The -- it’s as I said you’re --

    12   either we will have three petitioning creditors, assuming

    13   there are 12 or more, or we won’t.    If we don’t, then I’m

    14   going to dismiss the petition and no doubt the other --

    15   then it will be a status conference and no doubt the other

    16   side will be asking for fees.    No, there’s nothing to be in

    17   an evidentiary hearing about.    It’s basically a status.     If

    18   there are three then I’ll have to see whether or not

    19   there’s an objection to them as being in dispute and the

    20   creditors will know that at least because they’ll be asking

    21   that question and I’m glad you clarified that and I will --

    22   as far as discovery.   So, no, there’s no -- there will not

    23   be an evidentiary hearing.

    24             MR. COHEN:   Understood.

    25             THE COURT:   Okay.    Thank you.   We’ve worn




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     1   everybody out, including me.

     2              MR. RICHARDS:   All right.   Thank you, Your Honor.

     3   You missed my -- when I said King Solomon couldn’t have

     4   done better himself today.

     5              THE COURT:   Well, we had an equally interesting

     6   one in the morning which you didn’t have to participate in.

     7   So, in any case, it’s a fascinating case and I’ll see you

     8   back August 25 -- excuse me.    Yeah, August 25 at 10:00.

     9   But these orders, even though you don’t have it in writing

    10   at the moment, consider those -- those are the order of the

    11   Court.   We’ll eventually get a written order but you have

    12   all of the dates and so forth and we’ll see how it turns

    13   out.   So I’ll see you back on the 25th at 10:00.    Anyway,

    14   that concludes this hearing.    Thank you very much.

    15              ATTORNEYS:   Thank you, Your Honor.

    16              THE COURT:   Thank you.

    17   (End at 1:03 p.m.)

    18                           * * * * * * * *

    19              I certify that the foregoing is a correct

    20   transcript from the electronic sound recording of the

    21   proceedings in the above-entitled matter.

    22

    23

    24   _____________________________             Date:   6/12/2020

    25   RUTH ANN HAGER, C.E.T.**D-641




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4                                                                     JUN 10 2020
5
                                                                 CLERK U.S. BANKRUPTCY COURT
                                                                 Central District of California
6                                                                BY fortier    DEPUTY CLERK


7
                         UNITED STATES BANKRUPTCY COURT
8
                          CENTRAL DISTRICT OF CALIFORNIA
9
                                 LOS ANGELES DIVISION
10
11
12   In re:                                    Case No.: 2:20-bk-13530-BR

13   Jadelle Jewelry and Diamonds LLC,         Chapter 7
14                                             ORDER:
15                                             (1) DIRECTING RACHEL RECHNITZ AND
16                                             JONA RECHNITZ TO FILE JOINT
                                 Debtor(s).    DECLARATION UNDER PENALTY OF
17                                             PERJURY;
18
                                               (2) SETTING DATE BY WHICH
19                                             PETITIONING CREDITORS MAY CONTACT
                                               CREDITORS IDENTIFIED IN JOINT
20                                             DECLARATION AND CONDUCT CERTAIN
21                                             DISCOVERY;

22                                             (3) SETTING DATE FOR HEARING ON
                                               STATUS CONFERENCE; AND
23
24                                             (4) SETTING DATE FOR FILING OF JOINT
                                               STATUS REPORT PRIOR TO STATUS
25                                             CONFERENCE
26                                             Date:      June 9, 2020
27                                             Time:      10:00 a.m.
                                               Courtroom: 1668
28




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1          The Court held a hearing on June 9, 2020 on the following two motions: the
2    “Putative Debtor’s Motion to Dismiss Involuntary Petition and Request for Attorney’s
3
     Fees, Costs and Damages” (“Motion to Dismiss”), filed by the debtor on May 1, 2020,
4
     and the “Petitioning Creditors’ Notice of Motion and Motion for Appointment of Interim
5
     Chapter 7 Trustee” (“Trustee Appointment Motion”) filed on May 19, 2020 by petitioning
6
7    creditors Victor Franco Noval, Peter Marco, LLC and First International Diamond, Inc.

8          Robert S. Marticello, Esq. of Smiley, Wang-Ekvall, LLP appeared on behalf of the
9    debtor. Ronald Richards of the Law Firm of Ronald L. Richards & Associates, APC,
10
     Baruch C. Cohen, APLC and Daniel A. Lev, Esq. of SulmeyerKupetz, A Professional
11
     Corporation, appeared on behalf of the petitioning creditors.
12
13         With respect to the debtor’s Motion to Dismiss, the Court considered the Motion,

14   the petitioning creditors’ Opposition to the Motion, the debtor’s Reply to the petitioning
15   creditors’ Opposition, and all pleadings related to the Motion, Opposition and Reply.
16
           With respect to the petitioning creditors’ Trustee Appointment Motion, the Court
17
     considered the Motion and all related pleadings including the separately filed
18
     declarations of Ronald Richards, Oved Anter, Victor Franco Noval, and Peter Marco,
19
20   the debtor’s Opposition to the Motion, the petitioning creditors’ Reply to the debtor’s

21   Opposition, and all other pleadings related to the Motion, Opposition and Reply.
22         The Court also considered the debtor’s separately filed declarations of Levin
23
     Prado and Marc Williams in Opposition to the Trustee Appointment Motion, the debtor’s
24
     evidentiary objections to the declarations of Oved Anter, Victor Franco Noval, Peter
25
26   Marco and Ronald Richards, the petitioning creditors’ evidentiary objections to the

27   debtor’s Request for Judicial Notice, and all other pleadings related to the Motion,

28   Opposition and Reply.




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1          At the June 9 hearing, the Court ruled on the record on all of the evidentiary
2    objections and heard argument and representations of counsel. After consideration of
3
     all of the above, the Court HEREBY ORDERS AS FOLLOWS:
4
           1. Rachel Rechnitz and Jona Rechnitz (collectively, the “Rechnitz’s”) must file a
5
              joint declaration, sworn under penalty of perjury, which identifies each and
6
7             every one of the debtor’s creditors as of the date of the filing of the involuntary

8             petition on April 6, 2020. The joint declaration shall include, without limitation,
9             the following information with respect to each creditor identified therein:
10
                  a. the name of the creditor;
11
                  b. the nature of the debt owed to the creditor (e.g., consigned jewelry,
12
13                    rent due and owing, etc.);

14                c. the amount of the creditor’s claim;
15                d. whether the creditor’s claim is disputed and, if so, the nature of the
16
                      dispute; and
17
                  e. complete contact information for each creditor including, but not limited
18
                      to, the creditor’s address, telephone number, cell phone number (if
19
20                    known), fax number (if applicable), and email address (if known);

21         2. The Rechnitz’s shall have seven (7) days from the date of this hearing (i.e.,
22            no later than 3:00 p.m. on Tuesday, June 16, 2020) to file their joint
23
              declaration with the Court and serve the declaration on counsel for the
24
              petitioning creditors;
25
26         3. If the Rechnitz’s fail to file the joint declaration by that date and time, the

27            Court will deny the debtor’s Motion to Dismiss and immediately enter an order

28




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                                                                               EXHIBIT "2", PAGE 100
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1             for relief in this case. The entry of such an order for relief will render both the
2             pending Motion to Dismiss and Trustee Appointment Motion moot;
3
          4. If the Rechnitz’s file the joint declaration by the required date and time, then:
4
                  a. The petitioning creditors shall have sixty (60) days from the date of
5
                      this hearing (i.e., no later than 3:00 p.m. on August 14, 2020) to
6
7                     contact the creditors listed in the joint declaration to determine if any of

8                     them are willing to join in the involuntary petition;
9                 b. The petitioning creditors shall have the same sixty (60) day period
10
                      within which to conduct discovery of the creditors listed in the joint
11
                      declaration, which discovery shall be limited solely to questions
12
13                    regarding the nature and amount of the creditor’s claim and, if the

14                    creditor’s claim is listed in the joint declaration as disputed, the nature
15                    of such dispute;
16
                  c. The Court shall hold a status conference on this involuntary case on
17
                      August 25, 2020 at 10:00 a.m., and
18
                  d. The parties shall file a joint status report seven (7) days prior to the
19
20                    status conference (i.e., no later than 3:00 p.m. on August 18, 2020).

21        IT IS SO ORDERED.
22                                               ###
23
24
25       Date: June 10, 2020

26
27
28




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                EXHIBIT "3"
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   1 Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
   2       A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
   3 Los Angeles, California 90010
     (323) 937-4501 Fax (888) 316-6107
   4 e-mail: baruchcohen@baruchcohenesq.com
   5 Attorney for Defendants/Third-Party Plaintiffs PETER VOUTSAS aka PETER
     MARCO aka PETER VOUTSAS, aka PETER MARCO EXTRAORDINARY JEWELS
   6 OF BEVERLY HILLS, dba PETER MARCO LLC
   7
   8                        IN THE UNITED STATES DISTRICT COURT
   9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10

  11    DAVID ROVINSKY LLC, a Delaware                 USDC # 2:20-cv-02580-ODW-AS
        limited liability company,
  12                                                   Hon. Otis D. Wright II
                            Plaintiff,
  13
        PETER VOUTSAS aka PETER                        SUPPLEMENTAL DECLARATION
  14    MARCO aka PETER VOUTSAS, aka                   OF BARUCH C. COHEN
        PETER MARCO EXTRAORDINARY                      REGARDING THIRD-PARTY
  15    JEWELS OF BEVERLY HILLS, dba                   DEFENDANTS’ MOTION FOR
        PETER MARCO LLC,                               STAY OF PROCEEDINGS
  16
              Defendants/Third-Party Plaintiffs,       [Concurrently filed with Request for
  17                                                   Judicial Notice]
        vs.
  18
        JONA S. RECHNITZ, an individual;               Date: [Taken off Calendar]
  19    RACHEL RECHNITZ, an individual;                Time:
        LEVIN PRADO aka LEVON PRADO,                   Courtroom: 5D
  20    an individual,

  21                 Third-Party Defendants.

  22
  23             Third-Party Plaintiffs PETER VOUTSAS aka PETER MARCO aka PETER

  24   VOUTSAS, aka PETER MARCO EXTRAORDINARY JEWELS OF BEVERLY

  25   HILLS, dba PETER MARCO LLC (“Marco”), hereby submit a Supplemental

  26   Declaration of Baruch C. Cohen Regarding Third-party Plaintiffs’ Third-party

  27   Defendants’ Motion for Stay of Proceedings.

  28                      SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm


                                                                           EXHIBIT "3", PAGE 102
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   1             On 6-2-2020, this Court vacated the 6-15-2020 hearing on Rechnitz's Motion
   2   to Stay, and the matter is submitted.
   3             On 6-9-2020, this Court denied Rechnitz’s ex Parte Application for an Order
   4   Permitting Submission for in Camera Review, Declaration of Counsel Providing
   5   Information to the Court Relating to the Ongoing Criminal Investigation (“Ex
   6   Parte”)[Doc-57] Regarding the Motion for Stay of Proceedings (“Motion”) finding
   7   that the application does not warrant in camera review.
   8             As to whether this court should stay this proceeding, Marco wishes to advise
   9   and update this Court that on 6-10-2020, in the Jadelle involuntary bankruptcy
  10   proceeding, Case # 2:20-bk-13530-BR United States Bankruptcy Judge Barry
  11   Russell, issued an Order Directing Rachel Rechnitz and Jona Rechnitz to File Joint
  12   Declaration under Penalty of Perjury [Doc-39] ordered the following:
  13   1.        Rachel Rechnitz and Jona Rechnitz (collectively, the “Rechnitz’s”) must file a
  14             file a joint declaration, sworn under penalty of perjury, which identifies each
  15             and every one of the debtor’s creditors as of the date of the filing of the
  16             involuntary petition on April 6, 2020. The joint declaration shall include,
  17             without limitation, the following information with respect to each creditor
  18             identified therein:
  19             a.    the name of the creditor;
  20             b.    the nature of the debt owed to the creditor (e.g., consigned jewelry, rent
  21                   due and owing, etc.);
  22             c.    the amount of the creditor’s claim;
  23             d.    whether the creditor’s claim is disputed and, if so, the nature of the
  24                   dispute; and
  25             e.    complete contact information for each creditor including, but not
  26                   limited to, the creditor’s address, telephone number, cell phone number
  27                   (if known), fax number (if applicable), and email address (if known);
  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
                                                     -2-

                                                                              EXHIBIT "3", PAGE 103
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   1   2.        The Rechnitz’s shall have seven (7) days from the date of this hearing (i.e., no
   2             later than 3:00 p.m. on Tuesday, June 16, 2020) to file their joint declaration
   3             with the Court and serve the declaration on counsel for the petitioning
   4             creditors;
   5   3.        If the Rechnitz’s fail to file the joint declaration by that date and time, the
   6             Court will deny the debtor’s Motion to Dismiss and immediately enter an
   7             order for relief in this case. The entry of such an order for relief will render
   8             both the pending Motion to Dismiss and Trustee Appointment Motion moot;
   9   4.        If the Rechnitz’s file the joint declaration by the required date and time, then:
  10             a.    The petitioning creditors shall have sixty (60) days from the date of this
  11                   hearing (i.e., no later than 3:00 p.m. on August 14, 2020) to contact the
  12                   creditors listed in the joint declaration to determine if any of them are
  13                   willing to join in the involuntary petition;
  14             b.    The petitioning creditors shall have the same sixty (60) day period
  15                   within which to conduct discovery of the creditors listed in the joint
  16                   declaration, which discovery shall be limited solely to questions
  17                   regarding the nature and amount of the creditor’s claim and, if the
  18                   creditor’s claim is listed in the joint declaration as disputed, the nature
  19                   of such dispute.1
  20             The point being, is that by filing their Joint Declarations sworn under penalty
  21   of perjury regarding their defrauded creditors (like Marco), and their having to be
  22   deposed by Petitioning Creditors re same. Rechnitz will de facto, have to waive their
  23
                 1
                A true and correct copy of United States Bankruptcy Court Judge Barry Russell’s 6-10-2020
  24   Order: (1) Directing Rachel Rechnitz and Jona Rechnitz to File Joint Declaration under Penalty of
       Perjury; (2) Setting Date by Which Petitioning Creditors May Contact Creditors Identified in Joint
  25
       Declaration and Conduct Certain Discovery; (3) Setting Date for Hearing on Status Conference; and
  26   (4) Setting Date for Filing of Joint Status Report Prior to Status Conference [Doc-39] is attached
       hereto as Exhibit “1" and is incorporated herein by this reference. See, Declaration of Baruch C.
  27   Cohen, and Request for Judicial Notice.
  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
                                                      -3-

                                                                                  EXHIBIT "3", PAGE 104
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   1   Fifth amendment rights against self-incrimination from criminal liability that they
   2   fear in this Motion. If indeed, Rechnitz complies with Judge Russell’s Order, this
   3   Motion for Stay would be moot.
   4
   5 DATED:          June 11, 2020            LAW OFFICE OF BARUCH C. COHEN
                                              A Professional Law Corporation
   6
                                              By      /S/ Baruch C. Cohen
   7                                                Baruch C. Cohen, Esq.
                                              Attorney for Defendants/Third-Party
   8                                          Plaintiffs PETER VOUTSAS aka PETER
                                              MARCO aka PETER VOUTSAS, aka PETER
   9                                          MARCO EXTRAORDINARY JEWELS OF
                                              BEVERLY HILLS, dba PETER MARCO LLC
  10

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  28                   SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                        THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
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                                                                        EXHIBIT "3", PAGE 105
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   1                 SUPPLEMENTAL DECLARATION OF BARUCH COHEN
   2             I, BARUCH C. COHEN, declare and state as follows:
   3 1.          The facts stated below are true and correct to the best of my personal
   4             knowledge and if called upon to testify to them, I could and would
   5             competently do so.
   6 2.          I am a member in good standing and eligible to practice before the following
   7             courts: California State Supreme Court; United States Court of Appeals -
   8             Ninth Circuit; Bankruptcy Appellate Panel; United States District Courts:
   9             Central District of California; Eastern District of California; Northern District
  10             of California; and Southern District of California.
  11 3.          I am the principal shareholder and President of The Law Office of Baruch C.
  12             Cohen, a Professional Law Corporation, located at 4929 Wilshire Boulevard,
  13             Suite 940, Los Angeles, California 90010.
  14 4.          I proudly represent Defendants/Third-Party Plaintiffs PETER VOUTSAS aka
  15             PETER MARCO aka PETER VOUTSAS, aka PETER MARCO
  16             EXTRAORDINARY JEWELS OF BEVERLY HILLS, dba PETER MARCO
  17             LLC.
  18 5.          This Supplemental Declaration is in support of THIRD-PARTY
  19             PLAINTIFFS’ OPPOSITION TO THIRD-PARTY DEFENDANTS’
  20             THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF
  21             PROCEEDINGS.
  22 6.          A true and correct copy of United States Bankruptcy Court Judge Barry
  23             Russell’s 6-10-2020 Order: (1) Directing Rachel Rechnitz and Jona Rechnitz
  24             to File Joint Declaration under Penalty of Perjury; (2) Setting Date by Which
  25             Petitioning Creditors May Contact Creditors Identified in Joint Declaration
  26             and Conduct Certain Discovery; (3) Setting Date for Hearing on Status
  27             Conference; and (4) Setting Date for Filing of Joint Status Report Prior to
  28                      SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
                                                     -5-

                                                                             EXHIBIT "3", PAGE 106
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   1             Status Conference [Doc-39] is attached hereto as Exhibit “1" and is
   2             incorporated herein by this reference.
   3             I declare under penalty of perjury under the laws of the State of California that
   4 the foregoing is true and correct.
   5             Executed June 11, 2020, at Los Angeles, California.
   6
                                                          By /s/ Baruch C.         Cohen
   7                                                            Baruch C. Cohen
   8

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  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
                                                    -6-

                                                                              EXHIBIT "3", PAGE 107
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  3
  4                                                                    JUN 10 2020
  5
                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                  Central District of California
  6                                                               BY fortier    DEPUTY CLERK


  7
                          UNITED STATES BANKRUPTCY COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
  9
                                  LOS ANGELES DIVISION
 10
 11
 12   In re:                                    Case No.: 2:20-bk-13530-BR

 13   Jadelle Jewelry and Diamonds LLC,         Chapter 7
 14                                             ORDER:
 15                                             (1) DIRECTING RACHEL RECHNITZ AND
 16                                             JONA RECHNITZ TO FILE JOINT
                                  Debtor(s).    DECLARATION UNDER PENALTY OF
 17                                             PERJURY;
 18
                                                (2) SETTING DATE BY WHICH
 19                                             PETITIONING CREDITORS MAY CONTACT
                                                CREDITORS IDENTIFIED IN JOINT
 20                                             DECLARATION AND CONDUCT CERTAIN
 21                                             DISCOVERY;

 22                                             (3) SETTING DATE FOR HEARING ON
                                                STATUS CONFERENCE; AND
 23
 24                                             (4) SETTING DATE FOR FILING OF JOINT
                                                STATUS REPORT PRIOR TO STATUS
 25                                             CONFERENCE
 26                                             Date:      June 9, 2020
 27                                             Time:      10:00 a.m.
                                                Courtroom: 1668
 28




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                              Exhibit 1, Page 1 of 5
                                                                            EXHIBIT "3", PAGE 108
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  1         The Court held a hearing on June 9, 2020 on the following two motions: the
  2   “Putative Debtor’s Motion to Dismiss Involuntary Petition and Request for Attorney’s
  3
      Fees, Costs and Damages” (“Motion to Dismiss”), filed by the debtor on May 1, 2020,
  4
      and the “Petitioning Creditors’ Notice of Motion and Motion for Appointment of Interim
  5
      Chapter 7 Trustee” (“Trustee Appointment Motion”) filed on May 19, 2020 by petitioning
  6
  7   creditors Victor Franco Noval, Peter Marco, LLC and First International Diamond, Inc.

  8         Robert S. Marticello, Esq. of Smiley, Wang-Ekvall, LLP appeared on behalf of the
  9   debtor. Ronald Richards of the Law Firm of Ronald L. Richards & Associates, APC,
 10
      Baruch C. Cohen, APLC and Daniel A. Lev, Esq. of SulmeyerKupetz, A Professional
 11
      Corporation, appeared on behalf of the petitioning creditors.
 12
 13         With respect to the debtor’s Motion to Dismiss, the Court considered the Motion,

 14   the petitioning creditors’ Opposition to the Motion, the debtor’s Reply to the petitioning
 15   creditors’ Opposition, and all pleadings related to the Motion, Opposition and Reply.
 16
            With respect to the petitioning creditors’ Trustee Appointment Motion, the Court
 17
      considered the Motion and all related pleadings including the separately filed
 18
      declarations of Ronald Richards, Oved Anter, Victor Franco Noval, and Peter Marco,
 19
 20   the debtor’s Opposition to the Motion, the petitioning creditors’ Reply to the debtor’s

 21   Opposition, and all other pleadings related to the Motion, Opposition and Reply.
 22         The Court also considered the debtor’s separately filed declarations of Levin
 23
      Prado and Marc Williams in Opposition to the Trustee Appointment Motion, the debtor’s
 24
      evidentiary objections to the declarations of Oved Anter, Victor Franco Noval, Peter
 25
 26   Marco and Ronald Richards, the petitioning creditors’ evidentiary objections to the

 27   debtor’s Request for Judicial Notice, and all other pleadings related to the Motion,

 28   Opposition and Reply.




                                                 -2-


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  1         At the June 9 hearing, the Court ruled on the record on all of the evidentiary
  2   objections and heard argument and representations of counsel. After consideration of
  3
      all of the above, the Court HEREBY ORDERS AS FOLLOWS:
  4
            1. Rachel Rechnitz and Jona Rechnitz (collectively, the “Rechnitz’s”) must file a
  5
               joint declaration, sworn under penalty of perjury, which identifies each and
  6
  7            every one of the debtor’s creditors as of the date of the filing of the involuntary

  8            petition on April 6, 2020. The joint declaration shall include, without limitation,
  9            the following information with respect to each creditor identified therein:
 10
                   a. the name of the creditor;
 11
                   b. the nature of the debt owed to the creditor (e.g., consigned jewelry,
 12
 13                    rent due and owing, etc.);

 14                c. the amount of the creditor’s claim;
 15                d. whether the creditor’s claim is disputed and, if so, the nature of the
 16
                       dispute; and
 17
                   e. complete contact information for each creditor including, but not limited
 18
                       to, the creditor’s address, telephone number, cell phone number (if
 19
 20                    known), fax number (if applicable), and email address (if known);

 21         2. The Rechnitz’s shall have seven (7) days from the date of this hearing (i.e.,
 22            no later than 3:00 p.m. on Tuesday, June 16, 2020) to file their joint
 23
               declaration with the Court and serve the declaration on counsel for the
 24
               petitioning creditors;
 25
 26         3. If the Rechnitz’s fail to file the joint declaration by that date and time, the

 27            Court will deny the debtor’s Motion to Dismiss and immediately enter an order

 28




                                                    -3-


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   1            for relief in this case. The entry of such an order for relief will render both the
   2            pending Motion to Dismiss and Trustee Appointment Motion moot;
   3
            4. If the Rechnitz’s file the joint declaration by the required date and time, then:
   4
                    a. The petitioning creditors shall have sixty (60) days from the date of
   5
                        this hearing (i.e., no later than 3:00 p.m. on August 14, 2020) to
   6
   7                    contact the creditors listed in the joint declaration to determine if any of

   8                    them are willing to join in the involuntary petition;
   9                b. The petitioning creditors shall have the same sixty (60) day period
  10
                        within which to conduct discovery of the creditors listed in the joint
  11
                        declaration, which discovery shall be limited solely to questions
  12
  13                    regarding the nature and amount of the creditor’s claim and, if the

  14                    creditor’s claim is listed in the joint declaration as disputed, the nature
  15                    of such dispute;
  16
                    c. The Court shall hold a status conference on this involuntary case on
  17
                        August 25, 2020 at 10:00 a.m., and
  18
                    d. The parties shall file a joint status report seven (7) days prior to the
  19
  20                    status conference (i.e., no later than 3:00 p.m. on August 18, 2020).

  21        IT IS SO ORDERED.
  22                                               ###
  23
  24
  25       Date: June 10, 2020

  26
  27
  28




                                                    -4-


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    1                                CERTIFICATE OF SERVICE
    2       I declare that I am a citizen of the United States and I am a resident and
      employed in Los Angeles, California; that my business address is 4929 Wilshire
    3 Boulevard, Suite 940, Los Angeles, California 90010; that I am over the age of 18
      and not a party to the above-entitled action.
    4
                  I am employed by a member of the United States District Court for the Central
    5 District of California, and at whose direction I caused service of the foregoing
        document entitled SUPPLEMENTAL DECLARATION OF BARUCH C.
    6 COHEN REGARDING THIRD-PARTY DEFENDANTS’ MOTION FOR
        STAY OF PROCEEDINGS on all interested parties in this action by the method
    7 indicated below at the address stated below:
    8
        Marc S. Williams, Esq.
    9 Cohen Williams, LLP
        724 South Spring Street, 9th Floor
   10 Los Angeles, CA 90014
        Email: mwilliams@cohen-williams.com
   11 Attorney for Third-Party Defendants Jona S. & Rachel Rechnitz

   12
        [X]       BY ELECTRONIC TRANSMISSION: by electronically filing the
   13             foregoing with the Clerk of the District Court using its CM/ECF System
                  pursuant to the Electronic Case Filing provision of the United States District
   14             Court General Order and the E-Government Act of 2002, which electronically
                  notifies all parties in this case. A pdf version of this document was also
   15             transmitted to counsel via electronic mail at the mail address indicated above.
   16      I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct. Executed on June 11, 2020 at Los
   17 Angeles, California.
   18
        By: /s/       Baruch C. Cohen
   19 Baruch C. Cohen
   20

   21
   22
   23

   24

   25
   26

   27
   28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

        6/11-2:58pm
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From:                              Ronald Richards <ron@ronaldrichards.com>
Sent:                              Thursday, June 11, 2020 5:12 PM
To:                                Robert Marticello
Cc:                                dlev@sulmeyerlaw.com; Baruch Cohen; Morani Stelmach
Subject:                           DEPOSITION NOTICES
Attachments:                       Exhibit _A_ in Support of Subpoena to Testify At Deposition (Jadelle_Jona Rechnitz).pdf;
                                   Notice of Deposition of Jona Rechnitz (Jadelle) (002).pdf; Subpoena to Testify At
                                   Deposition (Jadelle_Jona Rechnitz).pdf; Subpoena to Testify At Deposition II
                                   (Jadelle_Rachel Rechnitz).pdf; Exhibit _A_ in Support of Subpoena to Testify At
                                   Deposition II (Jadelle_^.^.pdf; Notice of Deposition of Rachel Rechnitz (Jadelle).pdf

Importance:                        High


Dear Robert,

Please see attached deposition notices. I am assuming you will agree that we don’t need to serve a party member and
manager for the deposition, or her husband if that is even the case, or a manager of the entity.

Previously, Marc Cohen did not want me to send a legion of process servers to Jona’s house in Beverlywood. Out of my
high respect for Marc and Reuven, and of course you, I will not send them there this evening. However, I have three
standing by for tomorrow night, at exactly 8:05pm to serve these subpoenas, as well as day service. It would very
unfortunate if we had any issue at all on this. I am asking you to produce these people that the court ordered their
declarations and deposition. There is also a local rule on deposing declarants that is analogous.

I am happy to send them there all night Friday and Saturday all day, and then non stop until they are served even though
I do not believe they have to be served as they are making a general appearance per court order. I am sorry for the tone
but some people told me that you would not be cooperative and I said Robert has done a great job and is a true
professional. He will not advise his members to avoid service or send a message to Judge Russell that they are avoiding
a deposition or discovery as contemplated by the Court.

I would think the judge would frown upon any games as to service as stated above. Finally, if they are not going to
provide testimony as has been their position in two other cases which officers of the Court represented they would not,
that is fine, just let me know the grounds.

I want you to be aware of the below cases based upon previous positions taken by Jona and Rachel. Please review these
cases. We believe if you file the declarations the court requested, you have waived any assertion of the 5th Amendment
as to the entire subject matter which will be a large swath of questions about the various creditors and Jona and
Rachel’s credibility is far game and at issue. Therefore, we don’t want to waste time on scheduling these if you are going
to invoke. If you are not going to invoke, then will be taking two depositions and serving written discovery. We will
also need Jona and Rachel’s cell phones for a vendor to upload their text message and emails. We will need ESI
discovery on Jona’s email account so we need to formulate a ESI protocol between our respective offices. Please tell me
how you want to do that and please tell Jona and Rachel that any deleted text messages will be met with motion
practice for things I will not mention herein. The relevant cases are below.

See Mitchell v. United States, 526 U.S. 314 (1999)(“It is well established that a witness, in a single proceeding, may not
testify voluntarily about a subject and then invoke the privilege against self‐incrimination when questioned about the
details.”). The Supreme Court of the United States of America has articulated two discrete explanations why selective
waiver of the privilege against self‐incrimination is impermissible; Rogers v. United States, 340 U.S. 367, 371, 71 S.Ct.

                                                             1
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438, 95 L.Ed. 344 (1951) (discussing 5th Amendment privilege against self‐incrimination, the Supreme Court noted that,
having waived the privilege, one cannot later assert it: “To uphold a claim of privilege in this case would open the way to
distortion of facts by permitting a witness to select any stopping place in the testimony.”). It would provide a perverse
incentive to dilatory discovery practice if the Court were to allow a party to escape disclosure of documents it has shown
to a testifying expert. CP Kelco U.S. Inc., 213 F.R.D. at 179.; Sundance Image Technology, Inc. v. Cone Editions Press, Ltd.
(S.D. Cal., Aug. 19, 2005, No. 02CV2258 B (AJB)) 2005 WL 8173278, at *4.; The Fifth Amendment privilege is not self‐
executing, however, and may be found to have been waived if it is not invoked in a timely manner. Maness v. Meyers,
419 U.S. 449, 465–66 (1975); Rogers v. United States, 340 U.S. 367, 370–71 (1951); Yakus v. United States, 321 U.S. 414,
444 (1944) (“No procedural principle is more familiar to this Court than that a constitutional right may be forfeited in
criminal as well as civil cases by the failure to make timely assertion of the right before a tribunal having jurisdiction to
determine it.”); United States ex rel. Vajtauer v. Comm'r of Immigration at Port of New York, 273 U.S. 103, 113 (1927);
Davis v. Fendler, 650 F.2d 1154, 1160 (9th Cir. 1981). A waiver may be found if one agrees to an order commanding one
to do the very thing later claimed to be privileged without invoking the privilege at or before the time of the entry of the
order. See S.E.C. v. Telexfree, Inc., 164 F. Supp. 3d 187, 192 (D. Mass. 2015); In re Wolf (Bankr. N.D. Ill., May 24, 2018,
No. 14 B 27066) 2018 WL 2386813, at *5; An individual may invoke the Fifth Amendment privilege against self‐
incrimination in any proceeding “whether civil or criminal, formal or informal, including a bankruptcy proceeding.” In re
Blan, 239 B.R. 385, 392 (Bankr.W.D.Ark.1999) (citations omitted). It is, however, “not self‐executing.” In re Gi Yeong
Nam, 245 B.R. 216, 227 (Bankr.E.D.Pa.2000) (citing Roberts v. United States, 445 U.S. 552, 559, 100 S.Ct. 1358, 63
L.Ed.2d 622 (1980)). The privilege may only be relied upon if it is invoked in a proper and timely manner. Roberts, 445
U.S. at 559–60, 100 S.Ct. 1358; see also 3–344 Collier on Bankruptcy ¶ 344.03 (15th ed. 2015) (“[I]t may not properly be
invoked, for example, for the first time at a contempt hearing arising out of the refusal to answer.”). If the privilege is
not timely asserted, it may be deemed waived. See In re Gi Yeong Nam, 245 B.R. at 226–27 (citing Rogers v. United
States, 340 U.S. 367, 373, 71 S.Ct. 438, 95 L.Ed. 344 (1951)); To properly invoke the privilege, a party must produce “for
the Court's consideration, a meaningful, articulation of the reasons why [responding] would tend to incriminate him.” In
re Bartlett, 162 B.R. 73, 79 (Bankr.D.N.H.1993) (citations omitted). The claimant need not “establish the threat of
incrimination in detail, of course, since such detailed disclosure may negate the very privilege he seeks to assert.” In re
Blan, 239 B.R. at 392 (citing In re Connelly, 59 B.R. 421, 433 (Bankr.N.D.Ill.1986)). However, the party must at a minimum
show that “the claimant is confronted by substantial and ‘real,’ and not merely trifling or imaginary, hazards of
incrimination.” Marchetti v. United States, 390 U.S. 39, 59, 88 S.Ct. 697, 19 L.Ed.2d 889 (1968); see In re Connelly, 59
B.R. at 433. There need not be an active criminal investigation or proceeding in order to assert the privilege. See, e.g., In
re Gi Yeong Nam, 245 B.R. at 225–26 (adequate facts were alleged and certain federal and state statutes identified to
find it “conceivable that Defendants could be linked with the federal or state crime of aiding and abetting flight to avoid
prosecution”); In re Brown, No. 12–50853–can7, 2014 WL 309403, at *2 (Bankr.W.D.Mo. Jan. 28, 2014) (determining the
debtor's response to a particular question may result in his admitting to fraud);

As for our call tomorrow, the other things I want to propose and discuss are not in this email so I look forward to seeing
you on the call at 930am and I wish you a pleasant evening. We all respect you and your team and the practice we have
engaged in thus far.


Sincerely,

Ronald Richards, Esq.
Law Offices of Ronald Richards & Associates, A.P.C.
310‐556‐1001 Office
310‐277‐3325 Fax
www.ronaldrichards.com


Mailing Address:
P.O. Box 11480
Beverly Hills, CA 90213

                                                              2
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             EXHIBIT “A” IN SUPPORT OF SUBPOENA TO JONA RECHNITZ

                                 Production of Documents

 Definitions:

 The following definitions apply herein:

 A.      The term “Case” shall mean that bankruptcy case styled In re Jadelle Jewelry and
 Diamonds, LLC, presently pending in the United States Bankruptcy Court, Central
 District of California, Los Angeles Division, bearing Case No. 2:20-bk-13530-BR,
 commenced on April 6, 2020.

 B.      The term “Claim” shall have the meaning ascribed to it in 11 U.S.C. § 101(5).

 C.      The term “Creditor” shall have the meaning ascribed to it in 11 U.S.C. § 101(10).

 D       The term “Communications” shall mean any transmission of information from
 one person or entity to another by mail, facsimile, electronic mail, text message, instant
 messaging, audio recordings, journals, diaries, logs, or calendars, including (without
 limitation) any form of memorialization of personal meetings, conferences, telephone
 conversations, radio, electronic mail, teleconference, etc.

 E       The term “Debt” shall have the meaning ascribed to it in 11 U.S.C. § 101(12).

 G.      The term “Involuntary Petition” shall mean that certain involuntary chapter 7
 petition styled In re Jadelle Jewelry and Diamonds, LLC, presently pending in the United
 States Bankruptcy Court, Central District of California, Los Angeles Division, bearing
 Case No. 2:20-bk-13530-BR.

 H.      The term “Jadelle” shall mean Jadelle Jewelry and Diamonds, LLC, and any of its
 respective officers, directors, employees, affiliates, parents, subsidiaries, representatives,
 agents, attorneys, and all other persons acting or purporting to act on its behalf, including
 Jona Rechnitz and Rachel Rechnitz.

 I.     The term “Jona” shall mean Jona Rechnitz, and his representatives, agents,
 attorneys, and all other persons acting or purporting to act on his behalf.

 J.      The term “Petition Date” shall mean April 6, 2020, the date the Involuntary
 Petition was filed.

 K.     The term “Rachel” shall mean Rachel Rechnitz, and her representatives, agents,
 attorneys, and all other persons acting or purporting to act on her behalf.

 L.     The terms “and” or “or” or “and/or” shall be construed either disjunctively or
 conjunctively or both, as necessary, to bring within the scope of any request for responses
 which might otherwise be construed to be outside the scope.

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M.      The term “Contact Information” shall mean information upon which a person or
entity may be reached via mail, telephone, facsimile, e-mail or in person or any other
medium that is reasonable, and shall include without limitation, present and last known
address(es), phone number(s), facsimile number(s), and e- mail address(es).

N.      The terms “Document” or “Documents” shall mean and includes any medium,
including without limitation, writings, drawings, graphs, charts, photographs, audio and
video recordings, computerized records, such as e-mails, microfilm, microfiche, data
compilations, upon which intelligence or information can be recorded, maintained or
retrieved, including without limitation, the original or a copy thereof, regardless of the
origin and location, of any writing or recording of any type or description, however
produced or reproduced, which is in your or your representatives’ possession, custody or
control, or to which you have or had access, or of which you have knowledge or which
you have a right or privilege to examine upon request or demand, and includes any and
all writings and recordings as the term is used in Rule 1001(1) of the Federal Rules of
Evidence and includes the original (or a copy if the original is not available) and any
nonidentical copies (whether different from the original because of notes made on the
copy or otherwise).

O.      The terms “relate to”, “refer to”, “evidence”, “concern”, “pertain to” and
“pertaining to” shall mean mentioning, discussing, including, summarizing, describing,
reflecting, containing, referring to, relating to, depicting, connected with, embodying,
evidencing, constituting, concerning, reporting, purporting or involving an act,
occurrence, event, transaction, fact, thing, or course of dealing.

P.      The term “you” or “your” shall mean and includes Jadelle. The term “Jadelle”
shall be used interchangeably with the terms “you” or “your”.

Q.      The singular form of a word should be interpreted as plural and the plural should
be interpreted as singular to give the word or words the broadest possible meaning.

R.     The masculine gender of any word shall be construed to include the masculine, feminine,
and neuter gender.

Requested Documents:

1.      All Documents regarding any Debt owed by Jadelle to a Creditor as of the
Petition Date, including, without limitation, Documents evidencing (i) the identity of the
Creditor, including Contact Information, (ii) the amount of the Debt, (iii) the basis for the
Debt, (iv) the date the Debt was incurred, (v) the account or reference number of the
Debt, and (vi) the nature, priority, and validity of the Debt.

2.      All Documents regarding any Claim of a Creditor against Jadelle as of the
Petition Date, including, without limitation, Documents evidencing (i) the identity of the
Creditor, including Contact Information, (ii) the amount of the Claim, (iii) the basis for
the Claim, (iv) the date the Claim was incurred, (v) the account or reference number of
the Claim, and (vi) the nature, priority, and validity of the Claim.

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 3.      All Documents you contend support your contention that there is a bona fide
 dispute regarding the amount or liability of any Debt owed by Jadelle to a Creditor as of
 the Petition Date.

 4.      All Documents you contend support your contention that there is a bona fide
 dispute regarding the amount or liability of any Claim of a Creditor against Jadelle as of
 the Petition Date.

 5.     All Documents referencing any Communications between Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf, regarding the nature,
 amount, and validity of any Debt owed by Jadelle to a Creditor as of the Petition Date.

 6.     All Documents referencing any Communications between Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf, regarding the nature,
 amount, and validity of any Claim of a Creditor against Jadelle as of the Petition Date.

 7.     All Documents referencing the post-Petition Date payment of any portion of a
 Debt owed by Jadelle to a Creditor as of the Petition Date made by Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf.

 8.     All Documents referencing the post-Petition Date payment of any portion of a
 Claim of a Creditor against Jadelle as of the Petition Date made by Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf.

                                   Topics of Examination

 1.      The nature, amount, and validity of any Debt owed by Jadelle to a Creditor as of
 the Petition Date, including, without limitation, (i) the identity of the Creditor, including
 Contact Information, (ii) the amount of the Debt, (iii) the basis for the Debt, (iv) the date
 the Debt was incurred, (v) the account or reference number of the Debt, and (vi) the
 nature, priority, and validity of the Debt.

 2.     Any Documents which support the nature, amount, and validity of any Debt owed
 by Jadelle to a Creditor as of the Petition Date.

 3.     Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, regarding the nature, amount, and validity of
 any Debt owed by Jadelle to a Creditor as of the Petition Date.

 4.      Any Documents which support your contention that there is a bona fide dispute
 regarding the amount or liability of any Debt owed by Jadelle to a Creditor as of the
 Petition Date.

 5.     Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, supporting Jadelle, Rachel, or Jona’s
 contention that there is a bona fide dispute regarding the amount or liability of any Debt
 owed by Jadelle to a Creditor as of the Petition Date.

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 6.     Any Documents referencing the post-Petition Date payment of any portion of a
 Debt owed by Jadelle to a Creditor as of the Petition Date made by Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf.

 7.      Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, referencing the post-Petition Date payment
 of any portion of a Debt owed by Jadelle to a Creditor as of the Petition Date made by
 Jadelle, Rachel, Jona, or any person acting, or purporting to act, on their respective
 behalf.

 8.      The nature, amount, and validity of any Claim of a Creditor against Jadelle as of
 the Petition Date, including, without limitation, (i) the identity of the Creditor, including
 Contact Information, (ii) the amount of the Claim, (iii) the basis for the Claim, (iv) the
 date the Claim was incurred, (v) the account or reference number of the Claim and (vi)
 the nature, priority, and validity of the Claim.

 9.     Any Documents which support the nature, amount, and validity of any Claim of a
 Creditor against Jadelle as of the Petition Date.

 10.    Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, regarding the nature, amount, and validity of
 any Claim of a Creditor against Jadelle as of the Petition Date.

 11.     Any Documents which support your contention that there is a bona fide dispute
 regarding the amount or liability of any Claim of a Creditor against Jadelle as of the
 Petition Date.

 12.     Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, supporting Jadelle, Rachel, or Jona’s
 contention that there is a bona fide dispute regarding the amount or liability of any Claim
 of a Creditor against Jadelle as of the Petition Date.

 13.    Any Documents referencing the post-Petition Date payment of any portion of a
 Claim of a Creditor against Jadelle as of the Petition Date made by Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf.

 14.     Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, referencing the post-Petition Date payment
 of any portion of a Claim of a Creditor against Jadelle as of the Petition Date made by
 Jadelle, Rachel, Jona, or any person acting, or purporting to act, on their respective
 behalf.




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                                                                1 Daniel A. Lev (CA Bar No. 129622)
                                                                   dlev@sulmeyerlaw.com
                                                                2 SulmeyerKupetz
                                                                    A Professional Corporation
                                                                3 333 South Grand Avenue, Suite 3400
                                                                  Los Angeles, California 90071-1406
                                                                4 Telephone: 213.626.2311
                                                                  Facsimile: 213.629.4520
                                                                5
                                                                  Attorneys for Petitioning Creditors
                                                                6
                                                                  Ronald Richards (CA Bar No. 176246)
                                                                7 ron@ronaldrichards.com
                                                                  Law Offices of Ronald Richards & Associates, APC
                                                                8 P.O. Box 11480
                                                                  Beverly Hills, California 90213
                                                                9 Telephone: 310.556.1001
                                                                  Facsimile: 310.277.3325
                                                               10
                                                                  Attorneys for Victor Franco Noval
                                                               11
  Professional Corporation
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                  Baruch C. Cohen (CA Bar No. 159455)
                                                               12 baruchcohen@baruchcohenesq.com
                                                                  Law Office of Baruch C. Cohen, APLC
                                                               13 4929 Wilshire Boulevard, Suite 940
                                                                  Los Angeles, California 90010
                                                               14 Telephone: 323.937.4501
                                                                  Facsimile: 888.316.6107
SulmeyerKupetz, A




                                                               15
                                                                  Attorneys for Peter Marco, LLC and First International Diamond, Inc.
                                                               16
                                                                                           UNITED STATES BANKRUPTCY COURT
                                                               17
                                                                             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                               18
                                                               19 In re                                        Case No. 2:20-bk-13530-BR

                                                               20 JADELLE JEWELRY AND DIAMONDS,                Chapter 7
                                                                  LLC,
                                                               21                                              NOTICE OF SUBPOENA TO APPEAR
                                                                                                               AT DEPOSITION SERVED ON JONA
                                                               22                                              RECHNITZ
                                                                                    Alleged Debtor.
                                                               23                                              DEPOSITION OF JONA RECHNITZ:

                                                               24                                              DATE:       June 25, 2020
                                                                                                               TIME:       10:00 a.m.
                                                               25                                              PLACE:      333 South Grand Avenue
                                                                                                                           Suite 3400
                                                               26                                                          Los Angeles, CA 90071

                                                               27

                                                               28


                                                                    DAL 2702611v1



                                                                                                                                EXHIBIT "4", PAGE 120
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                                                               1
                                                                 VICTOR FRANCO NOVAL; PETER
                                                               2 MARCO, LLC; and FIRST
                                                                 INTERNATIONAL DIAMOND, INC.,
                                                               3
                                                                           Petitioning Creditors,
                                                               4
                                                                      vs.
                                                               5
                                                                 JADELLE JEWELRY AND DIAMONDS,
                                                               6 LLC,

                                                               7                    Alleged Debtor.
                                                               8

                                                               9
                                                                    TO THE ALLEGED DEBTOR, JONA RECHNITZ, AND THEIR ATTORNEYS OF
                                                               10
                                                                    RECORD:
                                                               11
  Professional Corporation




                                                                                    PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                    Civil Procedure (made applicable to this bankruptcy case pursuant to Rule 9016 of the
                                                               13
                                                                    Federal Rules of Bankruptcy Procedure), petitioning creditors, Victor Franco Noval
                                                               14
                                                                    (“Noval”), Peter Marco, LLC (“Marco”), and First International Diamond, Inc. (“First
                                                               15
SulmeyerKupetz, A




                                                                    International” and together with Noval and Marco, the “Petitioning Creditors”), have
                                                               16
                                                                    caused the “Subpoena to Appear and Testify at a Deposition in a Bankruptcy Case (or
                                                               17
                                                                    Adversary Proceeding)” (the “Subpoena”), to be issued and served upon Jona Rechnitz
                                                               18
                                                                    (the “Subpoenaed Party”). A true and correct copy of the Subpoena is attached hereto
                                                               19
                                                                    as Exhibit “A”.
                                                               20
                                                                                    PLEASE TAKE FURTHER NOTICE that the Subpoena commands that the
                                                               21
                                                                    Subpoenaed Party appear for deposition, under oath, and that such deposition take place
                                                               22
                                                                    on June 25, 2020, at 10:00 a.m., at SulmeyerKupetz, A Professional Corporation, 333
                                                               23
                                                                    South Grand Avenue, Suite 3400, Los Angeles, California 90071.
                                                               24
                                                                                    PLEASE TAKE FURTHER NOTICE that the Subpoenaed Party is a natural
                                                               25
                                                                    person.
                                                               26

                                                               27

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                                                                    DAL 2702611v1                                2

                                                                                                                                       EXHIBIT "4", PAGE 121
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                                                                                         Main Document    Page 126 of 316




                                                               1                    PLEASE TAKE FURTHER NOTICE that the Subpoena commands the

                                                               2 Subpoenaed Party to bring to the deposition, and permit inspection and copying of,

                                                               3 documents and other information set forth in Exhibit “A” to the Subpoena.

                                                               4                    PLEASE TAKE FURTHER NOTICE that the deposition will be recorded by

                                                               5 audio, audiovisual, and/or stenographic means, and that Petitioning Creditors, at their
                                                               6 sole discretion, may elect to conduct the deposition by means of “zoom” or such other

                                                               7 form of virtual examination.
                                                               8 DATED: June 11, 2020                    SulmeyerKupetz
                                                                                                         A Professional Corporation
                                                               9

                                                               10
                                                               11                                        By: /s/ Daniel A. Lev          _________________
  Professional Corporation




                                                                                                             Daniel A. Lev
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                                                             Attorneys for Petitioning Creditors
                                                               13
                                                               14

                                                               15
SulmeyerKupetz, A




                                                               16

                                                               17

                                                               18
                                                               19

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                                                                    DAL 2702611v1                               3

                                                                                                                                      EXHIBIT "4", PAGE 122
            Case 2:20-bk-13530-BR                       Doc 48 Filed 06/15/20 Entered 06/15/20 17:56:50                                           Desc
                                                       Main Document    Page 127 of 316
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
Central                                                                     District of California
In re JADELLE JEWELRY AND DIAMONDS, LLC,
                                     Alleged Debtor
                                                                                     Case No. 2:20-bk-13530-BR
          (Complete if issued in an adversary proceeding)
                                                                                     Chapter 7
                                    Plaintiff
                                       v.


                                   Defendants

                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
 To: Jona Rechnitz
                                                           (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:
  PLACE                                                                                                        DATE AND TIME
                                                                                                               June 25, 2020 at 10:00 a.m.
  SulmeyerKupetz, A Professional Corporation
  333 South Grand Avenue, Suite 3400
  Los Angeles, CA 90071
  The deposition will be recorded by this method: Stenography and/or video
     Production: You, or your representatives, must also bring with you to the deposition the following documents,
 electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
 See Exhibit “A”
         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.
 Date: June 12, 2020
                                    CLERK OF COURT
                                                                                       OR

                                    Signature of Clerk or Deputy Clerk        Attorney’s signature
                                                                         Daniel A. Lev
  The name, address, email address, and telephone number of the attorney representing (name of party) petitioning creditors
  Victor Franco Noval, Peter Marco, LLC, and First International Diamond, Inc., who issues or requests this subpoena, are:
  Daniel A. Lev, 333 South Grand Avenue, Suite 3400, Los Angeles, California 90071, email: dlev@sulmeyerlaw.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                                      American LegalNet, Inc.
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                                                                                                                          EXHIBIT "4", PAGE 123
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): Jona Rechnitz
on (date) June XX, 2020 .

   I served the subpoena by delivering a copy to the named person as follows:

                                                       on (date)                                    ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                                      .

My fees are $                      for travel and $                   for services, for a total of $                     .



          I declare under penalty of perjury that this information is true and correct.

Date: June XX, 2020

                                                                                                                  Server’s signature


                                                                                                                Printed name and title



                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:




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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                   (ii) disclosing an unretained expert's opinion or information that does
                                                                                      not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                         (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                            modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
transacts business in person, if the person                                                 (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                        be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                   (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                              compensated.

  (2)For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                        procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                      information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                      documents must produce them as they are kept in the ordinary course of
                                                                                      business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      the demand.
attorney responsible for issuing and serving a subpoena must take                          (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person                Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is               electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                  a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a                 usable form or forms.
party or attorney who fails to comply.                                                     (C) Electronically Stored Information Produced in Only One Form. The
                                                                                      person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                      information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                      responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                      from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                      of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                      order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                      reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                      made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                      requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                      26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,             (2) Claiming Privilege or Protection.
the following rules apply:                                                                 (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party          information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an               trial-preparation material must:
order compelling production or inspection.                                                    (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                  (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from         or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                        privileged or protected, will enable the parties to assess the claim.
                                                                                            (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                               subpoena is subject to a claim of privilege or of protection as trial-
   (A) When Required. On timely motion, the court for the district where              preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                          received the information of the claim and the basis for it. After being
     (i) fails to allow a reasonable time to comply;                                  notified, a party must promptly return, sequester, or destroy the specified
     (ii) requires a person to comply beyond the geographical limits                  information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                              until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no        information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                       promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                         where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a                who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on             is resolved.
motion, quash or modify the subpoena if it requires:                                  …
      (i) disclosing a trade secret or other confidential research,                   (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                            also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                      a person who, having been served, fails without adequate excuse to obey
                                                                                      the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

                                                                                                                                         American LegalNet, Inc.
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                                                                                                                          EXHIBIT "4", PAGE 125
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                                                       Main Document    Page 130 of 316
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
Central                                                                     District of California
In re JADELLE JEWELRY AND DIAMONDS, LLC,
                                     Alleged Debtor
                                                                                     Case No. 2:20-bk-13530-BR
          (Complete if issued in an adversary proceeding)
                                                                                     Chapter 7
                                    Plaintiff
                                       v.


                                   Defendants

                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
 To: Rachel Rechnitz
                                                           (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:
  PLACE                                                                                                        DATE AND TIME
                                                                                                               June 26, 2020 at 10:00 a.m.
  SulmeyerKupetz, A Professional Corporation
  333 South Grand Avenue, Suite 3400
  Los Angeles, CA 90071
  The deposition will be recorded by this method: Stenography and/or video
     Production: You, or your representatives, must also bring with you to the deposition the following documents,
 electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
 See Exhibit “A”
         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.
 Date: June 12, 2020
                                    CLERK OF COURT
                                                                                       OR

                                    Signature of Clerk or Deputy Clerk        Attorney’s signature
                                                                         Daniel A. Lev
  The name, address, email address, and telephone number of the attorney representing (name of party) petitioning creditors
  Victor Franco Noval, Peter Marco, LLC, and First International Diamond, Inc., who issues or requests this subpoena, are:
  Daniel A. Lev, 333 South Grand Avenue, Suite 3400, Los Angeles, California 90071, email: dlev@sulmeyerlaw.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                                      American LegalNet, Inc.
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): Rachel Rechnitz
on (date) June XX, 2020 .

   I served the subpoena by delivering a copy to the named person as follows:

                                                       on (date)                                    ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                                      .

My fees are $                      for travel and $                   for services, for a total of $                     .



          I declare under penalty of perjury that this information is true and correct.

Date: June XX, 2020

                                                                                                                  Server’s signature


                                                                                                                Printed name and title



                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:




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                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                   (ii) disclosing an unretained expert's opinion or information that does
                                                                                      not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                         (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                            modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
transacts business in person, if the person                                                 (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                        be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                   (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                              compensated.

  (2)For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                        procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                      information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                      documents must produce them as they are kept in the ordinary course of
                                                                                      business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      the demand.
attorney responsible for issuing and serving a subpoena must take                          (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person                Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is               electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                  a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a                 usable form or forms.
party or attorney who fails to comply.                                                     (C) Electronically Stored Information Produced in Only One Form. The
                                                                                      person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                      information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                      responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                      from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                      of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                      order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                      reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                      made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                      requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                      26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,             (2) Claiming Privilege or Protection.
the following rules apply:                                                                 (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party          information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an               trial-preparation material must:
order compelling production or inspection.                                                    (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                  (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from         or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                        privileged or protected, will enable the parties to assess the claim.
                                                                                            (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                               subpoena is subject to a claim of privilege or of protection as trial-
   (A) When Required. On timely motion, the court for the district where              preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                          received the information of the claim and the basis for it. After being
     (i) fails to allow a reasonable time to comply;                                  notified, a party must promptly return, sequester, or destroy the specified
     (ii) requires a person to comply beyond the geographical limits                  information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                              until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no        information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                       promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                         where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a                who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on             is resolved.
motion, quash or modify the subpoena if it requires:                                  …
      (i) disclosing a trade secret or other confidential research,                   (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                            also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                      a person who, having been served, fails without adequate excuse to obey
                                                                                      the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

                                                                                                                                         American LegalNet, Inc.
                                                                                                                                         www.FormsWorkFlow.com
DAL 2702614v1
                                                                                                                          EXHIBIT "4", PAGE 128
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                EXHIBIT "5"
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Electronically FILED by Superior Court of California, County of Los Angeles on 02/10/2020 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariscal,Deputy Clerk
                                                                                       20SMCV00216
                                        Assigned for all purposes to: Santa Monica Courthouse, Judicial Officer: Marc Gross




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                        13
                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        14
                                                       FOR THE COUNTY OF LOS ANGELES – WEST DISTRICT
                        15
                        16
                        17 VICTOR FRANCO NOVAL, an individual,                                               Case No.
                        18                            Plaintiff,
                                                                                                             VERIFIED COMPLAINT FOR:
                        19                 vs.
                                                                                                                 (1) Fraud
                        20 JONA S. RECHNITZ, an individual;                                                     (2) Civil Theft (Penal Code, § 496)
                        21 RACHEL   RECHNITZ, an individual;
                           JADELLE INC., a California corporation;                                              (3) Breach of Contract
                        22 JADELLE     JEWELRY AND DIAMONDS,
                           LLC, a Delaware limited liability company;                                           (4) Conspiracy to Commit Theft, Fraud,
                                                                                                                    and Fraud by Concealment
                        23 LEVIN   PRADO aka LEVON PRADO, an
                           individual; XIOMARA CORTEZ, an                                                       (5) Appointment of Receiver
                        24 individual and DOES 1-20.
                        25                            Defendants.

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                                                                                                  COMPLAINT

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 1          Plaintiff Victor Franco Noval (“Plaintiff” or “Franco”) hereby alleges as follows:

 2                                               PARTIES

 3          1.      Plaintiff Victor Franco Noval (“Franco”) is an individual residing in Beverly Hills,
 4 California in the County of Los Angeles.
 5          2.      Defendant Jona S. Rechnitz (“Jona”) is an individual who is residing in the County
 6 of Los Angeles in a rental house located at 9533 Sawyer St., Beverlywood area, City of Los Angeles.
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20          3.      Defendant Rachel Rechnitz (“Rachel”) is an individual who is residing in the County
21 of Los Angeles in a rental house located at 9533 Sawyer St., Beverlywood area, City of Los Angeles.
22 She is formerly known as Rachel Kahn. Both Jona and Rachel advertise political and powerful
23 celebrity connections to create a false sense of credibility about themselves and their business. They
24 post photos on social media of Kylie Jenner and Kim Kardashian, and Jona is seen with the mayor
25 of New York and holding large amounts of United States Currency.
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                                                COMPLAINT

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                                     COMPLAINT

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 1          4.      Defendant Jadelle Inc. (“Jadelle Inc.”) is a California corporation whose principle

 2 office is in Beverly Hills and whose board member and President is Rachel.
 3          5.      Defendant Jadelle Jewelry and Diamonds, LLC (“Jadelle LLC,” collectively with

 4 Jadelle Inc., the “Jadelle Entities”) is a Delaware limited liability company qualified to do business
 5 in California. Rachel is the managing member of Jadelle LLC.
 6          6.      Defendant Levin Prado aka Levon Prado (“Prado”) is the agent for service of process,
 7 controller, and check signer for the Jadelle Entities. It is alleged on information and belief that
 8 Prado has a girlfriend named Xiomara Cortez at the Wells Fargo Bank Beverly Hills branch who
 9 assisted him in furthering Rachel and Jona’s fraud by stopping payment on checks and allowing
10 numerous improper check transactions to occur on both of the Jadelle Entities’ accounts. Prado is
11 displaying the sign he has indicated with his action towards Plaintiff and others as it relates to their
12 goods and collateral.
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                                                 COMPLAINT

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 1          7.     Xiomara Cortez is an individual believed to reside in the County of Los Angeles who

 2 is employed at Wells Fargo Bank. Cortzez was instrumental in allowing Jona and Rachel’s frauds
 3 to continue by keeping the current bank account open and by allowing Prado to continue to open up
 4 accounts and issue worthless instruments.
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19          8.     The true names and capacities of defendants Does 1 through 20, whether individual,
20 corporate, associate or otherwise, are unknown to Plaintiff, who therefore sues these defendants by
21 such fictitious names. Plaintiff will amend this complaint to show the true names and capacities of
22 those defendants after they have been ascertained. Plaintiff is informed and believes, and on that
23 basis alleges, that each of the fictitiously named defendants is responsible in some manner for the
24 occurrences alleged in this complaint and that Plaintiff’s damages as alleged in the Complaint were
25 proximately caused by the acts or omissions of such defendant.
26          9.     Plaintiff is informed that, at all times mentioned in this Complaint, Defendants, and
27 each of them, were the partners, joint venturers, agents, employees, alter egos, and representatives
28 of each other in doing the things herein alleged and, in doing so, were acting within the scope of
                                                     4
                                               COMPLAINT

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 1 their respective authorities as agents, employees and representatives, and are jointly and severally
 2 liable to Plaintiff.
 3          10.     The alleged frauds committed by Jona were committed with Rachel’s knowledge and

 4 direction, along with the assistance of Prado, making them personally liable. Without Rachel setting
 5 upon the entities to commit the frauds, Jona lying to steal the collateral and loan proceeds, and Prado
 6 signing the checks, none of the below referenced offenses could have occurred.
 7                                        JURISDICTION AND VENUE

 8          11.     This Court has jurisdiction over this entire action because it is a civil action wherein
 9 the damages sought are in excess of the jurisdictional limits of this Court, and the Defendants are
10 subject to personal jurisdiction in the State of California
11          12.     Defendants have conducted substantial business in the State of California, are

12 registered and qualified to conduct business in the State of California, are California residents,
13 and/or have purposefully directed tortious activities towards a California resident.
14          13.     Venue in this Court is proper pursuant to California Code of Civil Procedure, §§ 395
15 et seq. Venue of this action is in this Court and County because the obligations, acts and liabilities
16 claimed in this action arose and the torts alleged herein took place in Los Angeles County and the
17 parties reside in this County.
18
19                                  GENERAL FACTUAL ALLEGATIONS
20          14.     On or about January 24, 2019, the Jadelle Entities, which are owned by Jona and

21 Rachel, borrowed money from Plaintiff pursuant to a written agreement. The terms of the written
22 agreement were memorialized in a Debt Acknowledgment, Promissory Note and Security
23 Agreement (“Debt Agreement”) dated March 2019. A true and correct copy of the Debt Agreement
24 is attached hereto and incorporated herein as Exhibit “A”.
25          15.     The original principal amount in the Debt Agreement is $2,850,000 at 9% interest
26 per month, however, the total debt owed by Defendants later increased to $5,800,000. The maturity
27 dates are reflected in the Debt Agreement.
28          16.     Pursuant to the Debt Agreement, the loans were secured by jewelry delivered to
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                                                 COMPLAINT

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 1 Franco and a 2012 Bugatti. Jona delivered the Bugati and the jewelry to Franco as security/collateral
 2 for the loan.
 3          17.    After a series of further advance transactions, the debt on the loan grew to

 4 $5,800,000.
 5          18.    The Bugati was liquidated and the funds were credited against principal for a total
 6 credit of $400,000.
 7          19.    As background on Jona Rechnitz, a sealed information was filed against him in the
 8 Southern District of New York on June 6, 2016 for wire fraud. A copy of the information is attached
 9 hereto as Exhibit “B”.
10          20.    Jona entered a guilty plea on June 6, 2016.
11          21.    On March 15, 2017, the information against Jona was unsealed. On March 15, 2017,
12 Jona was released on bond pursuant to release conditions imposed by Judge Alvin K. Hellerstein.
13          22.    On December 6, 2019, Jona was sentenced to 10 months of custody. He was granted
14 release pending appeal.
15          23.    The government in its sentencing memorandum indicated that “Rechnitz was in a
16 position to cooperate regarding a broad range of subject matters in part because, for several years
17 beginning when he was 26 years old in 2008, Rechnitz rode a wave of unbridled ambition and a
18 seemingly limitless sense of entitlement through a series of misdeeds. Rechnitz had been a brazen
19 criminal, and the seriousness of his crimes of conviction cannot, and should not, be minimized.”
20          24.    Yet, apparently misunderstanding his role as a “one of the single most important and
21 prolific white collar cooperating witnesses in the recent history of the Southern District of New
22 York” according to the government, Jona mistakenly believes that this provides him immunity from
23 committing fraud in California.
24          25.    No sooner than within weeks of being sentenced in the Southern District of New
25 York, Jona swindled Franco in a large scale fraud totaling $5,800,000. On information and belief,
26 Jona and Rachel have defrauded other diamond dealers in Southern California and as those victims
27 authorize the release of their names, the complaint will be amended to recover their stolen goods as
28 well.
                                                     6
                                                COMPLAINT

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 1          26.     At the time of the fraud, Jona Rechnitz was and still is a convicted felon from the

 2 Southern District of New York. He is presently out on bond for a wire fraud conviction where he
 3 was granted bail pending appeal. He is married to Rachel Rechnitz and they have six children
 4 together.
 5          27.     They both now reside in a rental home in the Beverlywood area in the City of Los
 6 Angeles.
 7          28.     Jona and Rachel operate a jewelry business through two similarly named entities,
 8 defendants Jadelle Inc. and Jadelle Jewelry and Diamonds, LLC, herein the Jadelle Entities, whose
 9 marque client is the Kardashian family. Each of their clients will be added to this action as the facts
10 unfold showing the stolen collateral was sold to retail customers of Jona and Rachel.
11          29.     The Debt Agreement between the parties was simple. Jona tendered over $7,000,000
12 worth of diamonds to Plaintiff to be held as a collateral against a loan which totaled $5,800,000.
13          30.     In late December of 2019, AFTER, Jona was sentenced, Jona indicated to Franco
14 that he was going to get a credit line and asked for the release of the diamond collateral in exchange
15 for payment in full. This representation by Jona was false when made. Jona knew the representation
16 was false when made. Jona made this representation with the intention of causing Franco to rely on
17 it. Franco relied on this representation to his detriment.
18          31.     Jona persuaded Franco and Franco’s brother to deliver the collateral to Jona and
19 Rachel’s office at 9454 Wilshire Blvd. in Beverly Hills. Jona exchanged two checks payable to
20 Franco in exchange for the diamond collateral dated January 14, 2020 and January 16, 2020 in the
21 amounts of $2,500,000 and $1,300,000, respectively. True and correct copies of said checks are
22 attached hereto as Exhibit “C.” At the time Jona issued the checks to Franco he had no intention of
23 honoring the checks. Franco relied on Jona issuing and intending to honor the checks by releasing
24 the diamond collateral.
25          32.     Plaintiff and Plaintiff’s brother complied by exchanging the diamond collateral and
26 Jona tendered two checks attached hereto as Exhibit “C”. The checks, however, were NSF at the
27 time of tender. Jona has repeatedly lied, lulled, and attempted to fabricate one excuse after another
28 to delay paying Plaintiff.
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                                                 COMPLAINT

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 1          33.    Based upon information and belief, Prado, acting in concert with Jona and Rachel,

 2 and to further their scheme, had his girlfriend or another representative at Wells Fargo Bank issue a
 3 stop payment on the checks, attached hereto as Exhibit “C”, that Franco was going to deposit.
 4          34.    Jona falsely enlisted attorneys to pretend payment on the loan was coming from

 5 family members to buy himself more time. A number of these family members had written letters
 6 to the Court for Jona’s sentencing.
 7          35.    In reality, Jona liquidated Plaintiff’s diamond collateral and spent Plaintiff’s money,
 8 but refuses to tell Plaintiff how he liquidated the collateral or how he spent the loan proceeds.
 9          36.    It is apparent that Jona is continuing his criminal conduct in California after being
10 convicted in New York.
11          37.    Upon realizing he had been swindled and defrauded, Franco immediately filed a
12 police report with the Beverly Hills Police.
13          38.    Repeated demands have been made to Jona to return the diamond collateral. Jona,
14 who wants to conceal his criminal conduct from the sentencing judge in New York and the federal
15 prosecutors who vouched for him, as well as U.S. Probation, took numerous steps to lull the victim,
16 Franco, to buy more time.
17          39.    On January 16, 2020, with the assistance of a local Beverly Hills attorney, Jona
18 drafted more documents and an additional check, attached hereto as Exhibit “D” and Exhibit “E”,
19 to further stop Franco from disclosing and revealing that Jona’s fraudulent conduct has only grown
20 in scope and size and that he has learned nothing from his life of crime which spanned from 2011
21 to 2015, which then halted while he was cooperating from 2016 to 2018.
22          40.    The fact that Jona only received 10 months custody time with 5 months house arrest
23 has only emboldened him to commit more fraud, grand theft, and to issue worthless instruments.
24          41.    The January 16, 2020 document requested that Franco keep Jona’s fraud and
25 breaches confidential until January 23, 2020. Jona, however, did not comply with the January 16,
26 2020 agreement and no payments have been received. Jona entered into the January 16, 2020
27 agreement without any intention of performing in order to delay Franco from seeking redress for
28 the fraud and breaches. Franco reasonably and detrimentally relied on the January 16, 2020
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                                                  COMPLAINT

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 1 agreement.
 2          42.     Jona then fired the Beverly Hills attorney and retained a new attorney on January 28,

 3 2020, to resolve this matter.
 4          43.     Jona’s modus operandi in this fraud is to have numerous well-respected attorneys

 5 contact Franco’s counsel and advance Jona’s false promises of repayment or outside funding along
 6 with checks that either are NSF or which Jona had no intention of honoring.
 7          44.     Jona directly, and through counsel, has been asked to disclose the location of the
 8 diamond collateral and to provide a tracing and accounting of the loan proceeds. Jona has refused
 9 to do so.
10          45.     On information and belief, Plaintiff alleges that this is because Jona had pledged
11 diamonds to Franco that in fact were loaned to Jona and were not owned by Jona or Rachel. Upon
12 discovering whose diamonds Jona had pledged, this Complaint will be amended to add that party as
13 they have Franco’s collateral and hold it in constructive trust for Plaintiff’s benefit.
14          46.     On information and belief, defendant Xiomara Cortez aided and abetted the
15 defendants in committing these frauds. Defendant Cortez assisted in issuing checks, stopping
16 payment, and verifying funds, knowingly allowing Prado to issue numerous worthless checks and
17 never closed the accounts due to her romantic relationship with Prado.
18          47.     Jona, assisted by Rachel, have only become more emboldened in their frauds. On
19 information and belief, they have taken goods on memo from various Southern California diamond
20 merchants. Namely, Peter Marco, Moti Klein, and Julius Klein. The video Jona showed at his
21 sentencing in federal court to the federal judge on December 19, 2019, with Kim Kardashian, was
22 most likely depicted stolen and fraudulently obtained goods from Plaintiff and various diamond
23 merchants. The amount of losses to these various parties is alleged to be over $15,000,000. They
24 are number other victims as well involved in various scams perpetrated by Jona. On information
25 and belief, they include Sotheby’s, Leon Landver, Sam Gorodistian, Ben Adhoot, and Yehuda
26 Gamzo. All the alleged victims have the same common pattern evidence used by Jona and Rachel
27 which is to have attorneys contact them, telling them they are getting paid according to Jona.
28          48.     On information and belief, Jona made numerous false statements to the federal
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                                                 COMPLAINT

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 1 sentencing judge because by December 19 ,2019, Jona’s frauds were well under way. This house
 2 of fraudulent cards needs to be exposed as his growing victim list is becoming a community wide
 3 problem. This lawsuit and other reports that have been filed, will hopefully bring this economic
 4 terrorist to justice and Plaintiff prays that this Court take appropriate access to find him financially
 5 responsible and appoint a receiver to halt what has now turned into outright theft of merchandise in
 6 the tens of millions of dollars afflicting Plaintiff and other victims. As more come forward, Plaintiff
 7 will amend and add them to this complaint to turn this into a class if appropriate to stop this man
 8 and his wife. Presently, Plaintiff is aware of other victims including Peter Marco, Julius Klein, and
 9 Moti Klein as well as multiple other victims including an active insurance investigation.
10          49.     Plaintiff immediately reported this matter to the Beverly Hills Police Department in
11 the hope of stopping Mr. Rechnitz from further victimizing local residents and businesses. The
12 police have notified Plaintiff there are numerous other victims. The filing of this action is intended
13 to bring to light Rechnitz’s frauds and have him exposed so no further innocent people are hurt by
14 this economic terrorist. At this point, Plaintiff has no realistic belief that Rechnitz will ever pay him
15 back as the list of victims keeps growing. At this point, Plaintiff only hopes no further persons are
16 swindled by Jona, Rachel, and their team of thieves.
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28          50.     On February 4, 2020, his newly retained criminal defense attorney in Los Angeles
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                                                  COMPLAINT

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 1 sent a carefully scripted mass email to BCC’ing Jona’s purported victims, attached as Exhibit “F”
 2 which reads as follows:
 3          We write with an update on Jona Rechnitz. A family member of Mr. Rechnitz has informed

 4          our law firm that the family member is seeking to refinance certain real property in order to

 5          satisfy Mr. Rechnitz's outstanding liabilities. We currently have no visibility into the family
 6          member's interest in the property, the value of the property, or what, if any equity, the family
 7          member has in it.
 8          If you are represented by counsel, please let us know and provide your counsel's contact
 9          information. Our client's desire is to resolve this matter amicably.
10          This email comes after Jona had three previous reputable attorneys contact Plaintiff all
11 relaying the same bogus and false words of hope. This type of lulling is widely known under federal
12 law.     The email carefully and correctly discloses that the law firm knows nothing of the veracity
13 of the client directed statements and correctly distances the law firm of any endorsement of Jona’s
14 numerous attempts to use reputable attorneys to buy himself time. It should be noted that each and
15 every time the reputable attorneys Jona retained, correctly made it clear they were not endorsing or
16 underwriting Jona’s promises of repayment of the stolen funds or return of the stolen collateral.
17          51.    Jona and Rachel have directed numerous “lulling letters” in furtherance of their
18 scheme to defraud. A lulling letter is “designed to lull the victims into a false sense of security,
19 postpone their ultimate complaint to the authorities, and therefore make apprehension of the
20 defendants less likely.” United States v. Manarite, 44 F.3d 1407, 1412 (9th Cir.1995) (quoting
21 United States v. Maze, 414 U.S. 395, 403 (1974)); United States v. Shaw (9th Cir. 1996) 97 F.3d
22 1463. The numerous exhibits attached to this complaint are all examples of lulling letters. They
23 display consciousness of Jona and Rachel’s intent to defraud.
24          52.    On February 7, 2020, Plaintiff’s counsel was contacted by two partners at Cohen
25 Williams LLP that notwithstanding the February 4, 2020 email, they unfortunately had no further
26 information to report. Plaintiff’s counsel asked them to stop contacting him regarding this matter
27 as his client cannot psychologically handle further false promises, lies, and false rays of hope that
28 Jona directs his attorneys to provide his various victims. Plaintiff’s counsel informed these fine
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                                                 COMPLAINT

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 1 reputable attorneys not to update him further as he has moved on and that his client has zero belief
 2 Jona will ever pay him back.
 3          53.    Plaintiff is hopeful that the publication of this action will cause more victims to not

 4 feel ashamed of being fleeced and to report these matters to the proper authorities. Absent public
 5 awareness of Jona and his conspirator’s frauds, he will keep stealing from people and hurting
 6 residents and businesses of Southern California.
 7          54.    Jona is using his last cooperation in the Southern District of New York as some sort
 8 of ill-conceived immunity as part of the scheme. During the fraud, Jona has indicated that he was
 9 not concerned with any problems or things he has done because the FBI needs him as an informant
10 so bad in the New York case where there are appeals they would never do anything to him no matter
11 what he did. This is of course is completely an ignorant and delusional view. The FBI does not
12 immunize crooks to steal simply because they cooperate in a case. Jona uses this as a tool to further
13 his scheme to defraud.
14          55.    Numerous victims have been interviewed in this matter. On information and belief,
15 as to the Sotheby’s fraud, Jona falsely represented to Sotheby’s he was entitled to diamonds given
16 to Sotheby’s for auction, Jona secretly picked them up and has dissipated the assets. The total loss
17 was $3,000,000.00. Just adding up all the victims the Plaintiff’s law firm has interviewed the losses
18 exceed $15,000,000. The Plaintiff is encouraging all victims of Jona and Rachel to come forward
19 immediately and to stop believing they are going to get paid.
20                                    FIRST CAUSE OF ACTION

21                              FRAUD AGAINST ALL DEFENDANTS

22          56.    Plaintiff hereby incorporates by reference as though fully set forth in full herein, all

23 preceding Paragraphs of this Complaint.
24          57.    The foregoing representations made by Jona, Rachel, and the other Defendants were
25 false when they were made, and Defendants knew the representations to be false. Defendants did
26 not intend to comply with the promises and representations when they were made.
27          58.    The foregoing representations were made by Jona, Rachel, and Defendants with the
28 intent to deceive Plaintiff and with knowledge that Plaintiff would rely on them.
                                                      12
                                                COMPLAINT

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 1          59.      Plaintiff detrimentally and reasonably relied on the foregoing representations.

 2          60.      Plaintiff has been damaged by Defendants’ false, intentional, and fraudulent

 3 representations and concealing of material information, as alleged above, in an amount to be proven
 4 at trial, but at least $7,000,000, which represents the collateral Jona lied to steal as well as tendered
 5 worthless instruments for.
 6          61.      Plaintiff further requests the imposition of a constructive trust against all Defendants
 7 who are in possession of the diamond collateral set forth in the Debt Agreement and for an order
 8 and judgment that they hold the diamond collateral and/or all proceeds therefrom as constructive
 9 trustees for the benefit of Plaintiff.
10          62.      In doing the things herein alleged, Defendants acted willfully, maliciously, and with
11 the intent to cause injury and harm to Plaintiff. Defendants are therefore guilty of malice and/or
12 fraud in conscious disregard of Plaintiff’s rights, thereby warranting an assessment of punitive and
13 exemplary damages in an amount appropriate to punish Defendants, and each of them, and deter
14 them and others from engaging in similar misconduct
15                                     SECOND CAUSE OF ACTION

16                CIVIL THEFT (Cal. Penal Code, § 496) AGAINST ALL DEFENDANTS
17          63.      Plaintiff hereby incorporates by reference as though fully set forth in full herein, all

18 preceding Paragraphs of this Complaint.
19          64.      As a result of Jona and Defendants’ conduct as alleged herein, they have violated
20 California Penal Code, section 496.
21          65.      California Penal Code, section 496, provides, “[e]very person who buys or receives
22 any property that has been stolen or that has been obtained in any manner constituting theft or
23 extortion, knowing the property to be so stolen or obtained, or who conceals, sells, withholds, or
24 aids in concealing, selling, or withholding any property from the owner, knowing the property to be
25 so stolen or obtained, shall be punished by imprisonment in a county jail for not more than one year,
26 or imprisonment pursuant to subdivision (h) of Section 1170. However, if the value of the property
27 does not exceed nine hundred fifty dollars ($950), the offense shall be a misdemeanor, punishable
28 only by imprisonment in a county jail not exceeding one year, if such person has no prior convictions
                                                       13
                                                  COMPLAINT

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 1 for an offense specified in clause (iv) of subparagraph (C) of paragraph (2) of subdivision (e) of
 2 Section 667 or for an offense requiring registration pursuant to subdivision (c) of Section 290.
 3          66.     Jona and Defendants have obtained and received property from Plaintiff, the

 4 $5,800,000, in a manner constituting “theft,” as that term is defined in California Penal Code,
 5 section 484(a), “[e]very person who shall feloniously steal, take, carry, lead, or drive away the
 6 personal property of another, or who shall fraudulently appropriate property which has been
 7 entrusted to him or her, or who shall knowingly and designedly, by any false or fraudulent
 8 representation or pretense, defraud any other person of money, labor or real or personal property, or
 9 who causes or procures others to report falsely of his or her wealth or mercantile character and by
10 thus imposing upon any person, obtains credit and thereby fraudulently gets or obtains possession
11 of money, or property or obtains the labor or service of another, is guilty of theft.”
12          67.     As a direct and proximate result of Defendants’ civil theft, Plaintiff has been
13 damaged in an amount to be proven at trial, but at least $7,000,000.
14          68.     Pursuant to California Penal Code, section 496(c), Plaintiff is also entitled to recover
15 treble damages from Defendants.
16          69.     Pursuant to California Penal Code, section 496(c), Plaintiff is also entitled to recover
17 attorneys’ fees from Defendants.
18          70.     Plaintiff further requests the imposition of a constructive trust against all Defendants
19 who are in possession of the diamond collateral set forth in the Debt Agreement and for an order
20 and judgment that they hold the diamond collateral and/or all proceeds therefrom as constructive
21 trustees for the benefit of Plaintiff.
22          71.     In doing the things herein alleged, Defendants acted willfully, maliciously, and with
23 the intent to cause injury and harm to Plaintiff. Defendants are therefore guilty of malice and/or
24 fraud in conscious disregard of Plaintiff’s rights, thereby warranting an assessment of punitive and
25 exemplary damages in an amount appropriate to punish Defendants, and each of them, and deter
26 them and others from engaging in similar misconduct
27
28
                                                      14
                                                 COMPLAINT

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 1                                     THIRD CAUSE OF ACTION

 2                    BREACH OF CONTRACT AGAINST ALL DEFENDANTS

 3          72.     Plaintiff hereby incorporates by reference as though fully set forth in full herein, all
 4 preceding Paragraphs of this Complaint.
 5          73.     Plaintiff has duly performed all of his obligations, terms, and conditions of the Debt
 6 Agreement, except to the extent that his performance has been waived, prevented or excused by the
 7 acts, conduct and/or omissions of Defendants.
 8          74.     All conditions for Defendants’ performance on the Debt Agreement have occurred.
 9          75.     Defendants are in breach of the Debt Agreement by failing and refusing to pay
10 Plaintiff all amounts due thereunder and by failing to provide Plaintiff with the collateral required
11 thereunder.
12          76.     As a direct and proximate result of the acts, omissions, and breaches of the Debt
13 Agreement by Defendants, as alleged herein, Plaintiff has suffered damages in a specific amount to
14 be determined at trial, but in the amount of at least $7,000,000.
15                                    FOURTH CAUSE OF ACTION

16            CIVIL CONSPIRACY TO COMMIT THEFT, FRAUD, AND FRAUD BY
17                         CONCEALMENT AGAINST ALL DEFENDANTS

18          77.     Plaintiff hereby incorporates by reference as though fully set forth in full herein, all
19 preceding Paragraphs of this Complaint.
20          78.     Jona, Rachel, and Prado conspired to make an illegal agreement to defraud Franco
21 of his loan proceed and his collateral and to commit civil theft.
22          79.     Jona, with his wife Rachel, have set up serial bogus companies to solicit loans based
23 upon the false premise they have collateral. Meanwhile the collateral is already pledged to a third
24 party or Jona and Rachel have concocted lies to get it back, using Prado as their patsy to sign checks
25 on their corporate checking accounts.
26          80.     Franco is informed, believes, and thereupon alleges that at all times relevant hereto,
27 Defendants, including but not limited to Jona, Rachel, and Prado, formed a civil conspiracy and
28 engaged in the foregoing acts in operation and furtherance of that conspiracy.
                                                      15
                                                 COMPLAINT

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 1          81.    Plaintiff is informed, believes, and thereupon alleges that at all times relevant hereto,

 2 Defendants committed the foregoing misrepresentations, wrongs, theft, and fraud for the purpose
 3 and in furtherance of a fraudulent conspiracy and scheme to defraud Plaintiff, as alleged herein.
 4          82.    As a result of the civil conspiracy, each and every Defendant is liable and responsible

 5 for the acts of the other Defendants in furtherance of the conspiracy and all damages resulting
 6 therefrom.
 7          83.    As a result of the civil conspiracy, Defendants are jointly and severally liable for
 8 $7,000,000.
 9          84.    The egregious nature of the Defendants/conspirators’ collective conduct is malicious,
10 wanton, and willful. Plaintiff needs to be awarded punitive damages plus a judgment of joint and
11 several liability.
12                                       PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff Franco seeks a judgment in her favor and an order granting the
14 following relief:
15          1.     That Plaintiff be awarded compensatory damages in the amount of at least

16                 $7,000,000;

17          2.     That Plaintiff be awarded treble damages pursuant to California Penal Code,

18                 section 496(c);
19          3.     That Plaintiff be awarded reasonable attorneys’ fees pursuant to California Penal
20                 Code, section 496(c);
21          4.     For a constructive trust over the diamond collateral and all proceeds therefrom;
22          5.     That Plaintiff be awarded punitive damages in an amount to be proven at trial;
23          6.     For a receiver to be installed into both defendant companies and personal estates to
24                 marshal the remaining assets;
25          7.     That Plaintiff be awarded costs of suit; and
26          8.     That Plaintiff be awarded such further relief as the Court deems just and proper.
27
28
                                                      16
                                                 COMPLAINT

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  1 DATED: February 8, 2020         LAW OFFICES OF RONALD RICHARDS
                                    & ASSOCIATES, A.P.C.
  2
  3                                 By:   /s/ Ronald Richards
                                                 Ronald Richards
  4                                       Attorneys for Plaintiff Victor Franco Noval
  5
                                    LAW OFFICES OF GEOFFREY LONG, A.P.C.
  6
  7
                                    By:    /s/ Geoffrey Long
  8                                              Geoffrey Long
                                          Attorneys for Plaintiff Victor Franco Noval
  9
 10
 11
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                                          17
                                      COMPLAINT

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 1                                           VERIFICATION

 2 I, Victor Franco Noval, declare:
 3 I have read the foregoing complaint and know the contents thereof.
 4 I am informed and believe based on information provided to me, materials I have reviewed, and
 5 my personal knowledge that the matters stated in are true and accurate to the best of my
 6 knowledge except where I indicated they are based upon information and belief.
 7 I declare under penalty of perjury pursuant to the laws of the State of California that the
 8 foregoing is true and correct, and that this verification to this complaint was executed this 9th day
 9 of February, 2020, in Beverly Hills, California.
10
     ______________________
11 Victor Franco Noval
12
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                                                      18
                                                 COMPLAINT

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                                          EXHIBIT A

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       EXHIBIT B




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                              EXHIBIT C




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                              EXHIBIT D




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                              EXHIBIT E




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                              EXHIBIT F




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Ronald Richards

From:                                Reuven Cohen <rcohen@
Sent:                                Tuesday, February 4, 2020 9:40 PM
To:                                  Reuven Cohen; Marc Williams
Subject:                             Jona Rechnitz


We write with an update on Jona Rechnitz. A family member of Mr. Rechnitz has informed our law firm that the family
member is seeking to refinance certain real property in order to satisfy Mr. Rechnitz's outstanding liabilities. We
currently have no visibility into the family member's interest in the property, the value of the property, or what, if any
equity, the family member has in it.

If you are represented by counsel, please let us know and provide your counsel's contact information.

Our client's desire is to resolve this matter amicably.

Sincerely,

Reuven L. Cohen
Cohen Williams LLP
724 South Spring Street, 9th Floor
Los Angeles, CA 90014
Tel: 213-232-5163
Fax: 213-232-5167
rcohen@
www.cohen-williams.com




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   1 Baruch C. Cohen, Esq. (SBN 159455)
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     4929 Wilshire Boulevard, Suite 940
   3 Los Angeles, California 90010
     (323) 937-4501 Fax (888) 316-6107
   4 e-mail: baruchcohen@baruchcohenesq.com
   5 Attorney for Third-Party Plaintiffs PETER VOUTSAS aka PETER MARCO aka
     PETER MARCO EXTRAORDINARY JEWELS OF BEVERLY HILLS, dba
   6 PETER MARCO LLC
   7
                              IN THE UNITED STATES DISTRICT COURT
   8
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        DAVID ROVINSKY LLC, a                       USDC # 2:20-cv-02580-ODW-AS
  11    Delaware limited liability company,

  12             Plaintiff,                         AMENDED THIRD-PARTY
                                                    COMPLAINT FOR:
  13    PETER VOUTSAS aka PETER
        MARCO aka PETER VOUTSAS, aka                1.    INTENTIONAL
  14    PETER MARCO                                       MISREPRESENTATION &
        EXTRAORDINARY JEWELS OF                           FRAUD;
  15    BEVERLY HILLS, dba PETER                    2.    CIVIL THEFT (PENAL CODE,
        MARCO LLC,                                        § 496);
  16                                                3.    EMBEZZLEMENT;
                 Defendants/Third-Party Plaintiffs, 4.    CIVIL CONSPIRACY TO
  17                                                      COMMIT THEFT, FRAUD,
        vs.                                               AND FRAUD BY
  18                                                      CONCEALMENT;
        JONA S. RECHNITZ, an individual;            5.    CONVERSION;
  19    RACHEL RECHNITZ, an individual;             6.    BREACH OF CONTRACT;
        LEVIN PRADO aka LEVON                       7.    BREACH OF THE IMPLIED
  20    PRADO, an individual,                             COVENANT OF GOOD
                                                          FAITH AND FAIR DEALING;
  21                 Third-Party Defendants.        8.    ACCOUNT STATED; &
                                                    9.    UNETHICAL BUSINESS
  22                                                      PRACTICES IN VIOLATION
                                                          OF CALIFORNIA BUSINESS
  23                                                      & PROFESSIONS CODE §
                                                          17200
  24
                                                    DEMAND FOR A JURY TRIAL
  25
                 Third-Party Plaintiffs PETER VOUTSAS aka PETER MARCO aka PETER
  26
       MARCO EXTRAORDINARY JEWELS OF BEVERLY HILLS, dba PETER
  27
       MARCO LLC. (“Marco”) hereby allege the following against Third-Party
  28

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   1   Defendants JONA S. RECHNITZ, RACHEL RECHNITZ, LEVIN PRADO aka
   2   LEVON PRADO, (collectively “Third-Party Defendants”) as follows:
   3                        THE PARTIES, JURISDICTION, AND VENUE
   4   1.        Third-Party Plaintiff PETER VOUTSAS aka PETER MARCO (“Marco”) is
   5             an individual residing in Los Angeles County, State of California.
   6   2.        Third-Party Plaintiff PETER MARCO LLC is a limited liability company
   7             qualified to do business in California qualified to do business in California.
   8             Marco is the managing member of PM-LLC.
   9   3.        Third-Party Plaintiff PETER MARCO EXTRAORDINARY JEWELS OF
  10             BEVERLY HILLS is a dba of Marco and PETER MARCO LLC.
  11   4.        All Third-Party Plaintiffs are collectively herein referred to as (“Marco”).
  12   5.        Third-Party Defendant JONA S. RECHNITZ (“Jona”) is an individual
  13             residing in Los Angeles County, State of California. Jona is also Rachel’s
  14             husband.
  15   6.        Third-Party Defendant RACHEL RECHNITZ (“Rachel”) is an individual
  16             residing in Los Angeles County, State of California. Rachel is the managing
  17             member of Jadelle LLC and the Chief Executive Officer for Jadelle Inc.
  18             Rachel is also Jona’s wife.
  19   7.        Jona and Rachel Rechnitz operate a jewelry business through two similarly
  20             named entities, Jadelle Inc. and Jadelle Jewelry and Diamonds, LLC, herein
  21             the Jadelle Entities, whose marque client is the Kardashian family. Both Jona
  22             and Rachel Rechnitz advertise political and powerful celebrity connections to
  23             create a false sense of credibility about themselves and their business, posting
  24             photos on their social media of Kylie Jenner and Kim Kardashian.
  25   8.        The alleged frauds committed by Jona were committed with Rachel’s
  26             knowledge and direction, making her personally liable. Without Rachel
  27             setting up the entities to commit the frauds, Jona lying to steal Marco’s
  28

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   1             Consigned Jewelry, none of the below referenced offenses could have
   2             occurred.
   3   9.        On information and belief, on 4-6-2020, an involuntary chapter 7 bankruptcy
   4             proceeding was filed against Jadelle Jewelry and Diamonds, LLC, a Delaware
   5             limited liability company, Jadelle Jewelry, LLC, and Jadelle Inc., a California
   6             corporation, USBC # 2:20-bk-13530-BR. The petitioning creditors are: First
   7             International Diamond, Inc., with Trade Debt/Damages of $1,976,225.00,
   8             Peter Marco, LLC, with Trade Debt/Damages of $7,676,744.00 (The correct
   9             amount is $6,950,444.40) and Victor Franco Noval with Trade Debt/Damages
  10             of $5,800,000.00, with total petitioners' claims of $15,452,969.00.1 See,
  11             “Corrupt de Blasio donor Jona Rechnitz’s alleged victims trying to force
  12             him into bankruptcy”
  13             (https://nypost.com/2020/04/07/de-blasio-donor-jona-rechnitzs-alleged-victi
  14             ms-trying-to-bankrupt-him/), and “Creditors File Petition to Put Jadelle
  15             Jewelry in Bankruptcy”
  16             (https://www.jckonline.com/editorial-article/jadelle-jewelry-bankruptcy/).
  17   10.       Presently, Third-Party Plaintiffs are currently stayed from pursuing the
  18             Jadelle entities in this Court by virtue of the automatic stay of bankruptcy (11
  19             U.S. Code § 362). Marco will be filing claims against the Jadelle entities
  20             debtors in the United States Bankruptcy Court.
  21   11.       Non-party JADELLE JEWELRY AND DIAMONDS, LLC (“Jadelle LLC,”
  22             collectively with Jadelle Inc., the “Jadelle Entities”) (now in an involuntary
  23             bankruptcy) is a Delaware limited liability company qualified to do business
  24             in California. Rachel is the managing member of Jadelle LLC.
  25
  26         A true and correct copy of the involuntary chapter 7 bankruptcy proceeding In
                 1

     re Jadelle Jewelry and Diamonds, LLC, a Delaware limited liability company, Jadelle
  27 Jewelry, LLC, and Jadelle Inc., a California corporation, USBC # 2:20-bk-13530-BR
  28 is attached as Exhibit “1” and is incorporated herein by this reference.

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   1   12.       Non-party JADELLE JEWELRY, LLC, (“Jadelle LLC,” collectively with
   2             Jadelle Inc., the “Jadelle Entities”) (now in an involuntary bankruptcy) is a
   3             California limited liability company qualified to do business in California.
   4             Rachel is the managing member of Jadelle LLC.
   5   13.       Non-party JADELLE INC. (“Jadelle Inc.”) (now in an involuntary
   6             bankruptcy) is a California corporation whose principle office is in Beverly
   7             Hills and whose CEO, CFO, and Secretary is Rachel.
   8   14.       Third-Party Defendant LEVIN PRADO AKA LEVON PRADO (“Prado”) is
   9             the agent for service of process, controller, and check signer for the Jadelle
  10             Entities.
  11   15.       The alleged frauds committed by Jona were committed with Rachel’s
  12             knowledge and direction, along with the assistance of Prado, making them
  13             personally liable. Without Rachel setting upon the entities to commit the
  14             frauds, Jona’s lying to steal Marco’s Consigned Jewelry, and Prado signing
  15             the check, none of the below referenced offenses could have occurred.
  16   16.       Upon information and belief, Third-Party Plaintiffs believe, that at all times
  17             relevant hereto Third-Party Defendants, including but not limited to (the
  18             Jadelle entities) Jona, Rachel, and Prado, formed a civil conspiracy and
  19             engaged in acts in operation and furtherance of that conspiracy.
  20   17.       Third-Party Plaintiffs are informed and believe, and so allege, that, at all
  21             times mentioned, each of the Third-Party Defendants was the agent, servant,
  22             joint venturer, co-conspirator, and/or employee of some or all of the
  23             remaining Third-Party Defendants, and in doing the things hereinafter
  24             alleged, was acting within the course and scope of that relationship and with
  25             the full permission and consent of such Third-Party Defendants. Third-Party
  26             Plaintiffs are informed and believe, and so allege, that each Third-Party
  27             Defendant ratified, approved, and adopted as its own some or all of the acts of
  28

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   1             each of the other Third-Party Defendants. Third-Party Plaintiffs are informed
   2             and believe, and thereon allege, that each of the Third-Party Defendants
   3             materially aided in some or all of the violations of the other Third-Party
   4             Defendants.
   5   18.       Third-Party Plaintiffs are informed and believe, and so allege, that the
   6             Third-Party Defendants are the alter egos of each other and there exists, and
   7             at all relevant times herein there existed, a unity of interest and ownership and
   8             control among the Third-Party Defendants, such that any individuality and
   9             separateness among them has ceased to exist, and they are alter egos of each
  10             other, and thus one or more Third-Party Defendants’ business is nothing more
  11             than a shell, instrumentality, or conduit through which the remaining
  12             Third-Party Defendants carry on certain of their business.
  13   19.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)
  14             because the amount in controversy exceeds $75,000, exclusive of interest and
  15             costs.
  16   20.       Venue in this district is appropriate pursuant to 28 U.S.C. § 1391(b) because
  17             Third-Party Defendants reside in this district and a substantial part of the
  18             events giving rise to this action occurred here.
  19   21.       On 3-18-2020 2020, David Rovinsky Inc., filed a complaint against Marco,
  20             Case # 2:20-cv-02580 for negligence, conversion, fraud, negligent
  21             misrepresentation, civil theft (Cal. Penal Code § 496), and aiding and abetting
  22             conversion and civil theft seeking damages of $1,130,000.00.
  23   22.       Pursuant to FRCP 13(g), Third-Party Plaintiffs cross-claims against
  24             Third-Party Defendants, as they are responsible for the Rovinsky claim.
  25   23.       Pursuant to FRCP 19, Third-Party Defendants constitute “Required Party’ as
  26             they are subject to service of process and whose joinder will not deprive the
  27             court of subject-matter jurisdiction must be joined as a party if:
  28

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   1             a.    (A) in that person's absence, the court cannot accord complete relief
   2                   among existing parties; or
   3             b.    (B) that person claims an interest relating to the subject of the action
   4                   and is so situated that disposing of the action in the person's absence
   5                   may:
   6                   i.     (i) as a practical matter impair or impede the person's ability to
   7                          protect the interest; or
   8                   ii.    (ii) leave an existing party subject to a substantial risk of
   9                          incurring double, multiple, or otherwise inconsistent obligations
  10                          because of the interest.
  11   24.       Pursuant to FRCP 20, Third-Party Defendants may be joined in this action in
  12             one action as defendants if:
  13             a.    (A) any right to relief is asserted against them jointly, severally, or in
  14                   the alternative with respect to or arising out of the same transaction,
  15                   occurrence, or series of transactions or occurrences; and
  16             b.    (B) any question of law or fact common to all defendants will arise in
  17                   the action.
  18                                  GENERAL ALLEGATIONS
  19                                       JONA RECHNITZ
  20   25.       On information and belief, Jona is infamously known for his involvement
  21             with a federal probe into corruption in the NYPD and the de Blasio mayoral
  22             campaign. He reportedly funneled money into the 2013 de Blasio campaign
  23             and bribed police commanders. He admitted to directing campaign donations
  24             to Mayor de Blasio in exchange for access to City Hall and showering NYPD
  25             leaders with prostitutes and other bribes to cultivate them as allies. He
  26             pleaded guilty to charges of to providing financial and personal benefits and
  27             political contributions to public officials including law enforcement officials
  28

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   1             in exchange for official action in March of 2017. Asked about Jona’s
   2             testimony, the mayor called Jona "a liar and a felon."
   3   26.       On 6-6-2016, in the criminal matter entitled: United States of America vs.
   4             Jona Rechnitz, 1:16-cr-00389-AKH, before the United States District Court
   5             Southern District of New York, a sealed information was filed against Jona
   6             for wire fraud, who then entered a guilty plea. On 3-15-2017, the information
   7             against Jona was unsealed, and Jona was released on bond pursuant to release
   8             conditions imposed by Judge Alvin K. Hellerstein. On 12-6-2019, Jona was
   9             sentenced to 10 months of custody, and was granted release pending appeal.
  10   27.       Interestingly, among the Mandatory Conditions of Jona’s release was that he
  11             not commit another federal, state or local crime.2
  12   28.       Indeed, in Jona’s 10-16-2019 letter to Judge Hellerstein seeking a reduced
  13             sentence, Jona wrote the Court (he shared this letter with Marco):
  14             Dear Judge Hellerstein: I am a felon. I am a criminal. I am the ONLY
                 person to blame for that. I have caused tremendous pain and
  15             embarrassment to my family, my religion, and to myself. There is no
                 way to undo what's been done. It's permanent, and for that I am truly
  16             sorry to everyone hurt by my crimes and actions. It eats me alive each
                 and every day. When I wake up, when I go to sleep, it is always on my
  17             mind for the past 4 years. My actions harmed the people of New York,
                 The people of Correction Officers Benevolent Association, my
  18             friends, my family and my community. I will forever carry this
                 burden, as I deserve to. I have read of your Honor asking at various
  19             sentencings, why do good people do bad things? In my case, not
                 assuming I'm a good person, I can answer this question. Arrogance,
  20             greed, and insecurity. Arrogance. I felt I was above the law. At this
                 young age in my late 20's I was busy accepting honors at dinners and
  21             board positions at prestigious institutions. It got to my head. Greed. I
                 wanted to gain contacts to grow my business, to make money and
  22             gain stature in the long run. Insecurity. I wanted to gain popularity
                 by my peers and become a big shot in my community and business
  23             circles. [Emphasis added].
  24   ---
  25
  26
            A true and correct copy of Jona’s 3-3-2020 Judgement In a Criminal Case in
                 2
  27 United States of America vs. Jona Rechnitz, 1:16-cr-00389-AKH is attached hereto as
  28 Exhibit “2" and is incorporated herein by this reference.

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   1             Shame on me. Finally, I couldn't wiggle my way out of this one. It
                 changed my life as I knew it forever. As a supposed religious man, I
   2             have been a disgrace to my religion. The only way to fix this is to
                 make serving G-d my main focus for the rest of my life. I try to every
   3             day. I have changed as a person religiously, through prayer, my
                 public and private behavior, and I always stop and think before I'm
   4             about to do something to see if it is something my parents, my family,
                 and G-d would approve of. [Emphasis added].
   5
       ---
   6
                 Your Honor, there are so many examples that I am omitting as I don't
   7             want to portray myself as the victim here. I caused a lot of pain and
                 harm to others through my criminal activity and 3don't want to detract
   8             from that. JONA RECHNITZ. [Emphasis added].
   9   29.       On 12-19-19, as reported in the New York Times, ‘Liar,’ and Star Witness in
  10             City Graft Cases, Gets 10-Month Sentence”
  11             (https://www.nytimes.com/2019/12/19/nyregion/jona-rechnitz-corruption-sen
  12             tencing.html) Jona was sentenced to five months in prison and five months of
  13             house arrest, followed by three years on parole, apologized to Judge Alvin K.
  14             Hellerstein for his criminal and immoral behavior, and asked the judge for
  15             leniency.
  16             “I've been a real fraud to God, a fraud to my wife and family, a fraud
                 as an American, a fraud as a businessman, and a fraud to the people
  17             of New York, namely, the hard-working COBA members, and I'm truly
                 sorry for that. My actions have hurt many people, and I'm very sorry
  18             for that. I continue to pay for my mistakes on a daily basis. [Emphasis
                 added].
  19
       ---
  20
                 “While living in New York City, I wrongly felt pressure to become a
  21             bigshot. I was working for one of the largest real restate companies in
                 2007, and it got to my head. I was in my late 20's, and big people in the
  22             real estate industry were dealing with me. My ego was big, and I so
                 badly wanted to impress these people in order to advance my career
  23             and profile. This is where things started to spiral out of control. This is
                 where I went so off the rails for a number of years. I assure your
  24             Honor that these past years and the experience I've gone through has
                 changed me. I will never act that way again.” [Emphasis added].
  25
  26
            A true and correct copy of Jona’s 10-16-2019 letter to Judge Hellerstein seeking
                 3
  27 a reduced sentence is attached hereto as Exhibit “3” and is incorporated herein by this
  28 reference.

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   1   ---
   2             “I've been a big hypocrite to my religion. I failed to conduct myself
                 properly between myself and my fellow man and between myself and
   3             my relationship with God. I have strayed. I did all of these horrible
                 things without worrying about God or the consequences that come
   4             with this sort of behavior. I cannot express to your Honor how
                 ashamed I am for desecrating my religion. I have and will continue to
   5             repent to God every single day. I have and continued to make
                 amends. Part of my efforts to make right included cooperating as a
   6             first step. I have a lot more work to do.” [Emphasis added].
   7   ---
   8             “This is one of several jobs that I have in the coming months as I
                 continue to sort out my life in a lawful path. In fact, I will spend the
   9             rest of my life trying to make amends for my criminal behavior. I will
                 try to make a better name for my family, for my religion, and for
  10             myself. I am on the path to recovery, your Honor. I am a better family
                 man; I am a better friend; I am a more religious person. I am
  11             working again to make an honest living.” [Emphasis added].
  12             “THE COURT: What is the new business? Jadelle?
  13             “Jadelle, yes. I really paid a hefty price for cooperating with the
                 government for my crimes. Most recently, the New York Post put up an
  14             article that was mentioned this morning -- your Honor may not be
                 aware – accusing me of hobnobbing and flirting with the rich and
  15             famous at a time when I claim I am a pariah to society. In fact, Jadelle
                 Jewelery hosted a jewelery show to promote the brand and new jewelry
  16             collection. The event was to make sales and increase business. One
                 attendee was a Kim Kardashian, a client of Jadelle.”
  17
       ---
  18
                 “Within my community, within the media, and through
  19             self-introspection. In New York City, I am persona non grata. I am to
                 blame. I burnt a lot of bridges and relationships and had to relocate
  20             to California. I am so truly sorry for my behavior. I am a changed
                 man...”
  21
                 “I don't see any way to start over a third time. I'm on my second
  22             chance...”
  23   ---
  24             “THE COURT: ... And yet in the life that's been depicted in this court,
                 he cheapens people. He works on their insecurities and their quest
  25             for material possessions and just does the opposite. He diminishes
                 people....”4
  26

  27       A true and correct copy of the relevant portions of the transcript of Jona’s 12-
                 4


  28 19-2019 Sentencing Hearing is attached hereto as Exhibit “4” and is incorporated

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    1   30.       On information and belief, Jona made numerous false statements to the
    2             federal sentencing judge because by 12-19-2019, Jona’s frauds (below) were
    3             well under way. One of the primary reasons for documenting Jona’s criminal
    4             activities with specificity and by the attachments to this Complaint is to
    5             properly expose his fraud and to preempt the “spin” that he and his family
    6             will inevitably spin to the community of his innocence and that he is unfairly
    7             being pursued. Jona’s house of fraudulent cards needs to be exposed. “The
    8             only thing necessary for the triumph of evil is for good men to do nothing.”
    9             (Edmund Burke, in a letter addressed to Thomas Mercer). Abuse thrives in a
   10             culture of silence.
   11                             MARCO & RECHNITZ (JADELLE)
   12   31.       From the period 8-26-2018 - 12-23-2019, Marco & Jona enjoyed a successful
   13             and trusting relationship with each other whereby they engaged in
   14             approximately 32 transactions totaling approximately $39,369,620 in value,
   15             whereby they bought merchandise from each other and/or returned
   16             merchandise to each other. Jona introduced Marco to famous celebrities,
   17             including NBA stars Shaquille "Shaq" O'Neal, Scottie Pippen, Sam Cassell,
   18             boxing champ Floyd Mayweather, pop stars Kim Kardishian & Kris Jenner,
   19             and artist Alec Monopoly, to name a few, who Marco parlayed Jona’s
   20             introductions into clients and/or to advance his social media presence by
   21             being connected to them.
   22   32.       From the period 10-29-2019 - 1-7-2020 (notwithstanding his then legal
   23             troubles in NY), Jona assured Marco that he was back from NY refocused on
   24             his business, and acquired $6,950,444.40 of additional jewelry from Marco
   25             on consignment for the purpose of reselling them to his clients (including
   26             Plaintiff’s Ring and Necklace).
   27
   28   herein by this reference.

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    1   33.       At the time, Marco had no reason to believe that the $6,950,444.40
    2             consignments with Rechnitz would be in jeopardy, primarily because of his
    3             successful and trusting relationship with Jona, the 32 prior transactions with
    4             him totaling approximately $39,369,620 in value. Accordingly, Marco LLC
    5             consigned the following pieces of Consigned Jewelry to Rechnitz.
    6
         #        Date          Vendor          Item                              Cost
    7
         1        10-29-2019    Luna            Yellow & White Choker                $150,000.00
    8                                           Necklace / Bracelet - 69.13 ct
                                                10stone 34.9ct 412,500
    9                                           yellow /wt choker/bracelet
   10    2        11-11-2019    Marco LLC       Three Butterfly Rings for             $22,000.00
                                                Kris Jenner & the
   11                                           Kardashians
   12    3        11-19-2019    David           NECKLACE - 18KYG                   $1,300,000.00
                                Rovinsky        Diamond necklace, 134.71
   13                                           Fancy Yellow, internally
                                                flawless, VS2 , 49 stones.
   14    4        11-26-2019    Marco LLC       Two Watches for Jona’s                $89,000.00
   15
                                                client Justin Bieber
         5        11-27-2019    David           RING - 43.10 Carat Fancy           $1,650,000.00
   16                           Rovinsky        Yellow diamond+ 6.82
                                                carats.
   17
         8                      Marco LLC       Two Diamond fashion rings                $5,000.00
   18                                           for Jona’s client Kim
                                                Kardashian
   19
         7        12-2-2019     Norman          BRACELET - Multi-shape               $500,000.00
   20                           Silverman       14 stone diamond bracelet,
                                (Lazar)         45.47 carats, white gold.
   21    8        12-5-2019     Marco LLC       Watch for Jona’s father              $145,000.00
                                                Robert &                              $44,200.00
   22                                                                                $189,200.00
                                                Mixed gold & diamond
   23                                           pieces, for Jona’s client Alec
                                                Andon Monopoly
   24
         9        12-9-2019     Marco LLC       Cufflinks for Jona’s client              $7,000.00
   25                                           Chaz
   26

   27
   28

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    1                                                                              $140,000.00
         10       12-12-2019    Norman        BY215 - BRACELET -
    2
                                Silverman     Platinum/18kwg 36.69 carats,
                                              132 stones, 44 radiant
    3
                                              25.52cttw., 66 baguettes 7.57
                                              cttw
    4    11       12-16-2019    Norman        NS10052 - EARRINGS -                 $335,000.00
                                Silverman     18kwg 2stones, 9.02 Round
    5                                         Brilliant, J/Sl2G, GIA#
                                              2165989714, 9.02 Round
    6                                         Brilliant, J/Sl2, GIA#
                                              2205611416
    7
         12       12-16-2019    Lazar         LAZ52342 - RING- 20.54              $793, 049.40
    8                                         carat Oval diamond ring,
                                              H/VVS2, GIA# 6204485119
    9
         13       12-16-2019    First         EID MT 13.62 D/VVS1, #            $1,333, 695.00
   10                           International 11776564
   11
         14       12-23-2019    Marco LLC Watch for Jona’s client Kim              $141,500.00
                                              Kardashian, and Two
   12
                                              Diamond fashion rings for
                                              Jona’s client Kim Kardashian
   13    15       1-7-2020      Eli, Inc.     RING - 15.03 Fancy Yellow            $215,000.00
                                              internally flawless radiant
   14                                         diamond mounted on a WG
                                              ring with a diamond halo.
   15
         16                     Marco LLC Saloman (charge back credit               $80,000.00
   16                                         card)
   17                                                               TOTAL        $6,950,444.40
   18
        34.       Prior to 10-29-2019, and thereafter, Rechnitz repeatedly represented to Marco
   19
                  that he had interested buyers for the pieces of Consigned Jewelry, and that
   20
                  consummation of his sales were imminent.
   21
        35.       As stated above, on 11-19-2019 and on 11-27-2019, Marco LLC consigned
   22
                  Rovinsky’s Ring & Necklace to Rechnitz based on his representations that he
   23
                  had buyers for them.
   24
         Date       Vendor                     Item                         Cost
   25
         11-19-2019 Marco LLC to               NECKLACE - 18KYG                 $1,300,000.00
   26               Rechnitz                   Diamond necklace, 134.71
                                               Fancy Yellow, internally
   27                                          flawless, VS2 , 49 stones.
   28

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    1                                                                             $1,650,000.00
         11-27-2019 Marco LLC to               RING - 43.10 Carat Fancy
    2
                    Rechnitz                   Yellow diamond+ 6.82
                                               carats.
    3                                                          TOTAL              $2,950,000.00
    4   36.       The way consignments work, is that if Rechnitz’s sale to his clients did not go
    5             though, then Rechnitz would return the pieces of Consigned Jewelry back to
    6             Marco, who would in turn, return the Consigned Jewelry back to Marco’s
    7             vendors.
    8   37.       Prior to 10-29-2019, and thereafter, Jona repeatedly indicated to Marco that
    9             he had buyers and sold the pieces of Consigned Jewelry (including
   10             Rovinsky’s Ring & Necklace), and was awaiting receipt of payment from his
   11             clients. These representations by Jona to Marco were false when made, and
   12             Jona knew the representations were false when made. Jona made these
   13             representation with the intention of causing Marco to rely on them. Marco
   14             indeed relied on Jona’s representations to Marco’s detriment.
   15   38.       Yet, no sooner than within weeks of being sentenced in the Southern District
   16             of New York, Jona, a convicted felon, was apparently so “distraught” and
   17             repentant about his criminal past, that instead of reselling Marco’ Consigned
   18             Jewelry (including Rovinsky’s Ring & Necklace) and repaying Marco, Jona
   19             swindled Marco in a large scale fraud by absconding with the pieces of
   20             Consigned Jewelry, and either pawned them off, or used them as collateral for
   21             loans to various questionable sources, and has not repaid Marco the
   22             $6,950,444.40. In reality, Jona liquidated Marco’ Consigned Jewelry
   23             (including Rovinsky’s Ring & Necklace). Marco subsequently discovered
   24             from colleagues that Jona liquidated all pieces of Marco LLC’s Consigned
   25             Jewelry (including Rovinsky’s Ring & Necklace).
   26   39.       On information and belief, at this same time, Jona defrauded other diamond
   27             dealers and insurance companies in Southern California, including but not
   28

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    1             limited to: Sotheby’s, Leon Landver, Ben Adhoot, and Yehuda Gamzo, Oved
    2             Anter, Moti Klein, and Julius Klein. The amount of losses to these various
    3             parties is alleged to be over $15,000,000.00.
    4   40.       But even after Marco discovered Rechnitz’s recent frauds from colleagues in
    5             the jewelry industry, Rechnitz continued to ‘play’ Marco and deceive him
    6             with further false and misleading stories:
    7             On 1-21-20, at 10:22:38AM, Rechnitz texted Marco of a ‘major issue’ a
    8   ‘legal situation’ a ‘huge crisis’ and a ‘disaster’ that forced him to not consummate
    9   his deals with Marco:
   10             The stone of Oved’s is coming back tomorrow with all of the other stones.
                  Client isn’t taking anythinf. I have a major issue now they didn’t know about
   11             my legal situation and freaked out they also want to reverse previous
                  transactions of mine. He can’t be associated with me. A man of his status. I’m
   12             dealing with a huge crisis now and my Dad is at bank trying to sort out
                  issue for me in regards to all this. I stopped the wire because they may be
   13             sending the necklace and ring back. I need a few hours to deal with them
                  with my lawyer. This is a disaster. I am trying to fix this but won’t know for
   14             a few hours. I also have Moty Klein in town at the same time while this is all
                  going on which is extra stress as he can’t hear any of this. Give me a few
   15             hours please and I hope to have better news. [Emphasis Added].
   16   41.       On 1-21-20, at 10:23:29AM, Rechnitz texted Marco a vague admission of
   17             guilt and liability:
   18             I understand if you never want to deal with me again or see my fave ever
                  again I am so sorry. [Emphasis Added].
   19
        42.       On 1-21-20, 10:24:09AM, Rechnitz texted Marco that he is trying to fix his
   20
                  ‘major issue’ a ‘legal situation’ a ‘huge crisis’ and ‘disaster:’ :
   21
                  You need to let me try and resolve this now. [Emphasis Added]
   22
        43.       On 1-21-20, at 10:33:53AM, Rechnitz texted Marco his shame and
   23
                  depression that his recent frauds are causing Marco:
   24
                  You don’t even need to type back anything to me I’m depressed. Upset. This
   25             all happened Yesterday evening. I’m dealing with it. Standby [Emphasis
                  Added].
   26
        44.       In addition, and to make matters worse, on 1-5-2020, Jona issued Marco a
   27
                  worthless check that he had no intention of honoring, # 8630 for
   28

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    1             $2,950,000.00 post-dated to 1-5-2020 (for the two Rovinsky pieces he had on
    2             consignment from Marco).
    3

    4
         Check #                  Date                  To                    $
         8630                     1-5-2020              Peter Marco                $2,950,000.00
    5

    6
        45.       Even had Marco tried to deposit Rechnitz’s $2,950,000.00 post-dated check,

    7
                  he could not because Rechnitz had instructed him to rip it up earlier based on

    8
                  his promises to Marco that he would wire the funds to Marco.

    9
        46.       In addition, and as an aside, on 1-17-2020 Jona issued two worthless checks

   10
                  to another one of his defrauded creditors First International totaling

   11
                  $2,122,760.00 that he had no intention of honoring: (1) Check # 2200 for

   12
                  $922,760.00; and (2) Check # 2201 for $1,200,000.00. Both checks were

   13
                  NSF at the time of tender, in violation of the California Civil Code § 1719

   14
                  and the California Penal Code §476a.

   15
        47.       In addition, and to make matters worse, on 1-14-2020 Jona issued another

   16
                  defraused creditor Franco Noval a worthless check that he had no intention of

   17
                  honoring, check # 8817 for $2,500,000.00, and then on 1-16-2020 check #

   18
                  8820 for $1,300,000.00, and then on 1-22-2020 check # 8823 for

   19
                  $4,500,000.00 also in violation of the California Civil Code § 1719 and the

   20
                  California Penal Code §476a.

   21
         Check #                  Date               To                  $
   22
         8630                     1-5-2020           Peter Marco            $2,950,000.00
   23    8817                     1-14-2020          Franco Noval           $2,500,000.00
   24    8820                     1-16-2020          Franco Noval           $1,300,000.00
   25    2200                     1-17-2020          First International     $922,760.00
   26    2201                     1-17-2020          First International    $1,200,000.00
   27
         8823                     1-22-2020          Franco Noval           $4,500,000.00
                                        Total NSF Checks issued by Jona    $13,372,760.00
   28

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    1
    2   48.       Based upon information and belief, Third-Party Defendant Prado, acting in
    3             concert with Jona, and to further his scheme, signed Marco’s post-dated
    4             check and had his girlfriend or another representative at Wells Fargo Bank
    5             issue a stop payment on the check, that Marco was going to deposit.
    6   49.       During this entire time, Jona repeatedly lied to Marco that the deals with his
    7             clients were consummated. Jona lulled, and attempted to fabricate one excuse
    8             after another to delay paying Marco, and hid the truth from them through
    9             stonewalling and lies. Repeated demands have been made to Jona to return
   10             Marco’s Consigned Jewelry (including Rovinsky’s Ring & Necklace).
   11             Instead, Jona, took numerous steps to lull Marco into a false sense of security
   12             to buy more time, and to keep this matter secret via phone calls and
   13             WhatsApp texts.
   14   50.       On 1-22-2020 at 5:12:52, once Jona’s most recent frauds in stealing and
   15             liquidating Marco’ Consigned Jewelry (including Rovinsky’s Ring &
   16             Necklace) and of other victims, hit the streets, Jona texted Marco begging him
   17             to stay quiet and not report him, lulling him to buy time:
   18             “I’m at my cousin lawyer and cousin still getting everything sorted out
                  so no noise and no issue I’ll see you later still.” [Emphasis added].
   19
        51.       On 1-27-20 at 3:47:58, Jona repeated his request that Marco not report him
   20
                  for his fraud:
   21
                  “Please confirm the following: They will wait until end of day
   22             tomorrow and keep it quiet. Need to know ASAP”
   23   and then at 4:03:11:
   24             “Need to know NOW.”.
   25   52.       On 1-29-20 at 7:55:07, Jona repeated his request that Marco not report him
   26             for his fraud:
   27
   28

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    1             “All I can say is I’m handling things and don’t discuss anything with
                  anyone. No updates to people who call you unless it’s oved or lazar.”
    2             [Emphasis added].
    3   53.       On 1-30-2020 at 11:35am, Jona introduced Oved Anter of First International
    4             Diamonds to an attorney at Williams & Cohen about the Rechnitz cousin’s
    5             proposed bailout:
    6             “Oved meet Reuven. Reuven oved is a vendor I owe and used his goods
                  for loans. He has been the single biggest force in helping keep people
    7             calm. He needs to hear from you in order to continue please. Thank
                  you.” [Emphasis added].
    8
        54.       On 2-4-2020, 12:30:22, Jona repeated his request that Marco not report him
    9
                  to news outlets for his fraud:
   10
                  “Pls confirm you didn’t hear back or communicate to the paper.”
   11             [Emphasis added].
   12   55.       On 2-4-2020 at 3:36:55, Jona texted Marco of his fear of being reported to the
   13             authorities for his fraud:
   14             “Is david dealing through you because I heard he wants to report me
                  so confirm that he is holding off and you’ll wait to hear from my
   15             lawyers”
   16   and then at 4:49:01 texted Marco:
   17             “Make sure you ignore the reporter. Moty is too. She can’t print
                  without a comment.” [Emphasis added].
   18
        56.       That night, on 2-4-2020 at 9:40pm, Jona falsely enlisted attorneys to pretend
   19
                  a bailout was coming from family members to buy himself more time.
   20
                  Attorneys from Williams & Cohen wrote Marco about the purported bailout:
   21
                  “We write with an update on Jona Rechnitz. A family member of Mr.
   22             Rechnitz has informed our law firm that the family member is
                  seeking to refinance certain real property in order to satisfy Mr.
   23             Rechnitz's outstanding liabilities. We currently have no visibility into
                  the family member's interest in the property, the value of the property,
   24             or what, if any equity, the family member has in it. If you are
                  represented by counsel, please let us know and provide your counsel's
   25             contact information. Our client's desire is to resolve this matter
                  amicably.”
   26
        57.       Meanwhile, on 2-10-2020, as reported in the NY Post: “Ex-de Blasio crony
   27
                  used Kardashian ties for fraud scheme, lawsuit claims,”
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    1             (https://nypost.com/2020/02/09/ex-de-blasio-crony-used-kardashian-ties-for-f
    2             raud-scheme-lawsuit-claims/), and as reported in the 3-6-2020 article in JCK:
    3             “The Troubling Case of Jona Rechnitz”
    4             (https://www.jckonline.com/editorial-article/the-troubling-case-jona-rechnitz/
    5             ), and as reported in the 3-10-2020 NY Daily News article “Corrupt Mayor
    6             de Blasio donor Jona Rechnitz faces new FBI probe in L.A.: court papers”
    7             (https://www.nydailynews.com/new-york/ny-rechnitz-los-angeles-probe-2020
    8             0310-nrzbb6263nga3hkcyob2lw46wq-story.html), one of Jona’s recently
    9             defrauded victims filed a lawsuit entitled: Victor Franco Norval vs Jona S.
   10             Rechnitz, Rachel Rechnitz, Jadelle Inc., a California Corporation; Jadelle
   11             Jewelry and Diamonds, LLC, a Delaware Limited Liability Company; Levin
   12             Prado Aka Levon Prado, an Xiomara Cortez, LASC # 20SMCV00216, for
   13             (1) Fraud (2) Civil Theft (Penal Code, § 496), (3) Breach of Contract, (4)
   14             Conspiracy to Commit Theft, Fraud, and Fraud by Concealment, (5)
   15             Appointment of Receiver seeking damages of $7,000,000.00.
   16   58.       Interestingly, on 2-22-2020, Jona’s father Robert Rechnitz reiterated the
   17             proposed bailout by Jona’s cousin to Marco and represented that Marco
   18             would be paid “first in line” by Jona’s cousin.
   19   59.       And then on 2-20-2020, as reported in the NY Post “De Blasio donor Jona
   20             Rechnitz accused of $1M scam in California,”
   21             (https://nypost.com/2020/02/28/de-blasio-donor-jona-rechnitz-accused-of-1m
   22             -scam-in-california/) another one of Jona’s defrauded victims filed a lawsuit
   23             entitled: Israel Sam Gorodistian vs. Jadelle Jewelry and Diamonds, LLC, a
   24             Delaware Limited Liability Company; Jadelle Inc., a California Corporation;
   25             Jona Rechnitz, Rachel Rechnitz, Robert Rechnitz, LASC # 20STCV07425, for
   26             1. Conversion; 2. Civil Theft (Pen. Code § 496); 3. Fraud – False Promise; 4.
   27             Negligent Misrepresentation; 5. Civil Conspiracy to Defraud; 6. Breach of
   28

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    1             Oral Contract (2 Counts); 7. Breach of Implied-in-fact Contract (2 Counts); 8.
    2             Money Lent; 9. Account Stated; and 10. Breach of Written Guaranty seeking
    3             damages of $1,659,333.33.
    4   60.       Jona is no stranger to fraud. Unbeknownst to Marco, on 6-3-2019, Jona was
    5             sued in the United States Bankruptcy Court Southern District of New York
    6             (Manhattan), Adv. Case No, # 19-01236-jlg by Kenneth P. Silverman, Esq.,
    7             the Chapter 7 Trustee of the Jointly Administered Estates of National Events
    8             Holdings, LLC, Chapter 7 Case No.: 17-11556 (JLG) on 35 counts of
    9             receiving fraudulent conveyances through an elaborate Ponzi scheme,
   10             pursuant to New York Debtor and Creditor Law §276, and (b) pursuant to 11
   11             U.S.C. §§550(a) and 551, 11 U.S.C. §548(a)(1)(A), and (b), 11 U.S.C.
   12             §548(a)(1)(B), and (b), totaling $45,000,000.00.
   13                              JONA AND ROBERT RECHNITZ
   14   61.       On information and belief, Jona personally ingratiated himself to Marco, as
   15             an Orthodox Jewish diamond dealer, leading Marco to believe that Jona was
   16             more trustworthy than others because of his Orthodox faith and belief in
   17             Jewish law (and common Orthodox Jewish friends in and out of the Diamond
   18             industry), which requires honesty and maximum integrity. These types of
   19             internal community relationships such as the Orthodox Jewish diamond
   20             community create a vulnerability for affinity fraud to be perpetuated. Jona
   21             targeted Marco exploiting his standing in, and knowledge of, the customs and
   22             practices of this community to further his fraudulent scheme. This type of
   23             illegal activity is commonly referred to as “affinity fraud,” and refers to
   24             scams that prey upon members of identifiable groups, such as religious or
   25             ethnic communities, the elderly, or professional groups. The perpetrators of
   26             affinity fraud scams, like Jona, frequently are, or pretend to be, members of
   27             the group, and they exploit the trust and friendship that exist in groups of
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    1             people who have something in common. The conventional thinking is that the
    2             religious man doing business with you is unlikely to ruthlessly rip you off.
    3   62.       On information and belief, Jona and his father Robert Rechnitz’s (“Robert”)
    4             modus operandi is as follows: Robert would meet Marco in Jona’s office and
    5             at his office, endearing Marco with old school charm warmth & friendship to
    6             place him at ease, while Jona would rip him off in broad daylight and steal
    7             from him. Then, once Jona’s fraud was discovered by his victims (including
    8             Marco), Robert was there officially trying to clean up Jona’s messes, further
    9             lulling the defrauded creditors (including Marco), with promises of bailouts,
   10             putting his friendships with Jona’s victims on the line so-to-speak, in the
   11             unspoken understanding that an action against Jona would be tantamount to
   12             an action against Robert. The two acted in tandem like a tag-team to further
   13             defraud Marco and other victims.
   14   63.       On the one hand, it is laudable for a loving parent to come to the aid of their
   15             child in distress, no matter what. On the other hand, in this case, Marco
   16             believes that Robert’s involvement was too interwoven with Jona’s criminal
   17             actions to be innocent or laudable. For example, throughout their relationship,
   18             Jona constantly brought his father Robert into the conversations and
   19             transactions portraying him to Marco as the moral authority and the one
   20             overseeing and coaching Jona’s affairs, who’s presence conferred legitimacy
   21             on Jona’s wild bragging and transactions, who appeared at the epicenter
   22             whenever Jona’s frauds were discovered by his victims (including Marco).
   23   64.       On 8-8-19, at 15:24:03, Jona texted Anter about Jona’s father Robert:
   24             My Dad is a nice guy doesn’t talk when ppl owe him ?? lee. Yossi.
                  But keeps getting mad I talk to you too much. [Emphasis added]
   25
        65.       On 10-28-19 at 8:43:40, Jona texted Marco citing his father as a bailout
   26
                  source for him:
   27
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    1             “Issue! My account has a charge back from that client! Money was
                  withdrawn from my account not enough funds for your wire this
    2             morning Bc sent after cutoff Friday. Will resolve next few hours and
                  get money from my Dad today. Bear with me until later in the day. I’m
    3             sorry. Unforseen.” [Emphasis added].
    4   66.       On 11-5-19 at 9:22:25, Jona texted Marco seeking a bailout for his father:
    5             “You know me by now if I would ever need anything from a friend YOU
                  this is a level 10. I committed to something by tonight that is not
    6             reversible for my Dad and said it is done. Please tell me you got me
                  and let me breathe here. Thx”
    7
        and at 11-5-19 at 10:12:57:
    8
                  “I am sorry to pressure you and now I’m just letting you know for me
    9             this is super urgent And you are the only person I am comfortable to
                  discuss this with. Obviously it goes without saying I will go all the
   10             way for you and I do not need to even say that here but I feel like
                  saying it to remind you I’m always in your corner either way I hope
   11             we have good news today because I’m out of options thank you,”
                  [Emphasis added].
   12
        and at 11-5-19 at 11:44:55 endeared himself to Marco as his ‘brother:’
   13
                  “Brother pls help me here” and finally, at 11-5-19 at 1:58:26: “My Dad
   14             is good with 70.” [Emphasis added].
   15   67.       On 1-21-20 at 10:22:38, after Jona’s recent frauds to Marco was revealed (by
   16             other sources in the community), Jona cited his father as the one trying to
   17             solve Jona’s frauds, Jona texted Marco:
   18             “The stone of Oved’s is coming back tomorrow with all of the other
                  stones. Client isn’t taking anythinf. I have a major issue now they
   19             didn’t know about my legal situation and freaked out they also want to
                  reverse previous transactions of mine. He can’t be associated with me.
   20             A man of his status. I’m dealing with a huge crisis now and my Dad is
                  at bank trying to sort out issue for me in regards to all this. I stopped
   21             the wire because they may be sending the necklace and ring back. I
                  need a few hours to deal with them with my lawyer. This is a disaster. I
   22             am trying to fix this but won’t know for a few hours. I also have Moty
                  Klein in town at the same time while this is all going on which is extra
   23             stress as he can’t hear any of this. Give me a few hours please and I
                  hope to have better news.” [Emphasis added].
   24
        68.       On 1-26-20 at 12:18:08 PM, Jona texted Marco a report of his father’s
   25
                  attempts to rectify his most recent frauds to his vendors:
   26
                  “And lazar tried to control things a little too much from my cousins
   27             money. My Dad very involved joe. Just wait...Promise you” and at 1-
                  26-20 at 12:18:15: “*now.” [Emphasis added].
   28

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    1   69.       For now, Robert is not a named party, but Marco reserves the right to name
    2             him as a Third-Party defendant once facts become known as to the full extent
    3             of his involvement with Jona’s most recent frauds. Parenthetically, Robert
    4             was recently placed into an involuntary bankruptcy/receivership by his
    5             creditor ITOR 116 SF LLC in Israel, Case # 27255-09-18 for debts in excess
    6             of $2,600,000.00 shekel ($9,500,000.00 dollars) (“Receiving order against
    7             businessman Robert Rechnitz, who is close to Netanyahu”
    8             http://www.calcalist.co.il//articles/0,7340,L-3803076,00.html) but the Israeli
    9             bankruptcy does not stay Marco’s claims against him in this country.
   10   70.       On 3-9-2020, Marco’ litigation counsel Baruch C. Cohen (“Cohen”) extended
   11             a professional courtesy to Robert to inform him that Cohen had been retained
   12             by Marco to sue Jona, inquiring (actually, hoping) that Rechnitz’s cousin’s
   13             bailout was imminent, to avoid the litigation. Further, as Robert personally
   14             guaranteed the debts to Oved Anter and First International of up to
   15             $12,000,000.00, that Cohen would reluctantly have to sue Robert as well.
   16             Cohen told Robert that he personally preferred not to have to sue Robert, as
   17             both pray at the same synagogue in Hancock Park and have known each other
   18             for years. Cohen acknowledged that Robert attempted to help Cohen in the
   19             past and was gracious in Cohen’s time of need, as Cohen was to Robert’s.
   20             Cohen acknowledged that Jona introduced Cohen to Marco. Cohen made it
   21             clear that he took no joy in prosecuting these cases on behalf of Marco and
   22             Anter against Jona and Robert, as Cohen agonized over it for over a month
   23             ever since Marco was being pursued by Rovinsky because of Jona’s actions.
   24             But, Cohen explained, that Jona placed his clients in a terrible predicament
   25             exposing them to millions of dollars of damages from Rovinsky and others,
   26             and the scope of Jona’s perfidy and betrayal was so breathtaking,
   27             overwhelming and devastating, that Marco and Anter absolutely insisted that
   28

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    1             Cohen protect their interests. While Cohen did not expect Robert to be
    2             pleased with this decision, as Marco’s attorney, Cohen owed Marco a 100%
    3             duty and must represent his client’s interests.
    4   71.       Further, in the matter of Oved Anter & First International Diamonds
    5             (“Anter”) vs Rechnitz et al, on 6-25-2019 Robert personally guaranteed up to
    6             $12,000,000.00 of Jona’s debt to Anter. Robert’s 6-25-2019 Personal
    7             Guaranty to Anter stated that Robert stood behind Jona and all his dealing. It
    8             reads as follows:
    9             Dear Oved / First International Diamonds Inc., I very much enjoyed
                  speaking to you by phone. Jona has shared some of your conversations
   10             with me. Thank you for being a confidant for Jona. He mentioned to me
                  about how your Father had a special bond and relationship with you. I
   11             was also privileged to have a close relationship with my Father, as did
                  Jona. I'm sure you will find much success in your dealings together. I
   12             completely understand your desire to know that Jona's family is aware
                  of his dealings with you and stands behind him. I am pleased to
   13             confirm that I stand behind Jona and all his dealing with you. You
                  have indicated that you have extended memos up to the amount of
   14             $12,000,000.00. If for some reason you need to callback your credit
                  line, all merchandise will be returned to you, and any cash
   15             deficiencies will be repaid by me. . May your confidence in Jona and
                  your extension of credit be profitable for both of you. BOBBY
   16             RECHNITZ / CC: JONA RECHNITZ [Emphasis added]
   17   72.       Jona personally handed Robert’s 6-25-2019 Personal Guaranty letter to Anter
   18             several days after Robert orally promised to personally guaranty Jona’s debts
   19             to Anter, while all three met at Pat’s Kosher Restaurant on Pico Boulevard.
   20   73.       On 6-25-19 at 16:22:18, Jona Whatsapp texted Oved - confirming Robert’s
   21             Personal Guaranty:
   22             “It’s good to know I’m worth 12mm to my Dad not 10mm lol.”
   23             [Emphasis added].
   24   74.       On 7-3-19 at 21:58:14 Jona Whatsapp texted Oved again, confirming the
   25             UCC Financing Statement and the Personal Guaranties to Anter:
   26             “OK also I filled out the application so Monday let’s go through it I am
                  away until Monday I will come see you Monday I will take care of that
   27             and I will get the application filled out with you. No worries. In
                  meantime you have UCC. My Dad guarantee in writing. My
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    1             guarantee. My wife. Everything and the legal document that’s owns
                  me. I want you to feel protected and will make it happen.” [Emphasis
    2             added].
    3   75.       On 3-9-2020 Cohen notified Robert that he would have to sue Robert on the
    4             personal guarantee to Anter as well.
    5   76.       3-10-2020 was the Jewish holiday of Purim, and Robert approached Cohen in
    6             synagogue that night acknowledging the professional courtesy extended to
    7             him, and asked to speak to Cohen under the guise and pretext of wanting to
    8             talk about “nothing legal, just as friends.” Cohen reiterated the above, and
    9             Robert repeatedly denied personally guaranteeing the debts to Anter.
   10   77.       Robert’s denial that he personally guaranteeing the debts to Anter was indeed
   11             curious, as Cohen had a copy of Robert’s 6-25-2019 Personal Guaranty in his
   12             file. So, what was Cohen to make of Robert’s denials? Was he involved with
   13             Jona’s frauds, or was he not?
   14   78.       If indeed, Robert did not sign the Personal Guaranty to Anter - as he insisted
   15             to Cohen orally - and giving Robert the benefit of the doubt - then that would
   16             mean that Jona forged his own father’s name to Robert’s 6-25-2019 Personal
   17             Guaranty to Anter, and shamelessly exploited Anter’s trust and his father’s
   18             name, using a doctored document to continue to commit crimes while out on
   19             bail.
   20   79.       On 3-10-2020 at approximately 10:00pm that night, Jona resumed and
   21             resorted to his criminal behavior and called Marco, livid that Cohen is “going
   22             after his family and his father” threatening him and Anter that unless he
   23             receives a letter from Marco and Anter that they will be firing Cohen as their
   24             attorney, that Jona will engage in an all out war, “destroy” “rip apart” and
   25             “mess and fuck Cohen good” with the State Bar (claiming to have texts that
   26             Cohen was his lawyer creating a conflict of interest), and report Anter to the
   27             IRS for criminal tax evasion. Jona repeated his bogus pledge that his cousin is
   28

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    1             still working on bailing him out to make Marco whole within one week, but
    2             that it was conditional on them firing Cohen. Jona brazenly assured Marco
    3             that his role as one of the single most important and prolific white collar
    4             cooperating witnesses in the recent history of the Southern District of New
    5             York, with his working closely with the FBI as an informant, along with the
    6             fact that he only received 10 months custody time with 5 months house arrest,
    7             that since the FBI needs him as an informant so badly in the New York case
    8             that they would never do anything to him no matter what he did, making him
    9             immune from any further prosecution (mistakenly believing that this provides
   10             him some kind of ill-conceived immunity from committing criminal acts of
   11             fraud and extortion in California [ie., Penal Code 518]). Tragically, Jona
   12             learned nothing from his life of crime and resorted to his old tricks of
   13             extortion and blackmail, and if anything, has become emboldened by it.
   14   80.       In said conversation, Jona immediately conferenced-in his father Robert into
   15             the late night conversation (who was curiously readily available), under the
   16             guise and pretext of wanting to talk about “nothing legal, just as friends.”
   17   81.       Obviously, whatever good will Cohen was prepared to extend to Robert
   18             disintegrated by Jona’s extortion call and Robert’s convenient joinder late
   19             that night.
   20   ///
   21   ///
   22   ///
   23   ///
   24   ///
   25   ///
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    1   82.       After Jona finished threatening Marco, Cohen and Anter, Jona texted Marco
    2             at 10:55pm a veiled confirmation of the conversation:
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    1   83.       As to Jona’s threats to report Cohen to the State Bar, Jona merely introduced
    2             Cohen to Peter Marco and nothing more. Jona was never Cohen’s client, and
    3             Cohen was never Jona’s lawyer, as evidenced by Jona’s texts to Cohen.
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    1   84.       Obviously, by this lawsuit, Cohen is not resigning and will remain counsel of
    2             record for both of his clients, and he and Marco will not be scared away or
    3             intimidated by Jona’s criminal threats of extortion.
    4   85.       As reported in the 2-12-2020 NY Post article “DeBlasio Donor Jona
    5             Rechnitz Used Kardashian Ties to Further His Schemes”
    6             (http://thejewishvoice.com/2020/02/deblasio-donor-jona-rechnitz-used-kardas
    7             hian-ties-to-further-his-schemes/) Jona Rechnitz’s dark dealings is eerily
    8             similar of the character Howard Ratner, played by actor Adam Sandler, in the
    9             2019 film “Uncut Gems,” of a charismatic debt-ridden gambling addict, a
   10             wheeling, dealing, greedy Jewish diamond dealer, scheming, ripping people
   11             off, swearing and making bold plays to try and advance his own life, clearly
   12             headed toward self-destruction.
   13                                   FIRST CAUSE OF ACTION
   14                     INTENTIONAL MISREPRESENTATION & FRAUD
   15      (On behalf of Third-Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz, Levin
   16                                               Prado)
   17   86.       Third-Party Plaintiffs hereby incorporate by reference as though fully set
   18             forth in full herein, all preceding Paragraphs of this Complaint.
   19   87.       The foregoing representations made by Jona, and the Third-Party Defendants
   20             were false when they were made, and Third-Party Defendants knew the
   21             representations to be false. Jona and the Third-Party Defendants did not
   22             intend to comply with the promises and representations when they were
   23             made.
   24   88.       The foregoing representations were made by Jona and the Third-Party
   25             Defendants with the intent to deceive Marco and with knowledge that Marco
   26             would rely on them.
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    1   89.       Third-Party Plaintiffs detrimentally and reasonably relied on the foregoing
    2             representations.
    3   90.       Third-Party Plaintiffs have been damaged by Third-Party Defendants’ false,
    4             intentional, and fraudulent representations and concealing of material
    5             information, as alleged above, in an amount to be proven at trial, but at least
    6             $6,950,444.40, which represents the consigned jewelry Jona lied to steal as
    7             well as tendered worthless instruments for.
    8   91.       Third-Party Plaintiffs further request the imposition of a constructive trust
    9             against all Third-Party Defendants who are in possession of the Consigned
   10             Jewelry set forth in the Consignment Memos and for an order and judgment
   11             that they hold the consigned jewelry and/or all proceeds therefrom as
   12             constructive trustees for the benefit of Marco.
   13   92.       In doing the things herein alleged, Jona and the Third-Party Defendants acted
   14             willfully, maliciously, and with the intent to cause injury and harm to Marco.
   15             All Third-Party Defendants are therefore guilty of malice and/or fraud in
   16             conscious disregard of Marco’ rights, thereby warranting an assessment of
   17             punitive and exemplary damages in an amount appropriate to punish
   18             Third-Party Defendants, and each of them, and deter them and others from
   19             engaging in similar misconduct.
   20                                SECOND CAUSE OF ACTION
   21                            CIVIL THEFT (Cal. Penal Code § 496)
   22            (On behalf of Third-Party Plaintiff as to Jona Rechnitz, Rachel Rechnitz)
   23   93.       Third-Party Plaintiffs hereby incorporate by reference as though fully set
   24             forth in full herein, all preceding Paragraphs of this Complaint.
   25   94.       As a result of Jona and Third-Party Defendants’ conduct as alleged herein,
   26             they have violated California Penal Code, §496 that provides: “[e]very person
   27             who buys or receives any property that has been stolen or that has been
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    1             obtained in any manner constituting theft or extortion, knowing the property
    2             to be so stolen or obtained, or who conceals, sells, withholds, or aids in
    3             concealing, selling, or withholding any property from the owner, knowing the
    4             property to be so stolen or obtained, shall be punished by imprisonment in a
    5             county jail for not more than one year, or imprisonment pursuant to
    6             subdivision (h) of Section 1170. However, if the value of the property does
    7             not exceed nine hundred fifty dollars ($950), the offense shall be a
    8             misdemeanor, punishable only by imprisonment in a county jail not
    9             exceeding one year, if such person has no prior convictions for an offense
   10             specified in clause (iv) of subparagraph (C) of paragraph (2) of subdivision
   11             (e) of Section 667 or for an offense requiring registration pursuant to
   12             subdivision (c) of Section 290.
   13   95.       Jona and Third-Party Defendants have obtained and received property from
   14             Marco, the $6,950,444.40 of Consigned Jewelry, in a manner constituting
   15             “theft,” as that term is defined in California Penal Code, § 484(a) that
   16             provides: “[e]very person who shall feloniously steal, take, carry, lead, or
   17             drive away the personal property of another, or who shall fraudulently
   18             appropriate property which has been entrusted to him or her, or who shall
   19             knowingly and designedly, by any false or fraudulent representation or
   20             pretense, defraud any other person of money, labor or real or personal
   21             property or who causes or procures others to report falsely of his or her
   22             wealth or mercantile character and by thus imposing upon any person, obtains
   23             credit and thereby fraudulently gets or obtains possession of money, or
   24             property or obtains the labor or service of another, is guilty of theft.”
   25   96.       Third-Party Defendants’ conduct constitutes theft, as that term is defined in
   26             California Penal Code § 484(a).
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    1   97.       As a direct and proximate result of Third-Party Defendants’ civil theft, Marco
    2             has been damaged in an amount to be proven at trial, but at least
    3             $6,950,444.40.
    4   98.       Pursuant to California Penal Code, § 496(c), Marco is also entitled to recover
    5             treble damages from Third-Party Defendants.
    6   99.       Pursuant to California Penal Code, § 496(c), Marco is also entitled to recover
    7             attorneys’ fees from Third-Party Defendants.
    8   100. Marco further requests the imposition of a constructive trust against all
    9             Third-Party Defendants who are in possession of the consigned jewelry set
   10             forth in the Consignment Memos and for an order and judgment that they
   11             hold the consigned jewelry and/or all proceeds therefrom as constructive
   12             trustees for the benefit of Marco.
   13   101. In doing the things herein alleged, Third-Party Defendants acted willfully,
   14             maliciously, and with the intent to cause injury and harm to Marco.
   15             Third-Party Defendants are therefore guilty of malice and/or fraud in
   16             conscious disregard of Marco’s rights, thereby warranting an assessment of
   17             punitive and exemplary damages in an amount appropriate to punish
   18             Third-Party Defendants, and each of them, and deter them and others from
   19             engaging in similar misconduct.
   20                                 THIRD CAUSE OF ACTION
   21                                       EMBEZZLEMENT
   22                    (On behalf of Third-Party Plaintiffs as to Jona Rechnitz)
   23   102. Third-Party Plaintiffs hereby incorporate by reference as though fully set
   24             forth in full herein, all preceding Paragraphs of this Complaint.
   25   103. Based on the foregoing, Jona, without Marco’ knowledge or consent, instead
   26             of reselling Marco’s Consigned Jewelry (including Rovinsky’s Ring &
   27             Necklace) and repaying Marco, Jona swindled Marco in a large scale fraud by
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    1             absconding with Marco’s Consigned Jewelry (including Rovinsky’s Ring &
    2             Necklace), and either pawned them off, or used them as collateral for loans to
    3             various questionable sources, and has not repaid Marco the $6,950,444.40. In
    4             reality, Jona liquidated Marco’ Consigned Jewelry Marco’s Consigned
    5             Jewelry (including Rovinsky’s Ring & Necklace) , and refused to tell Marco
    6             how he liquidated the Consigned Jewelry or how he spent the proceeds.
    7             Marco asked Jona to disclose the location of the Consigned Jewelry and to
    8             provide a tracing and accounting of the proceeds, and Jona refused to do so.
    9   104. In engaging in the conduct described above, Jona acted despicably, willfully,
   10             wantonly, oppressively, fraudulently, or in conscious disregard of Marco’s
   11             rights, within the meaning of Civil Code § 3924(c), so as to entitle Marco to
   12             punitive damages in an amount sufficient to punish or make an example of
   13             Jona.
   14   105. As a result of Jona’s actions, Marco have been damaged in an amount
   15             according to proof, plus interest, costs, and attorneys' fees as permitted by
   16             law.
   17                                FOURTH CAUSE OF ACTION
   18       CIVIL CONSPIRACY TO COMMIT THEFT, FRAUD, AND FRAUD BY
   19                                        CONCEALMENT
   20      (On behalf of Third-Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz, Levin
   21                                              Prado)
   22   106. Third-Party Plaintiffs hereby incorporate by reference as though fully set
   23             forth in full herein, all preceding Paragraphs of this Complaint.
   24   107. Jona, Rachel and Prado conspired to make illegal agreements to defraud
   25             Marco of the consigned jewelry and to commit civil theft.
   26   108. Jona, with his wife Rachel, have set up companies to solicit consigned
   27             jewelry based upon the false premise they have clients to sell them to.
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    1             Meanwhile they took Marco’s Consigned Jewelry (including Rovinsky’s
    2             Ring & Necklace), swindled Marco in a large scale fraud by absconding with
    3             the pieces of jewelry, and either pawned them off, or used them as collateral
    4             for loans to various questionable sources, and has not repaid Marco the
    5             $6,950,444.40. In reality, Jona liquidated Marco’s consigned jewelry, and
    6             refused to tell Marco how he liquidated the consigned jewelry or how he
    7             spent the proceeds. Marco asked Jona to disclose the location of the
    8             consigned jewelry and to provide a tracing and accounting of the proceeds,
    9             and Jona refused to do so.
   10   109. Jona deceived Marco to consign them the $6,950,444.40 in jewelry, with false
   11             promises of consummated sales and with false promises of repayment.
   12   110. Third-Party Plaintiffs are informed, believe, and thereupon allege that at all
   13             times relevant hereto, Third-Party Defendants formed a civil conspiracy and
   14             engaged in the foregoing acts in operation and furtherance of that conspiracy.
   15   111. Third-Party Plaintiffs are informed, believe, and thereupon allege that at all
   16             times relevant hereto, Third-Party Defendants committed the foregoing
   17             misrepresentations, wrongs, theft, and fraud for the purpose and in
   18             furtherance of a fraudulent conspiracy and scheme to defraud Marco, as
   19             alleged herein.
   20   112. As a result of the civil conspiracy, each and every Defendant is liable and
   21             responsible for the acts of the other Third-Party Defendants in furtherance of
   22             the conspiracy and all damages resulting therefrom.
   23   113. As a result of the civil conspiracy, Third-Party Defendants are jointly and
   24             severally liable for $6,950,444.40.
   25   114. The egregious nature of the Third-Party Defendants/conspirators’ collective
   26             conduct is malicious, wanton, and willful. Marco need to be awarded punitive
   27             damages plus a judgment of joint and several liability.
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    1   ///
    2   ///
    3                                  FIFTH CAUSE OF ACTION
    4                                           CONVERSION
    5           (On behalf of Third-Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz)
    6   115. Third-Party Plaintiffs hereby incorporate by reference as though fully set
    7             forth in full herein, all preceding Paragraphs of this Complaint.
    8   116. At all times relevant, by virtue of their Consignment Memos, Marco owned,
    9             possessed, or had a right to receive and possess their $6,950,444.40 in
   10             Consigned Jewelry.
   11   117. Third-Party Plaintiffs recently discovered that the Third-Party Defendants
   12             have intentionally and substantially interfered with Marco’s property by
   13             means of false and fraudulent activity, including, but not limited to,
   14             misappropriating Marco’ Consigned Jewelry (including Rovinsky’s Ring &
   15             Necklace) for their own personal use and other theft according to proof. The
   16             Third-Party Defendants engaged in this conduct with the intention of
   17             wrongfully benefitting themselves at the expense of Marco.
   18   118. Third-Party Defendants sold, encumbered, or otherwise transferred Marco’s
   19             Consigned Jewelry (including Rovinsky’s Ring & Necklace) to third parties
   20             of questionable reputation, subject to Marco’s Consignment Memos without
   21             the knowledge of Marco. These transferees took possession of Marco’
   22             Consigned Jewelry (including Rovinsky’s Ring & Necklace). Once Marco
   23             discovers the identities of these fraudulent transferees, Marco will amend this
   24             Complaint to add them as Third-Party Defendants to a claim and delivery
   25             (replevin) cause of action.
   26   119. Third-Party Plaintiffs did not consent to said activities.
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    1   120. As a direct and proximate result of the foregoing acts, Third-Party Defendants
    2             intended to cause, and have in fact caused, actual harm to Marco, and are
    3             liable to Marco for damages in an amount to be proven at trial, but no less
    4             than $6,950,444.40.
    5   121. During, and as a further proximate result of, the Third-Party Defendants’
    6             wrongful possession and detention of Marco’s Consigned Jewelry, Marco has
    7             suffered the loss of the deterioration of their property and resulting business
    8             losses in an amount to be proven at trial.
    9   122. Furthermore, Marco is informed and believe, and so allege, that the
   10             Third-Party Defendants’ aforementioned acts were taken with malice, fraud,
   11             and oppression and in conscious disregard for Marco’s rights, and were done
   12             willfully and with the intent to cause injury to Marco. The Third-Party
   13             Defendants were aware at all times that Marco was owed either return of the
   14             consigned goods or repayment of $6,950,444.40 and intended to
   15             surreptitiously misappropriate Marco’s consigned goods and funds for their
   16             own personal use, seeking only to intentionally and maliciously deceive
   17             Marco. Accordingly, Marco is entitled to an award of exemplary and punitive
   18             damages against the Third-Party Defendants.
   19                                   SIXTH CAUSE OF ACTION
   20                                   BREACH OF CONTRACT
   21           (On behalf of Third-Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz)
   22   123. Third-Party Plaintiffs hereby incorporate by reference as though fully set
   23             forth in full herein, all preceding Paragraphs of this Complaint.
   24   124. Third-Party Plaintiffs, (the Jadelle Parties), Jona and Rachel are parties to
   25             binding contracts, the Consignment Memos.
   26   125. At all times, Marco performed all conditions, covenants, and promises
   27             required in accordance with the terms of the Consignment Memos,, except as
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    1             they have been prevented or excused from performing by the acts and/or
    2             omissions of (the Jadelle Parties), Jona & Rachel.
    3   126. Under the 10-29-2019 Consignment Memo to Luna, (the Jadelle Parties) and
    4             Jona & Rachel were to either return the Yellow & White Choker Necklace /
    5             Bracelet to Third-Party Plaintiffs or pay them $150,000.00.
    6   127. Under the 12-2-2019 Consignment Memo to Norman Silverman, (the Jadelle
    7             Parties) and Jona & Rachel were to either return the BRACELET -
    8             Multi-shape 14 stone diamond bracelet, 45.47 carats, white gold to
    9             Third-Party Plaintiffs or pay them $500,000.00.
   10   128. Under the 12-12-2019 Consignment Memo to Norman Silverman, (the Jadelle
   11             Parties) and Jona & Rachel were to either return the BY215 - BRACELET -
   12             Platinum/18kwg 36.69 carats, 132 stones, 44 radiant 25.52cttw., 66 baguettes
   13             7.57 cttw to Third-Party Plaintiffs or pay them $140,000.00.
   14   129. Under the 12-16-2019 Consignment Memo to Norman Silverman, (the Jadelle
   15             Parties) and Jona & Rachel were to either return the NS10052 - EARRINGS -
   16             18kwg 2stones, 9.02 Round Brilliant, J/Sl2G, GIA# 2165989714, 9.02 Round
   17             Brilliant, J/Sl2, GIA# 2205611416 to Third-Party Plaintiffs or pay them
   18             $335,000.00.
   19   130. Under the 12-16-2019 Consignment Memo to Lazar, (the Jadelle Parties) and
   20             Jona & Rachel were to either return the LAZ52342 - RING- 20.54 carat Oval
   21             diamond ring, H/VVS2, GIA# 6204485119 to Third-Party Plaintiffs or pay
   22             them $793, 049.40.
   23   131. Under the 12-16-2019 Consignment Memo to First International, (the Jadelle
   24             Parties) and Jona & Rachel were to either return the EID MT 13.62 D/VVS1,
   25             # 11776564 to Third-Party Plaintiffs or pay them $1,333, 695.00.
   26   132. Under the 11-19-2019 Consignment Memo, the Jadelle Parties) and Jona &
   27             Rachel were to either return the NECKLACE - 18KYG Diamond necklace,
   28

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    1             134.71 Fancy Yellow, internally flawless, VS2 , 49 stones to Third-Party
    2             Plaintiffs or pay them $1,300,000.00.
    3   133. Under the 11-27-2019 Consignment Memo to David Rovinsky, (the Jadelle
    4             Parties) and Jona & Rachel were to either return the RING - 43.10 Carat
    5             Fancy Yellow diamond+ 6.82 carats to Third-Party Plaintiffs or pay them
    6             $1,650,000.00.
    7   134. Under the 1-7-2020 Consignment Memo to Eli, Inc., (the Jadelle Parties) and
    8             Jona & Rachel were to either return the RING - 15.03 Fancy Yellow
    9             internally flawless radiant diamond mounted on a WG ring with a diamond
   10             halo to Third-Party Plaintiffs or pay them $215,000.00.
   11   135. (The Jadelle Parties) and Jona & Rachel breached the Consignment Memos
   12             by failing to return the consigned jewelry and make full repayment of the
   13             $6,950,444.40. As of the date of filing of this complaint, the full amount of
   14             Third-Party Plaintiffs’ debt in the amount $6,950,444.40 is past due and
   15             owing. In addition, accrued and ongoing interest, remains due, owing, and
   16             unpaid from (the Jadelle Parties) and Jona & Rachel to Third-Party Plaintiffs.
   17   136. As a direct and proximate result of the foregoing acts, Third-Party Plaintiffs
   18             have been damaged in an amount to be proven at trial, together with interest
   19             at the maximum legal rate according to proof. (The Jadelle Parties) and Jona
   20             & Rachel would receive unjust enrichment if allowed to retain the benefits of
   21             Third-Party Plaintiffs’ performance under the Consignment Memos without
   22             abiding by (the Jadelle Parties) and Jona’s & Rachel’s own repayment
   23             obligations under the Consignment Memos and/or Third-Party Plaintiffs
   24             detrimentally relied on the Consignment Memos and would suffer an
   25             unconscionable injury if the Consignment Memos were not enforced.
   26   ///
   27   ///
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    1   ///
    2   ///
    3                             SEVENTH CAUSE OF ACTION
    4                        BREACH OF THE IMPLIED COVENANT OF
                                GOOD FAITH AND FAIR DEALING
    5
         (On behalf of Third-Party Plaintiffs as to Jona S. Rechnitz., Rachel Rechnitz, Levin
    6
                                                       Prado)
    7
        137. Third-Party Plaintiffs hereby incorporate by reference as though fully set
    8
                  forth in full herein, all preceding Paragraphs of this Complaint.
    9
        138. Based on the foregoing, Third-Party Plaintiffs are informed and believe, and
   10
                  on such information and belief allege, that based on the foregoing,
   11
                  Third-Party Defendants breached the implied covenant of good faith and fair
   12
                  dealing continuously throughout the business relationship with Marco.
   13
        139. Third-Party Plaintiffs are informed and believe, and on such information and
   14
                  belief allege, that there may be other facts constituting breach of the implied
   15
                  covenant of good faith and fair dealing which will be presented through
   16
                  discovery or at the time of trial.
   17
        140. As a direct and proximate cause of the acts of Third-Party Defendants, Marco
   18
                  suffered damages in an amount according to proof at the time of trial of at
   19
                  least $6,950,444.40.
   20
        141. Third-Party Plaintiffs are informed and believe, and on such information and
   21
                  belief allege, that Third-Party Defendants acted despicably, willfully,
   22
                  wantonly, oppressively, fraudulently, or in conscious disregard of Marco’s
   23
                  rights. Marco seeks recovery of exemplary damages in an amount according
   24
                  to proof at the time of trial.
   25
        142. As a result of Third-Party Defendants’ actions, Marco has been damaged in
   26
                  an amount according to proof, plus interest, costs, and attorneys' fees as
   27
                  permitted by law.
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    1   ///
    2
    3                                EIGHTH CAUSE OF ACTION
    4                                      ACCOUNT STATED
    5                  (On behalf of Plaintiff as to Jona Rechnitz, Rachel Rechnitz)
    6   143. Third-Party Plaintiffs hereby incorporate by reference as though fully set
    7             forth in full herein, all preceding Paragraphs of this Complaint.
    8   144. Based on the foregoing, in Los Angeles County, State of California, an
    9             account was stated in writing by and between Marco and (the Jadelle Parties),
   10             Jona, Rachel, and on such statement, a balance of $6,950,444.40 was found
   11             due to Marco from (the Jadelle Parties), Jona, Rachel, who all agreed to pay
   12             to Marco said balances in full.
   13   145. Although demanded by Marco from (the Jadelle Parties), Jona, Rachel, they
   14             have failed to fully repay the balance of $6,950,444.40. Repeated demands
   15             were made and ignored by Third-Party Defendants. As of the date of filing of
   16             this complaint, $6,950,444.40 is the current principal amount past due and
   17             owing. In addition, accrued and ongoing interest remains due, owing, and
   18             unpaid from (the Jadelle Parties), Jona, Rachel, to Marco.
   19   146. Third-Party Plaintiffs have incurred attorneys’ fees in connection with this
   20             matter, in an amount to be determined at trial. Because the Consignment
   21             Memos are contracts on a book account, Marco are entitled to recover
   22             attorneys’ fees from (the Jadelle Parties), Jona, Rachel, pursuant to Civil
   23             Code section 1717.5.
   24                                 NINTH CAUSE OF ACTION
   25     UNETHICAL BUSINESS PRACTICES IN VIOLATION OF CALIFORNIA
   26                        BUSINESS & PROFESSIONS CODE §17200
   27
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    1    (On behalf of Third-Party Plaintiffs as to Jona S. Rechnitz, Rachel Rechnitz, Levin
    2                                               Prado)
    3   147. Third-Party Plaintiffs hereby incorporate by reference as though fully set
    4             forth in full herein, all preceding Paragraphs of this Complaint.
    5   148. Based on the foregoing, Third-Party Plaintiffs are informed, believe, and
    6             thereupon allege , that Third-Party Defendants intentionally conspired with
    7             each other to restrain competition and deprive Marco of the benefit of their
    8             contracts.
    9   149. As a direct and proximate result of the aforementioned conduct of Third-Party
   10             Defendants, and each of them, Marco has been damaged in a sum in excess of
   11             the jurisdiction of this Court, to be determined according to proof at the time
   12             of trial of at least $6,950,444.40.
   13   150. In engaging in the conduct described above, Third-Party Defendants, and
   14             each of them, acted willfully and intending to deprive Marco of their property
   15             or legal rights, thereby committing acts of fraud, within the meaning of Civil
   16             Code §3924(c), so as to entitle Marco to punitive damages in an amount
   17             sufficient to punish or make an example of Third-Party Defendants, and each
   18             of them.
   19                                     PRAYER FOR RELIEF
   20             WHEREFORE, Third-Party Plaintiffs seek a judgment in their favor and an
   21   order granting the following relief:
   22   1.        That Marco be awarded compensatory damages in the amount of at least
   23             $6,950,444.40;
   24   2.        That Marco be awarded treble damages pursuant to California Penal Code,
   25             §496(c);
   26   3.        That Marco be awarded reasonable attorneys’ fees pursuant to California
   27             Penal Code, §496©;
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    1   4.        That Marco be awarded attorneys’ fees pursuant to Civil Code section 1717.5.
    2   5.        For a constructive trust over the Consigned Jewelry and all proceeds
    3             therefrom;
    4   6.        That Marco be awarded punitive damages in an amount to be proven at trial;
    5   7.        That Marco be awarded costs of suit; and
    6   8.        That Marco be awarded such further relief as the Court deems just and proper.
    7
    8                                 DEMAND FOR JURY TRIAL
    9             Third-Party Plaintiffs hereby demand a trial by jury to the full extent
   10   permitted by law.
   11
        DATED:          April 24, 2020             LAW OFFICE OF BARUCH C. COHEN
   12                                              A Professional Law Corporation
   13                                              By       /S/ Baruch C. Cohen
                                                        Baruch C. Cohen, Esq.
   14                                                   Attorney for Third-Party Plaintiffs PETER
                                                        VOUTSAS aka PETER MARCO aka
   15                                                   PETER MARCO EXTRAORDINARY
                                                        JEWELS OF BEVERLY HILLS, dba
   16                                                   PETER MARCO LLC
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                    EXHIBIT-1

                                                              EXHIBIT "6", PAGE 206
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    CMIECF - U.S. Bankruptcy Court (v5.2. l - LIVE)                               Page 1 of2


                                  United States Bankruptcy Court
                                   Central District of California

    Notice of Involuntary Bankruptcy Case
    Filing

   An involuntary bankruptcy case concerning the debtor
   (s) listed below was filed under Chapter 7 of the
   United States Bankruptcy Code, entered on
   0410612020 at 3:52 PM and filed on 04/06/2020.

   Jadelle Jewelry And Diamonds LLC a Delaware
   limited liability company
   9454 Wilshire Blvd
   Penthouse 01
   Beverly Hills, CA 90212
   Tax ID I EIN: XX-XXXXXXX
   dba Jadelle Inc

    The case was filed by the following petitioning creditor(s):

    First International Diamond Inc      Baruch C Cohen
                                         Law Office of Baruch C. Cohen /\PLC
   PO Box 3765                           4929 Wilshire Blvd Ste 940
   Beverly Hills, CA 90212               Los Angeles, CA 900 I 0
                                         323-937-4501

   Peter Marco LLC                       Baruch C Cohen
   252 N Rodeo Dr                        Law Office of Baruch C. Cohen APLC
   Bewverly Hills, CA 90210              4929 Wilshire Blvd Ste 940
                                         Los Angeles, CA 900 l 0
                                         323-937-4501

   Victor Franco Nova!                   Ronald N Richards
   1141 Summit Drive                     Law Offices of Ronald Richards & Assoc
   Beverly Hills, CA 90210
                                        PO Box 11480
                                        Beverly Hills, CA 90213
                                        310-556-1001
 The case was assigned case number 2:20-bk-13530-BR to Judge Barry Russell.

 If you would like to view the bankruptcy petition and other documents filed by the


https://ecf.cacb.circ9.dcn/cgi-bin/Notice0fFiling.pl? 1896610                    41612020



                                                                           EXHIBIT "6", PAGE 207
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   CM/ECF - U.S. Bankruptcy Court (v5.2. l - LIVE)                                 Page 2 of2

   petitioning creditor(s) and the debtor, they are available at our Internet home page
   www.cacb.uscourts.gov or at the Clerk's Office, 255 East Temple Street,, Los Angeles,
   CA 90012.

   You may be a creditor of the debtor. !fso, you will receive an additional notice from the
   court setting forth important deadlines.


                                                               Kathleen J. Campbell
                                                               Clerk, U.S. Bankruptcy
                                                               Court




https://ecf.cacb.circ9.dcn/cgi-bin/NoticeOfFiling.pl?1896610                     41612020
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        Unhcd StaiC$ Bankruptcy Court for the:
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    Involuntary Petition Against a Non-Individual                                                                                                                                           IlJJS
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    J. Cbapttr of thr                         Chtclont:
       Bankruptty Code
                                               [8J Cha.pier l
                                               0     Chaplcr JJ

               Identify the: Debtor


  U. Debtor's name                            JADELLE JEWELRY AND DIAMONDS, LLC, a Delaware limited liabili!X comeanx


  :\. Olher names you know the
                                              Jadelle Inc.
     debtor has used in Che Jast 8
     years
     Include any assumed names,
     111dc name:s, or doing bu.Jiness
     as names.

      Oebror's federal Employer
      ldenritication Number                  t'8J Unknown
     (EIN)
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  . Debtor's address

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                    Jadelle Jewelry and Diamonds, LLC                                                         Case number (lfknawn)




     6. Debtor's website (URL)


                                             [81 Corporalion (including Llmircd Liabiliiy Company (LLC) lttld Limilcd Liabilicy Partnership (LLP))
     '· Type of debtor
                                             0   Partntrship (eiccluding LLP)
                                             0   Other &ypc of dcb1or. Specify:


    $. Type of debtor's
                                            Check one:
       business
                                             D Health Care Business (as defined in I J U.S.C. § 101(27A))
                                             0 Single Asset Real Est.Ille (as defined in 11 U.S.C. § IOJ(SIB)J
                                             0 R.ail~d (as defined in 11 U.S.C. § f01(44))
                                            0 Stockbroker (as de lined in 11 U.S.C. § JOJ(53A))
                                            0 Commodity Broker(a.s dc(med in 11U.S.C.§101(6))
                                            0 Clearing Bank (as defined in JI U.S.C. § 731(3))
                                            l8J Ni;me of the types ofbu.sincu lis1ed.
                                            0 Unknown type of business.

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       knowledge, arc- any                0 YC$. Debtor                                                                       Rcl1;1ti1;1"ihip
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      by or agaJmt any partner                      Oistrie1                                  0.lc filed                      Case   num~.       1fknowit
      or affiliate of this debtor?                                                                         MMIDDIYYYV



                                                     """••                                                                   Re!1lionship

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                                                                                                           MMJDOJYYYY




 •10. Venue
               Rtport About lflt Case

                                         Chedone:

                                        ~ Over the Jas1 180 days before the filing oflhis bankruptcy, the debtor had a domicile. principal pface of husiness, or
                                        prineipaJ asscts in dds district longer than in &n)' other district.
                                        0    A bartk/uplcy case concerning debtor's affiliates. gcncraJ partner, or panncrship is pending in this district


 IJ. A!Jegarions                        Each pedlioner is eligible 10 Ille this pctilion under J J U.S.C. § JOJ(b).
                                        The debtor may be: \he subject of an involuntary case under 11 U.S.C. § J03(a}.

                                        Al least one box musi be checUd:

                                        18]Thc. debtor ls generally not paying il5 debts as they become due, unless lhcy ue the subjec1 of a bona tide dispute a:;
                                            to liability or amount.
                                     0      Within 120 days before the tiling of this pctiliota, a custodian, otllcr than a trustee, r«civcr, or an agent
                                            appoinicd or euthoriicd 10 take charge ofless than subsLVIUally all of the property of the debtor for lhc
                                            puroosc of cnforcine: a lien ae.ainsl such propertv, was apoointcd or rook: possess.ion.
12. Has there been a transfer
                                     ~No
    of any claim against the
    debtor by or to any
                                     0       Yes. Artach aU documents lhat evidence the tr1ns1Cr and any staci:ments required under BankNplcy Ruk
                                             IOOJ(a).
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Official Form 205                                          Involuntary PfJtillon Against a Non-Individual                                                   pa e2




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  Baruch C. Cohen, Esq.

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         Attorneys




         Daniel A. Lev

        Sul!ncycrKupctz. A Professional Corporation

       333 South Grand A vl!nue
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                                 Jadelle Jewelry and Diamonds. LLC




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       Ronald Richards. Esq.



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       Law Offices of RonaJd Richards&. Associates. A.P.C.

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                             Jaclctlc Jewelry and Diamonds, LLC



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                    Peter Marco LLC
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                Beverlr Hills                               CA              90210
                Ci1y                                                            ZIP Code
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       I        Baruch C. Cohen, Esq.


       I ........ ....
                Law Offices of Baruch C. Cohen. APLC

                ·~' , Wilshire Blvd. Suile 940
               4929


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             Victor Franco Nova!



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             1141          Summit Drive

             Beverlt: Hills                            CA              90210
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            Ronald Richards, Esq.

         ·-.......
            Law Offices of Ronald Richards & Associates, A.P.C.

         P.O. Box 11480

         Beverlt Hills
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Official Form 205                                                    Involuntary PeUtlon Against a Non-lndlvlctual        page4




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             Altor_ney crPany
            , Email Address
                                    Address. Telephone & FAX Nos., State Bar No. &       FOR COURT     USE ONLY

       I BARUCH C. COHEN ESQ.
       I LAW OFFICE OF BARUCH C. COHEN, APLC
        , 4929 Wilshire Blvd Ste 940
       ,I Los Angeles, CA 9001 O
       I  (323 937-4501)
          DANIEL A LEV, ESQ.
          333 S GRAND AVE STE 3400
          LOS ANGELES, CA 90071
          (213626-2311)
       I RONALD N RICHARDS, ESQ.
   I     P.O. BOX 11480
                                                                                                                                                                    I
         BEVERLY HILLS, CA 90213 (310 556-1001)

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                                                                                                                                             --j
                 Atlorney for Petitioning Creditor(s)
   I0            Pelitioning Cred1tor(s) appearing without attorney

   r                      -----------
   L-·-----                                                UNITED STATES BANKRUPTCY COURT



   j lnre:
   1
   i JADELLE JEWELRY AND DIAMONDS,                           LLC.,
                                                                                l=
                                      CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION


                                                                                          ENO.: 20-13530BR
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  I a Delaware limiled liabilily company                                           !---                                                                __ .__J
  / dba JADELLE INC,                                                          11---~~MMONS AND NOTICE O F II
  I                                                                                               STATUS CONFERENCE IN AN
  l                                                                   Debtor(             __   :~OLUNTAR~~~NKRUPTCY CAS_E_~/
  To the above-named debtor(s):

       Pursuant to 11 u.S.C. § 303, an involuntary petition was filed on   41612020 in this bankruptcy court praying for the
  entry of an order for relief against you under chapter _7_ of title 11 of the Bankruptcy Code. A copy of the involuntary
  petition accompanies this summons.

  A status conference in the involuntary case commenced by the involuntary petition has been set for:

                       Hearing Date: 6/9/2020                       Place:
                       Time:    I b ?'->vi                          0  255 East Tempie Street, Los Angeles, CA 90012
                       Courtroom: 1668                              0  21041 Burbank Boulevard, Woodland Hills, CA 91367
                                                                    0  3420 Twelfth Street, Riverside, CA 92501
                                                                    0 411 West Fourth Street, Santa Ana, CA 92701
                                                                    D  1415 State Street. Santa Barbara, CA 93101

      II you wish to oppose the entry of an order for relief, you must file with the clerk of this court an answer to the
 involuntary petition or a motion pursuant to FRBP 1011(c) within 21 days after the date of service of this summons and
 attached involuntary petition, plus 3 additional days if you were served by mail. At the same time. you must also serve a
 copy of the answer or motion on the petitioner's attorney (or on the petitioner. if the petitioner does not have an attorney)
 at the address stated above. If you file a motion under FRPB 1011 (c). your time to answer the petition will be governed
 by that rule.


                   This form is mandatory. lt has been approved for use in the United States Bankruptcy Court for the Central District of Ca~fornla.
 December 2012                                                                  Page 1                                F 1010-1.SUMMONS.INVOL




                                                                                                                                   EXHIBIT "6", PAGE 215
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     TO THE DEBTOR:

    IF YOU FAIL TO TIMELY FILE A RESPONSE TO THIS SUMMONS, THE BANKRUPTCY COURT MAY ENTER AN
    ORDER FOR RELIEF IN ACCORDANCE WITH 11 U.S.C. § 303(h).


    TO THE PETITIONING CREOITOR!Sl:

    IF YOU FAIL TO TIMELY SERVE THE SUMMONS ANO INVOLUNTARY PETITION ANO/OR TO FILE PROOF OF
    SERVICE OF DOCUMENT THEREOF WITH THE COURT OR TO APPEAR AT THE STATUS CONFERENCE, THIS
    INVOLUNTARY CASE MAY BE DISMISSED IN ACCORDANCE WITH LBR 1010-1.



                                                                                    KATHLEEN J. CAMPBELL
                                                                                    CLERK OF COURT



                                                                                            4----,
                                                                                   By: STACEY FORTIER
                                                                                                                   W-----
                                                                                                Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central Olstr1ct of Californla.
 Decemb6'2012                                                         Page2                                  F 1010·1.SUMMONS.INVOL




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                    EXHIBIT-2

                                                              EXHIBIT "6", PAGE 217
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           Case 2:20-cv-02580-ODW-AS Document 39 Filed 04/24/20 Page 54 of 88 Page ID #:372
                      Case 1:16-cr-00389-AKH Document 84 Filed 03/03/20 Page 1 of 7
 AO 24lB (Rev. 09119)    Judgment in a Criminal Case     (form modified within District on Sept. 30, 2019)
                         Sheet I



                                               UNITED STATES DISTRICT COURT
                                                             Southern District of New York
                                                                                  )
                UNITED ST ATES OF AMERICA                                         )       JUDGMENT IN A CRIMINAL CASE
                                      v.                                          )
                             Jona Rechnitz                                        )
                                                                                  )       Case Number: 1: 16 er. 00389-01(AKH,l
                                                                                  )       USM Number: 77751-054
                                                                                  )
                                                                                  )      _A_lan_L_e_Vi_n_el A_U_S~,!A_af!!n_Sell
                                                                                                                            _____ - - + - - - - -
                                                                                  )       Defendant'siAIWnl<Y                      ;
 THE DEFENDANT:
 li1'.! pleaded guilty to count(s)         1
 0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0   was fowid guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                             Offense Ended
18 USC 1349                          Conspiracy to Commit Honest Services Wire Fraud                               61612016                   1




       The defendant is sentenced as provided in pages 2 through                _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 19&4.
0 The defendant has been found not guilty on cow1t(s)
0   Count(s)
                ------------ 0                                  is     0   are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chanp,e o_f name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordertd to pay restitution,
the defenilant must notify the court and United States attorney of material changes in eeonom1c circumstances.

                                                                                                                 1211912019
                                                                                             'tion of Judgment



                USDCSDNY
                                                                                              i. ~ ~r-·t- - -
                DOCUMENT
                ELECTRONICALLY FILED
                DOC#:            ,                                                          Hon. Alvin K. Hellerstein, U.S. Districl/ Judge
                                 17 0                                         Nani: and Title of Judg(\                            ,
                DATE FILED::) I?      7.-0

                                                                              Date
                                                                                  ~~"-~7              I




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                                                                                      Page
                                                                                         7 ID #:373
 AO 2458 (Rev. 09/19) Judgment in Cri1ninal Case
                         Sheet 2 - Imprisonment


     DEFENDANT: Jona Rechnitz
     CASE NUMBER: 1: 16 er. 00389-01(AKH)

                                                              JMPRISONMENT

               The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
     total term of:
      5 months. Defendant is notified of his right to appeal.




         0    The court makes the following recommendations to the Bureau of Prisons:
              that the defendant be confined at the Lompac or Taft facility outside of Los Angeles.




         D 111e defendant is remanded to the custody of the United States Marshal.

         D The defendant shall surrender to the United Stales Marshal for this district:
              D at                                  0 a.m.      D p.m.       on

              D   as notified by the United States Marshal.

        D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D    before 2 p.m. on

             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




             Defendant delivered on                                                      to

al                                                    with a certified copy of this judgment.




                                                                           By-~------~­
                                                                                                DEPUTY UNITED STATES MARSHAL




                                                                                                             EXHIBIT "6", PAGE 219
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                        Case 1:16-cr-00389-AKH Document 84 Filed 03103120 Page 3 of 7
 AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                           Judgment-Page__.=)__ of -~--
 DEFENDANT: Jona Rechnitz
 CASE NUMBER: 1: 16 er. 00389-01(AKH)
                                                        SUPERVISED RELEASE

 Upon release from imprisonment, you will be on supervised release for a tenn of:
     3 years, of which the first 5 months shall be home confinement.




                                                     MANDATORY CONDITIONS
I.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.                                                                                                                            tf
       You must refrain from any unlawful use of a controlled substance. You must submjt to one drug test within 15 days reh:ase from
       imprisonment and at least two periodic drug tests thereafter, as detem1ined by the court.                                 .
                 ill The above drug testing condition is suspended, based on the court's detel1nination that you
                     pose a low risk of future substance abuse. (check If applicable)
4.      liZf You must make restitution in accordance with 18 U.S.C. §§ 3663 Wld 3663A or any other statute authorizing a sentence of
             restitution. (check If applicable)
s.      ~ You must cooperate in the collection of DNA as directed by the probation offieer. (check ifapplicable)
6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 209!JI, el seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check Ifapplicable)
7.      D You must participate in an approved program for domestic violence. (check IfapPlicabl<)
You must comply with the standard conditions that have been adopted by tl1is court as Wfll as with any other conditions on the attached
page.




                                                                                                                 EXHIBIT "6", PAGE 220
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 AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                        S!...i 3A -Supervised Rclcl!S<
                                                                                               Judgment-Piii!" --~--; of --~--
 DEFENDANT: Jona Rechnitz
 CASE NUMBER: 1: 16 er. 00389-01(AKH)

                                         STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in rour conduct and condition.

 I.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
 2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.              .
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting J1<irmission from the
      court or the probation officer.                                                                                         i·
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you Jive with), you must notify the probation officer at least JO days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least l Odays before the change. If notifying the probation officer at least l 0
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the peinnission of the
     probation officer.                                                                                                       I
9.   lfyou are arrested or questioned by a law enforcement officer, you must notify the·probation officer within 72 hoW)l.
IO. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nun4hakus or tasers).
l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or blformant without
     first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and pas provided me with a written C<!l'Y of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation 01i4Supervised
Release Conditions, available at: www.uscourts.gov.                                                                     1


Defendanfs Signature                                                                                    Date   ~~~~-ct--~~~~-




                                                                                                               EXHIBIT "6", PAGE 221
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                Jud~~.t~aiJ0389-AKH Document 84 Filed 03/03/20 Page 5 of 7
A024l&(Rev. 09; 19)
                      Sheet 3D -Supervised Release
                                                                                           Judgment-Page    -¥h-   of _ J _ _
DEFENDANT: Jona Rechnitz
CASE NUMBER: 1: 16 er. 00389-01(AKH)

                                       SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall provide the probation officer with access to any requested financial information.

2. The defendant shall not Incur new credit charges or open additional lines of credit without the approval of the probation
officer unless he/she is in compliance with the Installment payment schedule.

3. The defendant shall continue to cooperate with the U.S. Attorney's Office.

4. The defendant's duty to pay restitution in the amount of $19,000,000.00 is joint and several with co-conspirators
Nonnan Seabrook (16 Cr. 467) and Murray Huberfeld (16 Cr. 467) provided, however, that defendant Rechnitz' payments
shall be capped at $10,000,000.00. The defendant shall make payments of $500,000 per year, payable in equal monthly
installments, due on the last day of each month.

5. The defendant shall be supervised by the district of residence.




                                                                                                EXHIBIT "6", PAGE 222
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                    ,_ Case 1 :16-cr-00389-AKH Document 84 Filed 03/03/20 Page 6 of 7
 AO 245B (Rev. 09/19)   I u"f>ment 1n a Cii.mrnaJ c.&se
                        Sheet S - Criminal Moncwy Penalties

    DEFENDANT: Jona Rechnitz
                                                                                                                  Judgment -Page   ::Jc+    •of       7
    CASE NUMBER: 1: 16 er. 00389-01(AKH)
                                                     CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                  Restitution                   En£                      AV AA Assessment•           JVTA Assessment**
 TOTALS            $ 100.00                     s    19,000,000.00           s                         $                           $


 0     The determination ofrestitution is deferred until                               An Amended Judgment in a Criminal Case (A!) :U5C) will be
       entered after such determination.
                                                                     - - - - -.

 0     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       lfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

 Norne of Payee                                                       Total Loss**•                    Restitution Ordered         Priority or Percenmge
    Correction Officers' Benevolent Association                                  $19,000,000.00               $19,000,000.00
    77-10 21st Avenue
    East Elmhurst, NY i 1370




TOTALS                                 s ___1_s_,_.o_o_o"'"',o-'-o_o.-'-oo'-                     19,000,000.00
                                                                                        $ ----·--r---------


0      Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

0      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid iii full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0      The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

       0   the interest requirement is waived for the                O    fine     O    restitution.

      0    the interest requirement for the               O   fine       O restitution is modified as follows:

• Amy, VickyVand Andy Child Pornography Victim Assistance Act of2018, Pub. L. No. 115-299.
••Justice for ictims of Trafficking Act of2015, Pub. L. No. 114-22.
• • • Findings for the total amount of losses are required under Chapters I 09A, 110, 11 OA, and l l 3A of Title I 8 for offenses committed 011
or after September 13, 1994, but before April 23, 1996.




                                                                                                                             EXHIBIT "6", PAGE 223
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                        Sheet 6 - Schedule of Payments
                                                                                                                  Judgment- Page   _.._t_     of
    DEFENDANT: Jona Rechnitz
    CASE NUMBER: 1: 16 er. 00389-01(AKH)

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      0     Lump sum payment of$ -1Q..QJ2lL                    due immediately, balance due

              0     not later than                                    , or
              0     in accordance with    0    C,    0    D,     0     E, or     O Fbelow; or

 B      0     Payment to begin immediately (may be combined with               oc,        OD, or        0    F below); or

 C      0     Payment in equal                       (e.g.. weekly, monlhly, quaner/y) installments of $                  over a periO!f of
             --------- (e.g.,     m~whs orY.ars), to commence _···--·-··-·- {e.g.,         30 or 60 days)    afu:~ the date of this judgment; or
 D      0     Payment in equal                       (e.g... weekly, monthly, quarterly) installments of $
                                                                                                       _ _ _ _ over a period of
               --~- (e.g.. monlhs or years),        to commence      _ _ _ _ _ {e.g., 30 or 60 days) after release from impris\Wnent to a
              term of supervision; or

 E      O Payment during the term of supervised release will commence within                      (e.g.. 30 or 60 day;) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay ej that time; or

 F     Ill   Special instructions regarding the payment of criminal monetary penalties:
             The defendant shall pay restitution in the amount of $10,000,000.00, joint and several with the $19,000,000.00
              restitution obligation of co-conspirators Norman Seabrook (16 Cr. 467) and Murray Huberfeld (16 Cr. 467). The
             defendant shall make payments of $500,000 per year, payable in equal monthly installments, due on the last day
             of each month.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary _penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                    Joint and Several                  Corr~sponding_ Payee,
       (including defe1ui.anl number)                      Total Amount                         Amount                             if appropriate




D     The defendant shall pay the cost of prosecution.

0     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:



Pa.Yn.1ents shall be aJ?plied in the following order: (J) assessment, (2) restitution principal, (3} restitution interest, (4) AVAA assessment
(5) fine principal, (b) fme interest, (7) community restitution, (8) NrA assessment, (\I) penalties, and (IO) costs, mcluding cost of          '
prosecution and court costs.                                                                                                           ·




                                                                                                                        EXHIBIT "6", PAGE 224
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                    EXHIBIT-3

                                                              EXHIBIT "6", PAGE 225
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       Jona Rechnitz
       9533 Sawyer Street
       Los Angeles, CA 90035
       October 16, 2019

       Honorable Alvin K Hellersteln
       United States District Court
       Southern District of New York
       500 Pearl Street
       New York, NY 10007

      Dear Judge Hellerstein:

      I am a felon. I am a criminal. I am the ONLY person to blame for that.

      I have caused tremendous pain and embarrassment to my family, my religion, and
      to myself.

      There is no way to undo what's been done. It's permanent, and for that I am truly
      sorry to everyone hurt by my crimes and actions. It eats me alive each and every
      day. When I wake up, when I go to sleep, it is always on my mind for the past 4
      years.

      My actions harmed the people of New York, The people of Correction Officers
      Benevolent Association, my friends, my family and my community. I will forever
      carry this burden, as I deserve to.

      I have read of your Honor asking at various sentencings, why do good people do
      bad things?

      In my case, not assuming I'm a good person, I can answer this question. Arrogance,
      greed, and insecurity.

      Arrogance. I felt I was above the law. At this young age in my late 20's I was busy
      accepting honors at dinners and board positions at prestigious institutions. It got to
      my head.

      Greed. I wanted to gain contacts to grow my business, to make money and gain
      stature in the long run.

      Insecurity. I wanted to gain popularity by my peers and become a big shot in my
      community and business circles.

      Shame on me.




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       Finally, I couldn't wiggle my way out of this one. It changed my life as I knew it
       forever.

       As a supposed religious man, I have been a disgrace to my religion. The only way to
       fix this is to make serving G-d my main focus for the rest of my life. I try to every
       day. I have changed as a person religiously, through prayer, my public and private
       behavior, and I always stop and think before I'm about to do something to see if it is
       something my parents, my family, and G-d would approve of.

      Making the decision to come forward was the right decision. A very tough decision
      with tremendous repercussions, but the appropriate decision. It has come with a
      hefty price. I did not foresee what I was signing up for, and it has been a brutal four
      years, but I made the right decision. I learned that doing the right thing isn't always
      the easiest, but it is the only choice. There is right and wrong and nothing in
      between. It has changed me for the better. It has forced me to change, which I
      have.

      I had to testify in three separate trials. Not an easy task. Outside of the regular
      pressures a crucial witness deals with, these circumstances were even tougher.
      There was a lot of press coverage, a lot of community pressure, and a lot of threats
      and comments made to me. The press put me on trial instead of the defendants.
      The press called me a snitch and paid more attention to me and my testimony then
      on the actual trials. They made calls to my friends, my family, and waited outside
      my home for me to walk outside.

      Parts of the community shunned me and my family. Your honor, I can not stress the
      amount of pain and suffering that we received during this time. Unimaginable pain.
      Eventually we had to leave town. Leave our lives. Leave immediately.

      Then there were the threats and private investigators after me. Threatening voice
      messages, windows smashed at home, windows smashed in my car several times
      and my parents cars on the same day at their home, people following me and sitting
      outside of my home in Los Angeles for periods of time. My wife and I were harassed
      and video taped at the mall, humiliated in our Synagogue, and embarrassed in
      public at a local LA high school charity event.

      Your Honor, there are so many examples that I am omitting as I don't want to
      portray myself as the victim here. I caused a lot of pain and harm to others through
      my criminal activity and don't want to detract from that.

     Even at various trials there were intimidation tactics. An attorney representing a
     defendant yelled at me in the hallway walking in to court and shoved the prosecutor
     when he confronted him.

     The disgusting feeling I had waking up in the morning to go to trial after trial after
     trial. Sometimes for a week and a half straight.




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       One of the toughest moments was when a mistrial was declared. I remember feeling
       like I wanted to tap out. But I could not. I made this decision for me and my
       beautiful family with the hope of staying together with them at the end of this
       nightmare. This has been the key factor keeping me going. My family. My amazing,
       incredible wife and my beautiful 6 children.

       The highlight of my week used to be sitting in NYPD Headquarters like a big Macher.
       Today, my highlight is walking to Synagogue with my children every week, and I let
       them know it every time we walk. When I ask them what my favorite part of the
       week is, they say, Daddy! You know the answer, but I still make them repeat it.

      Your Honor, I can now tell you proudly I am a hands-on father and husband. I am
      more of a mentsch. I was not during my criminal years. For that alone, I am grateful
      to this situation. My wife is an amazing woman. She had a bad feeling about the
      people I was hanging out with and the people I wanted to impress. She was right. I
      should have listened to her. I do now.

       I had real estate holdings which I had to give up throughout this ordeal. Many
       investors didn't want to be associated with me, nor do I blame them. In a few cases,
       some partners viewed my situation as an opportunity forcing me to give up different
       holdings and assets, taking management decisions and authority from me, ultimately
       removing me entirely. Starting to make a living again was a struggle for a period of
      time. Fortunately my wife and I started a new business endeavor, which looks
       promising. As your Honor can imagine it is hard to find a bank to work with me, so I
       have secured private loans and financing from family and friends. I finally have a
       business going that has provided stability and a way to make a living. This case has
      left me in a big financial hole - I have had to borrow millions of dollars to get this
      business going and to support my family. I am finally in a position to dedicate myself
      again to supporting my family. I don't see any way possible to start over a third
      time. I beg you to allow me to continue on this second journey of life.

      This has been a difficult time. I don't feel healthy at all. I am on anti depressant
      medication, I wake up in the middle of the night in pain and my neck and hands are
      burning, and I will forever carry this guilt.

      Family is everything to me. Cuddling with my children is everything to me. Being a
      community member and helping others is everything to me. Since this entire ordeal
      my wife gave birth to two beautiful baby girls. A decision that we made to not put
      life on hold but to continue with life in the right path and be optimistic that doing
      the right thing will not hinder our future.

     I am a changed man. I suffered a lot. I have been severely punished. My family has
     suffered a lot. I beg your Honor, please allow me to continue on the path I'm on,
     together with my family, my wife and 6 young children. They need their Daddy, I
     need my family together with me, and I promise your Honor, to continue to make




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       my family proud, my community proud, and your Honor proud.



      Jonr
       With humil~ncerity,




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                                                                                                                      1
        JCJYRECS

    1   UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
    2                                                                                   x
        ------------------···-·-------------------- .. ·-----------------------

    3   UNITED STATES OF AMERICA,

                                    v.                                                      16 CR 389    (AKH)
    4

    5   JONA RECHNITZ,

    6                                          Defendant.
                                                                                            Sentence
    7                                                                                   x
        ······---------- .. ··-- --------·--··-·····--·--------------.----···········

    8                                                                                       New York, N.Y.
                                                                                            December 20, 2019
    9                                                                                       10:15 a.m.


   10   Before:

   11
                                                         HON. ALVIN K. HELLERSTEIN,
   12
                                                                                            District Judge
   13
                                                                            APPEARANCES
   14
        GEOFFREY S. BERMAN
   15        United States Attorney for the
             Southern District of New York
   16   BY:  MARTIN S. BELL
             JESSICA LONERGAN
   17        KIMBERLY RAVENER
             LAURA POMERANTZ
   18        Assistant United States Attorneys

   19   COOLEY LLP
             Attorneys for Defendant
   20   BY:  ALAN LEVINE

   21
        Also Present:
   22   Andrew Hamilton, Government Paralegal Specialist
        Marc Klausner,                        NYPD

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   23   Joseph Downs, FBI

   24

   25




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    1   and, Judge, appearing before judges of this court,             including

    2   yourself, we either gain or          lose credibility.    My hope is that

    3   I personally have kept faith with not just a certain caliber                of

    4   advocacy but also with the truth and with the way things               really

    5   are.

    6              To the extent that I have amassed that credibility

    7   over a period of time,        I am laying it entirely on not only the

    8   quality of Mr. Rechnitz's cooperation but the value of what

    9   that means to the mechanism of justice working with respect                to

   10   future cooperators.

   11              THE COURT:       I have your point, Mr. Bell.

   12              MR. BELL:       Thank you, Judge.

   13              THE COURT:       ~r.   Levine.

   14              MR.   LEVINE:     Your Honor,    I think it might be helpful

   15   if the Court hears from Mr. Rechnitz first.

   16              THE COURT:       Sure.

   17              Mr. Rechnitz.

   18              THE   DEFENDAN~:       Your Honor,   I stand before your Honor

   19   and this court with respect for the law, tremendous remorse                for

   20   my actions and behavior, and with great humility.

  21               Growing up, my parents raised me in a very loving

   22   environment --


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   23              THE COURT:     Don't worry about the microphone,

   24   Mr.   Rechnitz.    Speak to me.   I'll hear you.

   25              THE DEFENDANT:     Growing up, my parents raised me in a




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    1   very loving environment.

                   THE COURT:     That's okay, Mr. Levine.   I can hear him.
    2


    3              Go ahead.

    4              THE DEFENDANT:     Growing up, my parents raised me in a

    5   very loving environment with an emphasis on religion and        doing

    6   the right thing.       Here I am.   I did not start off this way, and

    7   I was raised differently.

    8              I have let down my family, my parents, my in-laws,      my

    9   wife, my children, friends, and my community in a big way.          I

   10   made very poor choices, and many people have suffered       because

  11    of them.    I didn't always appreciate the fact that I had the

   12   blessing to have six beautiful children in my home and a

   13   beautiful wife.

   14              When you get into trouble, you realize the     blessings

        of life and what's important.       I took my blessings for granted.
   15

   16   I've been a real fraud to God, a fraud to my wife and family,           a

   17   fraud as an American, a fraud as a businessman, and a fraud        to

   18   the people of New York, namely, the hard-working COBA members,

   19   and I'm truly sorry for that.       My actions have hurt many

        people, and I'm very sorry for that.        I continue to pay for my
   20

   21   mistakes on a daily basis.

  22               While testifying before your Honor during the     Norman


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   23   Seabrook trial, a tape was played for        the jury.   It had

   24   recorded a conversation where I was going to attend an          Mincha

   25   prayer service as a Shiva.        Your Honor asked me to explain what




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    1   Shiva and Mincha were for    the jury.   In fact,   your Honor


    2   explained it much better than I did afterwards.

    3               At that moment is when it really hit me what a

        hypocrite I've been.     It was that exact moment.       Here I am
    4

    5   going to pray to God and visiting a mourner to comfort         them,

        and then I turn around and commit these crimes       and sins.       It is
    6

    7   not the way I was raised and not the way I was educated.


    8               While living in New York City,   I wrongly felt    pressure


    9   to become a bigshot.     I was working for one of the largest real


   10   estate companies in 2007, and it got to my head.


   11               I was in my late 20's, and big people in the real

        estate industry were dealing with me.        My ego was big, and I so
   12

   13   badly wanted to impress these people in order to advance         my


   14   career and profile.     This is where things started to spiral         out


   15   of control.     This is where I went so off the rails for a       number


   16   of years.

   17               I assure your Honor that these past years and the

        experience I've gone through has    changed me.     I will never act
   18

   19   that way again.     My family and I have been through too much.


   20               I have been forced to self-reflect, and I have

   21   identified many of my flaws in order to grow from my         mistakes.

   22   I apologize for my criminal and immoral behavior for trying            to


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   23   bribe my way through these years of my life.

   24             I left the moral way of going about business and my

   25   religious beliefs.     I bestowed gifts upon police officers in




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    1   exchange for favors in return.      I raised and contributed large

    2   sums of money for the mayor of New York City and his projects

    3   in the hope of obtaining benefit in return.

    4               I introduced Norman Seabrook and Murray Huberfeld to

    5   each other for the purposes of COBA to invest funds into

    6   Murrey's fund,   Platinum Partners, so that they could both

    7   mutually financially benefit from one another and to elevate           my

    8   status with them.

    9               I knowingly delivered a $60,000 kickback payment      to

        Norman Seabrook from Murray Huberfeld.      This corrupt bargain is
   10

   11   something that continues to haunt me.      I have struggled with

   12   how it is I let my life go astray this way and how I took leave

   13   of my adherence of the law and spirituality.

                    I've been a big hypocrite to my religion.      I failed to
   14

   15   conduct myself properly between myself and my fellow man        and

        between myself and my relationship with God.       I have strayed.
   16

   17               I did all of these horrible things without worrying

   18   about God or the consequences that come with this sort of

   19   behavior.     I cannot express to your Honor how ashamed I am for

   20   desecrating my religion.

   21               I have and will continue to repent to God every single

        day.   I have and continued to make amends.      Part of my efforts
   22

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   23    to make right included cooperating as a    first step.    I have a

   24   lot more work to do.

   25             I did the best I could for the government and told the




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    1   truth about myself, and I realize that I will have to make

    2   financially right those that I hurt.

    3              Please allow me just a few more minutes to discuss       the

        cooperation.    I hired Mr. Levine in 2016,   May 2016.   When I
    4

    5   realized that there was an investigation heating up,      I knew I

    6   had not told the truth to the New York City police officers and

   7    Internal Affairs Bureau a few months earlier.

   8               Right away, based on my initial conversations with

    9   Mr. Levine and Ms. Laura Birger, I authorized them to meet         with

  10    the assistant U.S. attorneys and begin the process of making a

  11    proffer, agreeing to plead guilty and signing a      cooperation

  12    agreement.

  13               I understood from those initial meetings with both my

  14    lawyers and the government, if I was going to cooperate with

  15    the government, I needed to be 100 percent truthful.

  16               I have been completely forthcoming in all my meetings

  17    and on the witness stand throughout three separate trials.

  18    There is not any question that I was asked that I did not

  19    answer truthfully, and there are many events and conduct that         I

  20    told the government that they did not know.

  21               Included in my early proffer sessions with the

        government -- this was in the spring of 2016.      I gave the
  22


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   23   government information about two different hard-lending

   24   businesses that I was involved in.

   25             One turned into a criminal case in which Peralta was




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    1   charged with a Ponzi scheme, and the second one also turned

    2   into a criminal case charging Nissen with the same        scheme.


    3              At the time, I was unaware these were both Ponzi

    4   schemes and, as a result, personally lost money for myself          and


    5   others.    Since then, I am more cautious and conservative in my


    6   business dealings.

    7              My financial dealings with both were a mess with         lots

    8   of transactions, paying and receiving, some on my own behalf

    9   and some on behalf of third parties,    including cash

   10   transactions.

   11              I was simply unable to sort all those transactions

   12   out, and I have yet to file a 2015 tax return.          I told my

   13   lawyers and the government about that at the time        immediately.


   14              After speaking with my accountant during 2016,       I

   15   realized I cannot file my 2015 tax returns accurately because              I

   16   did not have a handle on all the transactions, and I can't

   17   provide my accountant with complete information.

   18              The situation got more complex in 2017 for 2016

        because criminal charges were filed.     I was scheduled to
   19

   20   testify in one of the trials, and there was no way to sort out

   21   the transactions.

   22              As I testified in all three trials,   I have yet to       file


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   23   the returns for these years up through 2018.          I was sued in the

   24   Peralta bankruptcy and settled paying over $350,000 to         the

   25   state.




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        JCJYRECS                                                                70

    l               I have been sued in the Nissen bankruptcy, but       that

    2   has not moved forward yet, and I do not know what my exposure


    3   will be at that bankruptcy.     I understand my obligation to

    4   resolve that bankruptcy and have filed tax returns for          those


    5   years.     And I also understand the additional problems I       have

    6   created in my inability to file those returns, including          the

    7   financial consequences they will cause.

    8               This is one of several jobs that I have in the       coming

    9   months as I continue to sort out my life in a lawful path.

   10   In fact,    I will spend the rest of my life trying to make       amends

   11   for my criminal behavior.

   12               I will try to make a better name for my family,       for my


   13   religion, and for myself.     I am on the path to recovery,


   14   your Honor.     I am a better family man; I am a better friend;         I


   15   am a more religious person.     I am working again to make an


   16   honest living.

   17               Please allow me to continuing on this course

        undisrupted in order to provide for my     large family.        I really
   18

   19   want to do good, please.     I failed myself in a number of ways.

   20   I am humbly asking your Honor to stop the bleeding,        to   continue

   21   in this new business I've started in order to provide for my

   22   family and to enable me to take care of my financial


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   23   responsibilities.

   24             THE COURT:    What is the new business?     Jadelle?

   25             THE DEFENDANT:    Jadelle, yes.   I really paid a hefty




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        price for cooperating with the government for     my crimes.     Most
    1

    2   recently, the New York Post put up an article that was

    3   mentioned this morning      your Honor may not be aware --

    4   accusing me of hobnobbing and flirting with the rich and        famous

    5   at a time when I claim I am a pariah to society.

    6              In fact, Jadelle Jewelery hosted a jewelery show to

        promote the brand and new   jewelry collection.    The event was to
    7


    8   make sales and increase business.     One attendee was a Kim

    9   Kardashian, a client of Jadelle.

   10              If one were to read the article, I am portrayed as a

   11   hobnobber with no concern in the world, no remorse      whatsoever,

   12   and like a party animal.    I urge your Honor to watch the video

   13   that was attached to the article online, and your Honor will

   14   see a very different picture.

   15              Your Honor w~ll see me dressed in a suit and a tie

   16   trying to sell jewelry, no partying, no hobnobbing, just a        man

   17   trying to make an honest living.

   18              I am not here to complain about my suffering in the

   19   past few years, but I can promise your Honor I have been

   20   punished in so many ways I can't begin to describe.

   21              Within my community, within the media, and through


   22   self-introspection.    In New York City, I am persona non grata.


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   23    I am to blame.    I burnt a lot of bridges and relationships and

   24   had to relocate to California.

   25             I am so truly sorry for my behavior.        I am a changed




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        JCJYRECS

                 I have had years to make      this change.     It did not happen
    1   man.

    2   overnight, your Honor.        I have had four years, close to four


    3   years,   since this ordeal started.

    4               I beg your Honor, please allow me to remain with my

    5   family, my beautiful wife and children, and allow me to

    6   continue working so that I can continue to provide for them                  and

    7   make good on my financial obligations.

                    I don't see any way to start over a        third time.         I'm
    8

    9   on my second chance.        Please allow me to continue on this            path.


   10   Thank you.

   11              THE COURT:      Mr. Levine.

                   MR.   LEVINE:    Your Honor,   I was just going to ask.           The
   12

   13   hour is late.      If the Court would want to take a recess,           I


   14   would certainly appreciate that.

   15              THE COURT:      It's very tempting.


   16              MR.   LEVINE:    If the Court wishes to proceed, I'd like


   17   to proceed.

   18               THE COURT:     Keep going, Mr.   Levine.


   19              MR.   LEVINE:    So,   your Honor, we're finally here for


        the day of Mr.     Rechnitz's sentence.      How did he get here.           And
   20

   21   I think an important question on the mind of the Court is                  has


   22   he shown remorse.


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   23             Your Honor, we've submitted a lot of letters, and       what

   24   comes out from those letters is the personality of an

   25   individual wanting and needing to help people.




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    1               THE COURT:    I've read the letters.     They depict a

    2   person who enlarges others by charity, by friendship to           others

    3   and makes other people feel better.

    4               And yet in the life that's been depicted in this


    5   court, he cheapens people.       He works on their insecurities and

    6   their quest for material possessions and just does the


    7   opposite.     He diminishes people.


    8               How can you square both?

    9               MR. LEVINE:   Your Honor, that's what I was going to


   10   say.   So this personality that has done so much good for so

  11    many people before these events, during these events, and            since

   12   these events -- it collided with his desire to be          independent,

  13    to establish himself in Manhattan, and not to take the

   14   comfortable road going back to Los Angeles.

   15               It also collided with his desire for immediate         success

        by staying in Manhattan in his      late 20's.     It introduced him to
  16

   17   a world of Jeremy Reichberg.       And he realized in that world

   18   that with his money, he could do good for police officials            and

   19   others, to have them at his beck and call for his community and

   20   for himself.

  21                What he perceived, incorrectly, would be a       win/win,


  22    and it turned into a bad/bad.       He never should have offered


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    1                                   CERTIFICATE OF SERVICE
    2           I declare that I am a citizen of the United States and I am a resident and employed in
        Los Angeles, California; that my business address is 4929 Wilshire Boulevard, Suite 940,
    3   Los Angeles CA 90010; that I am over the age of 18 and not a party to the above-entitled
        action.
    4
                I am employed by a member of the United States District Court for the Central
    5   District of California, and at whose direction I caused service of the foregoing document
        entitled AMENDED THIRD-PARTY COMPLAINT FOR: INTENTIONAL
    6   MISREPRESENTATION & FRAUD; CIVIL THEFT (PENAL CODE, § 496);
        EMBEZZLEMENT; CIVIL CONSPIRACY TO COMMIT THEFT, FRAUD, AND
    7   FRAUD BY CONCEALMENT; CONVERSION; BREACH OF CONTRACT;
        BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
    8   DEALING; ACCOUNT STATED; & UNETHICAL BUSINESS PRACTICES IN
        VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS CODE § 17200 on
    9   all interested parties in this action by the method indicated below at the address stated
        below:
   10

   11    Anthony R Bisconti, Esq.                         Steven Jay Katzman, Esq.
         Bienert Katzman PC                               Bienert Katzman PC
   12    601 West 5th Street Suite 720                    601 West 5th Street Suite 720
         Los Angeles, CA 90071                            Los Angeles, CA 90071
   13    Email: tbisconti@bienertkatzman.com              Email: skatzman@bienertkatzman.com
         Attorney for Plaintiff David Rovinsky LLC        Attorney for Plaintiff David Rovinsky LLC
   14    Jason A. Levine, Esq.                            Andrew E. Erdlen, Esq.
         Hangley Aronchick Segal                          Hangley Aronchick Segal
   15    Pudlin & Schiller                                Pudlin & Schiller
         One Logan Square, 27th Floor                     One Logan Square, 27th Floor
   16    Philadelphia, PA 19103                           Philadelphia, PA 19103
         Email: jlevine@hangley.com                       Email: aerdlen@hangley.com
   17    Attorney for Plaintiff David Rovinsky LLC        Attorney for Plaintiff David Rovinsky LLC
   18    Marc S. Williams, Esq.
         Cohen Williams, LLP
   19    724 South Spring Street, 9th Floor
         Los Angeles, CA 90014
   20    Email: mwilliams@cohen-williams.com
         Attorney for Jona & Rachel Rechnitz
   21
        [X]       BY ELECTRONIC TRANSMISSION: by electronically filing the foregoing with
   22             the Clerk of the District Court using its CM/ECF System pursuant to the Electronic
                  Case Filing provision of the United States District Court General Order and the E-
   23             Government Act of 2002, which electronically notifies all parties in this case. A pdf
                  version of this document was also transmitted to counsel via electronic mail at the
   24             email address indicated above.
   25           I declare under penalty of perjury under the laws of the United States of America
        that the foregoing is true and correct. Executed on April 24, 2020 at Los Angeles,
   26   California.
   27   By: /s/ Baruch C. Cohen
           Baruch C. Cohen
   28

        4/24-1:56pm
                                                       -42-

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                                                                      2 SulmeyerKupetz
                                                                          A Professional Corporation
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SulmeyerKupetz, A




                                                                     15
                                                                        Attorneys for Peter Marco, LLC and First International Diamond, Inc.
                                                                     16
                                                                                                 UNITED STATES BANKRUPTCY COURT
                                                                     17
                                                                                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                                     18

                                                                     19 In re                                           Case No. 2:20-bk-13530-BR
                                                                     20 JADELLE JEWELRY AND DIAMONDS,                   Chapter 7
                                                                        LLC,
                                                                     21                                                 DECLARATION OF OVED ANTER IN
                                                                                                                        SUPPORT OF PETITIONING
                                                                     22                                                 CREDITORS’ MOTION FOR
                                                                                          Alleged Debtor.               APPOINTMENT OF INTERIM CHAPTER
                                                                     23                                                 7 TRUSTEE
                                                                     24                                                 DATE:       June 9, 2020
                                                                                                                        TIME:       10:00 a.m.
                                                                     25                                                 PLACE:      Courtroom “1668”
                                                                     26

                                                                     27
                                                                     28


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                                                                      1
                                                                        VICTOR FRANCO NOVAL; PETER
                                                                      2 MARCO, LLC; and FIRST
                                                                        INTERNATIONAL DIAMOND, INC.,
                                                                      3
                                                                                  Petitioning Creditors,
                                                                      4
                                                                             vs.
                                                                      5
                                                                        JADELLE JEWELRY AND DIAMONDS,
                                                                      6 LLC,
                                                                      7                   Alleged Debtor.
                                                                      8

                                                                      9

                                                                     10                   I, Oved Anter, declare and state as follows:
                                                                     11                   1.    I am an individual over the age of eighteen and am the principal
  Professional Corporation
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                             LOS ANGELES, CALIFORNIA 90071-1406
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                                                                     12 owner and President of First International Diamond, Inc. (“First International”), which is a

                                                                     13 creditor of Jadelle Jewelry and Diamonds, LLC (the “Debtor” or “Jadelle”). Except as

                                                                     14 otherwise indicated, all statements contained in this Declaration are based upon my
                                                                     15 personal knowledge and my review of relevant financial documents. If I were called to
SulmeyerKupetz, A




                                                                     16 testify as a witness in this matter, I could and would competently testify to each of the

                                                                     17 facts set forth herein based upon my personal knowledge or review of documents.

                                                                     18                   2.    I make this Declaration in support of the “Notice of Motion and
                                                                     19 Petitioning Creditors’ Motion for Appointment of Interim Chapter 7 Trustee; Memorandum
                                                                     20 of Points and Authorities in Support Thereof” (the “Motion”), filed concurrently herewith.

                                                                     21                   3.    In the past, First International consigned large amounts of jewelry
                                                                     22 and diamonds to Jadelle and its controlling principal and insider Jona Rechnitz (“Jona”
                                                                     23 and together with his wife Rachel Rechnitz (“Rachel”), the “Rechnitz’s”). In an attempt to
                                                                     24 protect First International’s right to the consigned jewelry, on March 6, 2019, First

                                                                     25 International recorded a UCC-1 Financing Statement (the “UCC-1”) against Jadelle, by
                                                                     26 recording the UCC-1 with the California Secretary of State. The UCC-1 was recorded as

                                                                     27 Instrument No. 77246760002, Filing No. 19-7700745484. The UCC-1 was expressly
                                                                     28


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                                                                      1 between Jadelle and First International. A true and correct copy of the March 6, 2019,
                                                                      2 UCC-1 is attached hereto as Exhibit “A” and incorporated herein by reference.

                                                                      3                   4.    On December 13, 2019, and again on December 30, 2019, after
                                                                      4 Jona was sentenced in New York in his criminal action, First International consigned 7

                                                                      5 pieces of jewelry worth $2,826,890 to Jadelle for resale to Jadelle’s clients. At the time, I
                                                                      6 had no reason to believe that the $2,826,890 consignments with Jadelle would be in
                                                                      7 jeopardy, primarily because of our prior relationship and our prior transactions. True and
                                                                      8 correct copies of the Consignment Memos documenting the separate consignment

                                                                      9 transactions between First International and Jadelle totaling $2,826,890 are attached

                                                                     10 hereto as Exhibit “B” and incorporated herein by reference.

                                                                     11                   5.    Prior to December 13, 2019, and December 30, 2019, and
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                                                                     12 continuing thereafter, Jona, on behalf of Jadelle, repeatedly indicated to me that he had a

                                                                     13 buyer and sold two pieces of First International’s consigned Jewelry, specifically, the 13

                                                                     14 62 PS D-VVS1 GIA, Harry Winston Mt/tr (with a cost value of $1,200,000), and the
                                                                     15 Reverse Diamond Earrings 1.20 ct (the DIAM RD E IF 11923922166) (with a cost value
SulmeyerKupetz, A




                                                                     16 of $907,715), and was awaiting receipt of payment from Jadelle’s “client,” and the rest of

                                                                     17 the jewelry remained in Jadelle’s possession on consignment.

                                                                     18                   6.    On January 2, 2020, at 11:52:42, Jona, on behalf of Jadelle, texted

                                                                     19 me, confirming that he would not release First International’s merchandise to Jadelle's
                                                                     20 buyer until First International was first paid. The text exchange between me and Jona

                                                                     21 read as follows:

                                                                     22                   Jona Rechnitz: Please confirm the following agreement: 1)
                                                                     23                   you’re my lunch date every Friday. That’s the day we review
                                                                     24                   the goods on hand every week and settle up bills. 2) I am

                                                                     25                   authorized to ship the 3 emerald cut rings and Ascher
                                                                     26                   bracelet to Loren ridinger my client in miami. Anything she

                                                                     27                   buys will be paid next Friday anything she doesn’t buy is
                                                                     28                   back in my office next week. 3) the Harry Winston 13ct and


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                                                                      1                   1 Oct eif are both in my possession and I'm busy with the
                                                                      2                   stones through next Wednesday. Next Wednesday they will

                                                                      3                   be returned wherever you instruct me. If they are sold I will
                                                                      4                   collect payment before releasing them and pay you first. 4) I

                                                                      5                   will see your stupid movie next week with YOU. 5) this is our
                                                                      6                   understanding that we will both stick to and I look forward to
                                                                      7                   doing good healthy business together this year.
                                                                      8                   Oved Anter: Deal.

                                                                      9                   Jona Rechnitz: Deal and we are never discussing this type

                                                                     10                   of stuff ever again won’t need to and won’t. [Emphasis

                                                                     11                   Added].
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                                                                     12                   7.     Notwithstanding Jona’s January 2, 2020, promise, on behalf of

                                                                     13 Jadelle, not to release First International’s merchandise to Jadelle’s buyer until First

                                                                     14 International was first paid, from January 15 through January 24, 2020, Jona, on behalf of
                                                                     15 Jadelle, texted me that he gave the consigned merchandise away. He then proceeded to
SulmeyerKupetz, A




                                                                     16 lull me with stories about his mother’s illness and how Jadelle still intended to pay me.

                                                                     17 The following text exchanges between me and Jona reveal how Jona was stalling in

                                                                     18 order to buy time to continue his and Jadelle’s illicit and fraudulent activities:

                                                                     19                   [1/15/20, 02:53:03] Oved Anter: All good, you ?
                                                                     20                   [1/15/20, 08:11:47] Jona Rechnitz: 70%. Hoping wire hits

                                                                     21                   today of it was sent Sunday afternoon should arrive this

                                                                     22                   afternoon I think. Bank said can take up to 3-5 days.
                                                                     23                   [1/15/20, 08:16:33] Oved Anter: Never heard 3 to 5 days for
                                                                     24                   a wire from Absolutely nonsense.

                                                                     25                   [1/15/20, 08:16:43] Oved Anter: Wire is a press of a button.
                                                                     26                   [1/15/20,08:17:22] Oved Anter: Please call me when you’re

                                                                     27                   able to, hope you’re feeling better.
                                                                     28


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                                                                      1                   [1/15/20, 08:17:37] Jona Rechnitz: It should hit today I think
                                                                      2                   let's see.

                                                                      3                   [1/15/20, 08:21:22] Oved Anter: Please call Biton if you don't
                                                                      4                   mind.

                                                                      5                   [1/15/20, 08:21:29] Oved Anter: By 10.
                                                                      6                   [1/15/20, 08:21:36] Oved Anter: How do you feel
                                                                      7                   [1/15/20,08:22:54] Jona Rechnitz: Not great will call now.
                                                                      8                   [1/15/20,08:40:03] Oved Anter: Gm, I need huge favor my

                                                                      9                   daughter SHIRA needs a live in, Hers is leaving in a few

                                                                     10                   days going back to her country, please help if you know any.

                                                                     11                   [1/15/20, 08:41:42] Jona Rechnitz: Ok.
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                                                                     12                   [1/15/20, 12:34:39] Oved Anter: FYI spoke to Helen Dayan

                                                                     13                   to double Check myself, wire from Israel comes in the next

                                                                     14                   day, please let me know what’s going on.
                                                                     15                   [1/15/20, 12:59:08] Jona Rechnitz: I am sure it will hit
SulmeyerKupetz, A




                                                                     16                   tomorrow.

                                                                     17                   [1/15/20, 15:47:55] Oved Anter: Did you ship the Emeralds

                                                                     18                   back.

                                                                     19                   [1/15/20,15:49:29] Jona Rechnitz: Yes.
                                                                     20                   [1/15/20,15:50:03] Oved Anter: Thanks, did she keep

                                                                     21                   everything.

                                                                     22                   [1/15/20, 18:49:03] Oved Anter: Call me.
                                                                     23                   [1/15/20, 19:07:31] Jona Rechnitz: Missed voice call.
                                                                     24                   [1/15/20, 19:07:50] Jona Rechnitz: Missed voice call.

                                                                     25                   [1/15/20, 19:07:58] Jona Rechnitz: Tried you back.
                                                                     26                   [1/15/20, 19:08:02] Jona Rechnitz: School event.

                                                                     27                   [1/15/20,19:08:07] Jona Rechnitz: Talk tomorrow am.
                                                                     28                   [1/15/20, 19:14:34] Oved Anter: Ok.


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                                                                      1                   [1/15/20, 19:17:38] Jona Rechnitz: Around 10 or earlier.
                                                                      2                   [1/15/20, 19:21:53] Oved Anter: Sorry was on the other line,

                                                                      3                   will speak am, I really need to have you wire am so I can
                                                                      4                   take care of certain obligations.

                                                                      5                   [1/15/20, 19:23:39] Jona Rechnitz: If wire hits as it should
                                                                      6                   you’ll get it.
                                                                      7                   [1/15/20, 19:24:19] Jona Rechnitz: If it doesn’t we will call
                                                                      8                   them and see what’ s going on but I believe it will hit - ever

                                                                      9                   since my sentencing my bank has been very slow ok

                                                                     10                   international wires.

                                                                     11                   [1/15/20, 19:24:24] Jona Rechnitz: Happened last week too.
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                                                                     12                   [1/15/20, 19:25:02] Oved Anter: There is no if you were not

                                                                     13                   supposed to let go of merchandise until we get paid.

                                                                     14                   [1/15/20, 19:25:52] Jona Rechnitz: What.
                                                                     15                   [1/15/20, 19:26:19] Jona Rechnitz: I closed deal told you
SulmeyerKupetz, A




                                                                     16                   Mazal asked for invoices and finalized deal with you.

                                                                     17                   [1/15/20, 19:26:29] Jona Rechnitz: I gave them the stones.

                                                                     18                   [1/15/20, 19:26:36] Jona Rechnitz: These are people I know

                                                                     19                   very well.
                                                                     20                   [1/15/20, 19:26:39] Jona Rechnitz: I guarantee it.

                                                                     21                   [1/15/20, 19:26:58] Oved Anter: Yeah but we have an

                                                                     22                   agreement that you don’t release Merch until we get Paid.
                                                                     23                   [1/15/20,19:27:08] Oved Anter: I appreciate it guarantees
                                                                     24                   will you be able to cough up the money.

                                                                     25                   [1/15/20,19:27:13] Jona Rechnitz: Yes.
                                                                     26                   [1/15/20, 19:28:09] Oved Anter: Ok because I really need to

                                                                     27                   get paid tomorrow.
                                                                     28


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                                                                      1                   [1/15/20,19:28:36] Jona Rechnitz: 1) wire comes in you get
                                                                      2                   paid 2) I get the stones back if issue 3) I pay you don’t get

                                                                      3                   stiffed. Only 3 options, I don’t foresee any issue. I have sold
                                                                      4                   them before. Never had any problem whatsoever. And after

                                                                      5                   they pay they need the certificates and I also need invoices
                                                                      6                   reflective of our prices we agreed upon.
                                                                      7                   [1/15/20, 19:28:58] Jona Rechnitz: If they pay me tomorrow
                                                                      8                   it is not able to wire until next day you know that. Pending

                                                                      9                   and not useable until overnight.

                                                                     10                   [1/15/20, 19:29:03] Jona Rechnitz: I want to be very clear.

                                                                     11                   [1/15/20, 19:29:13] Jona Rechnitz: I can give a check if their
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                                                                     12                   Wire arrives.

                                                                     13                   [1/15/20, 19:30:18] Oved Anter: What happens if the wire

                                                                     14                   does not arrive.
                                                                     15                   [1/15/20, 19:30:45] Oved Anter: If it’s not in your account
SulmeyerKupetz, A




                                                                     16                   tomorrow that means it was not sent.

                                                                     17                   [1/15/20, 19:31:00] Oved Anter: It was sent on Sunday as

                                                                     18                   you said the latest would have been in your account on

                                                                     19                   Tuesday.
                                                                     20                   [1/15/20, 19:31:06] Oved Anter: Anyway we will talk

                                                                     21                   tomorrow.

                                                                     22                   [1/15/20, 19:31:46] Jona Rechnitz: Ok done guessing. It’s
                                                                     23                   eating me alive. They told me they sent it. International
                                                                     24                   wired take few days always for me. Sometimes 5 days.

                                                                     25                   Check it out yourself. Wells Fargo.
                                                                     26                   [1/15/20, 19:32:03] Oved Anter: Does not.

                                                                     27                   [1/15/20, 19:32:30] Jona Rechnitz: I’m not arguing.
                                                                     28                   [1/15/20, 19:32:57] Jona Rechnitz: It’s been 3 days.


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                                                                      1                   [1/15/20, 19:33:08] Jona Rechnitz: I expect and hope it
                                                                      2                   comes tomorrow.

                                                                      3                   [1/15/20, 19:33:11] Jona Rechnitz: That’s all.
                                                                      4                   [1/15/20, 19:34:08] Jona Rechnitz: If you need me to undo

                                                                      5                   this deal tell me I can’t deal with the pressure every time I
                                                                      6                   sell something. Or Let’s just see what happens tomorrow.
                                                                      7                   [1/16/20, 09:28:57] Jona Rechnitz: Sent bank the swift they
                                                                      8                   see it coming in today you were right will be in touch once it

                                                                      9                   hits.

                                                                     10                   [1/16/20, 09:29:04] Jona Rechnitz: Going to shul.

                                                                     11                   [1/16/20, 09:32:50] Oved Anter: So I don’t understand what
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                                                                     12                   you’re saying they are saying that it coming in.

                                                                     13                   [1/16/20, 09:34:43] Jona Rechnitz: Yes.

                                                                     14                   [1/16/20, 09:34:48] Jona Rechnitz: They tracked it.
                                                                     15                   [1/16/20, 09:35:15] Oved Anter: Good, so you can send me
SulmeyerKupetz, A




                                                                     16                   a check before noon please.

                                                                     17                   [1/16/20, 09:35:56] Jona Rechnitz: No.

                                                                     18                   [1/16/20, 09:36:13] Jona Rechnitz: When funds hit my

                                                                     19                   account I will let you know then wire you.
                                                                     20                   [1/16/20, 09:36:21] Jona Rechnitz: I’m not writing a check

                                                                     21                   for money I don’t have yet.

                                                                     22                   [1/16/20, 09:36:40] Jona Rechnitz: And not writing a check
                                                                     23                   and being pressured like this. Money will hit then I will wire.
                                                                     24                   [1/16/20, 09:37:05] Oved Anter: OK let me know when it hits

                                                                     25                   I’d rather have a wire anyway.
                                                                     26                   [1/16/20,09:37:13] Jona Rechnitz: Ok.

                                                                     27                   [1/16/20, 10:53:48] Jona Rechnitz: I keep checking account.
                                                                     28                   Will update you.


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                                                                      1                   [1/16/20, 14:10:22] Oved Anter: I just want to confirm you
                                                                      2                   received the money and I will have it tomorrow for sure by 10

                                                                      3                   a wire to me.
                                                                      4                   [1/16/20, 14:17:09] Jona Rechnitz: I told you you’ll have it

                                                                      5                   wired tomorrow morning already.
                                                                      6                   [1/16/20, 14:19:23] Oved Anter: Ok and don’t be a bitch
                                                                      7                   please to me.
                                                                      8                   [1/17/20, 00:13:33] Jona Rechnitz: Please send me total

                                                                      9                   amounts in The morning for both payments and I need

                                                                     10                   invoices as well thx Shirin can send the invoices anytime but

                                                                     11                   please make sure I have them for my records.
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                                                                     12                   [1/17/20, 07:49:37] Oved Anter: Call me please.

                                                                     13                   [1/17/20, 08:53:35] Oved Anter: ?

                                                                     14                   [1/17/20, 09:14:36] Jona Rechnitz: Missed voice call.
                                                                     15                   [1/17/20, 09:15:21] Jona Rechnitz: Missed voice call.
SulmeyerKupetz, A




                                                                     16                   [1/17/20, 09:30:44] Oved Anter: Can shirin pick up the

                                                                     17                   check from your office at 10:30 so she can take it downtown.

                                                                     18                   [1/17/20, 09:32:00] Oved Anter: Or f he can bring to my

                                                                     19                   office by 10:30.
                                                                     20                   [1/17/20, 09:34:13] Jona Rechnitz: It will be done on next

                                                                     21                   hour or so.

                                                                     22                   [1/17/20,09:59:33] Oved Anter: ShirahS maid just quit I
                                                                     23                   need help urgent if you know anyone or can ask around.
                                                                     24                   [1/17/20, 10:17:28] Oved Anter: Are the ec back.

                                                                     25                   [1/17/20, 10:19:15] Jona Rechnitz: I’ll ask.
                                                                     26                   [1/17/20, 10:19:33] Jona Rechnitz: She’s choosing over the

                                                                     27                   weekend and sending for Monday.
                                                                     28                   [1/17/20,10:19:36] Jona Rechnitz: She’s taking 1.


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                                                                      1                   [1/17/20, 10:20:07] Oved Anter: I thought you said she Past
                                                                      2                   I need the one that she doesn’t want for sure right away

                                                                      3                   please.
                                                                      4                   [1/17/20, 10:20:33] Oved Anter: That’s ridiculous.

                                                                      5                   [1/17/20, 10:24:22] Jona Rechnitz: I can never please you.
                                                                      6                   It's not ever enough. I can’t deal this way. I didn’t tell you in
                                                                      7                   with my. Other don’t say a word paramedics were here. So
                                                                      8                   I’m not in the mood. My siblings don’t know. She had blood

                                                                      9                   clot. Please.

                                                                     10                   [1/17/20, 10:24:36] Jona Rechnitz: This message was

                                                                     11                   deleted.
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                                                                     12                   [1/17/20, 10:25:20] Oved Anter: I explained to the urgency

                                                                     13                   why I need the money in my account today and you said you

                                                                     14                   were in the morning, you’re not doing it, I need check
                                                                     15                   immediately so I can send somebody downtown so they can
SulmeyerKupetz, A




                                                                     16                   clear it for me as soon as possible, I’m sorry about this but

                                                                     17                   that does not stop you guys from signing a check.

                                                                     18                   [1/17/20, 10:25:50] Jona Rechnitz: What are you talking

                                                                     19                   about!!!!!!!
                                                                     20                   [1/17/20, 10:25:53] Oved Anter: You told me you gave him

                                                                     21                   instructions yesterday.

                                                                     22                   [1/17/20, 10:25:54] Jona Rechnitz: I said it’s on way to you.
                                                                     23                   [1/17/20, 10:25:58] Jona Rechnitz: Stop it oved.
                                                                     24                   [1/17/20, 10:26:04] Jona Rechnitz: This is ridiculous!!!!!!

                                                                     25                   [1/17/20, 10:37:41] Jona Rechnitz: Watch the video of my
                                                                     26                   mother! Don’t tell anyone. Checks are on the way to you.

                                                                     27                   We will talk before shabbos if everything is ok on my end -
                                                                     28


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                                                                      1                   Oved if you really love me like I think you Then read our
                                                                      2                   texts again and you will understand how I feel.

                                                                      3                   [1/17/20, 10:38:11] Oved Anter: What video.
                                                                      4                   [1/17/20, 10:38:27] Jona Rechnitz: My mother I sent you !!

                                                                      5                   [1/17/20, 10:38:40] Oved Anter: I didn’t realize it’s your
                                                                      6                   mom.
                                                                      7                   [1/17/20, 10:38:40] Jona Rechnitz: I texted you dealing with
                                                                      8                   emergency with paramedics and my mother blood clot.

                                                                      9                   [1/17/20, 10:38:58] Oved Anter: You already use that

                                                                     10                   excuse a few days ago with somebody else.

                                                                     11                   [1/17/20, 10:39:03] Jona Rechnitz: Yes yesterday.
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                                                                     12                   [1/17/20, 10:39:09] Jona Rechnitz: It happened.

                                                                     13                   [1/17/20, 10:39:12] Jona Rechnitz: I’m woth her.

                                                                     14                   [1/17/20,10:39:17] Jona Rechnitz: R u serious??????
                                                                     15                   [1/17/20,10:39:55] Jona Rechnitz: You’re not embarrassed
SulmeyerKupetz, A




                                                                     16                   right now. I’m with her now I can’t believe you.

                                                                     17                   [1/17/20, 10:40:02] Jona Rechnitz: I don’t need any

                                                                     18                   excuses.

                                                                     19                   [1/17/20, 10:40:07] Jona Rechnitz: I sent your checks!!!!!
                                                                     20                   [1/17/20,10:40:18] Jona Rechnitz: Why are you pressuring

                                                                     21                   me like this it’s ridiculous.

                                                                     22                   [1/17/20, 10:42:18] Oved Anter: I explained it to you last
                                                                     23                   night and you’re putting me in an extremely bad predicament
                                                                     24                   if the monies not there on Monday.

                                                                     25                   [1/17/20, 10:42:18] Oved Anter: And I thought you
                                                                     26                   understood that’s why I was happy you wiring me before 10

                                                                     27                   o'clock today as you said before.
                                                                     28


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                                                                      1                   [1/17/20, 10:42:18] Oved Anter: And now I’m not sure it’s
                                                                      2                   going to be cleared on time.

                                                                      3                   [1/17/20, 10:44:10] Jona Rechnitz: I told you that checks on
                                                                      4                   way to you momentarily. This is extremely unpleasant. I'm

                                                                      5                   don’t texting you now. Everything is my fault. Shabbat
                                                                      6                   Shalom.
                                                                      7                   [1/20/20, 05:48:53] Oved Anter: Gm , please make sure I
                                                                      8                   will get the ec rings latest tomorrow.

                                                                      9                   [1/20/20, 09:28:39] Oved Anter: Let me know if you got the

                                                                     10                   message, and call meet and talk today please.

                                                                     11                   [1/20/20, 10:10:22] Jona Rechnitz: Message Received. Not
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                                                                     12                   working today with family kids off from school.

                                                                     13                   [1/20/20, 10:11:58] Oved Anter: Ok thank you.

                                                                     14                   [1/20/20, 10:17:50] Oved Anter: Please make sure the ec
                                                                     15                   are here tomorrow please.
SulmeyerKupetz, A




                                                                     16                   [1/20/20, 10:21:42] Jona Rechnitz: Ok.

                                                                     17                   [1/20/20, 22:13:30] Jona Rechnitz: Good night. Sorry for my

                                                                     18                   sensitivity and attitude lately. I’ve been going through a lot

                                                                     19                   personally and in my family. You know I feel very close to
                                                                     20                   you. Good night.

                                                                     21                   [1/21/20, 13:39:07] Oved Anter: Call me.

                                                                     22                   [1/21/20, 14:49:23] Oved Anter: I need the ec.
                                                                     23                   [1/21/20, 14:51:08] Jona Rechnitz: Tomorrow you’ll have it.
                                                                     24                   So sorry.

                                                                     25                   [1/21/20, 14:55:16] Oved Anter: Ok thank you.
                                                                     26                   [1/22/20, 11:28:32] Oved Anter: Before I go nuts please

                                                                     27                   send me now whatever leftovers you have with you, but now.
                                                                     28                   [1/22/20, 11:28:52] Oved Anter: Whatever amount it is.


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                                                                      1                   [1/22/20,11:31:46] Jona Rechnitz: Ok.
                                                                      2                   [1/22/20, 11:37:17] Jona Rechnitz: Oved please give me

                                                                      3                   until tomorrow to get your items back and returned safely.
                                                                      4                   Please I beg you keep this between us and give me until

                                                                      5                   tomorrow.
                                                                      6                   [1/22/20, 11:37:56] Jona Rechnitz: I’m working with my
                                                                      7                   family now to get it please bottom of my heart.
                                                                      8                   [1/22/20, 11:38:15] Oved Anter: Send what you have now, I

                                                                      9                   will hold off till tomorrow and will talk about rest.

                                                                     10                   [1/22/20, 11:38:18] Jona Rechnitz: I’m not well but have big

                                                                     11                   heart for you and helped your family when o could please
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                                                                     12                   help me.

                                                                     13                   [1/22/20, 11:38:20] Jona Rechnitz: Thx.

                                                                     14                   [1/22/20, 11:38:21] Jona Rechnitz: Ok.
                                                                     15                   [1/22/20, 13:01:06] Oved Anter: You also have 5 rows
SulmeyerKupetz, A




                                                                     16                   bracelet with princess cut.

                                                                     17                   [1/22/20, 13:32:29] Oved Anter: Do you have the 18 ct fy.

                                                                     18                   [1/22/20,13:34:41] Jona Rechnitz: The yellow I returned to

                                                                     19                   you?
                                                                     20                   [1/22/20, 13:35:03] Jona Rechnitz: I never took it back.

                                                                     21                   [1/22/20, 13:42:44] Oved Anter: Sorry you’re right.

                                                                     22                   [1/22/20, 14:57:09] Jona Rechnitz: You know I really do love
                                                                     23                   you and that’s why I helped you from my heart with Andrew
                                                                     24                   and other things. I feel so close to you and I’m trying to get

                                                                     25                   this all resolved now. Just know you mean a lot to me.
                                                                     26                   [1/22/20, 14:59:26] Oved Anter: Thank you Jona and it’s

                                                                     27                   same here, stay strong for your kids and parents, try to
                                                                     28


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                                                                      1                   resolve this with help of your cousin, when the fog goes
                                                                      2                   away let’s sit down and figure out…..

                                                                      3                   [1/22/20, 15:00:16] Jona Rechnitz: Ok thx.
                                                                      4                   [1/22/20,15:04:02] Oved Anter: Are you still there.

                                                                      5                   [1/22/20, 15:07:16] Jona Rechnitz: Ya.
                                                                      6                   [1/22/20, 15:07:44] Oved Anter: Ok let me know when done
                                                                      7                   and update please.
                                                                      8                   [1/22/20, 15:08:05] Jona Rechnitz: Ok.

                                                                      9                   [1/22/20, 16:57:45] Jona Rechnitz: In a meeting.

                                                                     10                   [1/22/20, 16:58:06] Oved Anter: Ok call me when done.

                                                                     11                   [1/22/20, 21:19:59] Oved Anter: Hi, what’s new.
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                                                                     12                   [1/22/20, 21:39:52] Jona Rechnitz: Will have good news

                                                                     13                   hopefully tomorrow just finished meeting.

                                                                     14                   [1/22/20,21:41:23] Oved Anter: Ok good, really wishing you
                                                                     15                   good.
SulmeyerKupetz, A




                                                                     16                   [1/22/20, 21:43:14] Jona Rechnitz: I know thx.

                                                                     17                   [1/23/20, 08:56:56] Oved Anter: Gm, give me a call when

                                                                     18                   you have a chance please.

                                                                     19                   [1/23/20, 09:09:11] Jona Rechnitz: Please give me a few
                                                                     20                   hours everything is safe and being resolved.

                                                                     21                   [1/23/20, 09:09:27] Jona Rechnitz: I really wish you kept this

                                                                     22                   to yourself. Please continue.
                                                                     23                   [1/23/20, 09:09:46] Oved Anter: Ok np But call me because
                                                                     24                   I want to ask you a couple of questions.

                                                                     25                   [1/23/20, 10:15:36] Oved Anter: Come give me a hug and I
                                                                     26                   have to run to the doctors I’m downstairs.

                                                                     27                   [1/23/20, 19:29:51] Oved Anter: Sorry Forgot your charger
                                                                     28                   in my pocket.


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                                                                      1                   [1/23/20,19:31:01] Jona Rechnitz: Missed voice call.
                                                                      2                   [1/23/20, 19:33:05] Jona Rechnitz: Enjoy it. It’s the best.

                                                                      3                   [1/24/20, 08:37:24] Oved Anter: Call me please.
                                                                      4                   [1/24/20, 08:37:34] Jona Rechnitz: 30 min ok?

                                                                      5                   [1/24/20, 08:37:41] Oved Anter: Yes.
                                                                      6                   [1/24/20, 08:57:36] Jona Rechnitz: imma.pdf * 1 page
                                                                      7                   document omitted.
                                                                      8                   [1/24/20, 08:57:49] Jona Rechnitz: IMMA INTERNATIONAL

                                                                      9                   INVOICE.pdf * 1 page document omitted.

                                                                     10                   [1/24/20, 15:17:03] Jona Rechnitz: Shabbat Shalom thank

                                                                     11                   you.
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                                                                     12                   [1/24/20, 15:17:12] Jona Rechnitz: You’re a true friend and

                                                                     13                   a great person.

                                                                     14                   [1/24/20, 15:17:43] Oved Anter: Shabbat shalom, I think it
                                                                     15                   was on the text to text that to you.
SulmeyerKupetz, A




                                                                     16                   [1/24/20, 15:17:58] Oved Anter: Relax and enjoy Shabbat.

                                                                     17                   [1/24/20,15:18:10] Oved Anter: My finger was on the text.

                                                                     18                   [1/24/20, 15:39:24] Jona Rechnitz: You’re more than a

                                                                     19                   friend and mentsch.
                                                                     20                   [1/24/20,15:39:35] Jona Rechnitz: You may have saved my

                                                                     21                   life.

                                                                     22                   [1/24/20, 15:57:42] Oved Anter: Thank you.
                                                                     23                   [1/24/20, 15:58:12] Oved Anter: Now shut the phone.
                                                                     24                   Shabbat shalom. [Emphasis Added].

                                                                     25                   8.      In addition to the foregoing, on January 17, 2020, First International
                                                                     26 received two checks drawn on Jadelle’s Wells Fargo Bank account in the total aggregate

                                                                     27 amount of $2,122,760, specifically, (i) check no. 2200 in the amount of $922,760, and (ii)
                                                                     28 check no. 2201 in the amount of $1,200,000. Both of these checks were NSF at the time


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                                                                      1 of tender. True and correct copies of the January 17, 2020, checks are attached hereto
                                                                      2 as Exhibit “C” and incorporated herein by reference.

                                                                      3                   9.    There can be no dispute that Jona’s representations to me and First
                                                                      4 International were false, in that, instead of reselling First International’s two pieces of

                                                                      5 consigned jewelry and repaying First International, and returning the balance of the
                                                                      6 consigned jewelry held by Jadelle, Jona and Jadelle absconded with all of First
                                                                      7 International’s consigned jewelry, either pawning them off, retaining the proceeds of
                                                                      8 sales, or using the jewelry as collateral for business or personal loans to various

                                                                      9 questionable sources. Simply stated, First International has not received a single dollar

                                                                     10 of the $2,826,890 in consigned jewelry. Nor has First International received the

                                                                     11 consigned jewelry back from Jadelle. Jona and Jadelle either liquidated or fraudulently
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                                                                     12 transferred First International’s consigned jewelry for their own benefit.

                                                                     13                   10.   I have since learned that, during the time Jona and Jadelle were

                                                                     14 defrauding me and First International, Jona and Jadelle were defrauding other diamond
                                                                     15 dealers and insurance companies in Southern California, including, but not limited to,
SulmeyerKupetz, A




                                                                     16 Sotheby’s, Peter Marco, Leon Landver, Ben Adhoot, Yehuda Gamzo, Moti Klein, and

                                                                     17 Julius Klein. I have been advised that the amount of losses to these various parties is

                                                                     18 alleged to be over $15,000,000.

                                                                     19                   11.   During this entire time, Jona, on behalf of Jadelle, repeatedly lied to
                                                                     20 me that the deals with his clients were consummated. Jona and Jadelle lulled me into a

                                                                     21 false sense of security, and attempted to fabricate one excuse after another to delay

                                                                     22 paying First International or returning the consigned jewelry as part of their effort to hide
                                                                     23 the truth from me through stonewalling and lies. Repeated demands have been made to
                                                                     24 Jona and Jadelle to return First International’s consigned jewelry, but to no avail.

                                                                     25 Instead, Jona and Jadelle took numerous steps to pacify me in order to buy more time,
                                                                     26 and to keep this matter secret via phone calls and WhatsApp texts.

                                                                     27                   12.   Emblematic of Jona’s deceit, on February 4, 2020, at 9:40, Jona,
                                                                     28 again on behalf of Jadelle, falsely enlisted attorneys to pretend a bailout was coming from


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                                                                      1 family members to buy himself and Jadelle more time. Attorneys from Cohen Williams
                                                                      2 LLP wrote me an email about the purported bailout:

                                                                      3                   We write with an update on Jona Rechnitz. A family
                                                                      4                   member of Mr. Rechnitz has informed our law firm that the

                                                                      5                   family member is seeking to refinance certain real property
                                                                      6                   in order to satisfy Mr. Rechnitz’s outstanding liabilities. We
                                                                      7                   currently have no visibility into the family member’s interest
                                                                      8                   in the property, the value of the property, or what, if any

                                                                      9                   equity, the family member has in it. If you are represented

                                                                     10                   by counsel, please let us know and provide your counsel’s

                                                                     11                   contact information. Our client’s desire is to resolve this
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                                                                     12                   matter amicably.

                                                                     13 A true and correct copy of the February 4, 2020, email is attached hereto as Exhibit “D”

                                                                     14 and incorporated herein by reference.
                                                                     15                   13.    I understood the Cohen Williams LLP email to mean exactly what it
SulmeyerKupetz, A




                                                                     16 stated, in other words, that Jona and Jadelle wanted to know what was owed to First

                                                                     17 International so that its undisputed debt could be paid in full. Importantly, at no time have

                                                                     18 Jadelle or the Rechnitz’s, or anyone acting or purporting to act on their behalf, ever

                                                                     19 disputed the bona fide status of First International’s claim, either as to its nature, validity,
                                                                     20 or amount.

                                                                     21

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                                                                   EXHIBIT A 021


                                                                 EXHIBIT "7", PAGE 273
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                                                                   EXHIBIT A 022


                                                                EXHIBIT "7", PAGE 274
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                                                                   EXHIBIT A 023


                                                                 EXHIBIT "7", PAGE 275
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                                                                   EXHIBIT B 024


                                                                EXHIBIT "7", PAGE 276
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                                                                   EXHIBIT B 025


                                                                EXHIBIT "7", PAGE 277
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                                                                   EXHIBIT B 026


                                                                EXHIBIT "7", PAGE 278
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                                                                   EXHIBIT C 027


                                                                EXHIBIT "7", PAGE 279
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                                                                   EXHIBIT C 028


                                                                 EXHIBIT "7", PAGE 280
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                                                                   EXHIBIT C 029


                                                                 EXHIBIT "7", PAGE 281
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                                                                   EXHIBIT C 030


                                                                EXHIBIT "7", PAGE 282
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                                                                   EXHIBIT C 031


                                                                EXHIBIT "7", PAGE 283
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                                                                   EXHIBIT D 032


                                                                 EXHIBIT "7", PAGE 284
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                                                                   EXHIBIT D 033


                                                                 EXHIBIT "7", PAGE 285
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF OVED ANTER IN SUPPORT OF
PETITIONING CREDITORS’ MOTION FOR APPOINTMENT OF INTERIM CHAPTER 7 TRUSTEE will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 May 19, 2020 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) May 19, 2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

The Honorable Barry Russell
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street, Suite 1660
Los Angeles, CA 90012

                                                                                          Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                          Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 May 19, 2020                              Cheryl Caldwell                                       /s/ Cheryl Caldwell
 Date                                      Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
                                                                                                                     EXHIBIT "7", PAGE 286
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

       Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
       Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
       Robert S Marticello Rmarticello@swelawfirm.com,
        gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
       Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
       Neal Salisian ECF@salisianlee.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
                                                                                                                    EXHIBIT "7", PAGE 287
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                EXHIBIT "8"
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                     West District, Santa Monica Courthouse, Department R

20SMCV00216                                                                         March 10, 2020
VICTOR FRANCO NOVAL vs JONA S. RECHNITZ, et al.                                          8:30 AM


Judge: Honorable Marc D. Gross                     CSR: None
Judicial Assistant: P. Anyankor                    ERM: None
Courtroom Assistant: A. Wiggins                    Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): Ronald Richards
For Defendant(s): Marc S Williams and Reven L. Cohen




NATURE OF PROCEEDINGS: Hearing on Ex Parte Application Advancing Motion for Stay

The matter is called for hearing.

Ex Parte Application Hearing is held.

The Court now rules as follows:

The Ex Parte Application for Order Shortening Time and Advancing Hearing Date on Defendant
Motion for Stay of Proceedings filed by Jona S. Rechnitz, Rachel Rechnitz, Jadelle Inc., a
California corporation, Jadelle Jewelry and Diamonds, LLC, a Delaware limited liability
company on 03/09/2020 is Granted in Part.

Pursuant to the request of moving party, the Hearing on Motion for Stay of Proceedings
scheduled for 02/25/2021 is advanced to this date and continued to 04/09/2020 at 08:30 AM in
Department R at Santa Monica Courthouse.

Moving Papers are filed.

Opposition and Reply are due per code.

The Court orders the case TEMPORARILY STAYED, pending a decision on the above-
scheduled hearing.

Defendant(s) may submit a supplemental declaration re: update regarding the status of the
criminal investigation with new information that was not available at today's hearing
(03/10/2020). The declaration is to be e-filed sixteen (16) court days, plus time for service, prior
to the hearing.

                                           Minute Order                                  Page 1 of 2
                                                                               EXHIBIT "8", PAGE 288
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                     West District, Santa Monica Courthouse, Department R

20SMCV00216                                                                  March 10, 2020
VICTOR FRANCO NOVAL vs JONA S. RECHNITZ, et al.                                   8:30 AM


Judge: Honorable Marc D. Gross                    CSR: None
Judicial Assistant: P. Anyankor                   ERM: None
Courtroom Assistant: A. Wiggins                   Deputy Sheriff: None

Counsel for the Defendant(s) is to give notice.




                                          Minute Order                            Page 2 of 2
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                EXHIBIT "9"
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5/26/2020                                                          LASC - Case Access



 CASE INFORMATION
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 Case Number: 20SMCV00216
 VICTOR FRANCO NOVAL VS JONA S. RECHNITZ, ET AL.

 Filing Courthouse: Santa Monica Courthouse
 Filing Date: 02/10/2020
 Case Type: Fraud (no contract) (General Jurisdiction)
 Status: Pending

 Click here to access document images for this case
 If this link fails, you may go to the Case Document Images site and search using the case number displayed on this page




 FUTURE HEARINGS
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 08/10/2020 at 08:30 AM in Department R at 1725 Main Street, Santa Monica, CA 90401
 Case Management Conference

 11/03/2020 at 08:30 AM in Department R at 1725 Main Street, Santa Monica, CA 90401
 Hearing on Motion for Stay of Proceedings




 PARTY INFORMATION
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 CORTEZ XIOMARA - Defendant

 JADELLE INC. A CALIFORNIA CORPORATION - Defendant

 JADELLE JEWELRY AND DIAMONDS LLC A DELAWARE LIMITED LIABILITY COMPANY - Defendant

 LONG GEOFFREY - Attorney for Plaintiff

 NOVAL VICTOR FRANCO - Plaintiff

 PRADO LEVIN AKA LEVON PRADO - Defendant

 RECHNITZ JONA S. - Defendant

 RECHNITZ RACHEL - Defendant

 RICHARDS RONALD - Attorney for Plaintiff

 WILLIAMS MARC S - Attorney for Defendant




 DOCUMENTS FILED
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 Documents Filed (Filing dates listed in descending order)


https://www.lacourt.org/CaseSummary/UI/popupCaseSummary.aspx                                                                      1/4


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 05/07/2020 Notice (AMENDED NOTICE OF CONTINUED HEARING ON DEFENDANTS? MOTION FOR STAY OF
 PROCEEDINGS AND CASE REASSIGNMENT)
 Filed by Victor Franco Noval (Plaintiff)

 05/07/2020 Notice (NOTICE OF CONTINUED CASE MANAGEMENT CONFERENCE)
 Filed by Victor Franco Noval (Plaintiff)

 04/30/2020 Notice of Continuance Due to COVID-19 State of Emergency Declarations
 Filed by Clerk

 04/30/2020 Notice Re: Continuance of Hearing and Order
 Filed by Clerk

 04/29/2020 Notice of Case Reassignment and Order for Plaintiff to Give Notice
 Filed by Clerk

 03/17/2020 Notice Re: Continuance of Hearing and Order
 Filed by Clerk

 03/11/2020 Notice of Ruling
 Filed by Jona S. Rechnitz (Defendant); Rachel Rechnitz (Defendant); Jadelle Inc., a California corporation (Defendant) et al.

 03/10/2020 Minute Order ( (Hearing on Ex Parte Application Advancing Motion for Stay))
 Filed by Clerk

 03/09/2020 Opposition (PLAINTIFF?S OPPOSITION TO DEFENDANTS? EX PARTE APPLICATION TO STAY ALL
 PROCEEDINGS IN ACTION AND FOR AN ORDER SHORTENING TIME AND ADVANCING THE HEARING DATE)
 Filed by Victor Franco Noval (Plaintiff)

 03/09/2020 Proof of Service by Substituted Service
 Filed by Victor Franco Noval (Plaintiff)

 03/09/2020 Ex Parte Application (for Order Shortening Time and Advancing Hearing Date on Defendant Motion for Stay of
 Proceedings)
 Filed by Jona S. Rechnitz (Defendant); Rachel Rechnitz (Defendant); Jadelle Inc., a California corporation (Defendant) et al.

 03/09/2020 Proof of Personal Service
 Filed by Victor Franco Noval (Plaintiff)

 03/06/2020 Motion for Stay of Proceedings
 Filed by Jona S. Rechnitz (Defendant); Rachel Rechnitz (Defendant); Jadelle Inc., a California corporation (Defendant) et al.

 02/10/2020 Notice of Case Management Conference
 Filed by Clerk

 02/10/2020 Notice of Case Assignment - Unlimited Civil Case
 Filed by Clerk

 02/10/2020 Civil Case Cover Sheet
 Filed by Victor Franco Noval (Plaintiff)

 02/10/2020 Summons (on Complaint)
 Filed by Victor Franco Noval (Plaintiff)

 02/10/2020 Complaint
 Filed by Victor Franco Noval (Plaintiff)



 PROCEEDINGS HELD
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 Proceedings Held (Proceeding dates listed in descending order)

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 04/09/2020 at 08:30 AM in Department R, Marc D. Gross, Presiding
 Hearing on Motion for Stay of Proceedings - Not Held - Continued - Court's Motion

 03/10/2020 at 08:30 AM in Department R, Marc D. Gross, Presiding
 Hearing on Ex Parte Application (Advancing Motion for Stay) - Held




 REGISTER OF ACTIONS
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 Register of Actions (Listed in descending order)
 05/07/2020 Notice (NOTICE OF CONTINUED CASE MANAGEMENT CONFERENCE)
 Filed by Victor Franco Noval (Plaintiff)

 05/07/2020 Notice (AMENDED NOTICE OF CONTINUED HEARING ON DEFENDANTS? MOTION FOR STAY OF
 PROCEEDINGS AND CASE REASSIGNMENT)
 Filed by Victor Franco Noval (Plaintiff)

 04/30/2020 Notice of Continuance Due to COVID-19 State of Emergency Declarations
 Filed by Clerk

 04/30/2020 Notice Re: Continuance of Hearing and Order
 Filed by Clerk

 04/29/2020 Notice of Case Reassignment and Order for Plaintiff to Give Notice
 Filed by Clerk

 04/09/2020 at 08:30 AM in Department R, Marc D. Gross, Presiding
 Hearing on Motion for Stay of Proceedings - Not Held - Continued - Court's Motion

 03/17/2020 Notice Re: Continuance of Hearing and Order
 Filed by Clerk

 03/11/2020 Notice of Ruling
 Filed by Jona S. Rechnitz (Defendant); Rachel Rechnitz (Defendant); Jadelle Inc., a California corporation (Defendant) et al.

 03/10/2020 at 08:30 AM in Department R, Marc D. Gross, Presiding
 Hearing on Ex Parte Application (Advancing Motion for Stay) - Held

 03/10/2020 Minute Order ( (Hearing on Ex Parte Application Advancing Motion for Stay))
 Filed by Clerk

 03/09/2020 Opposition (PLAINTIFF?S OPPOSITION TO DEFENDANTS? EX PARTE APPLICATION TO STAY ALL
 PROCEEDINGS IN ACTION AND FOR AN ORDER SHORTENING TIME AND ADVANCING THE HEARING DATE)
 Filed by Victor Franco Noval (Plaintiff)

 03/09/2020 Proof of Personal Service
 Filed by Victor Franco Noval (Plaintiff)

 03/09/2020 Ex Parte Application (for Order Shortening Time and Advancing Hearing Date on Defendant Motion for Stay of
 Proceedings)
 Filed by Jona S. Rechnitz (Defendant); Rachel Rechnitz (Defendant); Jadelle Inc., a California corporation (Defendant) et al.

 03/09/2020 Proof of Service by Substituted Service
 Filed by Victor Franco Noval (Plaintiff)

 03/06/2020 Motion for Stay of Proceedings
 Filed by Jona S. Rechnitz (Defendant); Rachel Rechnitz (Defendant); Jadelle Inc., a California corporation (Defendant) et al.

 02/10/2020 Notice of Case Management Conference
 Filed by Clerk

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 02/10/2020 Civil Case Cover Sheet
 Filed by Victor Franco Noval (Plaintiff)

 02/10/2020 Summons (on Complaint)
 Filed by Victor Franco Noval (Plaintiff)

 02/10/2020 Complaint
 Filed by Victor Franco Noval (Plaintiff)

 02/10/2020 Notice of Case Assignment - Unlimited Civil Case
 Filed by Clerk




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6/15/2020                                                         CM/ECF - California Central District

                                                                                                  ACCO,(ASx),DISCOVERY,MANADR

                          UNITED STATES DISTRICT COURT
             CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
                   CIVIL DOCKET FOR CASE #: 2:20-cv-02580-ODW-AS


 David Rovinsky LLC v. Peter Marco, LLC et al                                              Date Filed: 03/18/2020
 Assigned to: Judge Otis D. Wright, II                                                     Jury Demand: Plaintiff
 Referred to: Magistrate Judge Alka Sagar                                                  Nature of Suit: 370 Other Fraud
 Demand: $75,000                                                                           Jurisdiction: Diversity
 Cause: 28:1332 Diversity-Fraud
 Plaintiff
 David Rovinsky LLC                                                   represented by Anthony R Bisconti
 a Delaware limited liability company                                                Bienert Katzman PC
                                                                                     601 West 5th Street Suite 720
                                                                                     Los Angeles, CA 90071
                                                                                     213-528-3400
                                                                                     Fax: 949-369-3701
                                                                                     Email: tbisconti@bienertkatzman.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                           Jason A Levine
                                                                                           Hangley Aronchick Segal Pudlin & Schiller
                                                                                           One Logan Square
                                                                                           Ste 27th Floor
                                                                                           Philadelphia, PA 19103
                                                                                           215-568-6200
                                                                                           Email: jlevine@hangley.com
                                                                                           PRO HAC VICE
                                                                                           ATTORNEY TO BE NOTICED

                                                                                           Steven Jay Katzman
                                                                                           Bienert Katzman PLC
                                                                                           601 West 5th Street Suite 720
                                                                                           Los Angeles, CA 90071
                                                                                           213-528-3400
                                                                                           Fax: 949-369-3701
                                                                                           Email: skatzman@bienertkatzman.com
                                                                                           ATTORNEY TO BE NOTICED


 V.
 Defendant
 Peter Marco, LLC                                                     represented by Baruch C Cohen
 a California limited liability company                                              Law Offices of Baruch C Cohen APLC
                                                                                     4929 Wilshire Boulevard Suite 940
                                                                                     Los Angeles, CA 90010
                                                                                     323-937-4501
                                                                                     Fax: 323-937-4503
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?905780512808891-L_1_0-1                                                             1/10


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6/15/2020                                                         CM/ECF - California Central District

                                                                                           Email: baruchcohen@baruchcohenesq.com
                                                                                           LEAD ATTORNEY
                                                                                           ATTORNEY TO BE NOTICED

 Defendant
 Peter Voutsas                                                        represented by Baruch C Cohen
 an individual                                                                       (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 ThirdParty Plaintiff
 Peter Voutsas                                                        represented by Baruch C Cohen
 an individual                                                                       (See above for address)
 TERMINATED: 04/17/2020                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 ThirdParty Plaintiff
 Peter Marco, LLC                                                     represented by Baruch C Cohen
 a California limited liability company                                              (See above for address)
 TERMINATED: 04/17/2020                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


 V.
 ThirdParty Defendant
 Jona Rechnitz                                                        represented by Brittany L Lane
 TERMINATED: 04/17/2020                                                              Cohen Williams LLP
                                                                                     724 South Spring Street 9th Floor
                                                                                     Los Angeles, CA 90014
                                                                                     213-232-5165
                                                                                     Fax: 213-232-5167
                                                                                     Email: blane@cohen-williams.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                           Marc S Williams
                                                                                           Cohen Williams LLP
                                                                                           724 South Spring Street 9th Floor
                                                                                           Los Angeles, CA 90014
                                                                                           213-232-5162
                                                                                           Email: mwilliams@cohen-williams.com
                                                                                           ATTORNEY TO BE NOTICED

                                                                                           Reuven L Cohen
                                                                                           Cohen Williams LLP
                                                                                           724 South Spring Street 9th Floor
                                                                                           Los Angeles, CA 90014
                                                                                           213-232-5163
                                                                                           Fax: 213-232-5167
                                                                                           Email: rcohen@cohen-williams.com
                                                                                           ATTORNEY TO BE NOTICED

                                                                                           Youngbin Son
                                                                                           Cohen Williams LLP
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?905780512808891-L_1_0-1                                                           2/10


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                                                                                           724 South Spring Street 9th Floor
                                                                                           Los Angeles, CA 90014
                                                                                           213-232-5152
                                                                                           Fax: 213-232-5167
                                                                                           Email: yson@cohen-williams.com
                                                                                           ATTORNEY TO BE NOTICED

 ThirdParty Defendant
 Levin Prado
 TERMINATED: 04/17/2020

 ThirdParty Plaintiff
 Peter Marco, LLC                                                     represented by Baruch C Cohen
 a California limited liability company                                              (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 ThirdParty Plaintiff
 Peter Voutsas                                                        represented by Baruch C Cohen
 an individual                                                                       (See above for address)
 also known as                                                                       LEAD ATTORNEY
 Peter Marco                                                                         ATTORNEY TO BE NOTICED
 also known as
 Peter Marco Extraodinary Jewels of Beverly
 Hills
 doing business as
 Peter Marco LLC


 V.
 ThirdParty Defendant
 Rachel Rechnitz                                                      represented by Brittany L Lane
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                           Marc S Williams
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED

                                                                                           Reuven L Cohen
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED

                                                                                           Youngbin Son
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED

 ThirdParty Defendant
 Levin Prado
 also known as
 Levon Prado

 ThirdParty Defendant
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 Jona S Rechnitz                                                      represented by Brittany L Lane
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                           Marc S Williams
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED

                                                                                           Reuven L Cohen
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED

                                                                                           Youngbin Son
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED


  Date Filed            #    Docket Text
  06/11/2020           62 REQUEST FOR JUDICIAL NOTICE re NOTICE OF MOTION AND MOTION to Stay
                          Case 47 (See Supplemental Declaration in Opposition to Motion to Stay Case [Docket 61]
                          filed by Defendants Peter Marco, LLC, Peter Voutsas, Third Party Plaintiffs Peter Marco,
                          LLC, Peter Voutsas. (Cohen, Baruch) (Entered: 06/11/2020)
  06/11/2020           61 DECLARATION of Baruch C. Cohen Supplemental Declaration in Support of NOTICE
                          OF MOTION AND MOTION to Stay Case 47 filed by Defendants Peter Marco, LLC,
                          Peter Voutsas, Third Party Plaintiffs Peter Marco, LLC, Peter Voutsas. (Cohen, Baruch)
                          (Entered: 06/11/2020)
  06/09/2020           60 MINUTES (IN CHAMBERS) by Judge Otis D. Wright, II: RE EX PARTE
                          APPLICATION for Leave for In Camera Review filed by Third Party Defendants Jona S
                          Rechnitz, Jona Rechnitz, Rachel Rechnitz 57 . The Court finds the application does not
                          warrantin camera review and DENIES the Rechnitz Defendants application. (lc) (Entered:
                          06/09/2020)
  06/03/2020           59 DECLARATION of Baruch C. Cohen re Response in Opposition to Motion, 58
                          Supplemental Declaration of Baruch C. Cohen Regarding Third-Party Plaintiffs
                          Opposition to Third-Party Defendants Ex Parte Application for an Order Permitting
                          Submission for In Camera Review Relating to the Ongoing Criminal Investigation filed by
                          Defendants Peter Marco, LLC, Peter Voutsas, Third Party Plaintiffs Peter Marco, LLC,
                          Peter Voutsas. (Cohen, Baruch) (Entered: 06/03/2020)
  06/02/2020           58 OPPOSITION to EX PARTE APPLICATION for Leave for In Camera Review 57 filed by
                          Defendants Peter Marco, LLC, Peter Voutsas, Third Party Plaintiffs Peter Marco, LLC,
                          Peter Voutsas. (Attachments: # 1 Request for Judicial Notice, # 2 Proposed Order)(Cohen,
                          Baruch) (Entered: 06/02/2020)
  06/02/2020           57 EX PARTE APPLICATION for Leave for In Camera Review filed by Third Party
                          Defendants Jona S Rechnitz, Jona Rechnitz, Rachel Rechnitz. (Attachments: # 1
                          Declaration, # 2 Proposed Order)(Williams, Marc) (Entered: 06/02/2020)
  06/02/2020           56 The hearing on the MOTION to Stay Case 47 , scheduled for June 15, 2020 at 1:30 P.M.,
                          is hereby VACATED and taken off calendar. No appearances are necessary. The matter
                          stands submitted, and will be decided upon without oral argument. An order will
                          issue.THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (sce)
                          TEXT ONLY ENTRY (Entered: 06/02/2020)

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  06/01/2020           55 REPLY in Support of NOTICE OF MOTION AND MOTION to Stay Case 47 filed by
                          Third Party Defendants Jona S Rechnitz, Jona Rechnitz, Rachel Rechnitz. (Williams,
                          Marc) (Entered: 06/01/2020)
  05/27/2020           54 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Notice
                          of Lodging 53 . The following error(s) was/were found: Proposed Document was not
                          submitted as separate attachment. Other error(s) with document(s): Refiled Notice of
                          Lodging, however the proposed order was efiled as 1 pdf with the Notice of Lodging,
                          instead of it being submitted as a Separate Attachment as advised previously docket no.
                          51. Filer bypassed the party for whom filing is made. Docket entry only shows attorney's
                          name.. In response to this notice, the Court may: (1) order an amended or correct
                          document to be filed; (2) order the document stricken; or (3) take other action as the Court
                          deems appropriate. You need not take any action in response to this notice unless and until
                          the Court directs you to do so. (lc) (Entered: 05/27/2020)
  05/26/2020           53 NOTICE OF LODGING filed Amended Notice of Lodging re Objection/Opposition
                          (Motion related), 48 (Cohen, Baruch) (Entered: 05/26/2020)
  05/22/2020           52 OPPOSITION to NOTICE OF MOTION AND MOTION to Stay Case 47 filed by
                          Plaintiff David Rovinsky LLC. (Bisconti, Anthony) (Entered: 05/22/2020)
  05/21/2020           51 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Notice
                          of Lodging 50 (no link to filer only shows attorney. The following error(s) was/were
                          found: Incorrect document is attached to the docket entry. Proposed Document was not
                          submitted as separate attachment. Other error(s) with document(s): 1) Filer used G-92
                          form, which is only applicable re "MANUALLY" filed or lodged documents at Clerk's
                          Office filing window. 2) Filer should have prepared a Notice of Lodging on pleading
                          format, to which the Proposed order should have been submitted as a SEPARATE
                          attachment thereto... instead of 1 all inclusive pdf as in this filing. In response to this
                          notice, the Court may: (1) order an amended or correct document to be filed; (2) order the
                          document stricken; or (3) take other action as the Court deems appropriate. You need not
                          take any action in response to this notice unless and until the Court directs you to do so.
                          (lc) (Entered: 05/21/2020)
  05/20/2020           50 NOTICE OF LODGING filed re Objection/Opposition (Motion related), 48 (Cohen,
                          Baruch) (Entered: 05/20/2020)
  05/20/2020           49 REQUEST FOR JUDICIAL NOTICE Third-Party Plaintiffs Request for Judicial Notice in
                          Support of Opposition to Third-Party Defendants Motion for Stay of Proceedings filed by
                          Third Party Plaintiffs Peter Marco, LLC, Peter Voutsas. (Cohen, Baruch) (Entered:
                          05/20/2020)
  05/20/2020           48 Third-Party Plaintiffs Opposition to Third-Party Defendants Motion for Stay of
                          Proceedings; Memorandum of Points & Authorities; Declaration of Baruch C. Cohen re:
                          NOTICE OF MOTION AND MOTION to Stay Case 47 filed by Third Party Plaintiffs
                          Peter Marco, LLC, Peter Voutsas. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3,
                          # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)(Cohen, Baruch) (Entered: 05/20/2020)
  05/18/2020           47 NOTICE OF MOTION AND MOTION to Stay Case filed by Third-Party Defendants Jona
                          S Rechnitz, Jona Rechnitz, Rachel Rechnitz. Motion set for hearing on 6/15/2020 at 01:30
                          PM before Judge Otis D. Wright II. (Attachments: # 1 Proposed Order) (Williams, Marc)
                          (Entered: 05/18/2020)
  05/12/2020           46 ORDER by Judge Otis D. Wright, II: the following document(s) be STRICKEN for failure
                          to comply with the Local Rules, General Order and/or the Courts Case Management
                          Order: NOTICE OF MOTION AND MOTION to Stay Case 44 , for the following
                          reasons: Comply with instructions on discrepancy doc no.45. Refile correctly and for

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                             failure to comply with LR 7-3. The conference shall take place at least seven (7) days prior
                             to the filing of the motion. (lc) (Entered: 05/12/2020)
  05/12/2020           45 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: NOTICE
                          OF MOTION AND MOTION to Stay Case 44 . The following error(s) was/were found:
                          Hearing information is missing, incorrect, or not timely. Other error(s) with document(s):
                          Although filer used correct motion event, it appears filer bypassed CM system prompt re
                          date, time and selection of Judge...as a result the motion is NOT set on Judge's Motion
                          calendar for the date shown on the pdf document as 6/8/20 1:30 PM.In response to this
                          notice, the Court may: (1) order an amended or correct document to be filed; (2) order the
                          document stricken; or (3) take other action as the Court deems appropriate. You need not
                          take any action in response to this notice unless and until the Court directs you to do so.
                          (lc) (Entered: 05/12/2020)
  05/11/2020           44 (STRICKEN PER 5/11/2020 ORDER, DOCKET NO. 46). NOTICE OF MOTION AND
                          MOTION to Stay Case filed by Third-Party Defendants Jona S Rechnitz, Jona Rechnitz,
                          Rachel Rechnitz. (Attachments: # 1 Proposed Order) (Williams, Marc) Modified on
                          5/12/2020 (lc). (Entered: 05/11/2020)
  05/11/2020           43 Notice of Appearance or Withdrawal of Counsel: for attorney Youngbin Son counsel for
                          Third Party Defendants Jona S Rechnitz, Jona Rechnitz, Rachel Rechnitz. Adding
                          Youngbin Son as counsel of record for Jona S. Rechnitz and Rachel Rechnitz for the
                          reason indicated in the G-123 Notice. Filed by Third-Party Defendants Jona S. Rechnitz
                          and Rachel Rechnitz. (Attorney Youngbin Son added to party Jona S Rechnitz(pty:3pd),
                          Attorney Youngbin Son added to party Jona Rechnitz(pty:3pd), Attorney Youngbin Son
                          added to party Rachel Rechnitz(pty:3pd))(Son, Youngbin) (Entered: 05/11/2020)
  05/11/2020           42 Notice of Appearance or Withdrawal of Counsel: for attorney Brittany L Lane counsel for
                          Third Party Defendants Jona S Rechnitz, Jona Rechnitz, Rachel Rechnitz. Adding Brittany
                          L. Lane as counsel of record for Jona S. Rechnitz and Rachel Rechnitz for the reason
                          indicated in the G-123 Notice. Filed by Third-Party Defendants Jona S. Rechnitz and
                          Rachel Rechnitz. (Attorney Brittany L Lane added to party Jona S Rechnitz(pty:3pd),
                          Attorney Brittany L Lane added to party Jona Rechnitz(pty:3pd), Attorney Brittany L Lane
                          added to party Rachel Rechnitz(pty:3pd))(Lane, Brittany) (Entered: 05/11/2020)
  05/11/2020           41 Notice of Appearance or Withdrawal of Counsel: for attorney Reuven L Cohen counsel for
                          Third Party Defendants Jona S Rechnitz, Jona Rechnitz, Rachel Rechnitz. Adding Reuven
                          L. Cohen as counsel of record for Jona S. Rechnitz and Rachel Rechnitz for the reason
                          indicated in the G-123 Notice. Filed by Third-Party Defendants Jona S. Rechnitz and
                          Rachel Rechnitz. (Attorney Reuven L Cohen added to party Jona S Rechnitz(pty:3pd),
                          Attorney Reuven L Cohen added to party Jona Rechnitz(pty:3pd), Attorney Reuven L
                          Cohen added to party Rachel Rechnitz(pty:3pd))(Cohen, Reuven) (Entered: 05/11/2020)
  05/11/2020           40 Notice of Appearance or Withdrawal of Counsel: for attorney Marc S Williams counsel for
                          Third Party Defendants Jona S Rechnitz, Jona Rechnitz, Rachel Rechnitz. Adding Marc S.
                          Williams as counsel of record for Jona S. Rechnitz and Rachel Rechnitz for the reason
                          indicated in the G-123 Notice. Filed by Third-Party Defendants Jona S. Rechnitz and
                          Rachel Rechnitz. (Attorney Marc S Williams added to party Jona S Rechnitz(pty:3pd),
                          Attorney Marc S Williams added to party Jona Rechnitz(pty:3pd), Attorney Marc S
                          Williams added to party Rachel Rechnitz(pty:3pd))(Williams, Marc) (Entered: 05/11/2020)
  04/24/2020           39 Amendment to the Third-Party Complaint AMENDED THIRD-PARTY COMPLAINT
                          against Third-Party Defendants Levin Prado, Jona S Rechnitz, Rachel Rechnitz amending
                          Third Party Complaint 27 ; JURY DEMAND, filed by Third-Party Plaintiff Peter Marco,
                          LLC(a California limited liability company), Peter Voutsas(an individual)(Cohen, Baruch)
                          (Entered: 04/24/2020)

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  04/24/2020           38 ORDER by Judge Otis D. Wright, II: the following document(s) be STRICKEN for failure
                          to comply with the Local Rules, General Order and/or the Courts Case Management
                          Order: Errata 36 , for the following reasons: Read the instructions on the discrepancy on
                          docket no. 37 and the rules to file a 3- amend complaint and resubmit correctly. (lc)
                          (Entered: 04/24/2020)
  04/21/2020           37 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Errata
                          36 re Third Party Complaint. The following error(s) was/were found: Clerk unable to
                          determine the sufficiency of submitting corrected pages 26 and 27 re overlapping images
                          over text and the submitting of ONLY reformulated copies of pages 26 and 27. In response
                          to this notice, the Court may: (1) order an amended or correct document to be filed; (2)
                          order the document stricken; or (3) take other action as the Court deems appropriate. You
                          need not take any action in response to this notice unless and until the Court directs you to
                          do so. (lc) (Entered: 04/21/2020)
  04/20/2020           36 (STRICKEN PER 4/24/2020 ORDER, DOCKET NO. 38).NOTICE OF ERRATA filed by
                          Third Party Plaintiffs Peter Marco, LLC, Peter Voutsas. correcting Third Party Complaint
                          27 (Cohen, Baruch) Modified on 4/24/2020 (lc). (Entered: 04/20/2020)
  04/17/2020           35 21 DAY Summons Issued re Third Party Complaint 27 as to third party defendant Levin
                          Prado aka Leon Prado. (lc) (Entered: 04/17/2020)
  04/17/2020           34 21 DAY Summons Issued re Third Party Complaint 27 as to third party defendant Rachel
                          Rechnitz. (lc) (Entered: 04/17/2020)
  04/17/2020           33 21 DAY Summons Issued re Third Party Complaint 27 as to third party defendant Jona S
                          Rechnitz. (lc) (Entered: 04/17/2020)
  04/17/2020           32 Request for Clerk to Issue Summons on Third Party Complaint 27 filed by Third Party
                          Plaintiff Peter Marco, LLC(a California limited liability company), Peter Voutsas(an
                          individual). (Attachments: # 1 Summons Request - Rachel Rechnitz, # 2 Summons
                          Request - Levin Prado)(Cohen, Baruch) (Entered: 04/17/2020)
  04/17/2020           31 NOTICE OF DEFICIENCIES in Request to Issue Summons RE: Third Party Complaint
                          Summons Request 28 . The following error(s) was found: Summons is not directed to the
                          defendant(s). The defendants name must appear in the To:section of the summons.
                          CLARIFICATION re third party complaint summons to be issued to multiple defendants:
                          1) Please do NOT abbreviate defendant's name in the "TO:" area nor erroneously combine
                          2 defendants as one, which does not reflect the two separate defendants properly. Also
                          "Jona" is incomplete and should to be named exactly as" JONA S. RECHNITZ". The
                          summons cannot be issued until this defect has been corrected. Please correct the defect
                          and re-file your request. (lc) (Entered: 04/17/2020)
  04/17/2020           30 WAIVER OF SERVICE Returned Executed filed by 3rd Party Plaintiff Peter Marco,
                          LLC(a California limited liability company), Peter Voutsas(an individual). upon Rachel
                          Rechnitz waiver sent by Plaintiff on 4/15/2020, answer due 6/15/2020. Waiver of Service
                          signed by Marc S. Williams. (Cohen, Baruch) (Entered: 04/17/2020)
  04/17/2020           29 WAIVER OF SERVICE Returned Executed filed by 3rd Party Plaintiff Peter Marco,
                          LLC(a California limited liability company), Peter Voutsas(an individual). upon Jona
                          Rechnitz waiver sent by Plaintiff on 4/15/2020, answer due 6/15/2020. Waiver of Service
                          signed by Marc S. Williams. (Cohen, Baruch) (Entered: 04/17/2020)
  04/17/2020           28 Request for Clerk to Issue Summons on Third Party Complaint 27 filed by 3rd Party
                          Plaintiff Peter Marco, LLC(a California limited liability company), Peter Voutsas(an
                          individual). (Cohen, Baruch) (Entered: 04/17/2020)
  04/17/2020           27 THIRD PARTY COMPLAINT against Third-Party Defendants Levin Prado, Jona
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                             Rechnitz, Rachel Rechnitz, filed by 3rd Party Plaintiff Peter Marco, LLC, Peter Voutsas.
                             (Cohen, Baruch) (Entered: 04/17/2020)
  04/16/2020           26 PROOF OF SERVICE filed by Plaintiff David Rovinsky LLC, re Order,, Set/Reset
                          Hearing, 25 served on April 16, 2020. (Bisconti, Anthony) (Entered: 04/16/2020)
  04/15/2020           25 ORDER that the Scheduling Conference is set for 7/27/2020 1:30 PM ; compliance with
                          FRCP 16, and 26(f) and filing of joint report; Counsel for plaintiff shall immediately serve
                          this Order on all parties, including any new parties to the action by Judge Otis D Wright, II
                          (lc) (Entered: 04/15/2020)
  04/15/2020           24 ORDER by Judge Otis D. Wright, II: the following document(s) be STRICKEN for failure
                          to comply with the Local Rules, General Order and/or the Courts Case Management
                          Order: Summons Request 20 , Third Party Complaint 19 , for the following reasons:
                          REVIEW LOCAL RULES for these documents and read the instructions on the
                          discrepancies on doc nos. 22 and 23.; (lc) (Entered: 04/15/2020)
  04/15/2020           23 NOTICE OF DEFICIENCIES in Request to Issue Summons RE: Summons Request 20 .
                          The following error(s) was found: The case number and/or judge(s)initials are incorrect.
                          RE Third party complaint summons- No formal Third Party Complaint on file. Docket no.
                          19 is entitled a "CROSS COMPLAINT"; Case number incomplete, missing assigned
                          Judge and Magistrate's initials. Should read as 2:20-cv-02580-ODW-AS. Note a deficiency
                          notice re pdf entitled a "Cross Complaint" issued docket no. 22. The summons cannot be
                          issued until this defect has been corrected. Please correct the defect and re-file your
                          request. (lc) (Entered: 04/15/2020)
  04/15/2020           22 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Third
                          Party Complaint 19 . The following error(s) was/were found: Case number is incorrect or
                          missing. Pdf document is erroneously Entitled as a "CROSS COMPLAINT" and NOT a
                          Third Party Complaint Other error(s) with document(s): Case number is Incomplete as
                          Missing the assigned Judge and Magistrate's initials: Should read as 2:20-cv-02580-ODW-
                          AS. (note was missing on the answer as well. In response to this notice, the Court may: (1)
                          order an amended or correct document to be filed; (2) order the document stricken; or (3)
                          take other action as the Court deems appropriate. You need not take any action in response
                          to this notice unless and until the Court directs you to do so. (lc) (Entered: 04/15/2020)
  04/14/2020           21 CORPORATE DISCLOSURE STATEMENT filed by Third Party Plaintiffs Peter Marco,
                          LLC, Peter Voutsas, Defendants Peter Marco, LLC, Peter Voutsas (Cohen, Baruch)
                          (Entered: 04/14/2020)
  04/14/2020           20 (STRICKEN PER 4/15/2020 ORDER, DOCKET NO. 24).Request for Clerk to Issue
                          Summons on Third Party Complaint 19 filed by Defendant, Third-party plaintiff Peter
                          Marco, LLC, Peter Voutsas. (Cohen, Baruch) Modified on 4/15/2020 (lc). (Entered:
                          04/14/2020)
  04/14/2020           19 (STRICKEN PER 4/15/2020 ORDER, DOCKET NO. 24) THIRD PARTY COMPLAINT
                          against Third-Party Defendants Jona Rechnitz, Rachel Rechnitz, Levin Prado ; Jury
                          Demand, filed by Defendant, Third-Party Plaintiff Peter Voutsas, Peter Marco, LLC.
                          (Cohen, Baruch) Modified on 4/15/2020 (lc). (Entered: 04/14/2020)
  04/14/2020           18 ANSWER to Complaint (Attorney Civil Case Opening), 1 filed by Defendant Peter Marco,
                          LLC, Peter Voutsas.(Attorney Baruch C Cohen added to party Peter Marco, LLC(pty:dft),
                          Attorney Baruch C Cohen added to party Peter Voutsas(pty:dft))(Cohen, Baruch) (Entered:
                          04/14/2020)
  03/30/2020           17 ORDER GRANTING APPLICATION of Non-Resident Attorney Jason A. Levine to
                          Appear Pro Hac Vice on behalf of Plaintiff David Rovinsky LLC and designating Anthony
                          R Bisconti as local counsel 15 by Judge Otis D. Wright, II (lc) (Entered: 03/30/2020)
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  03/27/2020           16 NOTICE Regarding Response to Notice of Pro Hac Vice Application filed by Plaintiff
                          David Rovinsky LLC. (Bisconti, Anthony) (Entered: 03/27/2020)
  03/27/2020           15 APPLICATION of Non-Resident Attorney Jason A. Levine to Appear Pro Hac Vice on
                          behalf of Plaintiff David Rovinsky LLC (Pro Hac Vice Fee - $400 Fee Paid, Receipt No.
                          CCACDC-25882802) filed by Plaintiff David Rovinsky LLC. (Bisconti, Anthony)
                          (Entered: 03/27/2020)
  03/23/2020           14 MINUTE ORDER IN CHAMBERS by Judge Otis D Wright, II: This action has been
                          assigned to the calendar of Judge Otis D. Wright II. Counsel are STRONGLY encouraged
                          to review the Central Districts website for additional information.. The parties may consent
                          to proceed before a Magistrate Judge appearing on the voluntary consent list. PLEASE
                          refer to Local Rule 79-5 for the submission of CIVIL ONLY SEALED DOCUMENTS.
                          CRIMINAL SEALED DOCUMENTS will remain the same. Please refer to the Judges
                          procedures and schedules for detailed instructions for submission of sealed documents. (lc)
                          (Entered: 03/23/2020)
  03/23/2020           13 21 DAY Summons Issued re Complaint (Attorney Civil Case Opening), 1 as to defendants
                          Peter Marco, LLC, Peter Voutsas. (lc) (Entered: 03/23/2020)
  03/20/2020           12 STIPULATION Extending Time to Answer the complaint as to All Defendants, filed by
                          Plaintiff David Rovinsky LLC.(Bisconti, Anthony) (Entered: 03/20/2020)
  03/20/2020           11 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening), 1 filed
                          by Plaintiff David Rovinsky LLC. (Bisconti, Anthony) (Entered: 03/20/2020)
  03/20/2020           10 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident Attorney Andrew
                          E. Erdlen. A document recently filed in this case lists you as an out-of-state attorney of
                          record. However, the Court has not been able to locate any record that you are admitted to
                          the Bar of this Court, and you have not filed an application to appear Pro Hac Vice in this
                          case. Accordingly, within 5 business days of the date of this notice, you must either (1)
                          have your local counsel file an application to appear Pro Hac Vice (Form G-64) and pay
                          the applicable fee, or (2) complete the next section of this form and return it to the court at
                          cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel of record from the
                          docket in this case, and you will not be added back to the docket until your Pro Hac Vice
                          status has been resolved. (lh) (Entered: 03/20/2020)
  03/20/2020             9 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident Attorney Jason A.
                           Levine. A document recently filed in this case lists you as an out-of-state attorney of
                           record. However, the Court has not been able to locate any record that you are admitted to
                           the Bar of this Court, and you have not filed an application to appear Pro Hac Vice in this
                           case. Accordingly, within 5 business days of the date of this notice, you must either (1)
                           have your local counsel file an application to appear Pro Hac Vice (Form G-64) and pay
                           the applicable fee, or (2) complete the next section of this form and return it to the court at
                           cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel of record from the
                           docket in this case, and you will not be added back to the docket until your Pro Hac Vice
                           status has been resolved. (lh) (Entered: 03/20/2020)
  03/20/2020             8 NOTICE OF DEFICIENCIES in Request to Issue Summons RE: Summons Request 3 .
                           The following error(s) was found: The caption of the summons must match the caption of
                           the complaint verbatim. If the caption is too large to fit in the space provided, enter the
                           name of the first party and then write see attached.Next, attach a face page of the
                           complaint or a second page addendum to the Summons. The summons cannot be issued
                           until this defect has been corrected. Please correct the defect and re-file your request. (lh)
                           (Entered: 03/20/2020)
  03/20/2020             7 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (lh) (Entered:
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?905780512808891-L_1_0-1                                                           9/10


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                             03/20/2020)
  03/20/2020             6 NOTICE OF ASSIGNMENT to District Judge Otis D. Wright, II and Magistrate Judge
                           Alka Sagar. (lh) (Entered: 03/20/2020)
  03/18/2020             5 CORPORATE DISCLOSURE STATEMENT filed by Plaintiff David Rovinsky LLC
                           identifying David Rovinsky LLC as Corporate Parent. (Bisconti, Anthony) (Entered:
                           03/18/2020)
  03/18/2020             4 CERTIFICATE of Interested Parties filed by Plaintiff David Rovinsky LLC, identifying
                           David Rovinsky LLC; Peter Voutsas; Peter Marco, LLC. (Bisconti, Anthony) (Entered:
                           03/18/2020)
  03/18/2020             3 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening), 1 filed
                           by Plaintiff David Rovinsky LLC. (Bisconti, Anthony) (Entered: 03/18/2020)
  03/18/2020             2 CIVIL COVER SHEET filed by Plaintiff David Rovinsky LLC. (Bisconti, Anthony)
                           (Entered: 03/18/2020)
  03/18/2020             1 COMPLAINT Receipt No: ACACDC-25780085 - Fee: $400, filed by Plaintiff David
                           Rovinsky LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C) (Attorney
                           Anthony R Bisconti added to party David Rovinsky LLC(pty:pla))(Bisconti, Anthony)
                           (Entered: 03/18/2020)



                                                        PACER Service Center
                                                             Transaction Receipt
                                                               06/15/2020 07:54:44
                                   PACER                          Client
                                                  msimonpacer                   JAD01-0001
                                   Login:                         Code:
                                                  Docket          Search        2:20-cv-02580-ODW-AS End
                                   Description:
                                                  Report          Criteria:     date: 6/15/2020
                                   Billable
                                                  10              Cost:         1.00
                                   Pages:




https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?905780512808891-L_1_0-1                                                           10/10


                                                                                                         EXHIBIT "10", PAGE 303
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              EXHIBIT "11"
                                                           Case 2:20-bk-13530-BR                   Doc 48 Filed 06/15/20 Entered 06/15/20 17:56:50                              Desc
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                                                                      1 opportunity’ to exercise their § 303(c) statutory power to join as petitioners . . . .” Id., at
                                                                      2 1071.

                                                                      3                   Vortex Fishing, thus, underscores that all creditors must have a reasonable
                                                                      4 opportunity to join in an involuntary petition where the number of petitioning creditors is

                                                                      5 being challenged by the debtor. It was only unnecessary in Vortex Fishing because, in a
                                                                      6 consolidated hearing, the bankruptcy court correctly found that the involuntary debtor was
                                                                      7 not in financial distress; joinder, thus, would have been a meaningless endeavor. In sum,
                                                                      8 once a trial is required to resolve issues in a contested involuntary proceeding, the

                                                                      9 involuntary debtor must answer within 14 days. See QDOS, 607 B.R. at 345 (a Rule

                                                                     10 12(b)(6) motion is no substitute for a trial on dispositive issues, and a putative debtor

                                                                     11 must answer an involuntary petition and file the requisite creditor list).
  Professional Corporation
                             333 SOUTH GRAND AVENUE, SUITE 3400
                             LOS ANGELES, CALIFORNIA 90071-1406
                              TEL. 213.626.2311 • FAX 213.629.4520




                                                                     12                   Nothing warrants a departure from this line of cases, especially since the
                                                                     13 Petitioning Creditors are aware of scores of other creditors and victims of Jadelle’s fraud.

                                                                     14 The Debtor has no choice but to follow controlling law and not only answer the petition,
                                                                     15 but submit its Rule 1003(b) creditor list.3
SulmeyerKupetz, A




                                                                     16                                                        IV.
                                                                     17        THE MOTION IS DEVOID OF A SINGLE SHRED OF ADMISSIBLE EVIDENCE

                                                                     18                   Even presuming that relief could be granted under Rule 12(b)(6), there is no

                                                                     19 evidentiary basis for any of the Debtor’s fanciful contentions. Since the sworn testimony
                                                                     20 of a convicted felon and swindler certainly would not be worth the paper it is written on,

                                                                     21 and possibly would subject him to perjury charges, the Debtor instead relies on a host of

                                                                     22 hand-selected pleadings from other courts in a fruitless attempt to create an evidentiary
                                                                     23
                                                                     24

                                                                     25
                                                                     26
                                                                          3
                                                                     27     Petitioning Creditors are aware of other creditors who may be interested in joining the involuntary petition
                                                                          to prevent the Debtor and the Rechnitz’s from further abusing the legal system and other innocent parties.
                                                                     28


                                                                          DAL 2700550v1                                         12

                                                                                                                                                          EXHIBIT "11", PAGE 304
        Case 2:20-bk-13530-BR                     Doc 48 Filed 06/15/20 Entered 06/15/20 17:56:50                                      Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                         3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626


A true and correct copy of the foregoing document entitled (specify): Putative Debtor's Index of Exhibits in Support of
Putative Debtor's Emergency Motion for (1) Reconsideration of the Court's Order, or (2) Alternatively, a Stay of
the Bankruptcy Case will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/15/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    • Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
    • Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
    • Robert S Marticello Rmarticello@swelawfirm.com,
       gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
    • Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
    • Neal Salisian ECF@salisianlee.com
    • Michael Simon msimon@swelawfirm.com,
       lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
    • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 06/15/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via First Legal:
Hon. Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 06/15/2020                     Lynnette Garrett                                                /s/ Lynnette Garrett
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
